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                                                                         YAKUB MULAYEV and
                                                                       9 DIANA SKAZOVSKI
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                                                                      10                      UNITED STATES DISTRICT COURT
                                                                      11                       CENTRAL DISTRICT OF CALIFORNIA
                                                                      12                                  WESTERN DIVISION
                           6442 Coldwater Canyon Avenue, Suite 209
                              North Hollywood, California 91606




                                                                      13
                                                                            YAKUB MULAYEV and DIANA                      CASE NO.:
                                                                      14
                                       (818) 661-2420




                                                                            SKAZOVSKI, individually and on
                                                                            behalf of all others similarly situated,
                                                                      15                                                 CLASS ACTION COMPLAINT:
                                                                                         Plaintiff,
                                                                      16          v.
                                                                                                            1. VIOLATION OF THE
                                                                      17    MATRIX WARRANTY SOLUTIONS,         TELEPHONE CONSUMER
                                                                            INC.; SING FOR SERVICE, LLC dba    PROTECTION ACT (47 U.S.C.
                                                                      18    MEPCO; VEHICLE ACTIVATION
                                                                            CENTER dba THE ELEMENT; and        § 227 (b))
                                                                      19    PLATEAU CASUALTY                2. VIOLATIONS OF THE
                                                                            INSURANCE COMPANY,                 TELEPHONE CONSUMER
                                                                      20
                                                                                                               PROTECTION ACT (47 U.S.C.
                                                                      21               Defendants.
                                                                                                               § 227 AND 46 C.F.R. §
                                                                      22                                       64.1200(c))

                                                                      23                                                 JURY TRIAL DEMANDED
                                                                      24
                                                                      25
                                                                      26 / / /
                                                                      27 / / /
                                                                      28 / / /


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                                                                                                                                     CLASS ACTION COMPLAINT
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                                                                       1             Plaintiffs YAKUB MULAYEV and DIANA SKAZOVSKI (hereinafter
                                                                       2 collectively referred to as “Plaintiffs”), bring this Class Action Complaint under Rule
                                                                       3 23 of the Federal Rules of Civil Procedure against Defendants MATRIX
                                                                       4 WARRANTY SOLUTIONS, INC.; SING FOR SERVICE, LLC dba MEPCO;
                                                                       5 VEHICLE ACTIVATION CENTER dba THE ELEMENT; and PLATEAU
                                                                       6 CASUALTY INSURANCE COMPANY (hereinafter collectively referred to as
                                                                       7 “Defendants”), for their violations of the Telephone Consumer Protection Act, 47
                                                                       8 U.S.C. § 227, et seq., and the regulations promulgated thereunder. In support,
                                                                       9 Plaintiffs allege as follows.
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                                                                      10                                PRELIMINARY STATEMENT
                                                                      11            1.     Plaintiffs bring this Class Action Complaint for damages, injunctive
                                                                      12 relief, and any other available legal or equitable remedies, resulting from the illegal
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                              North Hollywood, California 91606




                                                                      13 actions of Defendants in negligently or willfully contacting Plaintiffs on Plaintiffs’
                                                                      14 cellular telephones, in violation of the Telephone Consumer Protection Act, 47
                                       (818) 661-2420




                                                                      15 U.S.C. § 227 (“TCPA”), thereby invading Plaintiffs’ privacy. Plaintiffs allege as
                                                                      16 follows upon personal knowledge as to themselves and their own acts and
                                                                      17 experiences, and, as to all other matters, upon information and belief, including
                                                                      18 investigation conducted by their attorneys.
                                                                      19            2.     “Month after month, unwanted robocalls and texts, both telemarketing
                                                                      20 and informational, top the list of consumer complaints received by the [FCC].”1 The
                                                                      21 TCPA is designed to protect consumer privacy by, among other things, prohibiting
                                                                      22 the making of autodialed or prerecorded-voice calls to cell phone numbers and failing
                                                                      23 to institute appropriate do-not-call procedures. 47 U.S.C. § 227(b)(1)(A)(iii); 47
                                                                      24 C.F.R. § 64.1200(d).
                                                                      25 / / /
                                                                      26
                                                                      27
                                                                      28   1
                                                                               In re Rules & Regs. Implementing the TCPA, 30 FCC Rcd. 7961, ¶ 1 (2015).


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                                                                       1         3.    The TCPA was designed to prevent calls like the ones described within
                                                                       2 this complaint, and to protect the privacy of citizens like Plaintiffs. “Voluminous
                                                                       3 consumer complaints about abuses of telephone technology – for example,
                                                                       4 computerized calls dispatched to private homes – prompted Congress to pass the
                                                                       5 TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
                                                                       6         4.    Additionally, the FCC has explicitly stated that the TCPA’s prohibition
                                                                       7 on automatic telephone dialing systems “encompasses both voice calls and text calls
                                                                       8 to wireless numbers including, for example, short message service (SMS) calls.”
                                                                       9 U.S.C.A. Const. Amend. 5; Telephone Consumer Protection Act of 1991, § 3(a), 47
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                                                                      10 U.S.C. § 227(b)(1)(A)(iii). Kramer v. Autobytel, Inc., 759 F. Supp. 2d 1165 (N.D.
                                                                      11 Cal. 2010).
                                                                      12         5.    In enacting the TCPA, Congress intended to give consumers a choice as
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                              North Hollywood, California 91606




                                                                      13 to how creditors and telemarketers may call them and made specific findings that
                                                                      14 “[t]echnologies that might allow consumers to avoid receiving such calls are not
                                       (818) 661-2420




                                                                      15 universally available, are costly, are unlikely to be enforced, or place an inordinate
                                                                      16 burden on the consumer.” TCPA, Pub.L. No. 102–243, § 11. Toward this end,
                                                                      17 Congress found that:
                                                                      18
                                                                                 [b]anning such automated or prerecorded telephone calls to the home, except
                                                                      19         when the receiving party consents to receiving the call or when such calls are
                                                                      20         necessary in an emergency situation affecting the health and safety of the
                                                                                 consumer, is the only effective means of protecting telephone consumers from
                                                                      21         this nuisance and privacy invasion.
                                                                      22         Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012
                                                                      23 WL 3292838, at *4 (N.D. Ill. Aug. 10, 2012) (citing Congressional findings on
                                                                      24 TCPA’s purpose).
                                                                      25         6.    In an action under the TCPA, a plaintiff must only show that the
                                                                      26 defendant “called a number assigned to a cellular telephone service using an
                                                                      27 automatic dialing system or prerecorded voice.” Breslow v. Wells Fargo Bank, N.A.,
                                                                      28 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755 F.3d 1265 (11th Cir. 2014).


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                                                                       1                            JURISDICTION AND VENUE
                                                                       2         7.    The Court has federal question subject matter jurisdiction pursuant to
                                                                       3 28 U.S.C. § 1331 and 47 U.S.C. § 227.
                                                                       4         8.    Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2),
                                                                       5 because a substantial part of the events or omissions giving rise to the claims in this
                                                                       6 case occurred in this District, including Defendants’ transmission of the unlawful and
                                                                       7 unwanted calls to Plaintiff.
                                                                       8         9.    The Court has personal jurisdiction over Defendants because they
                                                                       9 conduct business in the State of California, market their services within this state,
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                                                                      10 and have availed themselves to the jurisdiction of this state by placing calls to
                                                                      11 Plaintiffs and Class Members in and from this state.
                                                                      12                                       PARTIES
                           6442 Coldwater Canyon Avenue, Suite 209
                              North Hollywood, California 91606




                                                                      13         10.   Plaintiff YAKUB MULAYEV (“Mr. Mulayev”) is a natural person who
                                                                      14 resides in Van Nuys, California, and this District, and is a “person” as defined by 47
                                       (818) 661-2420




                                                                      15 U.S.C. § 153(39).
                                                                      16         11.   Plaintiff DIANA SKAZOVSKI (“Ms. Skazovski”) is a natural person
                                                                      17 who resides in Tarzana, California, and this District, and is a “person” as defined by
                                                                      18 47 U.S.C. § 153(39).
                                                                      19         12.   Defendant MATRIX WARRANTY SOLUTIONS, INC. (“Matrix”) is
                                                                      20 a Nevada corporation, with its principal place of business believed to be located at:
                                                                      21 3100 McKinnon Street, Suite 420, Dallas, Texas 75201. Matrix is a “person” as
                                                                      22 defined by 47 U.S.C. § 153(39).
                                                                      23         13.   Defendant SING FOR SERVICE, LLC dba MEPCO (“Mepco”) is a
                                                                      24 Delaware limited liability company, with its principal place of business believed to
                                                                      25 be located at: 10 South Lasalle Street, Suite 2310, Chicago, Illinois 60603. Mepco
                                                                      26 is a “person” as defined by 47 U.S.C. § 153(39).
                                                                      27 / / /
                                                                      28 / / /


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                                                                                                                                     CLASS ACTION COMPLAINT
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                                                                       1         14.    Defendant VEHICLE ACTIVATION CENTER dba THE ELEMENT
                                                                       2 (“Vehicle Activation Center”) is a business entity of unknown form, located at: 4199
                                                                       3 Campus Drive, Suite 550, Irvine, California 92612 and/or 3100 McKinnon Street,
                                                                       4 Suite 420, Dallas, Texas 75201-1044. Vehicle Activation Center is a “person” as
                                                                       5 defined by 47 U.S.C. § 153(39).
                                                                       6         15.    Defendant PLATEAU CASUALTY INSURANCE COMPANY
                                                                       7 (“Plateau”) is a Tennessee corporation, with its principal place of business believed
                                                                       8 to be located at: 2701 North Main Street, Crossville, Tennessee 38555. Plateau is
                                                                       9 registered with the California Secretary of State to do business in California, with its
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                                                                      10 agent for service for service of process in California being listed as follows: Vivian
                                                                      11 Imperial, 818 West Seventh Street, Suite 930, Los Angeles, California 90017.
                                                                      12         16.    At all times relevant, Defendants conducted business in the State of
                           6442 Coldwater Canyon Avenue, Suite 209
                              North Hollywood, California 91606




                                                                      13 California, in the County of Los Angeles, within this judicial district.
                                                                      14         17.    Defendants promote and market their services by calling wireless
                                       (818) 661-2420




                                                                      15 telephone users in violation of the TCPA.
                                                                      16         18.    Defendants directly or through other persons, entities or agents acting
                                                                      17 on its behalf, conspired to, agreed to, contributed to, authorized, assisted with, and/or
                                                                      18 otherwise caused all of the wrongful acts and omissions, including the dissemination
                                                                      19 of the unsolicited calls that are the subject matter of this Complaint.
                                                                      20                              FACTUAL ALLEGATIONS
                                                                      21         19.    Matrix and Mepco are administrators of after-market extended car
                                                                      22 warranty policies sold by Vehicle Activation Center.
                                                                      23         20.    Vehicle Activations Center is the so-called “seller” of the extended car
                                                                      24 warranty policies and engages in telemarketing in order to solicit the sales of
                                                                      25 extended car warranty plans.
                                                                      26         21.    Matrix, Mepco, and Vehicle Activations Center are not licensed in
                                                                      27 California by the California Department of Insurance to sell such policies.
                                                                      28 / / /


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                                                                       1         22.     Plateau ensures Matrix’s performance under the Vehicle Services
                                                                       2 Contract entered into by Ms. Skazovski. Allegations against Plateau are limited to
                                                                       3 Ms. Skazovski, only.
                                                                       4         23.     Defendants utilize prerecorded telemarketing calls (i.e., calls using an
                                                                       5 artificial or prerecorded voice) to market and advertise Defendants’ business and
                                                                       6 services, including at least two calls to Mr. Mulayev and at least one call to Ms.
                                                                       7 Skazovski.
                                                                       8         24.     These calls are being placed to consumers, like Plaintiffs, who 1)
                                                                       9 registered their telephone numbers with the National Do Not Call Registry (“DNC”);
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                                                                      10 and 2) do not have an existing business relationship with the Defendants; and 3) did
                                                                      11 not provide prior express written consent to be called.
                                                                      12         25.     The Matrix Better Business Bureau (“BBB”) page is inundated with
                           6442 Coldwater Canyon Avenue, Suite 209
                              North Hollywood, California 91606




                                                                      13 complaints from consumers about unsolicited calls from Matrix, including
                                                                      14 complaints from people who have registered their phone numbers with the DNC. A
                                       (818) 661-2420




                                                                      15 true and correct copy of Matrix’s BBB page and said complaints is attached hereto
                                                                      16 as Exhibit 1.
                                                                      17         26.     The Mepco BBB page is inundated with complaints from consumers
                                                                      18 about unsolicited calls from Mepco, including complaints from people who have
                                                                      19 registered their phone numbers with the DNC. A true and correct copy of Mepco’s
                                                                      20 BBB page and said complaints is attached hereto as Exhibit 2.
                                                                      21         27.     According to the BBB, and as evidenced in Exhibit 3 attached hereto,
                                                                      22 Element Protection Plans is an “alternate business name” for Matrix, and thus share
                                                                      23 in Matrix’s copious BBB complaints.
                                                                      24         28.     Defendants contacted Plaintiffs on Plaintifs’ cellular telephones
                                                                      25 regarding an unsolicited service via an “automatic telephone dialing system”
                                                                      26 (“ATDS”), as defined by 47 U.S.C. § 227(a)(1) and prohibited by 47 U.S.C. §
                                                                      27 227(b)(1)(A).
                                                                      28 / / /


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                                                                                                                                       CLASS ACTION COMPLAINT
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                                                                       1         29.    Upon information and belief, this ATDS has the capacity to store or
                                                                       2 produce telephone numbers to be called, using a random or sequential number
                                                                       3 generator.
                                                                       4         30.    Upon information and belief, this ATDS has the capacity to store
                                                                       5 numbers and to dial numbers without human intervention.
                                                                       6         31.    Upon information and belief, Defendants used a combination of
                                                                       7 hardware and software systems which have the capacity to generate or store random
                                                                       8 or sequential numbers or to dial sequentially or randomly in an automated fashion
                                                                       9 without human intervention.
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                                                                      10         32.    Because Plaintiffs were called by Defendants using a prerecorded
                                                                      11 artificial voice, and then connected to a live person after a delayed pause, it
                                                                      12 demonstrates that Defendants used an ATDS to send the subject calls.
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                              North Hollywood, California 91606




                                                                      13         33.    The impersonal and generic nature of the prerecorded and artificial
                                                                      14 voice that Defendants sent to Plaintiffs further demonstrates that Defendants used an
                                       (818) 661-2420




                                                                      15 ATDS to send the subject calls.
                                                                      16         34.    Plaintiffs know the calls were robotic because of the distinctive nature
                                                                      17 of the sound, pauses, and the wording of the recordings.
                                                                      18         35.    Mr. Mulayev registered his phone number, ending in 5114, with the
                                                                      19 DNC on or about December 28, 2015.
                                                                      20         36.    Mr. Mulayev uses his phone number for personal use only. It is not
                                                                      21 associated with a business.
                                                                      22         37.    On October 22, 2020, Mr. Mulayev received two unsolicited calls from
                                                                      23 Defendants, from phone number (815) 876-3227.
                                                                      24         38.    Mr. Mulayev rejected the first call.
                                                                      25         39.    Mr. Mulayev answered the second call from Defendants.             Upon
                                                                      26 answering the call, Mr. Mulayev heard a “click” sound before a live employee came
                                                                      27 on the line.
                                                                      28 / / /


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                                                                       1         40.    The live employee, believed to be named Tyriek Jones (“Jones”),
                                                                       2 marketed an extended car warranty plan to Mr. Mulayev.
                                                                       3         41.    In order to determine the identity of the company repeatedly
                                                                       4 telemarketing him, Mr. Mulayev agreed to purchase the extended car warranty plan.
                                                                       5         42.    Shortly after purchasing the car warranty plan, Mr. Mulayev received a
                                                                       6 copy of the Payment Plan Agreement, which confirmed Mr. Mulayev’s purchase of
                                                                       7 the car warranty plan at the cost of $3,195.00. A true and correct copy of the Purchase
                                                                       8 Plan Agreement is attached hereto as Exhibit 4.
                                                                       9         43.    The Purchase Plan Agreement confirms that the seller of the car
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                                                                      10 warranty plan marketed to and purchased by Mr. Mulayev was Vehicle Activations
                                                                      11 Center.
                                                                      12         44.    The Purchase Plan Agreement also confirms that the administrator of
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                              North Hollywood, California 91606




                                                                      13 the car warranty plan marketed to and purchased by Mr. Mulayev was Matrix.
                                                                      14         45.    The Purchase Plan Agreement further confirms that billing and payment
                                       (818) 661-2420




                                                                      15 processing of the car warranty plan marketed to and purchased by Mr. Mulayev was
                                                                      16 Mepco.
                                                                      17         46.    Subsequent to purchasing the car warranty plan, Mr. Mulayev received
                                                                      18 a “Welcome Letter” by mail from “Matrix Payment Solutions Powered by Mepco.”
                                                                      19 A true and correct copy of this letter is attached hereto as Exhibit 5.
                                                                      20         47.    Subsequent to purchasing the car warranty plan, Mr. Mulayev received
                                                                      21 another letter by mail from “Matrix Payment Solutions Powered by Mepco,” entitled
                                                                      22 “Confirmation of Preauthorized ACH/CC.” A true and correct copy of this letter is
                                                                      23 attached hereto as Exhibit 6.
                                                                      24         48.    Subsequent to purchasing the car warranty plan, Mr. Mulayev received
                                                                      25 a letter by mail from Vehicle Activation Center regarding the plan Mr. Mulayev
                                                                      26 purchased. A true and correct copy of this letter is attached hereto as Exhibit 7.
                                                                      27         49.    Mr. Mulayev never consented to receiving solicitation calls from
                                                                      28 Vehicle Activation Center or any of the Defendants. As such, the unsolicited calls


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                                                                       1 violated 47 U.S.C. § 227(b)(1).
                                                                       2         50.   Mr. Mulayev never provided his telephone number to Defendants.
                                                                       3         51.   Mr. Mulayev was not looking for an extended car warranty.
                                                                       4         52.   Ms. Skazovski registered her phone number, ending in 0733, with the
                                                                       5 DNC on or about May 14, 2010.
                                                                       6         53.   Ms. Skazovski uses her phone number for personal use only. It is not
                                                                       7 associated with a business.
                                                                       8         54.   On January 8, 2020, at approximately 7:40 a.m., Ms. Skazovski received
                                                                       9 an unsolicited call from Defendants, from phone number (707) 420-0955.
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                                                                      10         55.   Upon answering the call, Ms. Skazovski heard a “click” sound before a
                                                                      11 live employee came on the line.
                                                                      12         56.   The live employee marketed an extended car warranty plan to Ms.
                           6442 Coldwater Canyon Avenue, Suite 209
                              North Hollywood, California 91606




                                                                      13 Skazovski.
                                                                      14         57.   In order to determine the identity of the company inappropriately
                                       (818) 661-2420




                                                                      15 telemarketing her, Ms. Skazovski agreed to purchase the extended car warranty plan.
                                                                      16         58.   Shortly after purchasing the car warranty plan, Ms. Skazovski received
                                                                      17 confirmation via email on February 2, 2021, which confirmed her purchase of the car
                                                                      18 warranty plan at the cost of $5,173.00. A true and correct copy of said email is
                                                                      19 attached hereto as Exhibit 8.
                                                                      20         59.   Ms. Skazovski subsequently received a copy of the Vehicle Services
                                                                      21 Contract on or about February 7, 2021. A true and correct copy of the Vehicle
                                                                      22 Services Contract is attached hereto as Exhibit 9.
                                                                      23         60.   The Vehicle Services Contract confirms that the seller of the car
                                                                      24 warranty plan marketed to and purchased by Ms. Skazovski was Vehicle Activations
                                                                      25 Center.
                                                                      26         61.   The Vehicle Services Contract also confirms that the administrator of
                                                                      27 the car warranty plan marketed to and purchased by Ms. Skazovski was Matrix.
                                                                      28 / / /


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                                                                                                                                   CLASS ACTION COMPLAINT
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                                                                      1         62.    The Vehicle Services Contract further confirms that billing and payment
                                                                      2 processing of the car warranty plan marketed to and purchased by Ms. Skazovski was
                                                                      3 Mepco.
                                                                      4         63.    The Vehicle Services Contract confirms that Matrix’s performance
                                                                      5 under the Vehicle Services Contract “. . . is insured by an insurance policy issued by
                                                                      6 Plateau Casualty Insurance Company.”
                                                                      7         64.    Despite cancelling the Vehicle Services Contract on or about February
                                                                      8 7, 2021, Ms. Skazovski, was still charged by Defendants onto her credit card multiple
                                                                      9 times thereafter for months. The charge on Ms. Skazovsk’s credit card statement was
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                                                                     10 billed from “MEPCO.” These charges were not authorized by Ms. Skazovski. Ms.
                                                                     11 Skazovski was only able to recoup the baseless charges by contacting her credit card
                                                                     12 company to dispute the fraudulent charges. Ms. Skazovski also continued to receive
                           6442 Coldwater Canyon Avenue, Suite 209
                              North Hollywood, California 91606




                                                                     13 billing statements from Defendants claiming she owed them money despite her
                                                                     14 cancellation of the contract. A true and correct copy of one such billing statement,
                                       (818) 661-2420




                                                                     15 dated April 25, 2021, is attached hereto as Exhibit 10.
                                                                     16         65.    Ms. Skazovski never consented to receiving solicitation calls from
                                                                     17 Vehicle Activation Center or any of the Defendants. As such, the unsolicited calls
                                                                     18 violated 47 U.S.C. § 227(b)(1).
                                                                     19         66.    Ms. Skazovski never provided her telephone number to Defendants.
                                                                     20         67.    Ms. Skazovski was not looking for an extended car warranty.
                                                                     21         68.    The content of the calls made to Plaintiffs and the Class Members show
                                                                     22 that they were for the purpose of marketing, advertising, and promoting Defendants’
                                                                     23 business and services to Plaintiffs as part of an overall telemarketing strategy.
                                                                     24         69.    These calls were not for emergency purposes as defined by 47 U.S.C. §
                                                                     25 227(b)(1)(A)(i).
                                                                     26         70.    Defendants are and were aware that they are placing unsolicited
                                                                     27 robocalls to Plaintiffs and other consumers without their prior express consent.
                                                                     28 / / /


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                                                                      1         71.   The unauthorized telephone calls made by Defendants, as alleged
                                                                      2 herein, have harmed Plaintiffs in the form of annoyance, nuisance, and invasion of
                                                                      3 privacy, and disturbed the use of quiet enjoyment of their phones, in addition to the
                                                                      4 wear and tear on their phones.
                                                                      5         72.   Seeking redress for these injuries, Plaintiffs, on behalf of themselves
                                                                      6 and a Class of similarly situated individuals, bring suit under the Telephone
                                                                      7 Consumer Protection Act, 47 U.S.C. § 227, et seq., which prohibits unsolicited
                                                                      8 telemarketing calls to phone numbers that are registered with the DNC.
                                                                      9                          CLASS ACTION ALLEGATIONS
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                                                                     10         73.   Plaintiffs bring this class action under Rule 23(a),(b)(2), and(b)(3) of the
                                                                     11 Federal Rules of Civil Procedure on behalf of themselves and of a similarly situated
                                                                     12 “Class” or “Class Members” defined in two subclasses, as follows:
                           6442 Coldwater Canyon Avenue, Suite 209
                              North Hollywood, California 91606




                                                                     13
                                                                                No Consent Class: All persons within the United States who, within the four
                                                                     14         years prior to the filing of this Complaint, were called by Defendants or anyone
                                       (818) 661-2420




                                                                     15         on Defendants’ behalf, to said person’s cellular telephone number, advertising
                                                                                Defendants’ services, without the recipient’s prior express consent, using the
                                                                     16         same equipment used to call Plaintiffs’ cellular telephones, in violation of the
                                                                     17         TCPA.

                                                                     18         Do Not Call Registry Class: All persons in the United States who from four
                                                                     19         years prior to the filing of this action (1) were called by or on behalf of
                                                                                Defendants; (2) more than one time within any 12-month period; (3) where the
                                                                     20         person’s telephone number had been listed on the National Do Not Call
                                                                     21         Registry for at least thirty days; (4) for the purpose of selling Defendants’
                                                                                products and/or services; and (5) for whom Defendants claim (a) it did not
                                                                     22         obtain prior express written consent, or (b) it obtained prior express written
                                                                     23         consent in the same manner as Defendants claims they supposedly obtained
                                                                                prior express written consent to call the Plaintiffs.
                                                                     24
                                                                     25         74.   Excluded from the Class are Defendants, and any subsidiary or affiliate
                                                                     26 of Defendants, and the directors, officers and employees of Defendants or their
                                                                     27 subsidiaries or affiliates, and members of the federal judiciary.
                                                                     28 / / /


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                                                                      1         75.    This action has been brought and may properly be maintained as a class
                                                                      2 action against Defendants pursuant to Rule 23 of the Federal Rules of Civil Procedure
                                                                      3 because there is a well-defined community of interest in the litigation and the
                                                                      4 proposed Class is easily ascertainable. Plaintiffs reserve the right to amend the Class
                                                                      5 definition if discovery and further investigation reveal that any Class should be
                                                                      6 expanded or otherwise modified.
                                                                      7         76.    Numerosity: At this time, Plaintiffs do not know the exact number of
                                                                      8 Class Members, but among other things, given the nature of the claims and that
                                                                      9 Defendants’ conduct consisted of standardized SPAM campaign calls placed to
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                                                                     10 cellular telephone numbers, Plaintiffs believe, at a minimum, there are greater than
                                                                     11 forty Class Members. Plaintiffs believe that the Class is so numerous that joinder of
                                                                     12 all members of the Class is impracticable and the disposition of their claims in a class
                           6442 Coldwater Canyon Avenue, Suite 209
                              North Hollywood, California 91606




                                                                     13 action rather than incremental individual actions will benefit the Parties and the Court
                                                                     14 by eliminating the possibility of inconsistent or varying adjudications of individual
                                       (818) 661-2420




                                                                     15 actions.
                                                                     16         77.    Upon information and belief, a more precise Class size and the identities
                                                                     17 of the individual members thereof are ascertainable through Defendants’ records,
                                                                     18 including, but not limited to Defendants; calls and marketing records.
                                                                     19         78.    Members of the Class may additionally or alternatively be notified of
                                                                     20 the pendency of this action by techniques and forms commonly used in class actions,
                                                                     21 such as by published notice, e-mail notice, website notice, fax notice, first class mail,
                                                                     22 or combinations thereof, or by other methods suitable to this class and deemed
                                                                     23 necessary and/or appropriate by the Court.
                                                                     24         79.    Existence and Predominance of Common Questions of Fact and
                                                                     25 Law: There is a well-defined community of common questions of fact and law
                                                                     26 affecting the Plaintiffs and members of the Class. Common questions of law and/or
                                                                     27 fact exist as to all members of the Class and predominate over the questions affecting
                                                                     28 individual Class members. These common legal and/or factual questions include, but


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                                                                      1 are not limited to, the following:
                                                                      2               a. Whether, within the four years prior to the filing of this Complaint,
                                                                      3                  Defendants or their agents called (other than a message made for
                                                                      4                  emergency purposes or made with the prior express consent of the
                                                                      5                  called party) to a Class member using any automatic dialing to any
                                                                      6                  telephone number assigned to a cellular phone service;
                                                                      7               b. How Defendants obtained the numbers of Plaintiffs and Class
                                                                      8                  members;
                                                                      9               c. Whether Defendants called Plaintiffs and Class Members using a
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                                                                     10                  prerecorded message or artificial voice;
                                                                     11               d. Whether the dialing system used to call is an Automatic Telephone
                                                                     12                  Dialing System;
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                              North Hollywood, California 91606




                                                                     13               e. Whether Defendants engaged in telemarketing when it called which
                                                                     14                  are the subject of this lawsuit;
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                                                                     15               f. Whether the calls made to Plaintiffs and Class Members violate the
                                                                     16                  TCPA and its regulations;
                                                                     17               g. Whether Defendants willfully or knowingly violated the TCPA or
                                                                     18                  the rules prescribed under it;
                                                                     19               h. Whether the calls made to Plaintiffs and Class Members violate the
                                                                     20                  Do Not Class Registry rules and regulations;
                                                                     21               i. Whether Plaintiffs and the members of the Class are entitled to
                                                                     22                  statutory damages, treble damages, and attorney fees and costs for
                                                                     23                  Defendants’ acts and conduct;
                                                                     24               j. Whether Plaintiffs and members of the Class are entitled to a
                                                                     25                  permanent injunction enjoining Defendants from continuing to
                                                                     26                  engage in their unlawful conduct; and
                                                                     27               k. Whether Plaintiffs and the Class are entitled to any other relief.
                                                                     28         80.   One or more questions or issues of law and/or fact regarding


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                                                                      1 Defendants’ liability are common to all Class Members and predominate over any
                                                                      2 individual issues that may exist and may serve as a basis for class certification under
                                                                      3 Rule 23(c)(4).
                                                                      4         81.   Typicality: Plaintiffs’ claims are typical of the claims of the members
                                                                      5 of the Class. The claims of the Plaintiffs and members of the Class are based on the
                                                                      6 same legal theories and arise from the same course of conduct that violates the TCPA.
                                                                      7         82.   Plaintiffs and members of the Class each received at least one telephone
                                                                      8 call, advertising the Defendants’ products or services, which Defendants placed or
                                                                      9 caused to be placed to Plaintiffs and the members of the Class.
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                                                                     10         83.   Adequacy of Representation: Plaintiffs are adequate representative of
                                                                     11 the Class because Plaintiffs’ interests do not conflict with the interests of the
                                                                     12 members of the Class. Plaintiffs will fairly, adequately, and vigorously represent and
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                                                                     13 protect the interests of the members of the Class and has no interests antagonistic to
                                                                     14 the members of the Class. Plaintiffs have retained counsel competent and
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                                                                     15 experienced in litigation in the federal courts, TCPA litigation, and class action
                                                                     16 litigation.
                                                                     17         84.   Superiority: A class action is superior to other available means for the
                                                                     18 fair and efficient adjudication of the claims of the Class. While the aggregate
                                                                     19 damages which may be awarded to the members of the Class are likely to be
                                                                     20 substantial, the damages suffered by individual members of the Class are relatively
                                                                     21 small. As a result, the expense and burden of individual litigation makes it
                                                                     22 economically infeasible and procedurally impracticable for each member of the Class
                                                                     23 to individually seek redress for the wrongs done to them. Plaintiffs do not know of
                                                                     24 any other litigation concerning this controversy already commenced against
                                                                     25 Defendants by any member of the Class. The likelihood of the individual members
                                                                     26 of the Class prosecuting separate claims is remote. Individualized litigation would
                                                                     27 also present the potential for varying, inconsistent, or contradictory judgments, and
                                                                     28 would increase the delay and expense to all parties and the court system resulting


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                                                                      1 from multiple trials of the same factual issues. In contrast, the conduct of this matter
                                                                      2 as a class action presents fewer management difficulties, conserves the resources of
                                                                      3 the parties and the court system, and would protect the rights of each member of the
                                                                      4 Class. Plaintiffs know of no difficulty to be encountered in the management of this
                                                                      5 action that would preclude its maintenance as a class action.
                                                                      6          85.   Class-Wide Injunctive Relief and Rule 23(b)(2): Moreover, as an
                                                                      7 alternative to or in addition to certification of the Class under Rule 23(b)(3), class
                                                                      8 certification is warranted under Rule 23(b)(2) because Defendants have acted on
                                                                      9 grounds generally applicable to Plaintiffs and members of Class, thereby making
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                                                                     10 appropriate final injunctive relief with respect to Plaintiffs and Class Members as a
                                                                     11 whole. Plaintiffs seek injunctive relief on behalf of Class Members on grounds
                                                                     12 generally applicable to the entire Class in order to enjoin and prevent Defendants’
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                                                                     13 ongoing violations of the TCPA, and to order Defendants to provide notice to them
                                                                     14 of their rights under the TCPA to statutory damages and to be free from unwanted
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                                                                     15 calls.
                                                                     16                               FIRST CAUSE OF ACTION
                                                                     17                 Violations of the Telephone Consumer Protection Act
                                                                     18                                     47 U.S.C. § 227(b)
                                                                     19                   (On Behalf of Plaintiffs and the No Consent Class)
                                                                     20          86.   Plaintiffs incorporate by reference all of the allegations contained in all
                                                                     21 of the above paragraphs 1 through 67 of this Complaint as though fully stated herein.
                                                                     22          87.   It is a violation of the TCPA to make “any call (other than a call made
                                                                     23 for emergency purposes or made with the prior express consent of the called party)
                                                                     24 using any automatic telephone dialing system . . . to any telephone number assigned
                                                                     25 to a . . . cellular telephone service . . .” 47 U.S.C. § 227(b)(1)(A)(iii).
                                                                     26          88.   Automatic telephone dialing system refers to “equipment which has the
                                                                     27 capacity---(A) to store or produce telephone numbers to be called, using a random or
                                                                     28 sequential number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1).


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                                                                      1         89.    Defendants—or third parties directed by Defendants—used equipment
                                                                      2 having the capacity to randomly or sequentially generate telephone numbers and to
                                                                      3 dial such numbers without human intervention to make non-emergency telephone
                                                                      4 calls to the cellular telephones of Plaintiffs and the other members of the Class
                                                                      5 defined above.
                                                                      6         90.    These calls were made without regard to whether or not Defendants had
                                                                      7 first obtained express permission from the called party to make such calls. In fact,
                                                                      8 Defendants did not have prior express consent to call the cellular phones of Plaintiffs
                                                                      9 and the other members of the putative Class when the calls were made.
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                                                                     10         91.    Defendants have, therefore, violated Section 227(b)(1)(A)(iii) of the
                                                                     11 TCPA by using an automatic telephone dialing system to make non-emergency
                                                                     12 telephone calls to the cellular phones of Plaintiffs and the other members of the
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                                                                     13 putative Class without their prior express written consent.
                                                                     14         92.    Furthermore, it is a violation of the TCPA “to initiate any telephone call
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                                                                     15 to any residential telephone line using an artificial or prerecorded voice to deliver a
                                                                     16 message without the prior consent of the called party, unless the call is initiated for
                                                                     17 emergency purposes. . . .” 47 U.S.C. 227(b)(1)(B).
                                                                     18         93.    Defendants—or third parties directed by Defendants—used an artificial
                                                                     19 or prerecorded voice to deliver messages to Plaintiffs and other Class Members
                                                                     20 without prior consent.
                                                                     21         94.    These calls were made without regard to whether or not Defendants had
                                                                     22 first obtained express permission from the called party to make such calls. In fact,
                                                                     23 Defendants did not have prior express consent to call any of these cellular phones.
                                                                     24         95.    Defendants have, therefore, violated Section 227(b)(2) of the TCPA by
                                                                     25 initiating telephone class while using an artificial or prerecorded voice to deliver non-
                                                                     26 emergency telephone calls to the cellular phones of Plaintiffs and the other members
                                                                     27 of the putative Class without their prior express written consent.
                                                                     28 / / /


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                                                                      1         96.   The foregoing acts and omissions of Defendants constitute numerous
                                                                      2 and multiple violations of the TCPA, including but not limited to each and every one
                                                                      3 of the above-cited provisions of 47 U.S.C. § 227.
                                                                      4         97.   As a result of Defendants’ negligent violations of 47 U.S.C. § 227,
                                                                      5 Plaintiffs and the Class are entitled to an award of $500.00 in statutory damages, for
                                                                      6 each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
                                                                      7         98.   At all relevant times, Defendants knew or should have known that their
                                                                      8 conduct as alleged herein violated the TCPA.
                                                                      9         99.   Defendants knew that they did not have prior express consent to make
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                                                                     10 these calls and knew or should have known that their conduct violated the TCPA.
                                                                     11         100. Because Defendants knew or should have known that Plaintiffs and
                                                                     12 Class Members did not give prior express consent to receive autodialed calls, the
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                                                                     13 Court should treble the amount of statutory damages available to Plaintiffs and
                                                                     14 members of the Putative Class pursuant to Section 227(b)(3)(C).
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                                                                     15         101. Likewise, since Defendants knew or should have known that Plaintiffs
                                                                     16 and Class Members did not give prior express consent to receive calls using artificial
                                                                     17 or prerecorded voice, the Court should treble the amount of statutory damages
                                                                     18 available to Plaintiffs and members of the Putative Class pursuant to Section
                                                                     19 227(b)(3).
                                                                     20         102. As a result of Defendants knowing and/or willful violations of 47 U.S.C.
                                                                     21 § 227(b), Plaintiffs and the Class are entitled to an award of $1,500.00 in statutory
                                                                     22 damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(C).
                                                                     23         103. Plaintiffs and the Class are also entitled to and seek injunctive relief
                                                                     24 prohibiting such conduct in the future.
                                                                     25
                                                                     26 / / /
                                                                     27 / / /
                                                                     28 / / /


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                                                                      1                              SECOND CAUSE OF ACTION
                                                                      2                 Violations of the Telephone Consumer Protection Act
                                                                      3                        47 U.S.C. § 227 and 47 C.F.R. § 64.1200(c)
                                                                      4              (On Behalf of Plaintiffs and the Do Not Call Registry Class)
                                                                      5          104. Plaintiffs incorporate by reference all of the allegations contained in all
                                                                      6 of the above paragraphs 1 through 84 of this Complaint as though fully stated herein.
                                                                      7          105. The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides
                                                                      8 that “[n]o person or entity shall initiate any telephone solicitation” to “[a] residential
                                                                      9 telephone subscriber who has registered his or her telephone number on the national
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                                                                     10 do-not-call registry of persons who do not wish to receive telephone solicitations that
                                                                     11 is maintained by the federal government.”
                                                                     12          106. 47 C.F.R. § 64.1200(e), provides that Sections 64.1200(c) and (d) “are
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                                                                     13 applicable to any person or entity making telephone solicitations or telemarketing
                                                                     14 calls to wireless telephone numbers.”2
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                                                                     15          107. 47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall
                                                                     16 initiate any call for telemarketing purposes to a residential telephone subscriber
                                                                     17 unless such person or entity has instituted procedures for maintaining a list of persons
                                                                     18 who request not to receive telemarketing calls made by or on behalf of that person or
                                                                     19 entity.”
                                                                     20          108. Any “person who has received more than one telephone call within any
                                                                     21 12-month period by or on behalf of the same entity in violation of the regulations
                                                                     22 prescribed under this subsection may” may bring a private action based on a violation
                                                                     23 of said regulations, which were promulgated to protect telephone subscribers’
                                                                     24 privacy rights to avoid receiving telephone solicitations to which they object. 47
                                                                     25
                                                                     26
                                                                     27   2
                                                                           Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket
                                                                          No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003) Available at
                                                                     28   https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-153A1.pdf.


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                                                                      1 U.S.C. § 227(c).
                                                                      2         109. Defendants violated 47 C.F.R. § 64.1200(c) by initiating, or causing to
                                                                      3 be initiated, telephone solicitations to telephone subscribers such as Plaintiffs and the
                                                                      4 Do Not Call Registry Class members who registered their respective telephone
                                                                      5 numbers on the National Do Not Call Registry, a listing of persons who do not wish
                                                                      6 to receive telephone solicitations that is maintained by the federal government.
                                                                      7         110. Defendants violated 47 U.S.C. § 227(c)(5) because Plaintiffs and the Do
                                                                      8 Not Call Registry Class received more than one telephone call in a 12-month period
                                                                      9 made by or on behalf of Defendants in violation of 47 C.F.R. § 64.1200, as described
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                                                                     10 above. As a result of Defendants’ conduct as alleged herein, Plaintiffs and the Do
                                                                     11 Not Call Registry Class suffered actual damages and, under section 47 U.S.C. §
                                                                     12 227(c), are entitled, inter alia, to receive up to $500 in damages for such violations
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                                                                     13 of 47 C.F.R. § 64.1200.
                                                                     14         111. To the extent Defendants’ misconduct is determined to be willful and
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                                                                     15 knowing, the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of
                                                                     16 statutory damages recoverable by the members of the Do Not Call Registry Class.
                                                                     17                                 PRAYER FOR RELIEF
                                                                     18         WHEREFORE, Plaintiffs, individually and on behalf of the Class, requests
                                                                     19 that the Court enter judgment against Defendants as follows:
                                                                     20                a. An order certifying this case as a class action, certifying Plaintiffs as
                                                                     21                   representative of the Class, and designating Plaintiffs’ counsel as
                                                                     22                   Class counsel;
                                                                     23                b. Statutory damages of $500 per call in violation of the TCPA;
                                                                     24                c. Willful damages at $1,500 per call in violation of the TCPA;
                                                                     25                d. Statutory damages of $500 per call in violation of the Do Not Call
                                                                     26                   Registry;
                                                                     27                e. Willful damages of $1,500 per call in violation of the Do Not Call
                                                                     28                   Registry;


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                                                                      1             f. A declaration that Defendants’ practices described herein violate the
                                                                      2                 Telephone Consumer Protection Act, 47 U.S.C. § 227(b)(1)(A)(iii);
                                                                      3             g. An injunction prohibiting Defendants’ from using an automatic
                                                                      4                 telephone dialing system to call numbers assigned to cellular
                                                                      5                 telephones without the prior express written consent of the called
                                                                      6                 party;
                                                                      7             h. Reasonable attorney’s fees and costs; and
                                                                      8             i. Such further and other relief as this Court deems reasonable and just.
                                                                      9                           DEMAND FOR JURY TRIAL
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                                                                     10       Plaintiffs demand a trial by jury.
                                                                     11
                                                                     12 DATED: November 16, 2021 DAVIDOVICH STEIN LAW GROUP LLP
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                                                                     13
                                                                                                      By:_______________________________________
                                                                     14
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                                                                                                          NIV V. DAVIDOVICH
                                                                     15                                   CHARLIE Z. STEIN
                                                                                                          ELAN N. STONE
                                                                     16                                   STEPHANIE F. DRELL
                                                                                                          Attorneys for Plaintiffs
                                                                     17
                                                                                                          YAKUB MULAYEV; DIANA SKAZOVSKI;
                                                                     18                                   and the putative class
                                                                     19
                                                                     20
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                 EXHIBIT 1
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  Business Proﬁle                                                                                                    3100 McKinnon St STE 420

  Matrix Warranty Solutions, Inc                                                                                     Dallas, TX 75201-1044
                                                                                                                     http://www.MatrixWarrantySolutions.com

                                                                                                                     Email this Business

                                                                                                                     (214) 396-3496




      Contact Information                                        Customer Reviews                                  BBB Rating & Accreditation
         3100 McKinnon St STE 420                                                                   1.15/5
         Dallas, TX 75201-1044
         Get Directions                                          Average of 62 Customer Reviews                                             A+
         http://www.MatrixWarrantySolutions.com                       Read Reviews              Start a Review
          Email this BBB
                                                                                                                   Accredited Since: 4/2/2018
         (214) 396-3496                                                                                            Years in Business: 15

                                                                 Customer Complaints
              Want a quote from this                                                                               Customer Reviews are not used in the
                                                                 91 complaints closed in last 3 years
                                                                                                                   calculation of BBB Rating
                    business?                                    30 complaints closed in last 12 months

                      Get a Quote                                    Read Complaints            File a Complaint   Overview of BBB Rating




     Business Details
     Location of This Business
     3100 McKinnon St STE 420, Dallas, TX 75201-1044
         Email this Business
     BBB File Opened:            3/13/2018
     Years in Business:          15
     Business Started:           2/9/2006
     Business Started Locally:   6/16/2010
     Business Incorporated:      2/9/2006 in NV, USA
     Accredited Since:           4/2/2018
     Type of Entity:             Corporation
     Alternate Business Name
     Element Protection Plans


     Business Management

     Mr. Brandon San Antonio, Owner/Director
     Mr. Joel San Antonio, CEO/Director

     Additional Contact Information
     Phone Numbers

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Matrix Warranty Solutions, Inc | Better Business Bureau® Profile                        #:23 12:25 PM
     Phone Numbers

     (833) 228-1900      Other Phone

     Email Addresses

          Email this Business      Primary




     Customer Complaints
     91 Customer Complaints




     Customer Reviews
     62 Customer Reviews




     Business Categories
      Auto Warranty Plans         Warranty Plans




     Local BBB
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  Complaints

  Complaints                                                                                                              3100 McKinnon St STE 420

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                                                                                                                          http://www.MatrixWarrantySolutions.com
                                                                                                                         Email this Business

                                                                                                                          (214) 396-3496




     ADDITIONAL COMPLAINT INFORMATION

     Customer Complaint: Due to the volume of complaints ﬁled against this business, BBB only publishes the details for 50% of the total complaints ﬁled.



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                                                                                                                  aﬃrm that the information provided is accurate. However, BBB
                                                                                                                  does not verify the accuracy of information provided by third
                                                                                                                  parties, and does not guarantee the accuracy of any information
                                                                                                                  in Business Proﬁles.
                                                                                                                  When considering complaint information, please take into
                                                                                                                  account the company's size and volume of transactions, and
                                                                                                                  understand that the nature of complaints and a ﬁrm's responses
                                                                                                                  to them are often more important than the number of complaints.
                                                                                                                  BBB Business Proﬁles generally cover a three-year reporting
                                                                                                                  period. BBB Business Proﬁles are subject to change at any time.
                                                                                                                  If you choose to do business with this business, please let the
                                                                                                                  business know that you contacted BBB for a BBB Business
                                                                                                                  Proﬁle.
                                                                                                                  As a matter of policy, BBB does not endorse any product, service
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     Complaint Type: Problems with Product/Service         Status: Answered
                                                                                                     08/26/2021
                 This is just one of the amazing companies that are calling me non stop about my cars
                 extended warranty. You cannot block the number because the somehow change it. I get
                 at minimum 8 calls a week and sometimes even more. It just so happens to be that I
                 waisted enough of this particular gentleman's time and led him to believe I was actually
                 interested and he gave me the name of the company he was working for. This needs to
                 stop!
                 Desired Outcome
                 No further contact by the business




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           J

       Matrix Warranty Solutions, Inc Response                                                 08/26/2021

       Matrix does not make outbound marketing calls. A lot of the time, companies will falsely state
       they are Matrix and then sell them products that we don't even administrate. It is important to
       press these marketers for the name of THEIR company so we can address with them directly and
       get them to stop. Regardless, we will circulate your number to our internal DNC database with
       marketers we do independently contract with.




     Complaint Type: Problems with Product/Service        Status: Answered
                                                                                                  08/24/2021
                  On July 17, 2021, I purchased an auto warranty over the phone and was expecting to
                  receive the policy by July 22. On July 23, I contacted the 800 number I was given from
                  the original call to report I had not received the policy. I was put on hold by a
                  representative and then disconnected one half hour later. I then called to cancel the
                  policy since the lack of customer service was very telling on what I might be able to
                  expect in the future. Once again, I was disconnected. I ﬁled a dispute with my credit card
                  company that day. After receiving a cancellation notice from the dealer company with
                  respect to the monthly payment on August 16, I realized that the initial payment of $295
                  was not included in the cancellation, Finally reaching a customer service rep on August
                  23, I was informed I would not be refunded unless I submitted a cancellation (of a policy I
                  to date have not received), AND that it was too late to receive a full refund as my 30-day
                  refund period had expired.
                  Desired Outcome
                  Refund



          M

       Matrix Warranty Solutions, Inc Response                                                 08/26/2021

       Matrix has reached out to the seller of this plan. They stated the only call they received from the
       customer was on 8/23. They offered to resend the policy but the customer wanted to cancel. No
       monthly payments have been made and Matrix does not collect any upfront payments so the
       customer would need to speak to the seller or dispute the charge to get refunded.




       Customer Response                                                                        08/27/2021

       (The consumer indicated he/she DID NOT accept the response from the business.) I originally
       reached out to the seller on July 23 to inquire when I might expect to receive the contract. When
       I contacted the seller in August, they indicated they had no record of the call, however, July 23 is
       the same date I ﬁled on on-line dispute with my credit card company after spending over an hour
       on the phone, all but 30 seconds of which was on hold. I was summarily disconnected
       disconnected after that brief encounter. I tried again to speak to someone to cancel the plan as
       such poor customer service did not bode well for a future relationship. This was yet another
       unsuccessful call. "Transferring" me to someone resulted in another disconnect. As it is the
       business' duty to put the contract in my hands, and they did not, how can I be expected to
       comply with what I have no knowledge of? I will attempt to speak to the seller again, though it is
       they who directed me to Matrix.




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          M

       Matrix Warranty Solutions, Inc Response                                                 08/30/2021

       We apologize for your experience trying to get your contract. Matrix will also follow up with the
       seller and make sure they know you will be calling. If you disputed the charge already, there may
       not be anything to discuss with the seller at this point.




     Complaint Type: Problems with Product/Service        Status: Answered
                                                                                                 07/29/2021
                  Predatory tactics - Ask the rep to see the coverages - they sday they dont have it and only
                  release it after i make a purchase. Annoying and Unwanted calls - coming from spoofed
                  phone numbers that when you call back - they're disconnected. Calls at all times of day.
                  The last phone call i received was from 813-544-5440 and then was transferred to
                  "Element" at 866-234-3173
                  Desired Outcome
                  Contact by the business; If you do not stop calling me, I will release the owner's home
                  addresses and contact information on social media.



           K

       Matrix Warranty Solutions, Inc Response                                                 08/02/2021

       Matrix does not make outbound calls. We will, however, circulate your number and add it to all
       the third party marketer's DNC lists.




       Customer Response                                                                       08/03/2021

       (The consumer indicated he/she DID NOT accept the response from the business.) Matrix does
       not make outbound calls?!? If you pay a third party to make calls and provide leads, you, by
       proxy, make outbound calls.




           K

       Matrix Warranty Solutions, Inc Response                                                 08/03/2021

       Matrix does not pay any third-parties to make calls for us. We don't sell or make sales. We simply
       administrate claims for Element programs. Matrix does not control, direct, oversee, or manage
       how these call centers operate their businesses and conduct their calls, other than a speciﬁc
       clause in the contract that requires them to comply with all state and federal law when selling
       Matrix policies. See Jones v. Royal Administration Services, Inc., 887 F.3d 443 (9th Cir. 2018)
       (court held that the Administrator was not liable because the telemarketer was its own
       independent business that sold VSCs for multiple companies without direct supervision of seller,
       telemarketer provided its own equipment, set own hours, and only received payment if one of its
       employees made a sale, and although seller had some control over telemarketer, it did not
       speciﬁcally control the calls at issue).




     Complaint Type: Problems with Product/Service        Status: Resolved




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                                                                                                     06/17/2021
                  Matrix Warranty has failed to issue me a refund after over two months. The
                  representatives have told me it was in the process of being sent - still nothing. I want this
                  fraudulent company to refund my money. Now.
                  Desired Outcome
                  Refund



          H

       Matrix Warranty Solutions, Inc Response                                                    06/17/2021

       A refund has been issued on 6/14/21 to credit card ending in 2513 for $295.




       Customer Response                                                                          06/18/2021

       (The consumer indicated he/she DID NOT accept the response from the business.) My bank has
       no record of this refund. Please provide written proof of the refund.




          H

       Matrix Warranty Solutions, Inc Response                                                   06/22/2021

       Please see attached conﬁrmation that the money has been refunded.




       Customer Response                                                                         06/23/2021

       (The consumer indicated he/she ACCEPTED the response from the business.)




     Complaint Type: Problems with Product/Service         Status: Answered
                                                                                                    05/03/2021
                  RE: 2010 Mercedes (Policy # ELESTXXXXXXX / VIN XXXXXX), Mercedes Dealership
                  Service- WDDHF5GB8AAXXXXXX Chris w/Claims Services /Compliant Division, As the
                  customer, we are very frustrated by this entire process of getting our car repaired. The
                  earlier part of March we brought our car in to Bloomington-Normal Mercedes Services
                  department to be repaired and shared that we had a warranty by Matrix Warranty that
                  covered our 2010 Mercedes. Matrix is refusing to repair our car because it says the part
                  that the service department says is worn, they are saying it's not. They actually had the
                  service department to tell us it needed to be torn down ($3,000) before they could
                  authorize repairs. But now is saying they never said this.. Now they are refusing to deny
                  or approve the work because they are claiming the part is not worn. Mercedes service
                  dept (Karli) says their tech folks says it is. This has been going on for a month. We are
                  requesting repairs or refund of our warranty.
                  Desired Outcome
                  Repair




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          W

       Matrix Warranty Solutions, Inc Response                                                05/07/2021

       Matrix is thoroughly reviewing the claim because no failures could be veriﬁed other than a
       printout for timing correlation codes. Since we could not obtain the referenced TSB we
       requested additional diag to eliminate any other faults with the express condition not to perform
       any extraordinary teardown, only enough to demonstrate failure. Shop tore down front end of
       vehicle and provided pictures of their ﬁndings even though the bulletin that the shop provided
       states NOT to teardown but to explore with a borescope. At this point, the claim is neither
       approved nor denied because the pictures that the shop sent for the gear in question looks like
       new and does not compare to the sample pictures in the bulletin from Mercedes. In order to
       bring this claim to a conclusion, Mercedes is going to order a new part and compare side by side
       with the old gear, and if there is noticeable wear found, than we can proceed with the claim. We
       apologize that this claim has taken longer than is typical to verify.




       Customer Response                                                                       05/13/2021

       Chris w/Claims Services /Compliant Division, Below and the attachments are the response by the
       Mercedes Dealership Service to your response on the Better Business Bureau to my complaint.
       Before I respond to the Better Business Bureau, I am requesting your response if you are going
       to cover the repair as noted below and all the pictures attached which shows the worn balance
       shaft, etc... I have also copied Better Business Bureau on this note and will await a response in 5
       working days. It is noted this claim has been ﬁled since the early part of March 2021. It is more
       than reasonable to get a response, either yes you will cover the claim with the added information
       provided by Randy, the manager at the shop. He has tried to reach you several times, but no
       response. Please advise ******* & ****** ****** Halbert XXX-XXX-XXXX




     Complaint Type: Problems with Product/Service       Status: Answered
                                                                                                 04/28/2021
                  See Attached




           R

       Matrix Warranty Solutions, Inc Response                                                04/29/2021

       Matrix cannot ﬁnd this consumer in their system with the information provided. Please provide us
       with the contract number so we can proceed.




     Complaint Type: Guarantee/Warranty Issues       Status: Answered




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                                                                                                     03/08/2021
                  Purchased an extended warranty from VVA - Matrix . In Oct truck needed work that
                  should have been covered under the warranty, they denied the claim due to a
                  modiﬁcation (oversize tire on the truck) 1. The tire size had nothing to do with the issue 2.
                  After daily phone calls, someone ﬁnally told me that: 1. we should have been asked about
                  any modiﬁcations prior to issuing a warranty (the tires were literally put on the day after
                  the truck was bought) 2. someone should have inspected the vehicle to make sure there
                  were no modiﬁcations. In essence, they sold us a warranty that was null and void from
                  Day One. I have spoken with them weekly, sometimes daily since November 5th
                  requesting a refund since it never should have been sold to us in the ﬁrst place. I was told
                  on January 4th that a refund was approved. March 6th - still no refund and no one will
                  return a call or email.
                  Desired Outcome
                  Refund



           B

       Matrix Warranty Solutions, Inc Response                                                     03/15/2021

       Matrix has reached out to the seller and conﬁrmed that your refund check will go out today 3/15.
       Thank you for bringing this to our attention.




       Customer Response                                                                           03/19/2021

       (The consumer indicated he/she DID NOT accept the response from the business.) Still no refund
       received.




           B

       Matrix Warranty Solutions, Inc Response                                                     03/23/2021

       Mail has been slow lately. Please give it until Friday 3/26. If you still have not received it by then,
       let us know.




     Complaint Type: Problems with Product/Service          Status: Answered
                                                                                                      02/18/2021
                  see Attached document Click here to Get the File - use the Password: EXXXXXE0
                  https://bluecomplaints.bbb.org/attachment/?c=XXXXXXXX
                  Desired Outcome
                  Other (requires explanation) see Attached document



          G

       Matrix Warranty Solutions, Inc Response                                                     02/19/2021

       Matrix is waiting on the customer to provide the invoice/receipt so we can reimburse the
       customer per our contract. Matrix has requested several times and has not received anything as
       of yet. Please send the invoice/receipt to ********@matrixprotection.com.




     Complaint Type: Problems with Product/Service          Status: Answered



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                                                                                                   01/28/2021
                  Matrix will not issue deposit refund after cancelation. I was sold a roadside
                  service/coupon warranty. I was told that once I received the contract in the mail that I
                  could cancel and get a refund in the ﬁrst 30 days. Ashley ******** XXX-XXX-XXXX sold this
                  to me. I found out what it was and canceled on December 31st 2020. I thought they were
                  selling me a full coverage warranty. But this is a $2000 a year copay for 5 years. It's not
                  what I was wanting. I called back on 1/5/21 to check on my refund because it was not
                  received. I was told that it would take 10-12 days. I called back on 1/27/21 and the operator
                  said it has been a while and I should have received my refund by now. She said that her
                  accounting department was at lunch and they would call me back that same day. I have
                  not received a refund or a call back after 3 attempts. I have to keep calling back. I do not
                  like their business dealings or refund practice. Attached is the contract number and
                  contact info.
                  Desired Outcome
                  I would like for you to warn others of this companies business dealings and help me get
                  my refund.



           T

       Matrix Warranty Solutions, Inc Response                                                   02/01/2021

       This was refunded on 1/28/21 back to a MC ending in **** for $295.




     Complaint Type: Billing/Collection Issues     Status: Answered
                                                                                                   12/12/2020
                  Trying to cancel and get a refund for this contract I didn't want or agree to. When I called
                  to cancel this contract the GM of customer care Brian ****** told me I have to write a
                  notarized letter with the make, model, year, VIN of my car to their company certiﬁed mail
                  to cancel because it was passed the 30 days. He asked why I didn't cancel when they
                  sent the email. I never got an email from them. He said they mailed a booklet. I never
                  received a booklet. I only received a welcome letter from a company called Matrix
                  payment solutions passed the 30 days. He identiﬁed the company as Drive Smart. The
                  charge also on my credit card is Drive Smart. He also repeated the email they sent it to, It
                  was not my email address, this is why I never received any email so I could cancel within
                  the 30 days. This was a very emotional conversation and at the end he stated that he
                  needed my mileage on my car. I responded no you don't. He hung up the phone. I just
                  want a refund for the charges and cancellation of this contract. They never gave me the
                  opportunity to cancel within the 30 days because they never sent me an email and Brian
                  ****** conﬁrmed that when he told me this is the email we sent it to and it wasn't my email.
                  Desired Outcome
                  A refund of 163.35 and cancellation of service contract



           B

       Matrix Warranty Solutions, Inc Response                                                   12/14/2020

       Thank you for bringing this to our attention. Matrix has spoken to DriveSmart and they will be
       issuing a full refund to the customer.




     Complaint Type: Advertising/Sales Issues       Status: Answered




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                                                                                                    12/08/2020
                  relentless with countless telemarketing calls which they pressure you to sign up for this
                  warranty and tell you this is your only chance to get it. Received several calls about
                  signing up for this warranty . call made to Nissan service center where they told me I
                  could use the vouchers and the service center had never even heard of them. They in fact
                  told me that there are a lot of scams out there involving older auto warranty services.
                  They try to pressure you into purchasing the plan by saying they don't do call backs which
                  is a lie. They have called me weekly. They claim it will cover almost anything that will go
                  wrong with your car. All you will have to pay is 100 dollar deductible even if your
                  transmission needs to be replaced. There is no local oﬃce to visit and you can't have
                  anything in writing of what the offer is until after you pay the money.
                  Desired Outcome
                  take me off of their robocalls list.



          D

       Matrix Warranty Solutions, Inc Response                                                   12/09/2020

       It would be helpful if Matrix has the name of the marketer so we can reach out directly and
       address these issues with them. Please send along if you do. In the meantime, Matrix is adding
       the consumer's number to all applicable DNC lists so they are no longer contacted.




     Complaint Type: Guarantee/Warranty Issues           Status: Answered
                                                                                                    12/01/2020
                  We have Service Contract since 8/29/19. The car was at Bob Howard Nissian in OKC for 2
                  weeks called Matrix to get ﬁxed. They never reached anyone. I have talked to several
                  different people and all I get is a run around.When the Nissan dealership called the claims
                  number XXX XXX XXXX,they said the only thing they had for us was for a 2015 Versa.I
                  told them I did not take out a contract for a 2015 Versa. They claimed that is all they had. I
                  called back and spoke to a Arshia.He told me the same thing. I told him that I have a copy
                  of my contract in my hand. He asked me to email him a copy. I did. Then I was sent from
                  one person to another. I called the BBB in Santa Ana, Ca. about Clear Path Auto 1920
                  Dyer Rd They had the contract. The lady told me to call the BBB in Dallas,TX. Before I did
                  that, I called XXX XXX XXXX and spoke to Gabriel. He was rude. I asked to speak to his
                  supervisor. He told me he was busy. I told him that I would hold. He had me on hold for
                  one hour. Then he came back on the line and said what do you want. I said I need
                  someone to talk to the service department in OKC and speak to Mr. Bryan Atkinson. He
                  said give me the number. He called and spoke to Mr. Atkinson. He told Mr. Atkinson that
                  the things he mentioned were not covered .I called Mr. Atkinson and read what was
                  covered. He said they should honor it and ﬁx it. According to what I read to him, it is
                  covered
                  Desired Outcome
                  I would like my car repaired or refund me all the money I have paid since 4/29/19. Then I
                  will get the car repaired.



          C

       Matrix Warranty Solutions, Inc Response                                                   12/02/2020

       Matrix has investigated the claim. The contract was reported to us with the incorrect VIN. Due to
       the discrepancy, Matrix could not facilitate service until this was resolved. Matrix Customer
       service reached out to the marketer of the contract on behalf of the customer and apprised them
       of the situation. They were able to get the correct VIN for the vehicle and proceed with the claim.
       The repair facility reported that there was CVT transmission and exhaust manifold failure which is
       not covered in the customer's contract therefore the claim was properly denied.




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       Customer Response                                                                       12/08/2020

       (The consumer indicated he/she DID NOT accept the response from the business.) First of all. I
       did not give them the wrong vin number. They had a wrong car. I had to email my contract and
       my insurance to them because they kept saying I had a 2015 Versa.That took about three or four
       phone calls before that was straighten out. Secondly why do I have to send them a contract that
       they provided to me. When I read what was covered by the contract to the service department.
       They said it was covered no question about it. In fact, the service person said who would take out
       a policy if nothing was being covered. I have been paying on this contract since 08/29/19 . I have
       133.46 tken out of my check every month, If They had the wrong vin number, they did not have
       the wrong checking account. They did not miss a payment.I have made 21 payments at133.46.
       That is 2,802.03,but nothing covered. The service department at Bob Moore Nissan said the car
       need a transmission,axel sills,and a cracked manifold. According to the contract,this is what is
       covered. Transmission case ( only if damaged by internally lubricated parts) and all
       internalLubricatedParts of the transfer casDrive Axle components: Drive Axle Housing ( only if
       damaaged by internally lubricated parts ) and all internalLubricated Parts of the Drive AxleShafts.
       Universal jointsconsstart velocityjoints: LockingHubs. Enhanced Powertrain coverage: Covered
       components are categorized br related vehichle systems.If a covered componentfalls during the
       term of the contract and in accordance with the coverage options and surchargesit will be
       covered. I dont want this to happen to anybody else. We have paid enough to pay for things
       ourselves. I dont speak mechanic,but the service department at a reputabble dealership. I have
       kept copious notes on each conversation .




          C

       Matrix Warranty Solutions, Inc Response                                                  12/15/2020

       Firstly, there was a VIN mismatch. The customer may have provided the correct VIN but it did not
       match the car also reported to Matrix. Secondly, Matrix has nothing to do with the customer's
       payments. The ﬁnance company would be the company that is pulling any payments from the
       customer. And lastly, about coverage, as far as the claim goes, her argument is that the
       transmission is listed for coverage which is correct. However, this is a Nissan CVT which is listed
       as excluded in the exclusions section. The axle seal and exhaust manifold are not listed for
       coverage on EP stated VSC.




     Complaint Type: Problems with Product/Service        Status: Answered
                                                                                                  12/01/2020
                  They take advantage of the elderly, don't respond to requests, then lie about it to keep
                  money that was promised to be refunded. Very dishonest scam. My father was talked into
                  a contract by a pushy salesman over the phone. He decided after a week to cancel (he
                  had 30 days). He called multiple times and was told they would get back to him. They
                  never got back to him after several weeks, so he asked me for help. When I called, I got
                  the run around from several people, including being given a bogus email address to send
                  a letter of cancelation to. I was ﬁnally promised he would receive a refund of the down
                  payment and ﬁrst payment within 5-7 business days, which never arrived. The next month,
                  another payment was taken out. When I called again to inquire on the refund, the
                  manager (Scott) was a rude, pompous, a**hole, who "lectured" me on how my dad, who is
                  mostly blind) shouldn't be purchasing things if he can't read. He said the recent payment
                  would be refunded, but not the down payment or ﬁrst payment, as it was past the 30
                  days, even though my dad called multiple times the ﬁrst 30 days, but was put off until
                  after the 30 days was up. It appears this was intentional, so they could scam him out of his
                  money. This company has no integrity, and horrible customer service, and seems to prey
                  on elderly victims with pushy salesmen. Stay clear of them.
                  Desired Outcome
                  They should refund the whole $528.34, including the down payment and ﬁrst month's
                  payment of 361.67 and the December payment of $166.67.




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           B

       Matrix Warranty Solutions, Inc Response                                                      12/02/2020

       Matrix shows that the contract has been canceled by the seller. The customer will receive a full
       refund.




     Complaint Type: Billing/Collection Issues       Status: Answered
                                                                                                        11/23/2020
                  Mr.******* **** rudeness ******* asked info about my monthly expenses after I told him this
                  info he kept saying you just got paid 2 days ago &I can afford to pay $97 a month for the
                  next 4 yrs on vehicle warranty which he also said I should borrow money from someone
                  in order to make this 1st payment he also kept saying you just got paid 2 days ago..what
                  did you do with your money? I asked if better business bureau knew about their business
                  he said yes..he insisted I borrow money to make this payment..i was frustrated so I hung
                  up on him
                  Desired Outcome
                  no further from this ******* **** ..I really do not care for rude people that can'ttake no for an
                  answer



           B

       Matrix Warranty Solutions, Inc Response                                                       11/30/2020

       Matrix is investigating the consumer's claim. There is nobody with that name that is employed by
       Matrix. We will add the consumer's telephone number to all applicable DNC lists so they are not
       contacted again.




     Complaint Type: Problems with Product/Service           Status: Answered
                                                                                                        10/16/2020
                  I purchased a warranty on 9/11/20 in the amount of $2745 from Clear Path Auto requested
                  to cancel warranty on 9/29/20 was not given full refund. On 9/29/30 requested to cancel
                  warranty cancelation processed but a $75 cancelation fee. According to the contract if
                  canceled within 30 days of effective date which was 9/11/20 a full refund would be issued
                  which I paid $2745 on my Visa. I purchased the warranty from ******* ********* at XXX-XXX-
                  XXXX@ Clear Path Auto in Santa Ana Ca
                  Desired Outcome
                  Per contract a full refund would be process if within 30 days. If there is a cancelation fee it
                  should be stated in the contract



           P

       Matrix Warranty Solutions, Inc Response                                                      10/08/2020

       Thank you for bringing that matter forward - Unfortunately, Road America does not process
       cancellation for the clients extended warranty. Instead, we are a 3rd party company that provides
       roadside assistance. I reached out to Ms. ****'s extended warranty (MATRIX/Clear Path Auto) -
       they advised me the following on regards to Ms. ****'s cancellation- This client was refunded
       indeed, minus a $75 cancellation fee which in California I am entitled to charge We pulled her
       recording and she agreed to the cancel fee with out any questions. It seems that she was
       contacted and her warranty was cancelled and she was refunded Please let me know if anything
       further is needed - thank you




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       Customer Response                                                                       10/09/2020

       (The consumer indicated he/she DID NOT accept the response from the business.) I disagree
       with Road America Motor Club decision but Clear Path Auto is a seller & agent for RAMC as
       stated on one of the pages I forwarded to your attention. I believe RAMC & Clear Path should
       honor there written statement if canceled in 30 days of effective date a full refund would be
       processed no mention of a cancelation fee. When I did call ******* @Clear Path to process
       cancelation on 9/29/20 thy didn't mention a cancelation fee until the every end . I called back
       right away & no answer so I left a voice message regarding the fee did not return call
       until10/2/20. Clear should put an insert stating their cancelation fee.




           P

       Matrix Warranty Solutions, Inc Response                                                 10/09/2020

       Hello - as I explained earlier, Road America does not handle nor refund any warranty policies, we
       are a motor club who does roadside assistance for various companies - Unfortunately, Ms. ****
       would need to reach out to Matrix Warranty (Clear Path) directly to dispute this - I do not have any
       authorization or permission to speak on their behalf. here is their contact information: Matrix
       Warranty Solutions Inc. **** ******** Street, Suite *** Dallas, TX XXXXX (XXX) XXX-XXXX




       Customer Response                                                                       10/09/2020

       (The consumer indicated he/she DID NOT accept the response from the business.) Can you
       forward this information to Matrix Warranty in Texas. Thank you ******** ****




           P

       Matrix Warranty Solutions, Inc Response                                                 12/28/2020

       The consumer's complaint has been forwarded to our compliance department. Matrix will be
       following up directly shortly.




     Complaint Type: Advertising/Sales Issues         Status: Answered
                                                                                                  10/13/2020
                  This company uses autodial robocalling in order to solicit business from calls on the do
                  not call registry I was called on 10/8/2020 at 2:56PM. My phone number is registered on
                  the national do not call register and I was asked to press 1 to speak to a person. This
                  indicates usage of an autodialer. I spoke with an operator named Jamie who referred me
                  to Elements website and asked if I was interested in the Ultimate care package. This
                  shows that they were soliciting me for business and not an authorized violation of the do
                  not call registry.
                  Desired Outcome
                  Business contact to rectify this.




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           R

       Matrix Warranty Solutions, Inc Response                                                  10/15/2020

       Matrix does not make outbound calls. Matrix is investigating and will reach out to the consumer
       directly if we are able to determine where the call originated from. In the meantime, we have
       circulated the consumer's number to all applicable DNC lists.




     Complaint Type: Advertising/Sales Issues      Status: Resolved
                                                                                                 09/30/2020
                  Continuing Harassment On numerous occasions for the last 18 months I have asked to be
                  taken off there mailing and phone list and I continue to get calls from there contracted
                  people to make calls for them. The last number to call me was XXX-XXX-XXXX. If I call
                  the number back the recording says the number is disconnected, There contracted
                  people continue to call me to get me to buy there extended car warranty, Maybe you can
                  get them to stop calling me? Thank you
                  Desired Outcome
                  Have my number removed from there mailing list,



          N

       Matrix Warranty Solutions, Inc Response                                                  10/01/2020

       Matrix has added your number to all the applicable Do Not Call lists. If you do get another call,
       please ﬁnd out the name of the company calling so Matrix can address them directly.




       Customer Response                                                                       10/05/2020

       (The consumer indicated he/she ACCEPTED the response from the business.) They are taking my
       name and number off Finally after 18 Months




     Complaint Type: Advertising/Sales Issues      Status: Answered
                                                                                                 09/08/2020
                  Company is aﬃliated with Fulﬁllment Centers generating leads from spoofed RoboCalls. I
                  have been contacted several times per day almost every day. Several requests have
                  been made to remove me from the call list. Rude People calling me. I have been cursed,
                  threatened, and told to **** Off when I complain about the numerous calls. The company
                  agent I spoke with told me these calls were coming from Fulﬁllment centers and not from
                  them. I went along with one of the sales pitches, they told me that my powertrain warranty
                  had expired and I needed an extended warranty. This was on a 2019 Dodge Durango
                  with 40,000 miles. The factory warranty goes to 60,000 miles on this vehicle. This
                  company or their aﬃliates are misleading people and selling them a very expensive
                  product based on a lie. I am not that stupid, but I am very annoyed about the A+ rating. It
                  makes your organization appear as untrustworthy as Matrix. Please take another look at
                  this and all of the other complaints these people receive.
                  Desired Outcome
                  I want you to be aware of this company's business practices, and I wish to have no other
                  contact with them. I want the calls to stop!! I don't care who or what business called me,
                  but I followed through with the sales pitch and it led me to Matrix. I know several people
                  who get the same calls so I know this is a widespread problem with these people.




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           B

       Matrix Warranty Solutions, Inc Response                                                09/15/2020

       Matrix has reached out all independent marketers to investigate this claim. Matrix received zero
       hits meaning nobody Matrix does business with made the calls to this number. It is possible the
       calls were being made by an unaﬃliated source. In good faith, we have circulated the number to
       be put on all applicable DNC lists.




       Customer Response                                                                      09/17/2020

       (The consumer indicated he/she DID NOT accept the response from the business.) "Matrix has
       reached out all independent marketers to investigate this claim." -Matrix did not provide proof of
       this statement to me. "Matrix received zero hits meaning nobody Matrix does business with made
       the calls to this number." -This is a misleading statement. Nobody matrix does business with?
       Who/What is an "unaﬃliated source"? "It is possible the calls were being made by an unaﬃliated
       source." -Wouldn't this be considered someone you do business with? In good faith, we have
       circulated the number to be put on all applicable DNC lists. -I have received 3 more calls since I
       made this complaint. If I receive another one I am going to follow through with the sales lead and
       If it ends up at your doorstep I will ﬁle another complaint.




           B

       Matrix Warranty Solutions, Inc Response                                                09/18/2020

       Matrix encourages the consumer to get as much information about the marketer as possible. If
       Matrix actually has the name of the marketer, we can determine whether they are illegally using
       our name to solicit business. No marketer should represent themselves as an agent, employee,
       or otherwise for Matrix.




     Complaint Type: Problems with Product/Service       Status: Answered
                                                                                                08/12/2020
                  This company refuses to stop taking money out of my account! I have canceled my
                  contract and even spoke to them on several occasions! STOP The company offered to
                  lower my monthly payments but refused to acknowledge, no mean no! Purchasing this
                  and believing that I could cancel and get my money back, was a big mistake!! They make
                  it so diﬃcult to get your contact canceled and then continue to charge!!!
                  Desired Outcome
                  I would like my 300.00 plus dollars back. I would also like them to stop taking money out
                  of my account! I want this resolved!



           L

       Matrix Warranty Solutions, Inc Response                                                08/13/2020

       Matrix has reviewed the customer's complaint. Matrix is showing the customer as cancelled in
       their system. Matrix has also checked with the ﬁnance company who is responsible for taking the
       payments and the customer is showing as cancelled in the ﬁnance system as well. The customer
       should not be getting charged moving forward. For a full refund they would need to reach out to
       the selling dealer on their contract.




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       Customer Response                                                                       08/17/2020

       (The consumer indicated he/she DID NOT accept the response from the business.) They took
       money out of my account just this past week!! If i'm canceled in the system you should contact
       them! I have and it doesn't matter! They conﬁrmed its canceled but keep trying to rob me! I
       should have just canceled my card the second time these people told me this was settled! Please
       provide me with the name of the seller dealer on my contact because I discarded all that
       information, as I awash told my contract was canceled! I truly don't believe I'll get any refund let
       alone a full one. I have talked to the seller dealer before and it doesn't make a difference!
       Provide me the name of the person who will give all my money back!




           L

       Matrix Warranty Solutions, Inc Response                                                 08/18/2020

       Matrix received conﬁrmation on 8/13 that the money was refunded to the card ending in ***** If
       the contract is showing as canceled from the ﬁnance company, there is no way any future
       charges will occur.




     Complaint Type: Advertising/Sales Issues       Status: Answered
                                                                                                06/28/2020
                  The sales call centers representing this company continue to call my personal cell phone
                  every week despite my asking them to remove my number. I receive one to two phone
                  calls per week on my cell phone from the sales call centers associated with this company.
                  I have asked numerous times to have my phone removed from their call list yet they
                  continue to call. Each time they call it is from a DIFFERENT phone number that uses the
                  same area code as my phone number so it is very diﬃcult to screen these calls. I have
                  spoken directly with the call centers on several occasions. They claim to represent Matrix
                  Warranty Solutions Inc and when I ask to remove my phone number they tell me they will
                  do so and then hang up on me. I have even stayed on the phone long enough to be
                  connected to the "Activation Department" and asked to have my phone number removed
                  with the same results (they tell me they will remove it and then hang up on me). Finally, I
                  called Matrix Warranty Solutions directly and asked to be removed from their call list and
                  was told they would remove my number from all call centers. However I am still getting
                  phone calls weeks later.
                  Desired Outcome
                  I want to stop receiving phone calls from their sales associates.



          C

       Matrix Warranty Solutions, Inc Response                                                 07/01/2020

       Matrix has spoken to the consumer and has added their number to all applicable DNC lists and
       has also reached out to any independent aﬃliates and made sure the consumer's number is on
       their internal lists as well. The consumer should not be contacted anymore.




       Customer Response                                                                      07/03/2020

       (The consumer indicated he/she DID NOT accept the response from the business.) I have
       received two additional calls from the "Warranty Services" aﬃliate program de making this
       complaint. One at 10:44 on Wednesday July 2, 2020 and one at 12:35 on June 29, 2020.




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          C

       Matrix Warranty Solutions, Inc Response                                                  07/07/2020

       Matrix is not familiar with any "Warranty Services" company. It is possible that they are being
       contacted by an unrelated party that is illegally using our name with the intent to sell them
       another product. Matrix asks for more information on the actual company calling the customer so
       we can investigate further and demand they stop.




     Complaint Type: Advertising/Sales Issues       Status: Answered
                                                                                                  06/25/2020
                  Frequent calls offering "warranty" service on my car. Frequent "spoofed" calls from
                  numbers in the same area code as my cell phone. Since I've moved from that area, I don't
                  get calls from there and usually ignore and block the number (14 blocked numbers to
                  date). However, the call frequency has increased so I waited for someone to take the call
                  and then asked them to place on the Do Not Call list. However, the calls keep coming.
                  Subsequently, I have now taken the call provided minimal information necessary to get to
                  the next level of sales pitch. At that point, I have asked to be placed on the Do Not Call
                  list. I was promptly hung up on and apparently not placed on the list since I've been called
                  repeatedly since then. Today, I followed through with listening to the same sales pitch
                  and ﬁnally asked who the "warranty" was through. "James" told me it was "Matrix
                  Warranty Solutions" and told me to check it out online and noted that they have been in
                  business for 17 years and have a great BBB rating. I then asked him to stop calling me and
                  he disconnected without even saying good-bye (and we were having such an interesting
                  conversation). I've viewed the other BBB complaints of a similar nature and it seems
                  Matrix frequently states that they don't do outbound calls and take every step possible to
                  absolve themselves of responsibility for this harassment and waste of time. My phone
                  number has been on the national DNC registry since I obtained this line and I update it
                  yearly. I should have never received a call in the ﬁrst place. Perhaps Matrix should not
                  engage with unscrupulous vendors who are willing to violate the TCPA and/or other
                  applicable privacy regulations. Simply stating that you don't make the calls is truthful, but
                  ignores that Matrix remunerates the caller in some fashion and complacency is
                  tantamount to permission. Based on the prior BBB complaints listed here - Matrix has
                  knowledge these calls are happening and has turned a blind eye.
                  Desired Outcome
                  Matrix Warranty Solutions needs to investigate the origin of the calls and ensure vendors
                  representing them are following appropriate TCPA guidelines.



           J

       Matrix Warranty Solutions, Inc Response                                                  07/01/2020

       Matrix does not condone violations of the TCPA laws and is actively going to all independent
       aﬃliates and making sure they comply and diligently check the DNC lists prior to conducting their
       business. Matrix has also made it a point to address with any marketer that they not identify
       themselves as a Matrix employee which is a misrepresentation and factually not true. Matrix
       hopes this will prevent more claims like this from happening.




     Complaint Type: Advertising/Sales Issues       Status: Answered
                                                                                                   06/18/2020
                  I am on the do not call registry and they continue calling using spoofed phone numbers to
                  sell their car warranties I am on the do not call registry and they continue calling using
                  spoofed phone numbers to sell their car warranties. I will also be ﬁling a complaint with
                  the do not call registry.
                  Desired Outcome
                  I do not want any more spam calls from them!




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           K

       Matrix Warranty Solutions, Inc Response                                                  06/23/2020

       Matrix has investigated the issue and has determined that the calls are not coming from Matrix or
       any independent aﬃliate that Matrix has a relationship with. That being said, Matrix has added
       this number to all the appropriate DNC lists so this customer should not be receiving any more
       calls.




     Complaint Type: Advertising/Sales Issues       Status: Answered
                                                                                                  06/16/2020
                  Illegal unsolicited calls. I have received robo calls over and over from this company. My
                  phone# is on the DNC, is a cell phone, and belongs to a business. That is 3 violations per
                  call on the TCPA. I have asked to be removed from the list multiple times, and they
                  continue to call. This is the ﬁnal attempt to resolve this issue before I take legal action.
                  Desired Outcome
                  Stop calling me.



           P

       Matrix Warranty Solutions, Inc Response                                                  06/23/2020

       Matrix has investigated the issue and has determined that the calls are not coming from Matrix or
       any independent aﬃliate that Matrix has a relationship with. That being said, Matrix has added
       this number to all the appropriate DNC lists so this customer should not be receiving any more
       calls.




     Complaint Type: Guarantee/Warranty Issues         Status: Answered
                                                                                                  05/21/2020
                  Warranty agreement on 6/18/19 with Complete Auto Care with Matrix Warranty Solutions
                  owning the administrative duties. On 3/19/20 denied claim On 3/19/20 Matrix refused to
                  pay claim submitted by Mercedes Benz of Northlake, Charlotte NC.. for command center
                  problem (Navi-Audio). Matrix claims Rick VP of claims states pre existing issue. Nic Collins
                  and Service manager (only place that has worked on vehicle) of Northlake Mercedes
                  Benz disagree. deﬁnition in War contract states "The repair or replacement of any motor
                  vehicle component that was not properly operating in accordance with manufacture's
                  speciﬁcations at the time this Service Contract was sold (i.e. pre-exsisting conditions)."
                  The dealership states the vehicle was operating correctly until submission of claim in
                  20/20.
                  Desired Outcome
                  I wish Matrix to authorize the repair of my vehicle with Mercedes Benz dealership



          W

       Matrix Warranty Solutions, Inc Response                                                 05/26/2020

       Customer has had an ongoing concern with Satellite radio and audio system being inoperative
       and system rebooting. This is an intermittent concern and he has taken to the shop multiple times
       for diagnosis. On most of those visits the shop was unable to verify any failure. This VSC has an
       amended wait period of 60 days 500 miles that started on 8/19/19 @ 28,513 miles. We acquired
       and invoice dated 9/26/19 @ 28,474 miles, 39 miles left on wait period, which documents the
       technician did observe the concern but was unable to diagnose due to lack of codes. The
       technician did mention that PTSS cases he researched stated that replacement of the radio
       command unit may address concern, no repairs were performed. The above indicates that this
       concern is pre-existing to the start date/miles of the VSC.




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       Customer Response                                                                     05/28/2020

       (The consumer indicated he/she DID NOT accept the response from the business.) According to
       the Complete Auto Care service contract, administered by Matrix Warranty Solutions, article E
       section 2, it deﬁnes a pre-existing condition. Per the attached ﬁle, "The repair or replacement of
       any motor vehicle component that was not properly operating in accordance with manufacturer's
       speciﬁcations at the time this service contract was sold (i.e. pre-existing conditions)" is not
       covered. Both the service manager and service adviser from Mercedes Benz of Northlake attest
       that this is not a pre-existing condition. Furthermore, they advised Matrix Warranty Solutions it
       was not a pre-existing condition. Therefore, based on this language and the endorsement from
       an authorized Mercedes Benz dealer/repair shop, the issue with my radio/audio system does not
       fall under a pre-existing condition. The contract started on 6/18/19. It did not start on 8/19/19.
       Please see the attached ﬁle that shows the 6/18/19 starting date. Therefore, I was outside the
       waiting period of 30 days (see attached ﬁle). In addition, the ﬁrst time a claim was ﬁled was in
       2020. The 8/19/19 contract date is invalid based on the contract I've attached to this response. In
       September of 2019, based on the language in the contract, the radio/audio system was operating
       according to manufacturer's speciﬁcations per Mercedes technicians, service adviser and service
       manager. That is why no repairs were made.




          W

       Matrix Warranty Solutions, Inc Response                                               06/03/2020

       The following was copied directly from the repair order dated 9/23/19 @ XXXXX miles, 39 miles
       before the wait period ended, clearly showing an intermittent pre-existing condition. In addition
       the customer requested to add a luxury electronics package after purchasing the contract and
       also agree to amend the wait period 60 days and 500 miles which was conﬁrmed with the seller:
       CUSTOMER STATES WHEN PHONE IS BLUE TOOTHED OR PLUGGED IN IT **** SAY AT TIMES
       ACQUIRING SIGNAL POSSIBLE SATELLITE RADIO CONTROL UNIT FAULTY OR POSSIBLE THAT
       NEW IPHONE TECHNOLOGY AND SOFTWARE DOES NOT SYNC PROPERLY WITH COMAND
       HEAD UNIT. CONNECTED IPHONE VIA BLUETOOTH AND TEST DROVE 3 NIGHTS WHILE
       LISTENING TO SATELLITE RADIO. SATELLITE RADIO CAME ON AND OPERATED PROPERLY
       EACH TIME VEHICLE WAS STARTED WITH GIVING ACQUIRING SIGNAL MESSAGE AND
       BLUETOOTH CONNECTED PROPERLY EACH TIME VEHICLE WAS STARTED- NO ISSUES. ON
       FINAL ATTEMPT TO RECREATE ISSUE, SATELLITE RADIO STARTED AND PLAYED PROPERLY
       AND BLUETOOTH CONNECTED PROPERLY, BUT WHEN A PHONE CALL WAS ATTEMPTED
       THROUGH BLUETOOTH, COMAND RESTARTED ITSELF 2 TIMES IN A ROW. ONCE IT CAME ON
       AND STAYED ON ATTEMPTED BLUETOOTH CALL AGAIN IT CONNECTED PROPERLY AND THE
       COMAND STAYED ON. PERFORMED SDS QUICK TEST AND HAVE NO FAULTS. CHECKED
       ACTUAL VALUES AND FOUND ALL OKAY. CHECKED ALL CODING AND FOUND PROPERLY
       CODES. CHECKED PTSS CASES FOR BOTH A CL AND A 2012 S CLASS, CASES SHOW THAT
       SATELLITE RADIO CONTROL MODULE HAS REPAIRED SOME OF THESE ISSUES, BUT IN
       OTHER CASES THE SATELLITE RADIO CONTROL UNIT WAS REPLACED WITHOUT RESOLVING
       THE ISSUE. SOME CASES STATE THAT THE NEWER TECHNOLOGY AND OPERATING SYSTEMS
       IN NEW PHONES MAY CAUSE ISSUES WITH THE BLUETOOTH. THE COMAND AND SATELLITE
       RADIO IN THIS VEHICLE ARE UPDATED TO THE LATEST Therefore, Matrix has handled the
       claim correctly and in adherence to the terms and conditions of the contract. Matrix asks that this
       complaint be closed out.




       Customer Response                                                                     06/05/2020

       (The consumer indicated he/she DID NOT accept the response from the business.) The Sept
       service visit that Matrix refers too misses two important points. First Sept is 3 months after
       contract was entered into... my contract has a date of 6/19. Second according to Mercedsbenz of
       Northlake nothing is wrong with vehicle.. nothing to ﬁx. I again refer you to language taken
       directly from the warranty book "They repair or replacement of any motor vehicle component that
       was not properly operating in accordance with manufacturer's speciﬁcations at the time this
       service contract was sold (I.e. pre-exsisting conditions)." The service advisor and manager for
       Mercedes Benz dealership **** attest that vehicle was working as manufacturers speciﬁcations at
       Sept. visit. This vehicle failed in 2020.



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     Complaint Type: Advertising/Sales Issues       Status: Answered
                                                                                                  05/12/2020
                  My complaint involves the warranty plan that I purchased and did not receive a receipt.
                  5/11/2020 1:40pm Paid with Mastercard. Rep name is Glenn ******
                  Desired Outcome
                  I asking a company representative contact me with their information and also provide me
                  with a receipt.



           A

       Matrix Warranty Solutions, Inc Response                                                  05/18/2020

       Matrix has investigated the consumer's claim. It appears that the consumer never actually
       purchased a plan. There is no contract in our system. If you feel you've been charged, please
       send us documentation so we can investigate further and handle appropriately.




     Complaint Type: Advertising/Sales Issues       Status: Answered
                                                                                                 04/28/2020
                  Robocalls 3+ times per day about expired warranty. Have pressed 2 to opt out multiple
                  times. For last year received robocalls incessantly. When I ask the company name the
                  person transfers me to a Sales person who when asked company name says Matrix.
                  When I ask more questions they hang up on me. I press "2" to no longer receive calls yet
                  they keep calling. I have blocked 30+ phone numbers and still get their calls.
                  Desired Outcome
                  Stop calling. I don't want your warranty. I've explicitly said to your team SEVERAL times to
                  stop harassing me with these unwanted calls. They hang up before you can get through
                  the whole sentence. Have your front end overseas auto dial company take my number off
                  your list.



           J

       Matrix Warranty Solutions, Inc Response                                                 05/04/2020

       Matrix has investigated this consumer's claim and has determined that no one at Matrix or any
       independent aﬃliate has contacted this consumer. At this point, it seems possible another
       company is fraudulently using Matrix's name without its consent. Matrix will continue to look into
       this matter. Matrix has also passed the consumer's number along to be place on all known DNC
       lists.




     Complaint Type: Problems with Product/Service        Status: Answered




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                                                                                                    04/22/2020
                  Warranty bought in Oct 2019, thur Drive Smart, pd in full on Visa. Now Matrix will not
                  honor. In late Oct 2019, I purchased 5 yr warranty on my 2014 vw Jetta thur Drive Smart,
                  claims to be done thur Matrix. I rec. all my contracts and id card shortly. In Feb.2002. I
                  ﬁled a small maintenance claim that was rejected because they said there was no
                  contract. I have talked back and forth between Drive Smart and Matrix many times. Drive
                  Smart shows they paid for the contract to Matrix, but Matrix denies they received it. As of
                  04/22/2002, It is still denied. I have my receipt for payment for $3300.00, and all the
                  contract work from Matrix. I am contacting Visa next to see what they can do. I have all
                  paperwork and receipts and will send you copies if you give me an address.
                  Desired Outcome
                  It has been 6months with no resolution, so I want a full refund so I can buy warranty witha
                  company that is good. Drive Smart advertises to be on the BBB list., but either it or Matrix
                  is giving me the run around and so far no returns.



          D

       Matrix Warranty Solutions, Inc Response                                                    04/27/2020

       Matrix has investigated the claim and has reached out to DriveSmart. DriveSmart has sent out
       payment and Matrix received payment for the contract on 4/24. Matrix will be getting in touch
       with the customer shortly to handle the maintenance claim.




     Complaint Type: Problems with Product/Service         Status: Answered
                                                                                                    04/21/2020
                  On 3/2/2020 I agreed to a contract with Matrix Warranty Solutions of 195.00 to open
                  account and 151.83 per month for the warranty with the understanding i could cancel
                  within 30 days for full refund. The next day 3/3/2020 I called to cancel as I couldnt afford
                  it. I was told I had to wait for the book to arrive and follow the instructions according to my
                  state. I received the book on 3/13/2020. Followed the instruction, took the odometer
                  reading with letter to cancel with account number in book and sent book and info back to
                  company. Called company as instructions said and gave them my USPS tracking number
                  of XXXX XXXX XXXX XXXX XXXX XX. I was then told I should not have sent book back
                  and would now have to purchase another warranty to complete the cancel process. I said
                  no and I expected a full refund to my credit card as stated in book if cancelled with in 30
                  days. I called my visa card and informed them to not accept any charges from this
                  company Matrix as I have cancelled their services. Next billing another charge for 151.83
                  from Mepco I didn't know who this company was. Called Visa and they told me it was
                  another name for Matrix and also for Protech Vehicle services ph# XXX-XXX-XXXX. Told
                  Visa to cancel card out totally and that I would be ﬁling a Fraud report with the BBB.
                  Called Matrix again on 3/15/2020 and informed them that I mailed the cancelation and it
                  was mailed registered mail. Also that they received it on 3/16/2020 and that J Gundry
                  signed for it at 11:43 am. Informed them my visa account has been cancelled and I
                  expected a full refund as was told to me and in book, as long as I canceled out before 30
                  days. Informed them also that I have ﬁled a fraud report. Have not received any refund,
                  Mailed another letter on 04/17/2020 informing them I have not received any refund and I
                  am ﬁling fraud report with BBB. Other phone numbers given : XXX-XXX-XXXX and XXX-
                  XXX-XXXX. Product_Or_Service: Matrix Warranty Solutions Order_Number:
                  XXXXXXXXXX Account_Number: XXXXXXXXXXXXXX
                  Desired Outcome
                  Other (requires explanation) I would appreciate a Check preferably as I have cancelled
                  out the visa account. The total amount is $346.83. Anyway you can help I would
                  appreciate it and also this report will hopefully prevent anyone else from getting ripped
                  off from this fraudulent company. Thank you ******* **********




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          C

       Matrix Warranty Solutions, Inc Response                                                04/22/2020

       Matrix has reached out to the seller in regards to the complaint. As a point of information, Mepco
       is the ﬁnance company for the contract and is a completely separate company from Matrix.
       Protech is also completely independent from Matrix. The seller will be reaching out shortly to
       take care of this. The customer will receive the appropriate refund.




       Customer Response                                                                      04/24/2020

       (The consumer indicated he/she DID NOT accept the response from the business.) I have not
       received a call to remedy this situation. Only received a call on 4/21/2020 saying my next
       payment is due informed them I cancelled this last month as directed via the book. Sent in letter
       as instructed to cancel. Have made several ph called to all ph numbers listed with no help. Only
       run around. I have ﬁled a fraud report. Any further contact will be via my lawyer if necessary.
       Hopefully a full refund will be sent as this was cancelled within the 30 days as instructed. My Visa
       card company is also in contact with this company trying to resolve this issue. Visa has put the
       $151.83 on hold until this is resolved however I already paid the $195.00 on the visa which they're
       trying to resolve this also.




          C

       Matrix Warranty Solutions, Inc Response                                                04/28/2020

       Matrix has spoken to Protech again. Protech assures us they will be reaching out to the customer
       and providing the necessary refund. Thank you for your patience.




     Complaint Type: Problems with Product/Service        Status: Answered
                                                                                                 04/16/2020
                  Contract was cancelled by mail February 3, 2020, requesting refund of unused portion.
                  No response has been received. RE; Contract #EQDCFXXXXX, Purchased june 18, 2019,
                  for KIA Soul VIN #KNDJP3A58HXXXXXXX. On February 3. 2020 I cancelled this contract
                  by notarized letter sent by certiﬁed mail requesting refund for the unused portion of the
                  contract amounting to $547.38. On February 4, 2020 I called to inform them of my
                  request and to ask that they stop automatic charges to my credit card. I could get no
                  response except sales talk. I asked my credit card company to accept no more charges
                  and have had none. I purchased this contract because I was told the warranty on my car
                  had expired. The dealer informed me that I had nearly three years left on my bumper to
                  bumper new car warranty. I was also told by Matrix (aka DriveSmart) that all maintenance
                  would be fully covered for one year. When I went to the dealer for regular maintenance,
                  the dealer said the warranty would not cover it. So I cancelled the contract because it was
                  sold under false pretenses. I have had no response from them.
                  Desired Outcome
                  I desire them to honor their contract and refund the amount I have paid for the unused
                  portion of the contract ($547.38)



          W

       Matrix Warranty Solutions, Inc Response                                                 04/17/2020

       Matrix is showing the contract as canceled in our system. We will reach out to the seller and
       make sure the customer is issued the appropriate refund. The customer will hear from someone
       shortly.




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       Customer Response                                                                       04/23/2020

       (The consumer indicated he/she DID NOT accept the response from the business.) Matrix agreed
       that the contract was cancelled and that I deserve a refund, They said they would reach out to
       their subsidiary, DriveSmart Warranty.com and make sure I would would be issued a refund. They
       said I would hear from someone shortly. I have heard nothing.




          W

       Matrix Warranty Solutions, Inc Response                                                 04/24/2020

       Matrix has been in touch with DriveSmart. They are aware of the claim. Like a lot of businesses,
       DriveSmart has been impacted by the pandemic and is short staffed and backlogged. The
       customer is in their queue of contracts that require action. They assured us they will be reaching
       out when they can. Please remain patient.




       Customer Response                                                                       05/01/2020

       (The consumer indicated he/she DID NOT accept the response from the business.) I understand
       that business are understaffed and things take longer than normal and I will be patient. But I
       would like the ﬁe to remain open until i get satisfaction in the way of a refund rather than another
       promise of a response sometime in the future.




     Complaint Type: Advertising/Sales Issues      Status: Answered
                                                                                                 03/26/2020
                  Matrix Warranty Solutions (ada Element Protection Plans) uses RoboCalling telemarketers
                  to contact consumers and they have repeatedly called my phone RoboCalling Marketers
                  working for Matrix have called my phone in violation of TCPA & TSR No-Call-List laws.
                  Desired Outcome
                  At this point I simply want the full and correct name of the telemarketing company in
                  California that has repeatedly called my phone with pre-recorded messages about buying
                  an extended car warranty plan.



           R

       Matrix Warranty Solutions, Inc Response                                                 04/06/2020

       Matrix has investigated the consumer's claim. Matrix has tracked down where the calls are
       coming from and will send the consumer information in a private follow up.




       Customer Response                                                                       04/07/2020

       (The consumer indicated he/she DID NOT accept the response from the business.) No one from
       Matrix has responded to me in any way.




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           R

       Matrix Warranty Solutions, Inc Response                                                  04/09/2020

       You will be receiving correspondence from Matrix this week. Thank you.




       Customer Response                                                                        04/10/2020

       (The consumer indicated he/she DID NOT accept the response from the business.) Someone
       from Matrix did contact me but told me they had not tracked down the source of the calls. They
       clearly have a ﬁnancial relationship with the telemarketer and share in responsibility for the illegal
       calls




     Complaint Type: Advertising/Sales Issues       Status: Answered
                                                                                                  03/24/2020
                  This company calls my house every weekday at least once and lately twice. I have asked
                  them to stop calling but they will not. I talked to the supervisor last week and she stated
                  that they worked for matrix insurance co and they would stop calling but they have not.
                  They have become more frequent.
                  Desired Outcome
                  I want them to stop calling.



          G

       Matrix Warranty Solutions, Inc Response                                                  04/09/2020

       Matrix does not make outbound calls. Matrix is also not an insurance company. Matrix will take
       the consumer's information and make sure they are on all the appropriate DNC lists. They should
       not be receiving any more calls.




     Complaint Type: Guarantee/Warranty Issues         Status: Answered




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                                                                                                  03/23/2020
                  I purchased an extended vehicle warranty for my truck while I was at sea in the Merchant
                  Marine. Matirx has failed to honor its commitments. My 2014 Chevrolet Silverado had
                  been sitting in a Transmission shop for several days (about March 8 to March 19) waiting
                  for Matrix (the Obligor) to authorize payment under my extended warranty for a new
                  transmission. I purchased this policy while working at sea, after learning that my vehicle
                  warranty was set to expire. I have paid policy in full to the tune of $3,100. The policy does
                  not expire until 11 October 2021. The Transmission shop had been in contact numerous
                  times with claims personnel at Matrix. I provided copies of all service records requested
                  by Matirx, several times over the past week. Every time I provided a receipt or record
                  Matrix, their customer service reps would go silent and then when I called them back they
                  asked for something else. In addition, Matrix sent its own contracted inspector to view my
                  vehicle. After inspection, the inspector told the folks at Transmission shop that my
                  transmission would be covered by the policy. Since that time, Matrix customer service
                  representatives have been completely dismissive, uncooperative, and unavailable. On
                  Tuesday, March 16, after calling Matrix Financial twice, I was told the claim had been
                  denied. The ﬁrst call, I reached a customer service representative who said he was
                  transferring me to the insurance claims department; I was then put on hold for
                  approximately 12 minutes and then the line went to a voice mail. I immediately called back
                  and a female customer service representative put me through a series of of holds and
                  ﬁnally did not provide any answers, she said "write a letter" to us. I could not wait any
                  longer. I needed my truck back. Yesterday, March 20, 2020, I told the Transmission folks
                  to go ahead with repairs. I spent out of pocket $4,373.29 for a new Transmission. I paid
                  for a Matrix warranty up front $3,100.00 for a policy. Matrix's policy id not worth the paper
                  it is printed on. It's outrageous. And, I bet I am not the only one they have ﬂeeced, I am
                  out nearly $7,500.00.
                  Desired Outcome
                  I want my coverage paid in full, $4,373.29.



          D

       Matrix Warranty Solutions, Inc Response                                                  03/25/2020

       Matrix has reviewed the customer's complaint and has investigated the issue. Matrix will issued
       and process a full refund in the amount of the customer's contract cost. Payment was sent out on
       3/23 and should reach the customer shortly.




     Complaint Type: Advertising/Sales Issues       Status: Answered
                                                                                                   03/16/2020
                  Violation of do not call list - call center transferred me to a "Supervisor" name Marcus -
                  STOP CALLING ME!!! Violation of do not call list - call center transferred me to a
                  "Supervisor" name Marcus - STOP CALLING ME!!! I am sick of these robo calls - i get
                  called at least 5-6 times daily from this company and every time I request to be removed
                  again from the call list - they hang up on me.
                  Desired Outcome
                  STOP CALLING ME!!!!



          C

       Matrix Warranty Solutions, Inc Response                                                  03/20/2020

       Matrix is investigating the consumer's complaint. Matrix does not make outbound marketing calls
       nor does it condone excessive calling or harrassment. Matrix will track down the marketer that is
       making the calls and demand that they stop immediately and adhere to the rules and regulations
       of the TCPA.




     Complaint Type: Advertising/Sales Issues       Status: Answered



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                                                                                                    03/12/2020
                  This horrible, lying , full of **** company blows up my cell phone as many as three times a
                  day. Almost Matrix Warranty solutions at **** ******** St **** Dallas TX has continued to blow
                  up my phone as many as 3 times a day. I have asked them to stop calling me on several
                  occasions. They are scummmmmm bags. Me and 1000's are having this same issue.
                  Desired Outcome
                  No further contact by them or their brokers.



          H

       Matrix Warranty Solutions, Inc Response                                                   03/13/2020

       Matrix does not make outbound or marketing calls. Matrix has tracked down where the calls are
       originating from and has requested effective immediately that they refrain from calling the
       consumer and adhere to the rules and regulations of the TCPA.




     Complaint Type: Problems with Product/Service         Status: Answered
                                                                                                   03/04/2020
                  In no uncertain terms, I denied there contract and was signed up anyway. On 2/13/2020 I
                  was robocalled by "Artisian Warrenty Services" a company working under Matrix Warrenty
                  Services. I made the mistake of responding to their message, as I had confused it with a
                  legitimate issue I had been having. They used a common phone scam of telling me that I
                  would not be able to extend my warrenty if I hung up the phone. They told me I could
                  cancel the plan at any point within 30 days, and so I relented and gave in. The company
                  got as far as getting my credit card information from me, but the charges would not go
                  through. They tried to get me to contact my bank through their line (Which would have
                  mean they could possibly see my social security number and other bank details). They
                  eventually let me get off the line to talk to my bank, but when I did I looked up the
                  company and realized it was likely a scam. I did not approve the charges. When they
                  called back, I told them I would not approve the charges. I did not want their service, I
                  would not pay for their service, and I did not want them to attempt to charge me any
                  further. They tried to get me to reconsider, but I hung up. Several minutes later they
                  circumvented my bank's fraud prevention by charging me $1, and that allowed their other
                  charges to get through. They made 3 charges to my account for $1, $45, and $149. I
                  called the number immediately to tell them I did not want this, and to cancel me
                  immediately. They told me they couldn't do that, and I would have to call the number
                  available on the packet they were sending me. I asked for the number, they hung up. The
                  next week I cancelled that card and ﬁled a fraud complaint with my bank (I was delayed
                  by some issues). The week after that I ﬁnally received the package with the service
                  number. Though the line is only open 4 hours a day, and only at inconvenient times. I
                  found time, called it, asked to cancel the plan, was transferred to cancellations, where I
                  sat on hold for two minutes before the hold music cut out. I sat in silence for an additional
                  6 minutes before the line cut out. I tried again, with the exact same result. They do not
                  provide an email option to request cancellation. They clearly do not want to allow me the
                  ability to cancel the contract, despite the fact that I never accepted it.
                  Desired Outcome
                  I was given a refund by my bank's zero fraud liability guarantee, but I am requesting that
                  my bank be refunded the money that was taken. I am also requesting they cancel the
                  plan that I did not request, and I am requesting that the never contact me again.



           K

       Matrix Warranty Solutions, Inc Response                                                   03/10/2020

       Matrix has reached out to the seller of the plan and apprised them of the situation. They have
       canceled the customer's plan in their system. The consumer will receive the appropriate refund.
       The seller said they have tried to reach out several times but have not reached the consumer as
       of yet. They will keep trying.




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     Complaint Type: Problems with Product/Service         Status: Answered
                                                                                                    02/12/2020
                 Breach of contract/Deceptive sales practices Refusing to honor Contract by being
                 deceptive. Asking business to fulﬁll services for what was agreed I purchased the
                 warranty from matrix 18 months ago.and i have currently put about 2600 dollars into
                 it.when i purchased it my car had 145,000 miles on it they mentioned NOTHING of
                 replacing ANYTHING on it, MANUFACTURER recommendation or anything before issuing
                 contract. When my timing belt broke they refused to replace and said the reason was
                 because i hadnt replace it at 100000 miles.Mind u i didnt have it when it was 100000
                 miles(Contract) I am seeking the services that i paid for only. Covered losses or what it
                 would cost to ﬁx from licenced dealerships
                 Desired Outcome
                 Honor contractual agreement Repair vehicle




       Customer Response                                                                         02/14/2020

       Business Response /* (1000, 5, 2020/02/14) */ Matrix has investigated the consumer's complaint.
       On 2/3/20, the repair shop reported that the timing belt broke. Per the repair shop, the timing
       belt is due for replacement at 105,000 miles. The mileage reported at time of breakdown was
       197,852 and per Carfax the customer has owned the vehicle since 11/21/2016 at 97,122 miles. The
       customer could not provide a service record showing he had performed the required
       replacement of the timing belt at the 105,000 mile interval. Consumer Response /* (3000, 7,
       2020/02/17) */ (The consumer indicated he/she DID NOT accept the response from the business.)
       Upon purchasing the warranty,It was not a not a not a requirement to replace anything on my
       vehicle nor was it mentioned.This under LAW Is deceptive marketing Practices!!Once again it was
       not a requirement that ai change or meet any requirements for this service I purchased this
       contract at 146000 miles not at 96000 miles. If they continue The Uniform Deceptive Trade
       Practices Act (UDTPA) is an example of federal legislation that regulates deceptive trade
       practices.if they refuse to honor the contract i wish to exercise my right under the contract to a
       arbitrator AAA.Deceptive advertising, or false advertising, is any type of advertising that is false,
       misleading, or has the effect of deceiving0 consumers. Why Would you sell a sell a contract for a
       timing belt warranty at a 146000 on a car with 146000 miles if you know it should you know you
       not going to honor it because its past the manufacturer recommended replacement? I am going
       to ﬁght this to the SUPREME COURT IF NEED BE. YOU are not taking my 2600 dollars like that.
       Business Response /* (4000, 9, 2020/02/19) */ First of all, Matrix did not sell you the contract.
       Matrix only administrates the contract. We encourage all customer's to read their contract
       thoroughly upon receiving it in the mail. Furthermore, it is not a prerequisite that you need to
       replace any part prior to purchasing our service contract, however, you are required to maintain
       your vehicle appropriately. If you purchased our plan at 146,000 miles and had the timing belt
       replaced at 105,000 miles like you were supposed to, then a breakdown at 197,000 miles would
       have been covered. You neglected the timing belt for over 85,000 miles which eventually lead to
       it's failure. Consumer Response /* (4200, 11, 2020/02/20) */ (The consumer indicated he/she DID
       NOT accept the response from the business.) i wish to exercise my right under the contract to a
       arbitrator AAA.for Deceptive advertising, or false advertising, this is any type of advertising that is
       false, MISLEADING!, or has the effect of deceiving the CONSUMER. the Uniform Deceptive Trade
       Practices Act (UDTPA) is a TEXAS primary consumer protection statute. the statute prohibits a list
       of deceptive trade practices.one of which is misleading marketing or selling of services. Why
       Would you sell a contract for a timing belt warranty at 146000 on a car, then when it breaks'say
       you should have changed it at 106000 MISLEADING1 #1 the contract DOES NOT state i am
       required to repair anything upon agreement before honoring agreement at 146000 miles
       Business Response /* (4000, 13, 2020/02/27) */ Matrix did not sell you the contract. If the
       consumer has an issue with the marketer we suggest they reach out them directly to resolve. As
       far as the contract is concerned, the timing belt is just one of the many covered components of
       the contract. Furthermore, consumers are expected to maintain their vehicle including regular
       maintenance checks per the manufacturer's regulations. Had the consumer gotten the required
       maintenance at the correct mileage (which they should have done reguarless of having a service
       contract) the timing belt would have been eligible for coverage. The consumer neglected the
       required service for over 90,000 miles resulting in a failure. This makes the consumer's claim not
       eligible. Consumer Response /* (4200, 15, 2020/03/03) */ (The consumer indicated he/she DID
       NOT accept the response from the business.) to show the hypocrisy of matrix, the honda
       dealership thats working on my vehicle contacted matrix on 02/29/20 and reported that the a/c
       compressor needed replacing and it was bad, their response was put it on the new motor and
       see if it works.REALLY!according to your guidlines it should be replaced if its a
       recommendation.why would I risk it damaging another part. i would like to excercise my option
       for an arbitrator



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     Complaint Type: Advertising/Sales Issues      Status: Answered
                                                                                               02/03/2020
                  TCPA Violation call from matrix to sell extended warranty for a car that I dont have. I am
                  writing to you regarding your recent, unsolicited selling call to my cell phone 786-431-
                  9603 from your company Matrix for marketing purposes. The communication was
                  unwanted and was made without my express invitation, permission or consent. As you are
                  or should be aware, the Telephone Consumer Protection Act ( "TCPA") makes it illegal to
                  solicit sales to cellular devices, via call or text message
                  Desired Outcome
                  Please contact me ASAP to discuss this violation.



          D

       Matrix Warranty Solutions, Inc Response                                               02/07/2020

       Matrix does not place outbound calls. Matrix is a claims administration company. Matrix has
       tracked down the marketer and requested that they stop calling the consumer and adhere to the
       TCPA laws and regulations.




       Customer Response                                                                     02/10/2020

       (The consumer indicated he/she DID NOT accept the response from the business.) Hi, I dont
       accept this response as I have proof that this company (element protection plans) same as matrix
       contacted me to offer me an extended car warranty for a vehicle that I do not longer have. I
       contacted this company thru email and mail including the evidence of the call and had not
       received response, please be aware if company do not respond to my letter i will have to ﬁle in
       court. Thanks.




          D

       Matrix Warranty Solutions, Inc Response                                               02/12/2020

       Matrix administrates Element Programs. Matrix does not market to consumers. As stated before,
       Matrix has reached out to the company responsible for the calls and has requested them to stop
       calling and place the consumer on the do not call list. The consumer should not be receiving any
       more calls.




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       Customer Response                                                                             02/13/2020

       (The consumer indicated he/she DID NOT accept the response from the business.) Matrix is
       directly liable for the telemarketing calls at issue because they, among other things knowingly
       paid for the leads or to receive applications for their products and services resulting from such
       calls. Matrix knowingly and actively accepted business that originated through the illegal
       telemarketing calls at issue. Moreover, Matrix maintains control over their lead generators'
       actions in telemarketing and generating leads on their behalf. At all times relevant, Matrix had
       control over what sort of lead generation they would accept business from. Matrix chose to
       accept and monetize marketing leads that were generated through outbound autodialed and
       prerecorded message calls to cell phones. Matrix was aware of the nature of the telemarketing
       campaign including that automated calls were being made without prior express consentbut they
       continued to engage such services. On information and belief, the persons and entities that
       placed the calls at issue did so with Matrix actual authority. Matrix knew (or reasonably should
       have known) that their lead generators were violating the TCPA on their behalf, and failed to take
       effective steps within its power to force the telemarketer to cease that conduct. By knowingly
       retaining and paying their telemarketing lead generators for leads generated through the illegal
       calling alleged herein, Matrix ratiﬁed the illegal calling at issue.




     Complaint Type: Problems with Product/Service           Status: Answered
                                                                                                        01/31/2020
                  I've been paying on a vehicle warranty with Matrix since June 2019 yet I haven't seen my
                  contract. I've called them multiple times & each time they say that they sent my contract
                  and each time they want to charge me $10. I got a different warranty because I hadn't
                  received my contract & the other was cheaper. Now, 4 months later, still no contract book
                  & they're still debting my bank account each month because according to them, I need
                  the contract book to follow the instructional for cancelling my contract. To me, this is
                  simply unfair business practice to keep people hooked. Now, I can't use the warranty to
                  get my car repaired without the book, nor can I cancel the contract for the same reason
                  and I'm still paying them $84 every month for 24 months. Product_Or_Service:
                  Automobile Warranty Account_Number: Unknown
                  Desired Outcome
                  Other (requires explanation) Send me my contract booklet without charging $10 since I've
                  never gotten the 1st, 2d, or 3d. If I fail to receive one third time, I'll contact BBB again for a
                  full refund. I expect this to be resolved within 60 days.



           S

       Matrix Warranty Solutions, Inc Response                                                      02/03/2020

       Matrix has reached out to the consumer to discuss the mentioned issues. A contract has been
       electronically sent for the customer's records. Matrix has also reached out to the seller of the
       contract to make them aware of the situation. The consumer needs to speak to the seller directly
       about any cancellations.




     Complaint Type: Advertising/Sales Issues         Status: Answered




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                                                                                                   01/29/2020
                  Abusive and predatory marketing tactics I receive on average 3 calls a day from this
                  company or whomever they have hired to solicit business, this has been going on for
                  years. I am on the do not call list and have requested multiple times to be put on their do
                  not call list. I have contacted attorney general and ftc and as part of remedying this issue
                  that said I should write to the BBB. Rating this company as A+ is incorrect and misleading
                  if you look on line there are hundreds of posts about warranty companies unwanted calls.
                  Desired Outcome
                  I want them to desist from calling me, they need to tell whomever is calling me to stop
                  immediately. The BBB needs to investigate their rating this company is out of control.



           L

       Matrix Warranty Solutions, Inc Response                                                  02/04/2020

       Matrix does not make outbound calls. Matrix is actively investigating the claim made by the
       consumer. Matrix is trying to trace where the calls were coming from so we can speak to the
       company and get them to stop immediately. We will circle back to the consumer to conﬁrm they
       will not be called anymore once we conclude our investigation.




     Complaint Type: Guarantee/Warranty Issues         Status: Answered
                                                                                                   01/17/2020
                  Breached an agreement, i purchased a auto warranty, was set up on auto payments. They
                  quick taking payments, and blamed my bank, dropped my coverage I purchased a auto
                  warranty about 12 months ago, I paid around $3300 for a 5 year warranty. The payments
                  were automatically deducted from my account, the warranty was set up to be paid in 2
                  years, so I have paid for half of the bill, and for no aparant reason matrix quick taking
                  payments, and said it was a error on my banks part. This was an absolute lie, because i
                  called my bank and they told me that matrix didn't even attempt to collect the $135
                  payment. The last payment they took was in September. This is the way they get out of a
                  service contract? This is not only wrong it should be illegal. Nevertheless I have been
                  ripped off for a little over $1600 and have no warranty on my truck. Please help.
                  Desired Outcome
                  I want my warranty reinstated immediately with the original contract, I am willing to pay
                  the balance of the contract as agreed upon. But if Matrix refuses then I want a full refund.



           A

       Matrix Warranty Solutions, Inc Response                                                   01/21/2020

       Matrix sent an email to the customer to address the situation. The customer is showing as active
       in our system. If there was a payment problem during the policy ownership, the customer should
       reach out to Mepco Finance who processes the payments. Matrix has also reached out to the
       seller of the policy. They informed us there was a payment issue but spoke with the customer
       and resolved the issues and caught up on back payments. This should take care of the
       customer's complaint.




     Complaint Type: Advertising/Sales Issues       Status: Answered




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                                                                                                  01/14/2020
                  TCPA violations after being contacted by attorney. I'm still receiving calls from Vanguard
                  Matrix is administrator. I have recordings of unwanted calls from Vanguard Vehicle Armor
                  who Matrix hired to tele-market for them. These are absolutely TCPA violations and I
                  already had lawsuit against Matrix who speciﬁcally stated they would have all their
                  vendors quit calling me this hasn't happened as I have received 6 new calls within the last
                  2 weeks. These calls are all recorded and Matrix can't hire someone to break the law for
                  them. The laws don't work this way Matrix. We also have new TCPA laws in effect signed
                  by President Trump. Stronger penalties now. I contacted Vanguard they won't comply so
                  since you hired them I'm coming after Matrix.
                  Desired Outcome
                  Company to contact me ASAP and not Jay I've spoken to him in the past he's of no help
                  blames other companies stating they are out to sabotage Matrix which is absolutely not
                  true. So company needs to contact me immediately.



           P

       Matrix Warranty Solutions, Inc Response                                                01/20/2020

       Matrix has reached out to Vanguard to inquire about the consumer's complaint. Vanguard
       informed us that the consumer opted in to receive calls on their vehicle. As a result, they
       contacted the consumer originally per her request. After the consumer expressed that they did
       not want to receive any further calls, Vanguard stopped. Matrix is not involved in any
       telemarketing practices. Matrix also does not have an on-going lawsuit with this consumer.




       Customer Response                                                                       01/22/2020

       (The consumer indicated he/she DID NOT accept the response from the business.) Vanguard
       can't produce the evidence of my opt in as I have requested 8 times from them. They have to by
       law produce it and after vanguard I have received 4 more recorded calls and a card in the mail
       from motor vehicle protection selling for Matrix all these calls are deﬁnitely recorded. Matrix is
       lying along with Vanguard and VPS. These companies were speciﬁcally told in my recordings to
       quite calling me and I asked for opt in info they absolutely can't produce because I don't opt in on
       someone I have to lawsuit pending on. You now have 8 new phone calls from different
       companies selling for you Matrix!'




           P

       Matrix Warranty Solutions, Inc Response                                                 01/24/2020

       Matrix is not responsible for Vanguard's opt-in. That has to be addressed with Vanguard directly.
       Matrix has spoken to Vanguard to make sure any calls to the consumer are stopped immediately.
       Vanguard has assured us no other calls have been made. Matrix asks that this complaint is
       closed by the BBB.




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       Customer Response                                                                      01/27/2020

       (The consumer indicated he/she DID NOT accept the response from the business.) Matrix is
       responsible for their vendors and here is email I sent Vanguard Last time I'm asking you which by
       law you have to send MY OPT IN INFORMATION!! I want it today and you either comply or you
       will be subpoenaed to comply with the law. The reason you can't send it is because you don't
       have it I never ever opt in because I don't play around online. Send it today!! Regards ********
       ******** Sent from my iPhone They refuse to send opt in information because I did opt in. They
       aren't your only vendor calling me I have sent you the recordings from your vendors and me
       telling them to stop calling me. You can't hire someone to break the law for you!! Matrix is
       absolutely responsible for all these vendors calling me including Vanguard and by the way
       Vanguard refused to answer BBB about opt in so BBB closed Vanguard case but BBB better not
       close this case as I want arbitration with BBB on this case and I've asked for arbitration since
       Matrix is BBB accredited. I don't know how Matrix can possibly have A+ rating with BBB with all
       these complaints against them but I can deﬁnitely prove different about Matrix and their
       deceptive practices. (US-79.m4a) that's the recording I can't get it uploaded but I deﬁnitely
       recorded Vanguard and all Matrix vendors trying to sell "The Element". So prove opt in Matrix
       there isn't one and per law Vanguard has to prove it which their counsel refused and ignored me
       to prove. I'm taking this to court.




     Complaint Type: Advertising/Sales Issues      Status: Answered
                                                                                                01/08/2020
                  Multiple illegal unwanted robocalls to my cellphone. I contacted this company recently
                  regarding multiple illegal robocalls to my cell phone made with an automated telephone
                  system using spoofed (fake) caller IDs. My cell phone has been on the national Do Not
                  Call list since 2006. I would like to hear from this company to determine why these
                  unwanted calls were made to my cell phone. I would like for this company to explain why
                  these unwanted illegal calls were made to my cell phone and I would like to receive this
                  company's Do Not Call policy. If Matrix Warranty claims that the robocalls were made by a
                  hired "seller/marketing agent(s)" I want Matrix to provide the company name including
                  contact person, address, phone number and website of the "seller/marketing agent(s)".
                  Desired Outcome
                  I want to be contacted by this company and to receive a copy of their Do Not Call policy.



          D

       Matrix Warranty Solutions, Inc Response                                                 01/14/2020

       Matrix does not make telemarketing calls. Matrix does not "hire" marketing agents. As such,
       Matrix does not have a company Do Not Call policy outside of the laws governing all companies
       pertaining to the TCPA. Matrix is willing to reach out to the company actually making the calls and
       request that they stop dialing this customer immediately but would need more information on the
       company making the calls. Please provide the name and as much info as possible.




     Complaint Type: Advertising/Sales Issues      Status: Answered




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                                                                                                 01/06/2020
                  I bought my warranty from them. I've paid for it and now that I need it they tell me they
                  won't cover my expense. The problem with my Dodge Charger started on 12/12/19 I called
                  my warranty company which was matrix and they referred me to road America USA. R.A
                  stated they only covered 35% of my repairs which was false and when I contacted matrix
                  they told me it was correct. Now they are telling me they will only cover $500 of a
                  $10,000 bill. And I need answers because if that was the case I would have kept my
                  money and payed their $500 portion. They completely sold a bogus warranty for my car.
                  Desired Outcome
                  I want my car ﬁxed at the rate they gave me, even though it is still not what they agreed
                  upon when I bought the warranty



           A

       Matrix Warranty Solutions, Inc Response                                                 01/08/2020

       Matrix contacted the seller of the policy to reach out to the customer. The customer bought a
       road club program not a service contract and stated that they knew the policy covered 35% of
       the repair but did not read the contract thoroughly enough to know that repairs were capped at
       $500 per claim for that type of contract. The customer will be given a full refund which has
       already been processed.




     Complaint Type: Advertising/Sales Issues      Status: Answered
                                                                                                 01/06/2020
                  A representative of this company, Matrix provided false information in order to try to make
                  a sale and defraud me out of approximately $2000. A representative of this company,
                  Matrix provided false information in order to try to make a sale a defraud me out of
                  approximately $2000. They claimed that the warranty on my car was expired and if I
                  wanted to keep it under warranty I would have to pay $195 right away and another $110
                  per month for 18 months. My 2017 Hyundai is still under warranty. It has bumper to
                  bumper for 5 years of 60,000 miles. It has been 2 and 1/2 years and the car has
                  approximately 42,000 miles. I gave them this information and that claimed that the
                  warranty is expired.
                  Desired Outcome
                  Please ﬁle criminal fraud charges against this company. Request their records to see who
                  thy defrauded. Demand that they refund all monies collected based on fraud.



           K

       Matrix Warranty Solutions, Inc Response                                                 01/07/2020

       Matrix only administrates claims for service contracts. We do not contact consumers unless they
       are already customers of Matrix and it is claims related. The situation this consumer is describing
       sounds like it came from a 3rd party marketer. Matrix requests more information on the company
       who made the call so Matrix can reach out and make sure they are using best practices and
       accurate information.




       Customer Response                                                                       01/08/2020

       (The consumer indicated he/she DID NOT accept the response from the business.) The company,
       Matrix, claims that I was contacted by a "3rd party" That is not true. The person who contacted
       me speciﬁcally identiﬁed themselves as from Matrix. The BBB must not allow this company to
       defraud consumers with false information about their products and then hide behind a claim of "It
       was not us". How can Matrix have an A+ rating when I see many other complaints on the BBB
       website?




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     Complaint Type: Advertising/Sales Issues       Status: Answered
                                                                                                   12/21/2019
                  I am on the Federal Do Not Call registry and have received multiple calls from them or
                  someone they hired to violate the TCPA for them. I am on the Federal Do Not Call registry
                  and have received multiple calls from them or someone they hired to violate the TCPA
                  (Telephone Consumer Protection Act) for them. They need to stop calling me and have
                  someone from the legal department contact me. I have recorded calls of them calling and
                  taking me to their website and showing me the warranty policy they were trying to sell
                  me.In the calls they take me to Matrix Warranty Solutions website and Element Protection
                  Plans website. They are also spooﬁng the phone numbers which is another violation of
                  Federal guidelines. It is absolutely them and my recorded calls will prove it. I need to
                  speak with someone in the legal department or one of the owners of the company about
                  getting my number off their list or whoever they have hired to make the calls for them list.
                  I see them denying calling anyone in all their responses and it does not matter if you hire
                  someone to do it for you, you are still responsible for contacting people on the do not call
                  list.
                  Desired Outcome
                  I need to speak to someone who is not a sales person and make sure they never contact
                  me again. Furthermore if what they claim is true about them not calling then they need to
                  contact whoever they have hired to make the call and have them never call me again.
                  Whatever the case is I need to speak to someone from this company because it is their
                  auto policy warranty attempting to be sold to people on the do not call list, myself
                  included.



          N

       Matrix Warranty Solutions, Inc Response                                                  12/23/2019

       Matrix does not hire any companies to make calls on their behalf. Matrix is a claims administration
       company. Matrix would need more information from the consumer on the company placing the
       calls. If the consumer would like to send over the recordings Matrix can investigate further.




       Customer Response                                                                        12/24/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) Matrix
       Warranty Solutions reply is patently false and an outright lie. I spoke with 2 of the owners over
       there on 12-20-19. Joel and Jay. Jay said they do hire "independents" to call people for them.
       Then he said he would try and ﬁnd out which one of them it was to make sure they would not call
       me anymore. He also said he would call me back on 12-23-19, which he did not do. I have spoken
       with an attorney about this because of the multitude of similar complaints about this company
       violating the TCPA or hiring someone to break the law for them. They can have the phone
       recordings when they get them through discovery, unless they would care to settle this out of
       court. The attorney I spoke with said there are enough complaints to ﬁle a class action law suit. I
       will also be taking them to court personally and we will see if the judge dislikes illegal calls as
       much as I do and if he thinks hiring someone to break the law for them obsolves them of the law.
       They have my phone number and know how to reach me if they would care to save us both the
       time and cost of litigation. Sincerely, ****** *****




          N

       Matrix Warranty Solutions, Inc Response                                                  12/27/2019

       Matrix has been in touch with the consumer and is handling the matter expeditiously. Matrix is
       waiting for the consumer to return their communication.




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     Complaint Type: Guarantee/Warranty Issues        Status: Answered
                                                                                                   12/16/2019
                  Company calls from different number selling extended warranty on vehicles and
                  disconnects phone numbers after the take your money Automotive company. This
                  company called and sold me extended warranty on my vehicle vehicle 12/2/2019 they
                  charged my account and stated I would receive my policy in 5 days. They stated to review
                  the policy and take it to a Mercedes Automotive to verify everything and it was not a fake
                  policy, if I did not like the policy I could cancel before the 30 days and would get a full
                  refund no questions asked. When I did not receive my policy I called the numbers they
                  called me from and they were disconnected. So I called the number on my bank
                  statement and spoke to Lucy and told her I wanted to cancel my policy for a full refund
                  because I never received my policy and no longer wanted the services. She stated that I
                  could not get my money back, I asked her why not if it had not even been 30 days so I
                  wanted it cancel for my full refund. Lucy said that I had a policy number it is
                  ERENETXXXXXXX and my policy was with Matrix so therefore I could not get a refund.
                  Please help!! this company is a scam and are just taking money without providing any
                  services. I want my refund and policy canceled. Numbers they called me from XXX-XXX-
                  XXXX, XXX-XXX-XXXX, XXX-XXX-XXXX address the gave me to mail my signature to
                  have on ﬁle they stated to protect themselves Lucy stated was P.O Box 2399 Cypress, CA
                  XXXXX. These people need to be shut down for stealing money and lying to consumers
                  about false services
                  Desired Outcome
                  I want policy canceled ASAP and my full refund.



           V

       Matrix Warranty Solutions, Inc Response                                                   12/17/2019

       Matrix has located the customer's contract under a different name as pending in our system. We
       will reach out to the selling dealer and make sure the customer's policy is canceled and is
       refunded in full as her policy is under 30 days old. Thank you for bringing this to our attention.




     Complaint Type: Advertising/Sales Issues      Status: Answered
                                                                                                   12/12/2019
                  Unsolicited call from Lisa ****** for marketing purposes with a spoofed number to my cell
                  that is on Do Not Call List. On 10/31/2019 Lisa ****** Called with a spoofed number
                  XXXXXXXXXX my cell number XXXXXXXXXX and sold me a policy which i cancelled and
                  terminated the business relationship. The seller is National Car Cure,Contract with
                  Elementep and the Administrator is MATRIX. Ill attach the documents to support.
                  Desired Outcome
                  The business to contact me so that we can solve this issue.



          H

       Matrix Warranty Solutions, Inc Response                                                   12/13/2019

       Thank you for providing all the information. Matrix will reach out to resolve the issue and return
       any refund as appropriate.




     Complaint Type: Advertising/Sales Issues      Status: Answered




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                                                                                                     11/25/2019
                  I would like to speak with the legal department of Matrix/ Element protection plans
                  regarding calls to my cell phone that violate the TCPA. I have received numerous Calls
                  from Matrix/Element protection plan attempting to sell car warranties. The agents each
                  time name Matrix and Element and give their websites as reference who they are selling
                  for. I would like to speak with their legal department regarding theses violations of TCPA.
                  Desired Outcome
                  For their legal department to contact me to reach a settlement in this matter.



          C

       Matrix Warranty Solutions, Inc Response                                                     12/02/2019

       Matrix does not make outbound calls. Matrix would need more information on the company
       making the calls so we can take appropriate action. Regardless, Matrix will have someone reach
       out to the consumer to discuss and possibly get to the bottom of the issue with any information
       provided.




       Customer Response                                                                           12/08/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) this is their
       general response to theses type of responses. Again send me your attonery's infomation so we
       can speak. We all know you hire a 3rd party for marketing but that does not make you expect
       from the TCPA.




          C

       Matrix Warranty Solutions, Inc Response                                                      12/11/2019

       Matrix does not hire 3rd parties for marketing. As stated originally, Matrix would like to help but
       would need information on the company making the calls. Matrix will have someone reach out to
       the consumer so we can get more information to prevent this in the future.




     Complaint Type: Problems with Product/Service        Status: Answered
                                                                                                      11/19/2019
                  Submitted complaint about refund owed to AA Auto Holding . Everyone is pusing the
                  buck . AA is telling me Matrix is responsable . Matrix owes me a refund . Annexed
                  attached is my complete documentation and service contract listing Matrix as
                  administrator . AA Blames matrix . Matrix Blames AA . As a concumer I should not be
                  running around tring to get a refund . When you asked for a premiuim I paid .
                  Desired Outcome
                  All I want is a refund owed to me .



          M

       Matrix Warranty Solutions, Inc Response                                                     12/03/2019

       Matrix has been made aware of the situation and will reach out to AA Auto Holding and make
       sure the customer receives the appropriate refund.




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       Customer Response                                                                         12/04/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) I will accept
       when I receive refund . Whole process is absolutely unacceptable but at least you responded.




          M

       Matrix Warranty Solutions, Inc Response                                                   12/06/2019

       Matrix is processing the refund as of 12/6/19. It may take a few days to reﬂect in the customer's
       account. Thank you.




       Customer Response                                                                         12/09/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) Please
       facilitate a wire transfer to : ******* ******** Routing number XXXXXXXXX Account : XXXXXXXXXX
       TD Bank Upon receiving I will close case and give a positive review.




     Complaint Type: Advertising/Sales Issues          Status: Answered
                                                                                                     11/14/2019
                  I'm on the do not Call list. These people continue to call me and spoof their caller ID to be
                  a number just a few digits off my own. This company continues to call me although I'm on
                  the do not Call list. they ﬁnally called me on a number a few digits off of mine and I knew
                  at that point that it was a Spam call. I answered it and went along with her call and at one
                  point I hung up. They didn't return my call from their actual phone number of their
                  company. I request a call from their legal department so I can settle this without going to
                  court
                  Desired Outcome
                  I'll settle this call for $500, or they can go to court with it



           B

       Matrix Warranty Solutions, Inc Response                                                   12/02/2019

       Matrix does not make telemarketing calls. Matrix requests that the consumer provides more
       information on the company that made the calls so we can investigate further and get them to
       respect the Do Not Call list and stop calling the consumer. Matrix remains willing and able to
       assist the consumer if more information is provided.




       Customer Response                                                                         12/04/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) I have read
       reviews of them stating the exact same thing to others. I continue to receive these calls from
       them even after this complaint was ﬁled. The number is spoofed as a local number that is close to
       my own number. Info along with it and they transfer me to someone whom doesn't speak broken
       English. I lead them on a few minutes and tell them I am driving and reception is poor. I then hang
       up, they call me back from an 866 number that is from Matrix. I will prove my point by going all
       the way as to let them bill my credit card so it shows their name. I will make sure the card
       seclines the charge and then I will have proof of this scam.



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           B

       Matrix Warranty Solutions, Inc Response                                                  12/06/2019

       Matrix does not have an 866 number. The consumer needs to press the caller on the name of the
       actual company making the calls so Matrix can get involved and get them to stop. Please provide
       as much information as possible on the company making the call.




     Complaint Type: Advertising/Sales Issues      Status: Answered
                                                                                                     11/13/2019
                  Got a call from a High Pressure Polished Salesman about me purchasing his Extended
                  Warranty on my van. I did NOT GIVE OUT my credit card. HE HUNG UP. This happened
                  today. The ﬁrst person that I spoke with had my van information, my phone number,
                  mailing address, and email information. She rambles, then, HE COMES ON THE LINE. The
                  caller said, "His name was Michael ******** Supervisor, Employee **** **** His Direct Phone
                  number is X-XXX-XXX-XXXX, regarding me purchasing or Reviewing a Warranty Policy of
                  5 Years or 100,000 miles, $100.00 deductible" "He could HOLD IT for a DEPOSIT TODAY
                  as low as $50.00 and cost went from $3, 699. Down to $2,285. With the hold being PAID
                  TODAY!!!" "Then after 30 days, if I DID NOT WANT the warranty, then, the $50.00 was
                  FULLY REFUNDABLE because THATS THE LAW!!" He said, "that they mailed me this
                  packet but when I DID NOT RESPOND, THEN, THEY START CALLING FOLKS!"
                  "Otherwise, I would make monthly payments on my warranty. " HE SAID, "WE ARE IN THE
                  21ST CENTURY and its NOT LIKE HE WAS GONNA TAKE MY MONEY.!" I asked him, "what
                  website can I go to and review this information?" He RELUCTANTLY said Very Fast,
                  "Matrix Warranty " I explained that, I do not know who you are, I had NOT received no
                  mail with this information, etc. And that, I WAS NOT GIVING ANY OF MY FINANCIAL
                  INFORMATION TO HIM. I HAVE NOT RECEIVED ANY PACKET FROM THIS COMPANY.
                  Then, AFTER HIS PERIODS OF, "MAKING FUN OF ME", SEVERAL TIMES!!!! I REFUSED TO
                  GIVE HIM MY FINANCE INFORMATION, HE ABRUPTLY HUNG UP!!! I am on the DO NOT
                  CALL REGISTER HOWEVER, I CONTINUE TO RECEIVE SCAM CALLS. This person is
                  SCAMMING FOLKS, BELITTLING AND HIS TACTIC DID NOT WORK ON ME!! I understand
                  trying to sale folks, BUT, THIS WAS NOT A HIGH PRESSURE SALESMAN, A SCAMMER
                  CALL. NEEDS TO BE SHUT DOWN ASAP!! THANKS
                  Desired Outcome
                  I would like to know what corrective action is being taken by BBB regarding this
                  complaint. Thank you!!!



          M

       Matrix Warranty Solutions, Inc Response                                                   11/14/2019

       Matrix does not make sales calls. Matrix will investigate this customer's claim and look into the
       number provided and make sure the company responsible for the call adheres to the TCPA
       regulations and will stop calling the customer in the future.




     Complaint Type: Advertising/Sales Issues      Status: Answered




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                                                                                                   11/12/2019
                  I contacted company about robocalls to my cell. I'm on National Do Not Call List.
                  Requested their Do Not Call Policy. Didn't respond/provide policy. I contacted company
                  on 11/1/19 (certiﬁed mail #XXXX XXXX XXXX XXXX XXXX) about not less than 4 (four)
                  robocalls to my cell phone on 9/10/19, 9/20/19, 10/3/19, and 10/11/19 made with pre-
                  recorded messages and unsolicited telemarketing. My number is on the Do Not Call List. I
                  requested copy of their Do Not Call Policy. They did not provide policy nor respond to any
                  of my communication.
                  Desired Outcome
                  Contact by the business for response to my previous communication/letter, provide copy
                  of their Do Not Call Policy as I previously requested.



           P

       Matrix Warranty Solutions, Inc Response                                                   11/14/2019

       Matrix does not participate in robocalls or outbound marketing. Matrix requests information on
       the company making the calls either the phone number or company name so Matrix can
       investigate and contact the marketer to get them to stop. Please provide more information.




       Customer Response                                                                         11/15/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) In my 11/1/19
       certiﬁed letter (#XXXX XXXX XXXX XXXX XXXX), I asked Matrix to /provide a copy of their Do
       Not Call List Policy to me via email or mail, they have not provided. Therefore I do not accept this
       response. In the attachment, I am again providing my email and mailing address where Do Not
       Call List Policy can be provided. Please provide this policy immediately. I am providing AGAIN in
       the attachment my very detailed and thorough documentation of the calls which Matrix has made
       to me which include the phone number making the call. I have previously provided this in my
       11/1/19 certiﬁed letter (#XXXX XXXX XXXX XXXX XXXX). I am requesting that Matrix immediately
       inform me of the legal name, and contact information, including address, phone, and email of the
       marketer which they have hired to make these calls. Additionally, regardless of if contact a
       marketer has made these calls, Matrix is responsible for calls made on their behalf selling their
       services. Please respond to my requests immediately or this will be escalated.




           P

       Matrix Warranty Solutions, Inc Response                                                   11/19/2019

       As previously stated, Matrix does not make marketing calls. Therefore, there is no internal Do Not
       Call policy. We would have to adhere to the federal rules and regulations of the TCPA as would
       any company. Matrix does not hire marketing ﬁrms to make calls on their behalf. Matrix will
       review the information provided in the attachment and attempt to locate the company calling the
       consumer and get them to 1. stop calling the consumer 2. follow any applicable laws pertaining to
       the TCPA and 3. stop them from misrepresenting who they work for.




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       Customer Response                                                                           11/20/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) I do not
       accept this response because Matrix has not researched the issue as they indicated they would
       do in their initial response to this complaint. In their initial response to my complaint, Matrix
       indicated "Matrix requests information on the company making the calls either the phone number
       or company name so Matrix can investigate and contact the marketer." I provided this
       information, for the second time, within this complaint. Matrix had already been previously
       provided this information on 11/1/19 in my certiﬁed letter (#XXXX XXXX XXXX XXXX XXXX).
       Matrix has not completed this investigation which in their response they indicated they would
       complete to resolve my issues with the company. More speciﬁcally, in their 11/19/19 response,
       Matrix still responds that "Matrix will review the information provided in the attachment and
       attempt to locate the company calling the consumer...." This complaint should not be closed as
       resolved until such time as Matrix completes the investigation and provides the requested
       information from the investigation. Based on what Matrix offered and committed to do, this
       complaint is not resolved. Furthermore, my request was speciﬁcally that Matrix immediately
       inform me of the legal name, and contact information, including address, phone, and email of the
       marketer. Matrix has not completed this, therefore this complaint should not be closed.
       Furthermore, I do not accept this response because Matrix is lying in their responses to the BBB
       and making conﬂicting statements. In their initial 11/14/19 response, Matrix indicates "Matrix can
       investigate and contact the marketer to get them to stop". However, in their 11/19/19 response,
       Matrix indicates, "Matrix does not hire marketing ﬁrms to make calls on their behalf." Matrix
       further goes on to indicate in their 11/19/19 response, that they will "attempt to locate the company
       calling the consumer and get them to 1. Stop..." These statements are conﬂicting, contradictory,
       and mutually exclusive. Furthermore, Matrix is lying when they indicate in their 11/14/19 response
       that "Matrix does not participate in robocalls or make outbound marketing calls" and in their
       11/19/19 response when they indicate "Matrix does not hire marketing ﬁrms to make calls on their
       behalf." Speciﬁcally, in my thorough documentation provided to Matrix twice, the transcript of the
       calls placed to my cell phone indicate the customer service representative indicating that the
       warranty offered is from their company and directing me to the company's website to review the
       warranty offered by their company. The calls placed to my cell phone were on behalf of Matrix.
       Furthermore, I am noting for my records that on 11/19/19 Matrix has indicted "there is no internal
       Do Not Call policy" and has REFUSED to provide to me a Do Not Call Policy after repeated
       inquiry and request for the document.




     Complaint Type: Advertising/Sales Issues       Status: Answered
                                                                                                     10/30/2019
                 Violation of Do Not Call Registry, Using Robocalls to generate Business Contacts in
                 violation of state and federal laws. Spooﬁng on VOIP lines On October 28, 2019, I
                 received a call from National Dealer Services (NDS) using 2 Robocall messages from a
                 VOIP number, XXX-XXX-XXXX, listed to "Dee" (spooﬁng), no Dee there and the business
                 was in Texas and not South Carolina as the call indicated creating a deceptive practice,
                 thinking the call is local, using robocalls as well. After the initial screening with NDS, I was
                 transferred to an agent that when asked who his business was, he stated Matrix
                 Protection. When asked how i went from speaking to NDS to Matrix, he hung up. It is
                 evident from the complaints that while Matrix claims they do not make calls, they receive
                 them from businesses that utilize robocalls and transfers the call. They receive a beneﬁt
                 from the call and I guess they pay a referral fee or compensate the business for the
                 transfer if a sale is made otherwise why would NDS want my information unless to link it
                 up and receive payment if a sale is made. By compensating NDS, implicitly condoning the
                 actions of NDS, and receiving a beneﬁt of the transfer in a sale of insurance, Matrix is
                 vicariously liable for the actions of NDS and complicit with any violations of the Do Not
                 Call list and the robocall practices.
                 Desired Outcome
                 Matrix and their representatives comply with Federal and State Consumer Protection
                 Requirements. Self report violations to state and federal agencies. Ensure I receive no
                 further contact from them, since I am on the Do Not Call Registry, or anyone acting on
                 their behalf that forwards me to them after using a robocall. Agree to terms of liquidated
                 damages of $2,000.00, if ever contacted by them or anyone that forwards me to them I
                 can proceed against them in South Carolina to enforce the Liquidated damages.




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          D

       Matrix Warranty Solutions, Inc Response                                                     11/05/2019

       Matrix does not make outbound or telemarketing calls. Matrix is a claim administration company.
       No calls are transferred to Matrix from a telemarketing service. Matrix does not pay a referral fee
       to any telemarketers or "robocallers". The description outlined by the consumer of our business
       is inaccurate. Matrix asks the BBB to close this complaint out as erroneous as a result.




       Customer Response                                                                           11/07/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) I do not
       accept this response. There are other identical complaints indicating the same type of calls. The
       company is not innocent and beneﬁts from the forwarded call. They are just as liable as the
       company using the robocall. Unless they sign an agreement to not solicit with a liquidated
       damages clause they are liable and I will not agree to this canned response deﬂecting
       responsibility.




          D

       Matrix Warranty Solutions, Inc Response                                                      11/11/2019

       Matrix does not make outbound calls nor does it accept transfers from marketers. Matrix
       administrates claims. If the consumer has a complaint on a claim, Matrix would investigate and
       take responsibility for. However, if the consumer is alleging a company is non compliant with the
       TCPA and is using Matrix's name, Matrix will attempt to reach out to National Dealer Services and
       request that they adhere to all applicable laws and regulations as well as stop calling the
       consumer in this complaint.




       Customer Response                                                                           11/12/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) I was
       transferred to a Matrix representative and that I knew the business name. Matrix has similar
       complaints so it is not an isolated incident. Matrix is just as liable as National Dealer Services in
       violating the NDC. I will not agree to this solution unless they agree to sign an agreement to no
       contact me directly or through other parties with a liquidated damages clause if they do contact
       me again in any media format both written or electronic.




     Complaint Type: Billing/Collection Issues     Status: Answered
                                                                                                     10/21/2019
                  This company used my phone number to spoof calls to victims claiming they owed money
                  on claims. The company Matrix Warranty Solutions used my phone number, which has
                  been registered under the DoNotCall registry since 2005, in order to spoof the number
                  and convince victims into providing their credit card or other payment information. They
                  knew my full name as well as phone number. I do not know what other information they
                  had on me to impersonate me.
                  Desired Outcome
                  I would like Matrix Warranty Solutions to stop claiming to be me by using my phone
                  number.




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           K

       Matrix Warranty Solutions, Inc Response                                                  10/22/2019

       Matrix does not use or make spoof calls. Matrix would never mask a phone number to reach out
       to an existing customer if something is needed on a claim. This consumer is outlining outright
       fraud by a 3rd party. The allegations are troublesome and will be investigated immediately. Matrix
       will reach out to the consumer after a thorough investigation has been conducted with any
       ﬁndings.




     Complaint Type: Advertising/Sales Issues       Status: Answered
                                                                                                   10/02/2019
                  Continued calls despite being on the National Do Not Call Registry I continue to get calls
                  from a company which uses slightly different names (Vehicle Service Center, Warranty
                  Department, etc.). Half the time they give me fake web addresses when I ask for more
                  information. I have asked them to stop calling numerous times, but the calls persist.
                  During the last call, I was transferred to a representative who claimed she worked for
                  Administrator's Matrix Warranty. I conﬁrmed it was Matrix Warranty Solutions, Inc. I then
                  asked not to call me anymore and explained that I get a large amount of calls from this
                  company, but she had already hung up. I have recorded some of these calls. These calls
                  are in direct violation of the TCPA including Calls to Cellphones and Telemarketing Calls
                  to Consumers on the Do Not Call Registry. Put me in touch with your legal and
                  compliance department immediately so we can discuss damages for TCPA violations. I
                  have received well over 20 calls from this company. I have requested not to be called
                  again many times.
                  Desired Outcome
                  Put me in touch with your legal and compliance department immediately so we can
                  discuss damages for TCPA violations.



           P

       Matrix Warranty Solutions, Inc Response                                                  10/04/2019

       Matrix does not make outbound calls. Matrix does not employee or engage in telemarketing
       activities. Matrix does not condone excessive calling or harassment. Matrix will investigate the
       claim and attempt to reach the marketer given by the customer to get them to comply with all
       TCPA laws and regulations.




     Complaint Type: Problems with Product/Service        Status: Answered
                                                                                                   09/18/2019
                  Veronica ********* has been in charge of my policy. I have asked her numerous times to
                  cancel and she refuses to cancel or let me speak with a manager Veronica ********* was
                  very pushy over the phone while trying to sell me an extended warranty on my vehicle. I
                  told her that I was unsure and she told me that I should compare my current warranty and
                  the warranty she sold me. I did just that and my current warranty is almost the same. She
                  told me that after comparing all I have to do is call back and she would cancel it for me. I
                  called on Monday, September 16, 2019 and she told me that I had to send something in
                  writing and she would email me the instructions and she did not do so. I need my $100
                  back and I need this account closed NOW. The BBB Needs to step in. I was told I had 30
                  days from the date of purchase which was September 13, 2019 to cancel for a full refund
                  and you guys are refusing to do so. I want this **** account closed and I want it closed
                  now and I want my money back!
                  Desired Outcome
                  I need this **** account closed NOW! I also need my refund as promised




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           J

       Matrix Warranty Solutions, Inc Response                                                    09/19/2019

       Matrix will contact your selling agent and let them know you wish to cancel. Since the customer is
       within their 30 day look period, they will receive a full refund.




     Complaint Type: Billing/Collection Issues     Status: Resolved
                                                                                                    08/21/2019
                  Company has billed me for an auto coverage policy. I never agreed to any person that I
                  wanted this coverage. They have harassed me. This company called me one day to offer
                  coverage for an extended warranty on my car. I said send the info to my email address.
                  The address is: Mepco PO Box 5978 Carol Stream, IL XXXXX-XXXX They have called me
                  at least 15 to 20 times harassing me. I call the number back they gave me to call and no
                  one ever picks up. Now they have sent me a bill for $356.44. I will report them to the FTC
                  also.
                  Desired Outcome
                  To leave me alone and quit the harassment.



           J

       Matrix Warranty Solutions, Inc Response                                                   08/26/2019

       Matrix will investigate the customer's claim. It would be unusual that Matrix would have the
       customer's car info/VIN, address, payment information, etc. if the customer never wanted the
       policy. That being said, if the customer wants to cancel their policy, Matrix of course will notify the
       seller and have them go through the necessary procedure to do so.




       Customer Response                                                                         08/28/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) The answer I
       received from my complaint is false. I never gave this company information about me or my car.
       They must have bought my personal information and VIN number from a company. The
       dealership where I purchased my car probably sold them the information. Everyone's info is out
       there for the right price. Time is precious and the fact that I had to spend time dealing with this is
       frustrating.




           J

       Matrix Warranty Solutions, Inc Response                                                   08/30/2019

       The seller has been contacted with the customer's cancel request. Matrix asks that the BBB close
       this complaint out.




       Customer Response                                                                         09/04/2019

       (The consumer indicated he/she ACCEPTED the response from the business.) I want my policy
       cancelled and my money returned. How could I give you the VIN number? I don't know where it
       is.




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     Complaint Type: Advertising/Sales Issues        Status: Answered
                                                                                                 07/25/2019
                  I want to talk to your legal department about multiple robocalls your company made to my
                  cell phone from 6/5/19 to 6/17/19. The calls were made using 6/5/19 to 6/17/19
                  Desired Outcome
                  Contact by the legal department.



           E

       Matrix Warranty Solutions, Inc Response                                                 07/26/2019

       Matrix does not participate in telemarketing or own any marketing centers. Matrix is a claims
       administrator. Matrix would be happy to investigate this further but would need more information
       on the actual company making the calls. Please provide as much information as possible so we
       can take action.




       Customer Response                                                                       07/30/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) I was called
       by a company by the name of Vehicle Protection Services, a third-party reseller of services
       provided by Matrix. So Matrix is liable for the actions of any "vendors" that represent the products
       sold or managed by Matrix.




           E

       Matrix Warranty Solutions, Inc Response                                                 08/02/2019

       Matrix will investigate this issue. Matrix will reach out to Vehicle Protection Services and make
       sure they are not calling the consumer and that they are conducting business under accordance
       of the law.




       Customer Response                                                                       08/06/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) I agree that I
       want Matrix to investigate my issue with them and with Vehicle Protection Services / Vehicle
       Protection Specialists, but I want this claim to remain open until we have reached an equitable
       settlement.




     Complaint Type: Advertising/Sales Issues        Status: Answered




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                                                                                                    07/22/2019
                  12 TCPA violations and I am considering them willful as I am on the national Do Not Call
                  registry. Don't tell me you do not hire 3rd party aﬃliates! I was called and left a voicemail
                  to call a number back which I did and it was about a car warranty plan. When I called the
                  number back I was given on the ﬁrst VM I was transferred to another rep whose name
                  was Sterling and he was a broker for Matrix. I am on the national Do Not Vall registry and
                  have been since 2007 so the ﬁrst call was automatically $1500 but the other 11 calls has
                  brought the total to $18,000. When transferred to Sterling he went through the usual
                  speech about cost and payment options which I was also told that Sterling worked for
                  Vehicle Services and they are a broker hired by Matrix. So Matrix takes care of the
                  payments when it comes to your vehicle repairs but they sell the warranty for Matrix so
                  yes Matrix does hire telemarketers to solicit unwanted sales calls as I have his VM to
                  prove that also. When I hung up on him he proceeded to call me back 11 times within 5
                  minutes from Irvine California Vehicle Services hired by Matrix. I have his VN and phone
                  number which all checks out as being Vehicle Services out of California who sells Matrix
                  warranty's. with this said if you read the TCPA and FCC rules you are responsible for
                  Vehicle Services as you directly hired them. You need to contact me as this is a huge
                  number $18,000 and there are plenty of others if I ﬁle a class action suit in federal court
                  and your phone records are reviewed in a court of law what all are they going to ﬁnd? I
                  imagine plenty. I need you or your legal department to contact me ASAP and you can get
                  my info from the BBB or my demand letter as I feel we can come to some sort of
                  agreement hopefully before I ﬁle in federal court for your TCPA violations. Contact me
                  ASAP?
                  Desired Outcome
                  I want to be contacted by the business so we can discuss best resolution for all the TCPA
                  violations they committed against me.



           P

       Matrix Warranty Solutions, Inc Response                                                   07/23/2019

       Matrix has reviewed customer complaint. This complaint has been forwarded to the legal and
       compliance department. The consumer should expect a response and resolution within 5-7
       business days. If the consumer can please provide the best contact information to be reached for
       response and resolution.




       Customer Response                                                                         07/25/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) I partially
       accept it and Matrix has my contact number in demand letter I sent certiﬁed return receipt. I have
       also spoken with someone at Matrix that has my cell number and can the BBB please provide
       Matrix my cell number since I can't post it? I accept the part they are looking into it I don't accept
       the part that if I choose yes this closes the case with the BBB as I have not been contacted by
       Matrix legal department yet. Once contacted and we can reach an agreement this will be
       resolved.




           P

       Matrix Warranty Solutions, Inc Response                                                   08/02/2019

       Matrix will have its compliance department reach out to the consumer directly.




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       Customer Response                                                                            08/06/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) The company
       made the calls or had another company they hired make the calls. They are responsible for the
       companies they hire that violate TCPA rules.




     Complaint Type: Problems with Product/Service          Status: Answered
                                                                                                       07/19/2019
                  I bought an auto warranty and when I had a claim they cancelled the contract yet would
                  not give me a refund. I purchased the contract on 7/20/18 for $3,050 for my personal
                  vehicle. In April, the truck broke and needed $10K in repairs. The Company sent an
                  inspector out and because my truck had tools in it, it wasn't considered a "personal"
                  vehicle...yet these tools were in it when they sold it to me. I requested a refund at that
                  time and they said I have to provide notice according to the contract. I provided such
                  written notice and mailed certiﬁed return receipt through USPS, although the addresses
                  provided in the contract were not valid. My wife called to ask for another address and
                  they would not give her a legitimate mailing address.
                  Desired Outcome
                  A full refund.



          W

       Matrix Warranty Solutions, Inc Response                                                      07/24/2019

       Matrix sent an inspector to investigate the claim as we do for all claims of this nature. The
       inspection determined that the vehicle was clearly a commercial use vehicle. In addition to
       having "tools in it" the vehicle also has a utility work bed with an air compressor mounted on it
       and goose neck hitch. The inspection report provided pictures of such. Because the commercial
       use surcharge was not selected at time of sale, Matrix was unable to assist with this claim.
       Cancellations have to be submitted to the seller of the contract however this customer would not
       likely be entitled to a full refund given that Matrix did pay out several maintenance beneﬁt claims
       prior to the inspection report.




       Customer Response                                                                            07/29/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) We don't live
       in Dallas, we live on a rural South Texas family ranch and maintaining our homestead requires
       being able to be self suﬃcient. An air compressor is standard as cactus and mesquite on the
       property will ﬂatten a tire and there is limited cell service to call for help as it's a remote location.
       The utility bed was on the truck when the contract was issued and helps hold tools and supplies
       as it's a remote location. The truck was owned individually under an individual insurance policy
       primarily on privately owned land. At the inception of the agreement, I understood commercial
       vehicle to mean the legally deﬁned term commercial vehicle and used in business to transport
       goods or customers, which this truck was not. Per the contract, we tried to provide notice of
       cancellation yet our notarized letter was returned. When we called to request a correct address
       the Company refused to provide an address to my wife because she didn't own the contract.
       They would not provide a legitimate mailing address to her. I believe they're intentionally stalling
       and providing false contact information. This company voided the contract without cause, I am
       requesting a full refund.




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          W

       Matrix Warranty Solutions, Inc Response                                                      07/31/2019

       Matrix will contact the seller of the policy to reach out to you in regards to your cancel. As stated
       before, Matrix has already paid out several maintenance beneﬁts so a full refund is not probable.
       However, we will let the seller and consumer ﬁnd a mutual resolution.




       Customer Response                                                                           08/02/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) The Seller
       appears to be defunct as our correspondence to the contact information provided in our contract
       has been returned as undeliverable and the phone numbers have been disconnected. Can you
       provide legitimate contact information for the Seller? If so, why was this information not provided
       earlier when we speciﬁcally asked for legitimate contact information?




     Complaint Type: Billing/Collection Issues       Status: Answered
                                                                                                      06/20/2019
                  when I called to get my deposit and the ﬁrst payment refunded . Thye didn't want to give
                  it to me. Had to request to be transferred 2 times for help. I signed up for this warranty
                  with the idea of paying it all off immediately, all 3100. SO when I called and the bank
                  wouldn't let the payment go through I told the rep that helped me I would call back later
                  to pay it in full. I called my bank and spent a 30 min trying to get the to lift the fraud alert,
                  unsuccessfully. The next day I was scrolling my email and I see a "thank you for your
                  payment" email to my surprise 124 and change had been deducted. I'm pretty upset since
                  I never agreed to automatic payments. I call the next day to now cancel the warranty. The
                  ﬁrst rep I speak to is yelling at me about how I agreed and, they have me on tape. She
                  goes on to threaten my bank for slander for the fraud block. She continued her rant how I
                  will get no refund due to me agreeing to it. I say to her that all I want to do is cancel my
                  plan and get a refund since I do not want the service. I end up requesting her manager
                  but before she transfers me, she says how its ﬁne he will tell me the same thing. I say
                  that's ﬁne I still want to speak to him. He gets on and is the same person I told I would call
                  back to make the payment. He starts arguing about how I was going to pay I but, my bank
                  wouldn't allow it, so what changed etc. He even looked up the BBB reviews. I tell him how
                  there are several people that have had these issues; and since you took payment with out
                  my authorization, then the hassle of the current call I'm sure I want to cancel now. He tries
                  to tell me my 157.00 deposit is gone, and I get a prorated payment from the 6/18 payment.
                  I asked for his manager at this point I'm on the phone for 30 minutes (this isn't even my
                  ﬁrst call I was redirected from another company). I request to now speak to his manager. I
                  was on the phone with him for ﬁve minutes and he gave the deposit and the payment but
                  still said it was prorated. He tells me I must write a letter and mail it for the cancellation
                  and then I will receive a paper check in 3 weeks for the prorated amount. To me this
                  unacceptable. Be very leery of this company the person I signed up with hustled me into
                  it with a story about his wife. How she had the same car and this was so beneﬁcial. The
                  customer service has been terrible and there was never any mention of how tedious it
                  would be to cancel this policy.
                  Desired Outcome
                  I want a full refund. I haven't used any services and feel like good customer service would
                  recognize that.




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          C

       Matrix Warranty Solutions, Inc Response                                                06/28/2019

       On May 14, 2019, Ms. ******* ******* enrolled in a vehicle protection plan with DriveSmart for her
       2015 Dodge Dart. During enrollment, it was explained to the customer that she would have a 30-
       day review period to look over the terms in the policy handbook that should receive in the mail to
       thoroughly read over and determine her interest in keeping the policy before it would go into
       effect and the ﬁrst monthly payment would be due on June 14, 2019. Within the 30-day review
       period if the customer were to opt-out of coverage, then a full refund would be provided back to
       the customer and the account would be closed. Ms. ******* agreed to these terms. We did not
       hear from Ms. ******* until June 17, 2019. At this point her 30-day review period ended, and the
       policy has been in effect since June 14, 2019. The DriveSmart billing team reached out to Ms.
       ******* due to her ﬁrst payment being delinquent with the ﬁnance company and message was left
       on voicemail. She called back into the DriveSmart customer service department the same day
       with the intention of paying the policy off in full. The customer care agent offered Ms. ******* a
       discount on the total cost of the policy for the payoff. Unfortunately, when processing the
       payment, her banking institution blocked the charge from being approved. The agent advised
       Ms. ******* to contact her issuing bank to have the charge approved. She agreed to do this and
       call back to make that payment. DriveSmart did not hear back from Ms. ******* that day. On June
       18, 2019, our ﬁnance company auto billed the original amount of $124.45 for the delinquent
       payment that was originally due on June 14, 2019. This charge was approved. On June 19, 2019,
       Ms. ******* called DriveSmart customer service department with the intention of cancelling service.
       She stated that she was upset about the delinquent payment being drafted out of her account on
       June 18, 2019 as well as the issuing bank declining the payoff balance and refusing to allow that
       charge to be processed on June 17, 2019. The customer care agent explained that due to her
       account being in delinquent status at the time and not hearing back from her on June 17, 2019,
       the ﬁnance company attempted to collect the original agreed upon amount. Ms. ******* demanded
       a full refund of her deposit and monthly payment of $124.45. An agent explained to Ms. *******
       that if she were to follow through with the cancellation, she would be entitled to a pro-rated
       refund regardless if a claim was made or not, since the account was active and the 30-day review
       period had lapsed on June 14, 2019. The call was transferred to the customer care manager who
       explained a written intent of cancellation would be required to oﬃcially discontinue service and
       the pro-rated refund would be shortly issued. The terms of cancellation and refunds are always
       explained to a consumer upon enrollment on a recorded line as well as conveniently located in
       the policy handbook that is shipped out to each customer one business day after enrollment. The
       30-day review period is to ensure the customer has full understanding and agreement of the
       policy and terms before activation with the option of a risk-free full refund if it is decided to
       discontinue service. To date, we have not received a letter from the customer with intent to
       cancel. In good faith, DriveSmart is agreeing to refund Ms. ******* in full and will discontinue
       service waiving the required letter of cancellation. The refund and cancellation will be processed
       today, June 28, 2019 but may take 2-5 business days to reﬂect within her account. We apologize
       to Ms. ******* for any inconvenience or miscommunication there may have been.




     Complaint Type: Advertising/Sales Issues      Status: Answered
                                                                                                06/03/2019
                  Company will not stop harassing solicitation calls regarding auto warranty. Company will
                  not cease harassing solicitation calls with blocked or invalid phone numbers.
                  Desired Outcome
                  Have company cease all contact with me.



          C

       Matrix Warranty Solutions, Inc Response                                                06/04/2019

       Matrix does not own any telemarketing call centers. Matrix does not solicit or harass consumers.
       Matrix is an administrative claims company and does not directly market to consumers. Matrix
       does not condone telemarketing or any other forms of harassment. The consumer would need to
       provide more information on the company actually making the calls so we can attempt to help
       with the consumer's request.




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     Complaint Type: Advertising/Sales Issues       Status: Resolved
                                                                                                  05/24/2019
                  I was misled and manipulated by a salesman claiming to be with ****'s oﬃcial extended
                  warranty department. I received a call from this company 4/15/19, and they claimed to be
                  ****'s oﬃcial extended warranty program. They informed me my warranty was up, but I
                  explained to them that I already had an extended warranty with another 3rd party
                  company. The man told me there was no sign of an active extended warranty in the
                  "database" and that I had been scammed by this other company. He continued to share
                  his negative thoughts of this other company, and said he could help me get a refund from
                  them. He had me send a letter ending my services with the other company and stated
                  that his company ************************* would begin legal action against my current
                  extended warranty company. They explained that they could not begin the process
                  without having a policy with them, so I signed up, giving them a down payment of $1500. I
                  am now struggling with both companies to cancel my policies and get my money back,
                  but Matrix Warranty ************************** keep giving me the runaround, telling me that
                  they can't help me with my other refund if I end my policy. They continue to bash the
                  other company while being rude to me and speaking condescendingly.
                  Desired Outcome
                  I would like a full refund of my deposit of $1500 and the monthly payment of $103, as I
                  was misled and manipulated by these companies.



           K

       Matrix Warranty Solutions, Inc Response                                                  06/13/2019

       Matrix was not aware of an issue of this nature. We will investigate and make sure it is handled
       properly and quickly.




       Customer Response                                                                        06/18/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) I am not
       satisﬁed with the company just saying they will investigate. I have not had good customer service
       when dealing with my ********** account about the sales tactics I'd encountered when signing up,
       so I am not sure how much better Matrix speciﬁcally will be. I am waiting to hear from them yet.




       Customer Response                                                                        06/19/2019

       I have received a full refund from Drivesmart and Matrix.




     Complaint Type: Advertising/Sales Issues       Status: Answered
                                                                                                  05/03/2019
                  We are on the National Do Not Call list and this company uses call centers to constantly
                  call us to try and sell auto warranties. On 5/3/2019 (and many other dates) we were called
                  from (XXX) XXX-XXXX. The company was Matrix Admin and was trying to sell me a
                  vehicle warranty. They said the company they sell service plans for is Element Protection
                  Plans and even gave me their phone number. I explained we are on the DNC list and she
                  hung up. They call probably every other day and the caller id shows a different number
                  every time. Element Protection needs to cease and desist using these sales tactics which
                  is clearly against the law.
                  Desired Outcome
                  Simply want this company to stop calling and admit they are using call centers that ignore
                  the National Do Not Call list.



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           J

       Matrix Warranty Solutions, Inc Response                                                  05/08/2019

       Matrix does not own any telemarketing call centers. Matrix does not solicit or harass consumers.
       Matrix is an administrative claims company and does not directly market to consumers. Matrix
       does not condone telemarketing or any other forms of harassment. It is possible this consumer is
       confused. There are several marketing companies in the extended warranty space. However,
       Matrix is willing to assist the consumer if the consumer is able to provide the name of the call
       center that is actually making the calls. Please include as much information as possible on the
       marketer.




       Customer Response                                                                        05/13/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) I am not a
       confused consumer nor did my original complaint allege that Matrix owned a telemarketing
       company. My complaint is that Matrix sells vehicle service plans to customers that they obtain
       from telemarketing companies which they do not properly regulate to ensure they are in
       compliance with FCC rules. I am unable to provide any information on the telemarketing
       company that called me since they use caller id spooﬁng technology. All I know for sure is they
       are trying to sell service plans for Matrix while ignoring the Do Not Call registry. Matrix should
       know what telemarketing companies are selling their product and ensure those companies are
       complying with all FCC rules.




           J

       Matrix Warranty Solutions, Inc Response                                                  05/15/2019

       Matrix does not sell vehicle service contracts. Matrix administrates claims for vehicle service
       contracts. Matrix wants all parties to operate under the law and fully compliant with regulations.
       Matrix is also willing to help the consumer but needs more information on the marketer. If the
       consumer does not provide that info, please close this complaint out.




       Customer Response                                                                        05/21/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) I understand
       that Matrix states it does not sell service contracts and only administrates claims for these service
       contracts. The bottom line is that Matrix is knowingly accepting business that is obtained by
       telemarketing companies that do not adhere to the Do Not Call registry. This makes Matrix
       themselves non-compliant with FCC regulations and is the basis of my complaint. If companies
       like Matrix would stop accepting business via these non-compliant telemarketers maybe these
       robo calls would stop. Again, I cannot provide any information on the telemarketer themselves as
       I was only able to ﬁnd out who they do business with which was Matrix. Again I request Matrix
       review the companies it obtains these service plans from that they administer to ensure they are
       complying with FCC rules.




     Complaint Type: Advertising/Sales Issues      Status: Answered




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                                                                                                   04/28/2019
                  I have received excessive phone call from the company for advertising. I don't even have
                  time during the day to deal with this type of phone call Even if I declined to receive phone
                  call from the company, I have received excessive phone call all the time day and night. I
                  talked to the representatives a several times and told them I am not interested but still
                  getting call and it's been a very annoying. I don't want to receive a phone call anymore.
                  Desired Outcome
                  I don't want to get a phone call for my personal phone number which is XXX XXX XXXX



          M

       Matrix Warranty Solutions, Inc Response                                                   04/30/2019

       Matrix does not make outbound calls. Matrix does not employ or own any call centers. Matrix is
       willing to reach out to the company who is responsible for the calls and get them to stop but
       would need more information from the consumer on who is actually calling them.




       Customer Response                                                                         05/01/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) I have
       received a lots of calls and they don't give the names until you start talking about contract. Some
       times they hang up when you asked the company name ﬁrst. I stayed on the phone for 45
       minutes to get the name of the company. It wasn't seem a fraud issue. It is an advertising issue.
       They don't take your phone number off the list even if you decline receiving calls. I don't think
       that happens without company's permission. The only think that I want from the company is not
       giving a call to me. If I get a call again I will get their names this time.




          M

       Matrix Warranty Solutions, Inc Response                                                   05/03/2019

       Since Matrix does not make outbound calls, it needs more information on where the calls are
       originating from. Matrix does not condone excessive calling or harassment in any fashion. Matrix
       is willing to help and ensure the customer doesn't receive any calls but needs to know the
       company who is calling in order to do so. Please collect as much information as possible.




       Customer Response                                                                         05/07/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) I need time
       until I get a phone call from them again. I will provide the names and everything.




     Complaint Type: Advertising/Sales Issues       Status: Answered
                                                                                                   04/12/2019
                  They are calling me 10 times a day. I am on the Do Not Call list. This problem has
                  occurred multiple days for over a year
                  Desired Outcome
                  As long as they stop calling me I will not have to pursue any further action




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           S

       Matrix Warranty Solutions, Inc Response                                                    04/15/2019

       Matrix does not make outbound calls. Matrix does not employ or own any call centers. Matrix is
       willing to reach out to the company who is responsible for the calls and get them to stop but
       would need more information from the consumer on who is actually calling them.




     Complaint Type: Problems with Product/Service         Status: Answered
                                                                                                    04/05/2019
                  Received call trying to sell to me vehicle protection on my 1991 Ford Aerostar. Very pushy
                  man that had some information about me and knew that I owned the 1991 Ford Aerostar.
                  Pushed for the name of my bank and other information. I did not give him any information
                  that would ID me at the bank. In a few days received a contract stating that I had made a
                  $107.00 down payment and owed $2033.00 payable in 22 payments. Other names
                  involved are MATRIX PAYMENT SOLUTIONS AND MEPCO. So far there has been no
                  withdrawal of monies from my bank to this company. Product_Or_Service: Vehicle
                  Protection Services Order_Number: MATRIX Account_Number: ******XXXXX
                  Desired Outcome
                  Other (requires explanation) To stop the hounding of me for money. When I call either
                  number, XXX-XXX-XXXX or XXX-XXX-XXXX I get Debbie ****** who is more pushy than
                  the man that called and also lies and lies. She claims I made a $107.00 down payment
                  and that she has the checking account numbers and all this is on a recording which she
                  will never play for me. She just talks over me when I try to tell her that I did not OK any
                  Protect Vehicle plan and I have not made any down payment.



          M

       Matrix Warranty Solutions, Inc Response                                                   04/09/2019

       Matrix has spoken to the customer and looked into the issue. Matrix reached out to both the
       seller of the contract and the ﬁnance company. Since the contract was never paid for it was never
       activated at the ﬁnance level or Matrix. We have removed all customer information for our
       database and asked that the seller do the same. This issue has been resolved.




     Complaint Type: Advertising/Sales Issues       Status: Answered
                                                                                                    03/07/2019
                  Fraudulent sales and harassment practices This bunch calles my phone muliple times a
                  day and is spooﬁng local government and business phone numbers to get passed my
                  phone blocker. I've ask to be removed from their call list to no avail. I do not need nor
                  want their vehicle extended warranty. The persons I've spoke with have told me their
                  names were Christian ***** and a female named Vanessa. They insist I pay them $495. up
                  front with a credit card and that my car repairs will break me if I don't. My car is brand new
                  and still has a manufacture warranty for 4 more years. They lie and say that it has expired.
                  The number they gave me was XXX-XXX-XXXX. I am a busy person and cannot get my
                  daily work ﬁnished for them constantly ringing my phone from fake/spoofed numbers. I
                  would like to this outﬁt investigated and shut down. They are preying on the public in a
                  most outrageous way.
                  Desired Outcome
                  I want my number to be removed from their calling list. No more harassing calls from
                  spoofed local numbers. Honor the phone blocking actions of the public. To be put out of
                  business.




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           S

       Matrix Warranty Solutions, Inc Response                                                03/11/2019

       Matrix does not make outbound calls. Matrix does not solicit or harass consumers. Matrix is an
       administrative claims company and does not directly market to consumers. Matrix does not
       condone telemarketing or any other forms of harassment. It is possible this consumer is
       confused. The number the customer provided is to another company called Matrix Insurance and
       Beneﬁts Solutions and Matrix Wealth Management. We do not have any aﬃliation with either of
       those companies. Matrix asks the BBB to close out this complaint as erroneous.




       Customer Response                                                                      03/13/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) If "Matrix does
       not directly market to consumers", then can you please explain this:
       https://www.matrixprotection.com/vehicle-plan.html This web address is for Matrix and it offers
       plans and car warranty services on the Home page. Along with their contact information, warranty
       plans, and a free price quote and to brag about how the have a BBB A+ rating... ?




           S

       Matrix Warranty Solutions, Inc Response                                               03/22/2019

       The customer never mentioned our web page in their original post. The only information we have
       to go on is the telephone number they provided which was to a different Matrix company
       altogether. Matrix doesn't make outbound calls. Matrix certainly doesn't want consumers to be
       harassed. Matrix is willing to reach out to the company making the calls to get them to stop but
       would need more information from the customer on who is actually calling them.




       Customer Response                                                                     03/25/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) I have given
       you the information. "I never mentioned your web page in my orig. post" - Well, you have it now.
       And as for the phone number not being yours, neither is our local Sheriffs Dept., Public Schools
       and County Hospital's but that sure didn't seem to impair you from spooﬁng them in order to trick
       me into answering the phone. The web address I've given is the one provided as veriﬁcation that
       the caller/product warranty was legit. You stated in your ﬁrst response that "Matrix is an
       administrative claims company and does not directly market to consumers." Yet your webpage
       shows that you do market directly to consumers. So now you say that you don't make "outbound
       calls" - is this statement too suppose to be believed? You also stated that you do "not solicit or
       harass consumers", well I beg to differ - your marketing department has harassed me for over
       two years now! I'm not accepting your generic response as others have because they alone
       prove that what you say and what you do does not agree... And as for your offer to reach out to
       another Matrix company that you say might instead be the real culprit and try to get them to stop
       calling - you are not fooling anyone here. It's your company and you know it is... The fake number
       given to me was an obvious scam by your rep. I could tell the moment he said it because he
       fumbled through the digits as though he was searching. Your company has far too many similar
       complaints from the public and the BBB does need to step in here.




     Complaint Type: Advertising/Sales Issues     Status: Answered




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                                                                                                    02/27/2019
                  Constant phone harrassment after request to be placed on do not call list. I have
                  requested via the automated version and by phone to be removed from the company's
                  calling list. The automated request does not get processed. When you speak to a human,
                  the moment you tell them you want to be removed they just hang up. You cannot talk to a
                  supervisor. I stayed on the line and had a conversation for 7 minutes about my vehicle
                  then politely said I was not interested in the coverage and asked to be removed from the
                  list. Again a hang up. There is no apparent attempt by this company to remove you from
                  their calling list. I get at least 10 phone calls a week.
                  Desired Outcome
                  Removal from their calling list an no further contact.



          C

       Matrix Warranty Solutions, Inc Response                                                    02/28/2019

       Matrix does not make telemarketing calls. Matrix does not own any telemarketing call centers.
       Matrix does not solicit or harass consumers. Matrix is an administrative claims company and does
       not directly market to consumers. Matrix does not condone telemarketing or any other forms of
       harassment. Without knowing the name of the company making the calls, Matrix will circulate the
       consumer's phone number to the independent aﬃliates and make sure they remove the number
       from any and all call lists.




     Complaint Type: Problems with Product/Service         Status: Answered
                                                                                                    02/04/2019
                  I signed a contract with Protech VSC on July 26,2018 for a Vehicle Service Contract. The
                  car was totaled on August 28, 2018. I called Protech VSC on August 29, 2018 to report
                  the car totaled. They demanded Total Loss paperwork. I sent the paperwork in
                  September. I called on October 17,2018 and cancelled the automatic deductions since
                  $124.27 was deducted from my bank account on October 9, 2018.They told me that they
                  hadn't received my Total Loss paperwork. I sent it again in October.I thought that the
                  matter was taken care of in October. In December I saw that other automatic payments of
                  $124.27 were taken in November and December. I ﬁled a Stop Payment Authorization on
                  December 18,2018 at my bank. I also sent the Total Loss Paperwork a third time on
                  December 20,2018, I sent it Certiﬁed Mail. I have the Postal Service postcard signed by
                  Protech VSC on delivery.Protech VSC took $497.08 in automated payments for a Service
                  Contract on a car that was totaled. That's payments in Sept, Oct, Nov, and Dec.I expect a
                  refund of $248.54 since I received two chargebacks from my bank. Product_Or_Service:
                  Vehicle Service Contract Account_Number: ELEMENTEP ENHANCED P
                  Desired Outcome
                  Other (requires explanation) Protevh VSC has cancelled my contract "because Mepco has
                  not received my payment."I attempted to cancel this contract because the car was a total
                  loss on August 28,2018 three times. i would like to have Protech change the oﬃcial
                  reason for cancellation. I also expect a refund of $248.54.



          D

       Matrix Warranty Solutions, Inc Response                                                    02/05/2019

       This is the ﬁrst time Matrix is being alerted to this issue. Matrix is taking immediate action and will
       reach out to Protech VSC and have them refund the payments that were taken after your request
       for cancellation. We will be in touch shortly with conﬁrmation.




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       Customer Response                                                                      02/11/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) I was told that
       I would not be getting any money back on the phone. I believe that this company received my
       Total Loss Paperwork but would not acknowledge it so that they could collect more money. My
       car was totaled on August 28,2018. I called the next day and sent the Total Loss Paperwork the
       ﬁrst week in September. I sent it again on October 17,2018 after I had called them and they said
       that they had not received it. I sent Total Loss Paperwork again on December 20,2018 Certiﬁed
       Mail. I also had to cancel my debit card on December 18,2018 because they kept taking
       payments.




          D

       Matrix Warranty Solutions, Inc Response                                                02/13/2019

       Matrix received this response in regards to the customer's claims. We received customer's total
       loss paperwork as of December 18th. This was not cancelled due to nonpayment. However, there
       is no refund due, as the customer charged back 3 of her payments. I cancelled the policy as of
       December 18th. She had the policy for 145 days. Customer is mad because there is no refund
       due. We had offered her the 94.83 as a refund, however, she refused because she wanted a full
       refund. She was given her refund through her bank when she charged back her payments.
       Initially, she requested a refund of everything she paid in, including the amounts she had already
       been credited by her bank. When we advised her that she had already received funds from her
       bank, then she began asking for the rest of the money she paid. Per her contract, the refund is
       prorated, and subject to a 75 dollar cancellation fee. She did not want to abide by the contract
       terms. Matrix asks BBB to close this case out due to this information.




       Customer Response                                                                      02/17/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) I received
       $248.54 from my bank, this is two charge backs. Matrix owes me $248.54, the other two
       payments that they took from me after I sent in my Total Loss Paperwork. They did not
       acknowledge receiving it until I sent it Certiﬁed Mail in December. My car was totaled on August
       28, 2018. They should not have continued collecting payments from my bank account on a
       totaled car. Even if they take a $75 cancellation fee, they still owe me $173.54.




     Complaint Type: Problems with Product/Service      Status: Answered
                                                                                                01/30/2019
                  On do not call list but VRU keeps calling and have asked to be removed - have asked six
                  times and still call ****, ***, *****
                  Desired Outcome
                  Quit calling and BBB should down grade



          N

       Matrix Warranty Solutions, Inc Response                                               02/05/2019

       Matrix does not own any telemarketing call centers. Matrix does not solicit or harass consumers.
       Matrix is an administrative claims company and does not directly market to consumers. Matrix
       does not condone telemarketing or any other forms of harassment. It is possible this consumer is
       confused. There are several marketing companies in the extended warranty space. Matrix does
       not recognize the name VRU so without more information, Matrix cannot help the consumer.
       Matrix asks the BBB to close out this complaint as erroneous.




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       Customer Response                                                                          02/06/2019

       (The consumer indicated he/she DID NOT accept the response from the business.) They are
       hiring marketing companies to push their product and do not know which marketing company is
       doing this. They told me they can not tell me who the company is. They are paying for the
       marketing and are responsible for the actions of subcontractors.




          N

       Matrix Warranty Solutions, Inc Response                                                     02/11/2019

       Matrix does not make telemarketing calls. There are numerous marketing companies that sell
       many programs one of which might be Matrix. There are also marketing companies that might
       use the Matrix name but are unauthorized to sell our program and then sell another product.
       Without more information on the actual company this consumer spoke to, Matrix cannot take the
       necessary steps to resolve the issue. Matrix asks the consumer provide more information so we
       can help with his request.




     Complaint Type: Problems with Product/Service          Status: Answered
                                                                                                      12/14/2018
                  They continue to call my cell even after I told them many times I no longer own the
                  vehicle. They are calling on a cell number that is on the DNC list Even though the
                  company is out of Texas they call me from a robo # that shows my local area. I have sold
                  the vehicle that they call me about around 3 years ago. They are calling me on a do not
                  contact number.
                  Desired Outcome
                  I've asked more than once to be taken off their call list and they continue to call me. I just
                  want to be removed from their list



          D

       Matrix Warranty Solutions, Inc Response                                                      12/17/2018

       Matrix does not own any telemarketing call centers. Matrix does not solicit or harass consumers.
       Matrix is an administrative claims company and does not directly market to consumers. Matrix
       does not condone telemarketing or any other forms of harassment. Without more information on
       the actual call center who made the calls, Matrix cannot take further action.




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                 EXHIBIT 2
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           Better Business Bureau®


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                                                                                                                                                         Share         Print


  Business Proﬁle                                                                                                        10 S La Salle St Ste 2310

                Mepco                                                                                                    Chicago, IL 60603-1068
                                                                                                                         http://www.mepco.com

                                                                                                                          Email this Business

                                                                                                                         (800) 397-6767




      Contact Information                                       Customer Reviews                                       BBB Rating & Accreditation
         10 S La Salle St Ste 2310                                                             1.15/5
         Chicago, IL 60603-1068
         http://www.mepco.com                                   Average of 146 Customer Reviews                                                      A
          Email this BBB                                             Read Reviews           Start a Review

         (800) 397-6767                                                                                                Accredited Since: 12/1/2009
                                                                                                                       Years in Business: 57

              Want a quote from this                            Customer Complaints
                    business?                                   173 complaints closed in last 3 years
                                                                                                                       Customer Reviews are not used in the
                                                                                                                       calculation of BBB Rating
                                                                70 complaints closed in last 12 months
                      Get a Quote
                                                                   Read Complaints          File a Complaint           Overview of BBB Rating




     Products & Services
     Mepco provides billing services related to vehicle service contracts, sending bills and collecting payments. However, Mepco has no involvement in the
     development, marketing, sale, claims processing activities, or other administration of vehicle service contracts, and Mepco does not engage in any form of
     telemarketing. If you have questions regarding the purchase of a policy, or if you wish to cancel the coverage, you will need to contact the direct marketer or
     dealership that the policy was purchased from. If you have questions regarding coverage details, repair authorizations, or claim submission you will need to
     contact the service contract administrator. The names and telephone numbers for these companies appear on all documents sent by Mepco and they alone
     can address discrepancies with product representation, service reimbursement, cancellations, reinstatement's, refunds, or any other vehicle service contract
     related issues.




    Business Details

    Location of This Business
    10 S La Salle St Ste 2310, Chicago, IL 60603-1068
         Email this Business

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Mepco | Better Business Bureau® Profile                                                 #:81 12:33 PM
         Email this Business
    BBB File Opened:                   7/16/1997
    Years in Business:                 57
    Business Started:                  4/1/1964
    Business Started Locally:          4/1/1964
    Accredited Since:                  12/1/2009
    Type of Entity:                    Sole Proprietorship
    Business Management

    Mr. Anthony Hammes, Vice President of Corporate Communication

    Contact Information

    Principal
    Mr. Anthony Hammes, Vice President of Corporate Communication

    Customer Contact
    Mr. Anthony Hammes, Vice President of Corporate Communication

    Additional Contact Information
    Fax Numbers

    (866) 656-6518       Other Fax

    Email Addresses

    Email this Business      Primary

    Email this Business      Sales

    Email this Business      Technical Support

    Email this Business      Customer Service




     Customer Complaints
     173 Customer Complaints




     Customer Reviews
     146 Customer Reviews




     Business Categories
     Auto Warranty Plans          Financial Services       Payment Processing Services            Billing Services




     Local BBB
     BBB of Chicago & Northern Illinois



                                                                                        More Info on Local BBB



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https://www.bbb.org/us/il/chicago/profile/auto-warranty-plans/mepco-0654-87000561                                                                                                       Page 2 of 3
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  BBB Business Proﬁles generally cover a three-year reporting period. BBB Business Proﬁles are subject to change at any time. If you choose to do business with this business, please let the business
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  As a matter of policy, BBB does not endorse any product, service or business.




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         See What BBB Reports On



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  When considering complaint information, please take into account the company's size and volume of transactions, and understand that the nature of complaints and a ﬁrm's responses to them are often
  more important than the number of complaints.
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  Customer Reviews                                                                                                         10 S La Salle St Ste 2310

                 Mepco                                                                                                     Chicago, IL 60603-1068
                                                                                                                           http://www.mepco.com
                                                                                                                          Email this Business

                                                                                                                           (800) 397-6767




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                                                                                                                   does not verify the accuracy of information provided by third
                                                                                                                   parties, and does not guarantee the accuracy of any information
                                                                                                                   in Business Proﬁles.
                                                                                                                   When considering complaint information, please take into
                                                                                                                   account the company's size and volume of transactions, and
                                                                                                                   understand that the nature of complaints and a ﬁrm's responses
                                                                                                                   to them are often more important than the number of complaints.
                                                                                                                   BBB Business Proﬁles generally cover a three-year reporting
                                                                                                                   period. BBB Business Proﬁles are subject to change at any time.
                                                                                                                   If you choose to do business with this business, please let the
                                                                                                                   business know that you contacted BBB for a BBB Business
                                                                                                                   Proﬁle.
                                                                                                                   As a matter of policy, BBB does not endorse any product, service
                                                                                                                   or business.




                 Teresa L
                                  (1 star)
                                                                                                      11/12/2021

       When buying these policies, they couldn't be more available & helpful. BUT, try canceling & they
       hangup,on hold for hours, or an agent,that I can't understand, talks too fast. Then a supposed
       manager got on the phone & practically ordered me to keep them. He went on & on, not even
       listening to me. I feel bad for their reps having to bully folks into keeping the accounts.




       Mepco Response                                                                               11/13/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
       would like the opportunity to speak with you to be able to address any questions or concerns.
       Please contact our *************************** ************** Monday Friday from 8A5P CST or by email at
       ***********************************




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                 Tonya W
                                  (1 star)
                                                                                                      11/12/2021

       They are doing the exact same thing to me! I've cancelled my contact over 3 months ago and
       have had to recancel it every single month! They keep taking it out of my bank account causing
       me to pay for overdraft charges that I can't afford!




       Mepco Response                                                                               11/13/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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                 NFN W.
                                  (1 star)
                                                                                                      11/09/2021

       On SEPTEMBER 23,2021 CANCELED MY AAP ACCOUNT AND $100.00 WAS RETURNED TO MY
       BANK ACCOUNT AT ***** FARGO! MEPCO BILLING ME OVER MY GMAIL FOR 2MONTHS DAYS
       AFTER I HAD CANCELED WITH AAP




       Mepco Response                                                                               11/13/2021

       Thank you for submitting your concerns regarding Mepco. With the information provided, we
       found an account; This account is canceled. We strive to provide exceptional customer service
       and appreciate the opportunity to address this issue. Please understand Mepco is only the
       servicer of payment plans for providers of vehicle service contracts. However, we would like the
       opportunity to speak with you to be able to address any questions or concerns. Please contact
       our *************************** ************** Monday Friday from 8A5P CST or by email at
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                 Steven H
                                 (1 star)
                                                                                                    11/01/2021

       Apparently this company is part of the same grift as ****************************. I cancelled the
       account with WPA the very same morning that I opened it after seeing all of the one-star BBB
       reviews (normally would have checked that ﬁrst, but it was a chaotic morning). I never received a
       cancellation notice from WPA (and they hide behind an answering service rather than actually
       dealing with customers). I immediately reported them to the fraud department at my credit card
       company and had them change my account number so that I could not be charged.I'm getting a
       barrage of bills from MEPCO telling me that I am overdue and the monthly amount is about
       double what I originally agreed to when I signed. My guess is that their next move is to send me
       to collections when I don't pay them. Given their commitment to being unreachable, I expect to
       receive no returned calls and will have to take them to court.




       Mepco Response                                                                            11/03/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
       would like the opportunity to speak with you to be able to address any questions or concerns.
       We need more information, please contact our *************************** ************** Monday Friday
       from 8A5P CST or by email at ***********************************



                 Rochelle t
                                 (1 star)
                                                                                                    11/01/2021

       $75 they take from you for looking over the contract and canceling within 30 days yes they
       charge $75 and then you never get the contract so they keep debiting your bank card every
       month this is a scam a rip off I advise everyone to stay away from this company they have three
       different names and they have terrible reviews I was stupid and did not read the reviews ﬁrst
       *****************************




       Mepco Response                                                                            11/03/2021

       Thank you for submitting your concerns regarding Mepco. With the information provided an
       account found, please note this account is canceled. We strive to provide exceptional customer
       service and appreciate the opportunity to address this issue. Please understand Mepco is only
       the servicer of payment plans for providers of vehicle service contracts. However, we would like
       the opportunity to speak with you to be able to address any questions or concerns. Please
       contact our *************************** ************** Monday Friday from 8A5P CST or by email at
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                 Delma C
                                  (1 star)
                                                                                                     10/29/2021

       I believe this is the worst customer service ever. It is Oct 29, 2021. I ﬁrst called MEPCO In June of
       this year to cancel my contract. I was told at that time it was cancelled. I was on auto payment.
       And they took out another payment again in July. called and once again and was told cancelled.
       They took another payment out in August, and was again told cancelled. I wish this was the end
       of the story, but the also took out a payment in September. when I talked to someone , I was
       guaranteed this contract was cancelled retro to June and would be refunded the payments. That
       didnt happen either. I got billed again for October. Waiting to hear from them today so they can
       cancel one more time.. I gave them one star only because you cant pick a zero star.




       Mepco Response                                                                              11/03/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
       would like the opportunity to speak with you to be able to address any questions or concerns.
       We need more information, please contact our *************************** ************** Monday Friday
       from 8A5P CST or by email at ***********************************



                 Pam S
                                  (1 star)
                                                                                                     10/28/2021

       Elder abuse scam. Taking advantage of vulnerable people and charging them for the priviledge.




       Mepco Response                                                                              11/03/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
       would like the opportunity to speak with you to be able to address any questions or concerns.
       Please contact our *************************** ************** Monday Friday from 8A5P CST or by email at
       ***********************************



                 JC M
                                  (3 stars)
                                                                                                      10/18/2021

       Trying to ﬁnd a mechanic that accepts them would be great but the ones in my area never heard
       of them.




       Mepco Response                                                                              10/22/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
       would like the opportunity to speak with you to be able to address any questions or concerns.
       Please contact our *************************** ************** Monday Friday from 8A5P CST or by email at
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                 Anthony F.
                                  (1 star)
                                                                                                      10/14/2021

       I canceled my service contract with Mepco and they kept sending me bills because the only way
       to get a refund with my warranty company is if your are current and up to date with your
       payments. So even if you hated Mepco and cancelled your contract with them they will still
       continue to send you bills cuz if you missed a payment you are no longer eligible for a refund!!




       Mepco Response                                                                              10/17/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
       would like the opportunity to speak with you to be able to address any questions or concerns.
       Please contact our *************************** ************** Monday Friday from 8A5P CST or by email at
       ***********************************



                 Richard L.
                                  (1 star)
                                                                                                      10/11/2021

       Mepco is a front for scamming companies. Sold my 91 year old mom a car warrantee and she
       doesn't even have a car.




       Mepco Response                                                                              10/12/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. We need more
       information; we would like the opportunity to speak with you to provide you with the contact
       information for the direct marketer and/or administrator of the vehicle service contract
       purchased. These companies will be able to address any questions regarding discrepancies with
       product representation, service reimbursement, cancellations, reinstatements, refunds, or any
       vehicle service contract related issues. Please contact our *************************** **************
       Monday Friday from 8A 5P CST or by email at ***********************************



                 Jordan W
                                  (1 star)
                                                                                                     10/09/2021

       I dont even know these people, or ever heard the name until I looked in my account! They took
       my money for no reason! I dont go through them for insurance or anything. They took over
       $153.00 from me!




       Mepco Response                                                                              10/12/2021

       Thank you for submitting your concerns regarding Mepco. With the information provided, the
       autopay was stopped on this account. We strive to provide exceptional customer service and
       appreciate the opportunity to address this issue. Please understand Mepco is only the servicer of
       payment plans for providers of vehicle service contracts. However, we would like the opportunity
       to speak with you to be able to address any questions or concerns. Please contact our
       *************************** ************** Monday Friday from 8A5P CST or by email at
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                 Susan M
                                  (1 star)
                                                                                                     10/08/2021

       MEPCO some how got my bank information and began debiting my account. Called to cancel
       and they would hang up. Finally got through and they were rude but eventually after threatening
       to report them for Elder Abuse, they say they did cancel. I'm waiting for my cancellation
       documents to be sent.**************




       Mepco Response                                                                              10/12/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
       would like the opportunity to speak with you to be able to address any questions or concerns.
       Please contact our *************************** ************** Monday Friday from 8A5P CST or by email at
       ***********************************



                 David T
                                  (1 star)
                                                                                                     10/03/2021

       I bought a new car and canceled my policy. But I keep getting reoccurring bills. I've called them
       on numerous occasions and they keep saying someone will return my calls. But this never
       happens. Shady at best is this warranty company. The one time I tried to use them it was denied.
       Never use this company if you are reading this.




       Mepco Response                                                                              10/06/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
       would like the opportunity to speak with you to be able to address any questions or concerns.
       Please contact our *************************** ************** Monday Friday from 8A5P CST or by email at
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                 123456
                                  (1 star)
                                                                                                      09/18/2021

       F*** these scamming ********.Not MEPCO, but whoever carries out the actual policy for the
       warranty.Called to cancel because I traded my car in, and bought new. The Coporate D*** HEAD
       said " Why are you even canceling this policy" you only have ******** left on it. I told him that I don't
       Own the car anymore and this policy is a joke because it won't Cover anything that I need ﬁxed
       because " pre existing condition" ﬁrst off How the h*** do you decide what's pre existing. I didn't
       even know there was a pre existing issue. He basically told me to f*** off, transfered me, and I
       was sent in a circle to CANCLE this policy for a car I told 3 different people I don't OWN
       anymore!!!! Reported it to my Bank as fraud because it is.




       Mepco Response                                                                              09/22/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Mepco is only the servicer
       of payment plans for providers of vehicle service contracts. We would like the opportunity to
       speak with you to provide you with the contact information for the direct marketer and/or
       administrator of the vehicle service contract purchased. These companies will be able to address
       any questions regarding discrepancies with product representation, service reimbursement,
       cancellations, reinstatements, refunds, or any vehicle service contract related issues. Please
       contact our *************************** ************** Monday Friday from 8A 5P CST or by email at
       ***********************************



                 corey d
                                  (1 star)
                                                                                                      09/10/2021

       Mepco is a joke. We have been waiting 4 months for a return for our money. The warranty did
       pay for c*** Your company is a fraud




       Mepco Response                                                                               09/14/2021

       Thank you for submitting your concerns regarding Mepco. With the information provided, an
       account was found. We strive to provide exceptional customer service and appreciate the
       opportunity to address this issue. Please understand Mepco is only the servicer of payment plans
       for providers of vehicle service contracts. Please contact ********************** regarding a refund.
       We would like the opportunity to speak with you to be able to address any questions or
       concerns. Please contact our *************************** ************** Monday Friday from 8A5P CST or
       by email at Requests@Mepco.cothis




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                 Miss T
                                 (1 star)
                                                                                                    08/13/2021

       I had a friendly rep that helped me set up my extended warranty ; however once I ﬁled a claim it's
       been a hassle and inconvenience feel so ripped off ! I would not recommend; their adjuster is 3rd
       party don't work with the dealer matter fact my dealer had never heard them. Wish she was
       explained this at time I agreed to this extended warranty now I am worried.




       Mepco Response                                                                            08/17/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
       would like the opportunity to speak with you to provide you with the contact information for the
       direct marketer and/or administrator of the vehicle service contract purchased. These companies
       will be able to address any questions regarding discrepancies with product representation,
       service reimbursement, cancellations, reinstatements, refunds, or any vehicle service contract
       related issues. Please contact our *************************** ************** Monday Friday from 8A 5P
       CST or by email at ***********************************



                 Jennifer M.
                                 (1 star)
                                                                                                    08/12/2021

       Complete scam of a business. Kept sending us letters stating we owed money for a warranty in
       our contract with ****** after we purchased a new vehicle. We thought it was legit so called back
       and soon started getting charged twice a month after they stated it would be a one time fee. Said
       they were aﬃliated with ****** when we called and that we had to use the warranty for 6 months
       as apart of our contract from buying our new car. Called ****** and they said they are not aﬃliated
       with them and that we were scammed. Called Mepco back to get a refund for the fraudulent
       warranty and instead we were rudely denied, called an a****** for wanting a refund and hung up
       on. We called our bank for the fraudulent charges to replace our card and get a refund. This
       company needs to be shut down!




       Mepco Response                                                                            08/17/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
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                 Brandt M
                                  (1 star)
                                                                                                     08/12/2021

       **DO NOT USE THIS COMPANY FOR ANY FORM OF INSURANCE/ANY OTHER SERVICE**This is
       a fraudulent/scamming company. Even the responses on the reviews here are broad and
       generic. I received several threatening letters that my newly purchased vehicle's extended
       warranty was expiring, and required immediate attention. They have ZERO aﬃliation with ******* in
       fact, after speaking with four members of the actual **************** team, they have never heard of
       and never would use a third-party company like Mepco regarding warranty services. I was taken
       for close to $500, but thankfully will be receiving a refund from Chase, as this company is not
       legitimate.I spoke with the same representative today, who amazingly enough, provided two
       different names and employee numbers. I was refused transfer to a supervisor/manager until
       2:00pm due to the "global pandemic", which I was informed by *************/***** (whichever name
       the scammer chose for this particular call) that I was unaware of...despite being employed by one
       of the largest Healthcare Networks in the country. After requesting, yet again, to speak to a
       manager the representative refused, and stated his reasoning why was because (and I quote)
       "you are an a**hole".Please let me reiterate, they have ZERO aﬃliation with ******* ****** would
       never/has never solicited any type of extended warranty service. They include their ******Care
       package upon purchase/lease of any vehicle. ****** does not even offer a 100,000/mile extended
       warranty.This fraudulent activity needs to be shared, and this despicable company NEEDS to be
       held responsible for their negligent and shameful actions. With everything going on in the world,
       the last thing we need is heartless group of money-grabbing scammers, stealing from
       unsuspecting individuals.




       Mepco Response                                                                              08/14/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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       direct marketer and/or administrator of the vehicle service contract purchased. These companies
       will be able to address any questions regarding discrepancies with product representation,
       service reimbursement, cancellations, reinstatements, refunds, or any vehicle service contract
       related issues. Please contact our *************************** ************** Monday Friday from 8A 5P
       CST or by email at ***********************************



                 Ashleigh
                                  (1 star)
                                                                                                     08/10/2021

       Never done business nor heard of them but they have billed my credit card. Now they sent me an
       email with a billing statement attached giving me payment options. Thank God my credit card
       was reimbursed. Please do something about this company.




       Mepco Response                                                                              08/14/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
       would like the opportunity to speak with you to be able to address any questions or concerns.
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                 Tracy J
                                  (1 star)
                                                                                                     08/10/2021

       Zero Stars, these people are thieves. Even after being provided every document they requested
       they continue to deny a claim.




       Mepco Response                                                                              08/14/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
       would like the opportunity to speak with you to provide you with the contact information for the
       direct marketer and/or administrator of the vehicle service contract purchased. These companies
       will be able to address any questions regarding discrepancies with product representation,
       service reimbursement, cancellations, reinstatements, refunds, or any vehicle service contract
       related issues. Please contact our *************************** ************** Monday Friday from 8A 5P
       CST or by email at ***********************************



                 Araceli S
                                  (1 star)
                                                                                                    08/06/2021

       Worst company even they lie to you on what they offer the also I try on canceling they send me
       to one line to another Allianza U.S.,INC is the worst




       Mepco Response                                                                              08/14/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
       would like the opportunity to speak with you to be able to address any questions or concerns.
       Please contact our *************************** ************** Monday Friday from 8A5P CST or by email at
       ***********************************




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                 Lathaniel N
                                  (1 star)
                                                                                                    08/02/2021

       This company propigates and advocates the abuse of elderly people. Today I spoke with my
       grandma about some repairs she has had to pay for out of pocket. I knew she had insurance on
       top of her regular insurance, so I asked her to gather all of the paperwork she had that didn't
       have anything to do with her regular full coverage insurance. She gave me paperwork and i
       called to cancel the extra coverage. I called and spoke to someone though Endurance, who after
       some time trying to keep her on the plan told me how to cancel the policy. I was about to do
       what they told me, which was a simple email after going through what seemed like a much more
       complicated process Anyway, my grandmother showed me her bank statements and I noticed
       that she was being charge twice for insurance through Mepco. Well, I had a statement that didn't
       show the whole story. In actuallity she was being charged 3 times for the same insurance policy
       but the statement I had didn't show all 3 policies. My grandmother is old, and was contacted by 3
       different companies selling "insurance", all billed through Mepco. She bought all 3 policies which
       where solicited to her over the phone and processed by Mepco. Somehow none of this seemed
       suspicious to Mepco until I called them asking why my Grandmother had 3 policies on the same
       vehicle for the same coverage. I obviously called Mepco, and the 3 companies asking to cancel
       the policies, but the damage is done now. I wouldn't recommend this company to anyone.




       Mepco Response                                                                             08/05/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
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       direct marketer and/or administrator of the vehicle service contract purchased. These companies
       will be able to address any questions regarding discrepancies with product representation,
       service reimbursement, cancellations, reinstatements, refunds, or any vehicle service contract
       related issues. Please contact our *************************** ************** Monday Friday from 8A 5P
       CST or by email at ***********************************



                 Michael E
                                  (1 star)
                                                                                                     07/31/2021

       PLEASE do not do business with this company. I gave them a down payment and two days later
       canceled after seeing all the reviews because they have an amazing sales representative s that
       even speak about God and how they fo things to honor Him. Wow. Should have known they Got
       me as i checked my bank today they took ****** out and they promised me they would not and i
       told them thats all i see in the reviews is you people continue to take money out and they are do
       slimy they took it out before the 1 st to see if i would notice. I call my bank and charges will be
       reversed but i am going to report them to every agency out there.




       Mepco Response                                                                             08/04/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
       would like the opportunity to speak with you to be able to address any questions or concerns.
       Please contact our *************************** ************** Monday Friday from 8A5P CST or by email at
       ***********************************




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                 Chris G
                                  (1 star)
                                                                                                      07/19/2021

       Chanrged me without doing business with them. Never even heard of them.




       Mepco Response                                                                              07/23/2021

       Thank you for submitting your concerns regarding Mepco. With the information provided, the
       autopay was stopped on this account. We strive to provide exceptional customer service and
       appreciate the opportunity to address this issue. Please understand Mepco is only the servicer of
       payment plans for providers of vehicle service contracts. However, we would like the opportunity
       to speak with you to be able to address any questions or concerns. Please contact our
       *************************** ************** Monday Friday from 8A5P CST or by email at
       ***********************************



                 Kyle H
                                  (1 star)
                                                                                                      07/15/2021

       They keep taking money out of my account. I dont even know who these people are. Plz shut
       them down. I know they are a car warranty company but they keep taking money out of my
       accounts and i can even call them to ask why. Please do something about this.




       Mepco Response                                                                               07/19/2021

       Thank you for submitting your concerns regarding Mepco. With the information provided, the
       auto-pay was stopped on this account. We strive to provide exceptional customer service and
       appreciate the opportunity to address this issue. Please understand Mepco is only the servicer of
       payment plans for providers of vehicle service contracts. However, we would like the opportunity
       to speak with you to be able to address any questions or concerns. Please contact our
       *************************** ************** Monday Friday from 8A5P CST or by email at
       ***********************************



                 Danyella W
                                  (5 stars)
                                                                                                      07/07/2021

       I spoke with a customer service representative named ****** and she was so nice and kind with a
       very pleasant personality. She was very helpful with my needs . She also explained clearly to me
       about my concerns I had . Thank You so much again ****** for your services.




       Mepco Response                                                                               07/13/2021

       Thank you for submitting your positive feedback regarding Mepco. We strive to provide
       exceptional customer service and appreciate the positive review. For future assistance, please
       contact us at our *************************** ************** Monday Friday from 8A5P CST or by email at
       ***********************************




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                 David A
                                  (1 star)
                                                                                                      07/04/2021

       I agreed to a warranty and when the paperwork arrived it was not even close to my agreement
       so I canceled the warranty and I am still waiting 12 months later for a refund. THEY WON'T EVEN
       *************. Stay away from this company and scam. I am looking to put a class action lawsuit
       together. It's not even about the refund 18 months later it's about the deception and fraud. MORE
       TO **** ON THE ***** ACTION SUIT."




       Mepco Response                                                                               07/12/2021

       Thank you for submitting your concerns regarding **********************. We strive to provide
       exceptional customer service and appreciate the opportunity to address this issue. Please
       understand ********************** is only the servicer of payment plans for providers of vehicle
       service contracts. However, we would like the opportunity to speak with you to provide you with
       the contact information for the direct marketer and/or administrator of the vehicle service
       contract purchased. These companies will be able to address any questions regarding
       discrepancies with product representation, service reimbursement, cancellations, reinstatements,
       refunds, or any vehicle service contract related issues. Please contact our ****************
       department (800) 397-6767 Monday Friday from 8A 5P CST or by email at
       *************************************************************



                 Michael S
                                  (1 star)
                                                                                                      07/03/2021

       **** stars. SCAM organization. I never signed up for their (or any) auto maintenance insurance and
       couldn't cancel (after three attempts) when I discovered a monthly payment of $146 to MEPCO
       being withdrawn from my bank account. Formalized a credit fraud complaint with my bank,
       cancelled that credit card, and got it replaced. BBB should shut MEPCO down. "




       Mepco Response                                                                              07/08/2021

       Thank you for submitting your concerns regarding **********************. We strive to provide
       exceptional customer service and appreciate the opportunity to address this issue. Please
       understand ********************** is only the servicer of payment plans for providers of vehicle
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       address any questions or concerns. Please contact our **************** department (800) 397-6767
       Monday Friday from 8A5P CST or by email at *************************************************************




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                Curtis O
                                (1 star)
                                                                                                07/03/2021

       Im not pleased with service. After not picking up the phone or not wanting to make a cancellation
       on my account. I stopped payment on the account. They tried a few time to get the payment.
       Now as the month is over they turn around and submit another request to get the money not only
       for this month but lasts month also. I sent them a email stating I dont even have that car anymore.
       So why they keep going into my account. As I read the reviews I come to believe Im not the only
       one who has a problem with this company. A is a shame for a company too be in business for so
       many years would treat customers so wrong. Your take money out of accounts because you dont
       want to cancel the account. What kind of business your running.




       Mepco Response                                                                          07/12/2021

       Thank you for submitting your concerns regarding **********************. We strive to provide
       exceptional customer service and appreciate the opportunity to address this issue. Please
       understand ********************** is only the servicer of payment plans for providers of vehicle
       service contracts. However, we would like the opportunity to speak with you to provide you with
       the contact information for the direct marketer and/or administrator of the vehicle service
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       discrepancies with product representation, service reimbursement, cancellations, reinstatements,
       refunds, or any vehicle service contract related issues. Please contact our ****************
       department (800) 397-6767 Monday Friday from 8A 5P CST or by email at
       *************************************************************



                Roy C
                                (1 star)
                                                                                                07/02/2021

       MepCo continues to engage in unprofessional and unethical billing practices. Customers beware:
       MepCo's customer service and billing departments do not care what you tell them. You can try all
       you want to cancel their billing &or informed them that the contact has been canceled but they
       will not cease.Businesses that what to use MepCo need to beware of how MepCo will treat your
       customers. If you tell them to stop billing, MepCo will loose the information and continue to ****
       the customer."




       Mepco Response                                                                         07/08/2021

       Thank you for submitting your concerns regarding **********************. We strive to provide
       exceptional customer service and appreciate the opportunity to address this issue. Please
       understand ********************** is only the servicer of payment plans for providers of vehicle
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       refunds, or any vehicle service contract related issues. Please contact our ****************
       department (800) 397-6767 Monday Friday from 8A 5P CST or by email at
       *************************************************************




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                Al P
                               (1 star)
                                                                                             06/30/2021

       These bastards charged my checking account. I called my bank to ask wth is this MEPCO
       PAYMENT draft on my account.. they informed me it was for car warranty.. ****!! I havent own
       bought a new car in 5-6 years.. let alone be **** enough to buy car warranty!Got my money back
       from my bank.. ﬁled a police report and advised the bank that I am willing to take these idiots
       who drafted my bank account without my consent.MEPCO dont reply to this with your copy and
       pasted answer.. dont need to contact you when I can talk to my bank and reach out to my lawyer.




       Mepco Response                                                                      07/01/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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                  Phillip E.
                                    (1 star)
                                                                                                           06/29/2021

       Hours of investigating leads me to Better Business Bureau reports for *********************************,
       presumably serving as the marketer for the policy administrator: ********. Numerous complaints are
       discovered, using wording similar if not exact to my own experience(s),and which ***-VISA too are
       victims of by this lying, deceitful, criminal scamming scheme of unwitting consumers At ****, we
       ﬁnd: Frequently Asked Questions about ******** ************** How is ******** ************** rated?
       ******** ************** has 1.5 stars. This outﬁt ( *********************************; MEPCO, ********) employs
       direct mailings and outside telemarketers, using nefarious boiler room tactics in a scheme which
       salespeople-account executives (****/******/*****/*****/others) apply high-pressure sales tactics to
       persuade consumers to purchase goods or services, such as unneeded and over-priced
       automobile extended warranty or service `contracts'. These unscrupulous people use the
       spoofed telephone number of *********((8*8*8*) 9*0*7*-0*8*7*0*), which appears to be a legitimate
       company(?) Further investigating leads to a discovery of many related-(spoofed) telephone
       numbers related to this scam organization ( *********************************-and most notably, ******** ),
       as reported to the ***, ****: EACH of the (spoofed) telephone numbers have been used to
       camouﬂage this cluster of companies as they severally and singularly continued and continue
       their deceitful practices over several-many years into the current time! I dialed each to ascertain
       its origin; most are dead numbers; a few are fax numbers; others are legitimate business
       numbers...... Subjects of the call as reported to the ***:Warranties & protection plans Last
       complaint date: February 23, 2021. Alternative Formatting is the same provided to me, as the
       number I needed to use to cancel. On more than many occasions-weekly-daily I called to attempt
       to cancel, speaking primarily with ****. Always I encountered heavy refusal tactics. MY attempts to
       cancel began within days of the commencement of the service protection (July 22, 2020), after I
       realized I already had an extended warranty (60,000 miles) package I purchased from my ****
       dealer when I bought my brand new 2017 **** Escape. I tried to explain to **** the type coverage I
       had bought with the SUV- **** said to me in a very loud voice, There is no such thing as a 60,000
       mile warranty! (Luckily when my transmission disintigrated at 79, 300 miles, **** covered every
       ***** of it!) Each contact resulted in one-way conversations during which I was not able- not
       allowed to speak; `****' relentlessly used scare tactics and cajoling as if attempting to (re)sell to
       and convince me of the need for such a service. Each time, with each point or `beneﬁt' presented,
       **** would express agreement with his own sales spiel in a most controlling manner- reaching his
       own conclusion of agreement of ﬁnal persuasion to not cancel - as if I was okaying his speech,
       despite my now angered and yelling into my telephone ******!-******!-******! The telephone contacts
       usually were terminated by **** hanging up his telephone on me, saying We're through!-You do
       not need to call back! This *game persisted in like manner for weeks and months! Attempts to
       reach this telephone number as recent as during the week of June 21, 2021 were met with the
       indicators that my telephone number was being caller-ID'd and blocked. Part-2:1.The payee as
       indicated for each dispute (MEPCO) is the legitimate company which handles the billing and
       collection of payments for *********** well as several other better known companies. MEPCO
       appears-from BBB reviews- to have similar tactics as these clients (*********,
       *********************************)- Reading BBB reviews about their business practices as regards the
       entire process and practices of extended automotive services and warranties, Mepco reads to be
       evasive and `boiler room' in nature, exactly the same as **** was to me.2. On the BBB website for
       MEPCO, immediately we ﬁnd many consumer complaints. about MEPCO's business practices
       regarding **************************** Warranties.3. This is an incongruity to MEPCO's BBB rating of
       A+, which is believed by me to derive from being in business for 57 years. Alternatively, their own
       customer reviews, which the BBB has the policy of not using reviews in the calculation of BBB
       Rating, nonetheless we ﬁnd MEPCO has a customer review rating of 1.4 out of 5 star average
       from 116 Customer Reviews---this rating is from their own fee-paying customers! Turning to
       `Customer **********, we ﬁnd: 140 complaints closed in last 3 years 72 complaints closed in last 12
       months We too ﬁnd upon reading these complaints what can be mostly termed as extreme horror
       stories---- `closed' does not imply resolved to customer satisfation nor resolution"




       Mepco Response                                                                                    07/01/2021

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                Jean W
                                (1 star)
                                                                                               06/27/2021

       This company scams senior citizens! They have been charging my bank account for an extended
       warranty that I do not need on my brand new car. They started calling me right after I purchased
       my car and I thought that it was an additional expense needed my daughter has advised me
       differently




       Mepco Response                                                                        07/01/2021

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                Elizabeth C
                                (1 star)
                                                                                               06/21/2021

       First off I did *** know that this was a separate company from the car insurance company. I
       thought that other company did their own billing. So when I tried canceling with this company the
       customer service person said that I still had to pay for the one month payment or whatever which
       happened automatically from my account. I thought that I was done with this company! BUT I am
       STILL receiving billing statements in the mail from them and theyre leaving voicemails on my
       phone! IT is **** annoying! NO money is coming out of my ﬁnancials from them anymore luckily
       ****** fed up with communication with this company and I want them to leave me alone!!!!!




       Mepco Response                                                                       06/23/2021

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                 Ruth S.
                                 (1 star)
                                                                                                   06/19/2021

       I think this is the shittiest insurance ever they are fraud they will steal your money they will do
       anything not to pay you make sure you get a magnifying glass to read their print stuff because its
       so small you cant even read it with a magnifying glass I feel sorry for whoever buys this insurance
       they are nothing but fraud they are cease




       Mepco Response                                                                           06/23/2021

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       CST or by email at Requests@Mepco.com



                 Natasha A
                                 (1 star)
                                                                                                  06/03/2021

       This is the company that owns *********. If there was a 0 rating I would give. This is 100% bait and
       switch. I called today and learned my recourse was to have them call the "selling company" to
       discuss was I was sold. See, this is classic bait and switch. I was sold coverage, paid up front for
       my premium, then sent a contract only after payment. I was told if my engine light came on I was
       covered and I did not have to break down. Took my car to ***** after an engine light came on.
       Well guess what. The contract is part speciﬁc. Since do not know **** about an engine I have no
       clue what it means. As a very reasonable person, and pretty intelligent, a reasonable person
       would not expect to understand the various parts of an engine unless said reasonable person is
       a mechanic. If you have guessed correctly, I am not. Rip off. **** away. My next stop is social
       media before I ﬁnd an attorney who is very interested in taking down a high proﬁle company. I
       will be the very last person you rip off. Trust me.




       Mepco Response                                                                           06/05/2021

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                 Amy W
                                 (1 star)
                                                                                                    05/19/2021

       I had my ***** and *** with them. I took my *** to the shop twice. Between the 2 my car needs
       $10,000 worth of repairs. Mepco paid $100I complained. They made excuses.I then said well let
       me take my *****. About $3,000 worth of repairs. Once again they only about $200I canceled
       them and went directly through Endurance. Will see how it goes.




       Mepco Response                                                                            05/20/2021

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       CST or by email at Requests@Mepco.com



                 Viktoria T
                                 (5 stars)
                                                                                                     05/11/2021

       I signed a car service agreement in January. I realized pretty quickly that I could not afford the
       $164.04 monthly payment as I had just recently started working after being laid off due to *****.
       After reading some of the negative reviews, I was worried that cancelling my account would be
       problematic. I was pleasantly surprised to ﬁnd out that my experience was very positive! I called
       and left a voicemail on 5/7 and received a call back from a supervisor, ***** ****** that **** DAY. I
       explained to her my ﬁnancial situation and she understood. After paying off this month's
       payment, my agreement was cancelled. There was no hassle and ***** was very pleasant. I wish
       all supervisors were as responsive as *****. Thanks MEPCO!"




       Mepco Response                                                                             05/13/2021

       Thank you for submitting your positive feedback regarding Mepco. We strive to provide
       exceptional customer service and appreciate the positive review. Mepco is only the servicer of
       payment plans for providers of vehicle service contracts. However, please contact us with further
       questions or concerns; contact our Customer Service department (800) 397-6767 Monday –
       Friday from 8A–5P CST or by email at Requests@Mepco.com




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                 Letitia H
                                 (1 star)
                                                                                                  05/03/2021

       Horriﬁc customer service!!! If there was a non-existent star I would provide that rating! I don't
       even know where to begin. I attempted to change my payment method. I was referred to
       **************, a different company, by a representative from MEPCO. ************** then referred me
       back to MEPCO who insisted that they couldn't change the method and decided to lead me to
       their website in order to reset a password that I never had because I've never paid my ****
       online!!! Then this representative (*****, if that's even her real name!) would not walk me through
       the process and as I expected the website refused to take my information and referred me back
       to the same 1-800 number I had been dialing for over an hour! I was forced to call
       ********************'s customer service AGAIN!!! The last person was just as useless as the ﬁrst two
       individual's that I spoke with... ALL of this to change a payment method! I've never heard of a
       company that doesn't want to be paid. I'm currently in the process of canceling my contract. The
       incompetency between ************** and MEPCO was beyond disappointing and frustrating... I
       would never refer anyone to either company. "




       Mepco Response                                                                           05/07/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
       would like the opportunity to speak with you to be able to address any questions or concerns.
       Please contact our Customer Service department (800) 397-6767 Monday – Friday from 8A–5P
       CST or by email at Requests@Mepco.com



                 Ja'Net C
                                 (1 star)
                                                                                                  04/26/2021

       AWFUL customer service. The rep was very rude and hung up on me because I chose to cancel
       this service.




       Mepco Response                                                                           04/27/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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                 Eugene s
                                 (1 star)
                                                                                                 04/20/2021

       Scam scam scam. Not much else to say. Went to cancel my account cuz they lied to me and said
       that month was covered then ended taking money out before the end of the month. They are
       rude when you actually talk to someone. And will try to convince you to keep it. They have
       horrible customer service. They are obviously not who they say they are. I would advise not
       going through them. I sat on the phone for 45 minutes trying to just cancel my account.




       Mepco Response                                                                          04/23/2021

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       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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       CST or by email at Requests@Mepco.com



                 Ivan l
                                 (1 star)
                                                                                                  04/19/2021

       This is a complete scam. They pretend to come from the oﬃcial car warranty service from the
       maker which they aren't. DO NOT trust anything they say. They intentionally keep delaying all the
       documentation process including sending the document by slow mail so that they can take the
       ﬁrst downpayment. All the words they say was not trustable; they changed their words in every
       situation. If you unintentionally joined their service, ignore all the words they tell you which are
       mostly lies, and just have them send the cancellation form. I once again emphasize: NEVER
       NEVER USE THIS SERVICE."




       Mepco Response                                                                          04/24/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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                 Richard C
                                 (1 star)
                                                                                                  04/08/2021

       I tried canceling before the thirty days and got billed for it got tossed around from agent to agent
       they said they canceled it but yet I’m still getting billed I’m very upset




       Mepco Response                                                                           04/10/2021

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       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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                 Cassandra E
                                 (1 star)
                                                                                                  03/29/2021

       Mepco is a scam!!!! How this place is accredited is beyond me. They are rude on the phone that
       is if you get someone in the phone, and scam you out of money! They say there are two different
       contracts but you’re only sent one which takes forever to come in the mail. I was charged a
       ridiculous amount for a down payment and then another ridiculous amount to cancel. And when I
       asked for proof that I agreed to cancellation fees they couldn’t provide. THIS PLACE IS NOTHING
       BUT A SCAM!




       Mepco Response                                                                          04/06/2021

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       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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       Friday from 8A – 5P CST or by email at Requests@Mepco.com




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                Samuel G
                                (1 star)
                                                                                               03/25/2021

       Their web site will not allow you to cancel your policy. I sent them a notice to cancel through a
       link and form provided on the BBB site registering complaints about MEPCO. When I called
       MEPCO and told them to cancel, they refused to send me an email to my email address I had on
       ﬁle with them. They instead sent a non answerable email to me saying only "thank you for
       contacting us." Today is March 25, 2021 at 5:00 p.m. Tomorrow I will show my cancellation notice
       to MEPCO through the BBB site and proof it was sent to make sure they do not take money from
       my account again.




       Mepco Response                                                                       04/05/2021

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       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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       Friday from 8A – 5P CST or by email at Requests@Mepco.com



                Aiping Z
                                (1 star)
                                                                                               03/19/2021

       scam company, keeping sending me bill for vehicle insurance, however, I had sent paper mail
       /email for canceling and no agreement with the insurance. BBB please help us to stop the
       scamming from this company.




       Mepco Response                                                                       04/05/2021

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                 Sarah S
                                 (1 star)
                                                                                                   03/09/2021

       This company is a scam!! Look at all the terrible reviews it has.. I called and cancelled within the
       30 days on 2/5 at 9:10 in the am and spoke with Cindy. She said I would be cancelled and
       receive a full refund of $195 in 5-10 business days. Guess what? No refund and they started
       charging me and are now harassing me for payment. This is ﬂat out fraud and harassment and
       will be reported to the police in Chicago. You cannot steal and harass people and stay in
       business. The BBB who I am reporting this to now needs to place warnings about this scam to
       protect people. This company needs to be investigated and put out of business. This is an
       outrage and I will not tolerate being harassed and discriminated against because I am a female.




       Mepco Response                                                                            03/10/2021

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       Friday from 8A – 5P CST or by email at Requests@Mepco.com



                 Michelle Martin
                                 (1 star)
                                                                                                   03/04/2021

       This is the WORST company to get a so called warranty from!! My water pump locked up, that
       was covered however when my pump locked up it caused the car to jump timing, timing belt and
       tensioner not cover, no worries I paid for the parts since best to replace anyway. Well when it
       jumped timing it made the valves in the motor bend/break. No worries engine is covered.
       WRONG!!!!! They didn’t pay for ANY of the repairs, including the water pump that was already
       approved......claim the water pump failed and motor failed cause of the timing!!! If the
       WATERPUMP WOULDNT HAVE LOCKED UP IT WOULD HAVE NEVER JUMPED TIME AND
       THEREFORE BENT THE VALVES!!! This place is A JOKE AND SCAM




       Mepco Response                                                                            03/09/2021

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       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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                 Delphine
                                 (1 star)
                                                                                                 03/02/2021

       This company is a scam they were taking money from my account for a year. When I contacted
       them it was an automatic response to which you couldn’t speak to a person, Then when asked to
       give account information your told account number not recognized. So called to cancel but again
       no answer. After numerous attempts ﬁnally spoke to a live person who has the audacity to say
       call back. Asked for her name she hung up so bank has been contacted to stop payment. Maybe
       I will get a response now. On how to refund all my money. DO NOT USE THIS COMPANY THEY
       ARE NOT WHO THEY SAY THEY ARE




       Mepco Response                                                                          03/09/2021

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       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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                 Darryl S.
                                 (1 star)
                                                                                                 03/02/2021

       I signed up with MEPCO several months ago. One of the promises made was reimbursement of
       maintenance fees for the ﬁrst year within the contract. Sent in receipts as requested, allegedly
       they never received them. I was extremely leery of 3rd party extended warranties, this of course
       substantiated my position. Here is the clincher, I just recently experienced a serious repair issue.
       They literally dragged their feet and had me produce service records, claimed there was an issue
       with the VIN amongst other things . Ultimately they declined the claim due to me not maintaining
       my vehicle properly. I purchased a BMW 750 at 33k miles, I now have 73 K, oil changed required
       every 10k, I have service records of 4 oil changes, do the math !! I have purchased 100k vehicles
       for 25 years plus. Treat them with kid gloves. This company is a complete rip-off !! I will
       subsequently do a Google review and a social media campaign to expose them for what they are
       !!! I suggest everyone do the same !




       Mepco Response                                                                          03/09/2021

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                Walter S
                                (1 star)
                                                                                                 02/26/2021
                I had my bank block further payments after receiving the ﬁrst billing notiﬁcation, an EFT. It
                wasn't what I what I thought it would be after speaking to whoever it was on the phone In
                what sounded like a room full of telemarketers. But, I do wear hearing aids; another glitch.
                The "non-telemarketer" wouldn't slow their machinegun presentation. They made it sound
                good but .... Buyer Beware!




                DonP
                                (1 star)
                                                                                                 02/26/2021

       This is the worst company to ever deal with. They initially approved my claim; however, when the
       technician ﬁnished working on my truck they decided not to pay. My truck been at the dealership
       for 30 days. HORRIBLE HORRIBLE HORRIBLE SERVICE!!! THEN YOU WILL BE ON HOLD FOR
       HOURS!!!!




       Mepco Response                                                                         03/09/2021

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                Latreayl M
                                (1 star)
                                                                                                 02/18/2021

       I cancelled an auto renewal policy with MEPCO after a month, last Oct, 2020. I had to called
       three different number leaving messages with there so called overﬂow department. I just started
       receiving billing statements requesting payments. Upon speaking to someone who has poor
       customer service i was told I never called requesting a cancellation and my account is
       delinquent. This company is a SCAM!!!! They don't deserve a rating but, i couldn't submit a review
       without one.




       Mepco Response                                                                          02/19/2021

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                 Shawn M
                                 (1 star)
                                                                                                   02/09/2021

       Pure scam and our government is a complete failure for not protecting its citizens from fraudulent
       companies like MEPCO. DO NOT, i Repeat DO NOT do ANY business with this company. They
       will ﬁnd ANY way not to pay you, thier systems are always down, don't answer the phone. How
       convenient. Avoid this company at all cost.




       Mepco Response                                                                            02/19/2021

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                 Edwina J.
                                 (1 star)
                                                                                                   02/05/2021

       I think it is very obvious that this company is nothing more than a sophisticated scam that paired
       itself with a prestigious ﬁrm like yours that people trust. Giving them an A+ rating implies that they
       are backed by your company as being reliable and trustworthy, neither of which I'm seeing. My
       husband's situation is very similar to all the other ones here, where he was promised one thing
       then told he only qualiﬁed for something he didn't want. Just because they have added their
       apparent response to the complaint doesn't mean they resolved it. And, I'm wondering, have you
       ever followed up with any of these people to see hoe many, if any of these complaints, are
       actually resolved? I doubt it, otherwise you hopefully wouldn't still give them such a high rating.
       All I want is for them to cancel this contract, credit the past due invoice since he never got
       anything for the money deducted and leave us alone. Otherwise, my next step is an attorney,
       which I'm already working on.




       Mepco Response                                                                           02/09/2021

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                 KristiS
                                  (1 star)
                                                                                                     01/29/2021

       I called within a week of purchasing my extended warranty to cancel which was well within the
       allotted cancellation time frame I was originally given by the representative I talked to. I told them
       I did not have the extra funds right now due to work being slow because of COVID. They told me
       they processed my refund and I'd receive a check in the mail. Well, there are a couple of things
       that are very misleading. 1. Noone EVER said anything about this company basically being the
       middle man and selling off warranty contracts to other companies. 2. Even AFTER I canceled,
       they still took a payment out! 3. The company that purchased the warranty from them was never
       notiﬁed I canceled so therefore, the other company tried to process my card for payment. 4. The
       other company tried to tell me they weren't going to refund my money because I did not sign a
       cancelation document with them. Business such as this should not be legal. You are not earning
       an honest living. You are basically stealing from people which is wrong on so many levels. You
       are really hurting people and their families. I'd like ALL of the money that was stolen from me.
       From Mepco AND the other company. Mepco should be held liable for everything taken since
       they are the original ones knowingly taking advantage of people and being dishonest right from
       the gate. Also, we the customers have already taken the proper steps and contacted the proper
       chanels to cancel and ﬁght to get our money back so why do we have to contact Mepco yet
       again and spend time and frustration doing it yet again to get back what is rightfully our in the
       ﬁrst place.




       Mepco Response                                                                             02/04/2021

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                 Nick
                                  (1 star)
                                                                                                     01/28/2021

       I was unable to cancel the scam Auto Renewal Center extended warranty after several weeks of
       trying. I then canceled my billing on Mepco's website, a month later I get billed still. I call Mepco
       and cancel the payment plan again with assurances from the person on the phone that it was
       canceled, the next month I get billed again, so I called and ask what is going on and they said it
       must have been some sort of error, so they fool me into trusting that it was canceled and once
       again I get a bill. I eventually had to cancel my credit card for the ﬁrst time in my life. A terrible
       time, do not recommend.




       Mepco Response                                                                             02/04/2021

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                 Donna K
                                 (1 star)
                                                                                                   01/26/2021

       It takes forever to get any kind of help with getting payment back for a repair. Likewise, talking to
       any rep is very diﬃcult. Not worth the hassle.




       Mepco Response                                                                           02/04/2021

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                 J. S.
                                 (1 star)
                                                                                                   01/26/2021

       These people are like ambulance chasers. The contract has been cancelled, and I am still getting,
       mail and phone calls, saying I owe the monthly bill When i spoke to the phone rep. to explain I
       had purchase a new car , with a warranty from the dealer as I was telling her I want to cancel, she
       was still trying to sell the service. The good thing is they cannot charge my credit card any more,,
       which they did in December otherwise I would still be charged, it's like getting hate mail from a
       ex. The sad part is the few years I had it I never used it.




       Mepco Response                                                                           02/04/2021

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                gerard s.
                                (1 star)
                                                                                               01/22/2021

       Back in Oct 0f 2020 I purchased a auto protection warranty from Mepco over the phone. I have
       not received any policy or said charge card promised. I contacted them by email on Nov. 5 to
       cancel the policy they are still taking payments out of my account. Is their any class actions
       against them . Their telephone line does not respond to actions they ask you to submit. I want my
       coverage materials or a FULL REFUND. Since I botiﬁed them in the grace period.




       Mepco Response                                                                       02/04/2021

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       related issues. Please contact our Customer Service department (800) 397-6767 Monday –
       Friday from 8A – 5P CST or by email at Requests@Mepco.com



                Phil B
                                (1 star)
                                                                                               01/08/2021

       Scam. The only way to cancel is to have your bank or credit card company block their charges.




       Mepco Response                                                                        01/14/2021

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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                Deborah P.
                                (1 star)
                                                                                                01/04/2021

       I was scammed by Mepco. They said I qualiﬁed for the diamond plan on my 2015 Chrysler 200.
       Now that I’m needing something serious ﬁxed, CarShield says I only qualify now for the gold
       shield at 79.00 per month, where I’ve been paying 99.00 for the diamond plan I shouldn’t have
       gotten in the ﬁrst place. Now I’m out all that money.




       Mepco Response                                                                         01/14/2021

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       CST or by email at Requests@Mepco.com



                Jennifer S
                                (1 star)
                                                                                                12/14/2020

       SUCH A SCAM!!! I signed up with this company, shortly after I contacted my friend who works at
       Audi. He claimed they offer a much better extended warranty so within that same week I called
       and tried to cancel the warranty and to get my $200 sign up fee back which I was told is
       refundable if I cancelled in time. I kid you not, I tried for SEVERAL weeks, almost 6 weeks trying
       to get someone to cancel the membership for me as they were withdrawing money from my
       account. Even after I successfully cancelled and was given a cancellation number, they still
       withdrew money from my account. Had to call my bank and ﬁle this dispute. I am still receiving
       past due amount bills and called and spoke with a gentlemen who claimed he was the manager
       and was incredibly rude. He was raising his voice, speaking over me and wouldn't answer ANY of
       my questions and hung up on me. STAY AWAY FROM THIS COMPANY.




       Mepco Response                                                                        12/22/2020

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       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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                 Alexis R.
                                  (1 star)
                                                                                                    12/14/2020

       It all started with harassing pushy phone calls from this company, telling me that if I don’t sign up
       today that I will lose the option too. It was right after a car accident so with everything going on, I
       thought it was my actual warranty company (poor on my part). I have been trying to cancel this
       warranty since 1 week after I purchased it. I cannot get the billing and payments portion of Mepco
       to answer the phone and/or call me. I FINALLY speak with someone a month ago and he tells me
       not to worry about the money owed or the contract, he has taken care of and terminated both.
       Finally relief after months of trying. But a week ago I got a bill in the mail for $400, doesn’t sound
       resolved to me and now I still cannot get them to communicate with me. I’ve called the 6767
       number many times and it’s a run around every time. I’m a college student already struggling with
       that and Covid, and now I’m being harassed by bills in the mail by a company I cannot get to
       communicate with me.




       Mepco Response                                                                            12/22/2020

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       CST or by email at Requests@Mepco.com



                 Janie
                                  (1 star)
                                                                                                    12/13/2020

       I received a "cold call" back in November and the person on the phone didn't seem to handle the
       conversation in a business like manner. I have subsequently made several other calls to the
       company and was transferred a number of times and never had anyone "pick up" the call. After 1
       1/2 hours on the 1st attempt, I tried again the next day with the same results. I requested a refund
       of the cost and as of this date, no refund has appeared. What's even more confusing is that there
       is the Mepco # then Dealer Services and also the ***** Administration Service- contract number
       ************. I believe this is unacceptable and would like to get a refund of the money debited to
       my bank card. Thank you for your time.




       Mepco Response                                                                            12/22/2020

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                Chad H.
                                (1 star)
                                                                                                11/27/2020

       13 months ago, I was harassed with multiple calls at work from the Vehicle Service Center and
       eventually took the call. I took easily agreed to sign up since me warranty was to expire soon and
       since VSS said it was a 30 day refund window if I changed my mind. Once I got home, I
       researched VSS and found the obvious pattern of poor business practices on the part of VSS so I
       called VSS back the next day, was hung up on, called back, transferred around, ﬁnally got a
       manager and I instructed them to cancel and he also said he would look into the poor customer
       service. I made another mistake in assuming they would actually cancel the agreement and not
       use my credit card. I've never signed anything, accessed any online accounts, or used their
       service...I didn't even know they continued to charge me since the CC charge is labeled as
       "MEPCO". I thought this was something else and only recently realized what it actually was. I
       called VSS to have a conversation about the past 13 months of charges and to instruct them once
       and for all to cease charges. They hung up on me again as soon as I said the last time I spoke to
       them was 13 months ago. They know exactly what they're doing and the pattern of complaints
       online about VSS is evidence of that fact. People are often confused thinking that MEPCO is who
       they purchased the service from which conveniently becomes a convenient deﬂection on the
       part of MEPCO since they just facilitate the recurring charges. If MEPCO is not actually owned by
       the same unscrupulous individuals, they are at the very least responsible for engaging in ongoing
       business with VSS whose practices are clearly unscrupulous. I've simply stopped my CC
       company from paying the cancelled recurring charges....shame on me for not catching it all
       sooner. DO NOT DO BUSINESS WITH VSS. And deﬁnitely conﬁrm any charges you see on your
       CC statement labeled as MEPCO. They'll likely push it to a collections agency which will bring me
       back to the BBB to ﬁle a formal complaint.




       Mepco Response                                                                        12/04/2020

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       Friday from 8A – 5P CST or by email at Requests@Mepco.com



                ROSIE M
                                (1 star)
                                                                                               10/28/2020

       MEPCO (Matrix) called our home and spoke with my husband who is 84 years old. They recorded
       the phone call. My husband said he would sign on for their offer. We received a charge on our
       credit card and didn't know what it was for. We called our credit card company and they told us
       that my husband did order the service because the call was recorded. We neither want nor need
       this coverage, but now we are stuck. I think they prey on seniors--. PLEASE THINK OF A WAY TO
       HELP US SENIOR CITIZENS FROM MISTAKES MADE BECAUSE OF OUR AGES. (WE GET ABOUT
       FOUR-SIX PHONE CALLS A DAY FROM TELEMARKETERS.)




       Mepco Response                                                                        10/30/2020

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                 Loreta A
                                 (1 star)
                                                                                                   10/20/2020

       Don't buy this scam, they will take money from you. My husband was scammed into purchasing,
       he called to cancel immediately when he realized that the dealer, where the car was purchased
       and serviced regularly, would not accept this insurance The process is so long to get
       authorization for the locations, I guess, that will accept that it's a total waste and scam. When he
       called to cancel, an oﬃce in Orange County California, said they were closed. It was a live
       receptionist, saying no one was available and it was in late afternoon. No one called back, our
       bank did cancel the charge, but then again they charged again in October. So my husband calls
       again, and they say, well pay 1 month and we'll cancel. But he had already called to cancel, it's a
       big scam,




       Mepco Response                                                                           10/22/2020

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       Friday from 8A – 5P CST or by email at Requests@Mepco.com



                 LadyT30
                                 (1 star)
                                                                                                   10/17/2020

       I am paying my monthly contract fee and when my vehicle was services in the amount of
       $3841.16 no one will contact me regarding what was and was not covered. I have faxed
       documents, attempted to call numerous time. If any one out there is considering obtaining a
       service contract with any vendor that Mepco is the payment vendor think twice about that and if
       you presently have a contract where they are the payment vendor I would suggest cancelling it
       as I will be doing with Car ****** because of lack of ineffective and/or non-existent communication.
       Money is too hard to come by in today's society for those of us that are fortunate enough to have
       gainful employment as a result of this Pandemic and no one is going to pay for a service that the
       vendors can't and/or won't communicate with the customer. These companies need to realize
       that effective customer service/relations is basic economics 101: Supply/Demand: If the demand
       (customers) stop using the service then the supply(staff/organization) will not be needed. This has
       become quite relevant as a result of this Pandemic where customers couldn't come into the
       establishments resulting in closures of the businesses. Teresa




       Mepco Response                                                                           10/22/2020

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                Renee G.
                                (1 star)
                                                                                                10/09/2020
                They are scam. They are the rudest people who taking your money. They were rude to
                auto repair shop. They told them look cheaper part pennies on internet. They argued with
                them. They hanged up on me numerous of time. Do not buy warranty. It is scam. It is
                fraud.. they don’t cover any repairs. Run run far away from this Plac.. I am contacting bbb
                and other. They will not be getting any more penny. I will have to junk it.. they are rudest
                ,con company




                Lillian R
                                (1 star)
                                                                                                10/08/2020

       I tried to cancel my account and spent a lot of time sharing all my account information only to be
       transfer to an account representative who wasted more of my time sharing the same account
       information. The account representative then went on to further waste my time by sharing
       additional information even though I pointed out she was wasting my time and I was only
       interested in cancelling my account. Even saying that did not stop her from continuing to waste
       my time. She went on to waste more of my time and never allowing me to actually cancel my
       account then she hung up on me because she did not like me interrupting her and continuing to
       ask to cancel my account. The Account Representative name was *****. So I still have to get my
       account cancelled. This company also goes by ********* powered by MEPCO and that is why they
       seem to be able to screw consumers by now letting them cancel their accounts. I am now going
       to go do a formal grievance with the better business bureau again ********* Powered by MEPCO.




       Mepco Response                                                                         10/13/2020

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       Friday from 8A – 5P CST or by email at Requests@Mepco.com



                Sara H
                                (1 star)
                                                                                                10/06/2020

       Mepco doesn't get a pass on this. They are COMPLICIT when they agree to CONTINUE ﬁnancing
       SCAMS. Shame on every single company involved in this rip-off Endurance Affordable Auto
       Warranty Mepco Walco STATE and FEDERAL AUTHORITIES NEED TO INVESTIGATE!!!




       Mepco Response                                                                         10/15/2020

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                 Raj
                                  (1 star)
                                                                                                     09/22/2020

       They are part of a big scam, and multiple business front. ********* ********** ***: One who will sell you
       the Extended Car Warranty Mepco: One who will collect the monthly payment(But no way to
       cancel the Policy) *** *****: Who will ﬁnd every possible way to deny your claim. So *** ***** Denied
       my claim, cause my Oil Change was delayed by 12 days in 2019(Performed At Audo Dealership),
       and 20 days in 2020(Due to unavailability of Car Shop appointment in Pandemic and low usage
       of car). So my Air Conditioning was blowing Warm Air(when set to cool), so i call the warranty, and
       ask who to take the car to, they suggest me to take it to a Non-Dealership Car Shop, so the costs
       are lower. Like a fool, i succumbed, and then started looking for a car shop who would be able
       diagnose the fault on on 2013 **** A6. Couldn't ﬁnd a shop that would work with Extended
       Warranty guys, ﬁnally found one, took the car in, they were not able to ﬁgure out the issue, ask
       me to take the car to **** Manufacturer(Dealership). So i took the car to dealership, they
       diagnosed it, and found, the fault, and being thorough in their Diagnosis Process, were able to
       ﬁnd some additional warranty related repairs. Unfortunately, *** *****, found that my Oil Changes
       missed the deadline of manufacturer 1 year policy, and denied the claims. Tried calling all the 3
       Businesses, but none accomodating, to either pay a claim, or cancel my policy, and refund my
       premiums (Paid almost $3000 in 16 payments till now. Had to sell my car to cut my losses, and i
       still haven't been able to cancel the Policy. On top of that, since i stopped the payments from my
       CC, Mepco Rep calls to ask me for a payment, but when asked to cancel the policy, all he said
       was, call the service center, which took me to a Voicemail, whose Inbox was full. Left 10
       Voicemails till now, but still not able to get any answers from them.




       Mepco Response                                                                              10/01/2020

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       from 8A – 5P CST or by email at Requests@Mepco.com



                 Sherry M
                                  (1 star)
                                                                                                     09/16/2020
                 At ﬁrst everything was good,of course until I had my oil changed which cost me $128.00
                 but found out because i reside in Calif my reimbursement will be only $55.00 I was livid
                 that NOBODY ever informed me of any of this before sighing up. After cancelation Mepco
                 apparently thought I'd be cool to harass me by phone and even after me saying, Not
                 interested with their co. They decided to just steal it. Even after I specially asked them to
                 remove my auto pay from their system. Thank God my bank did a reversal. Now my bill is
                 up $453.32. Looks like I need to call ******** while they're are my mind....




                 berton b
                                  (1 star)
                                                                                                     09/14/2020
                 worst company ever. Bad customer service. Denied claims on covered services and the
                 mechanic had to go through hell to attempt to get reimbursed. Don't EVERY BUY THIS
                 COMPANY! My charges are in dispute to try and get refunded because they won't be
                 doing it.




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                 Holly K
                                 (1 star)
                                                                                                09/08/2020

       This sucks! My parents want to stop this warranty. They are elderly and my dad renewed this by
       mistake. They do nothing but do everything for you to keep spending your money. We will be
       trying one more time tomorrow, if they don’t stop it I will be contacting my attorney. SCAM artists
       taking advantage of the elderly




       Mepco Response                                                                          09/16/2020

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                 Arne G
                                 (1 star)
                                                                                                09/02/2020

       Mepco, or Endurance (who they make you deal with) are two horrible and corrupt companies.
       Once the get your credit card number, good luck on ever getting them to quit taking your
       money!!! Crooks!




       Mepco Response                                                                          09/16/2020

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                 Chris C.
                                 (1 star)
                                                                                                   09/01/2020

       Sadly, I have to repeat what others here are saying. My vehicle was a total loss in July of 2020. I
       called them a few days later to cancel. I was still billed. I have called many times since. I also
       completed their cancellation form, and returned it to them via email several times. Today I
       received a bill in the mail for $241.66 even though I was told I did not need to do anything further.
       Its extremely diﬃcult to reach anyone on the telephone. I am ﬁling this complaint today, and I am
       contacting my bank as well to stop any payments they might try to collect. Because of this
       experience, I will not select them in the future if the need ever arises.




       Mepco Response                                                                            09/11/2020

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                 Phoebe A
                                 (1 star)
                                                                                                   09/01/2020

       This company has scammed me. DO NOT LET THEM DO IT TO YOU! They will try to continue to
       charge you monthly, despite you having called and discontinued service, which they claim is no
       problem, and that there will be no further billing. That is a total LIE!!! They need to be taken down,
       as I am certain they have scammed many more people than myself... especially the elderly
       population. They do not return calls and they conveniently are never there to accept a call when I
       have called dozens of times. I called my CC company to stop payment and dispute charges and
       am going to get my attorney involved. SCAM ARTISTS!!!!!!!! BEWARE!!!!!




       Mepco Response                                                                            09/11/2020

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                JR
                                (1 star)
                                                                                             08/19/2020

       COMPANY IS A COMPLETE SCAM. TRIED TO CALL MANY TIMES TO CANCEL. YOU HAVE 30
       DAYS TO CANCEL IT SAYS ON CONTRACT BUT THEY PUT YOU IN A RUN AROUND SO YOU
       NEVER GET HELPED. I'VE SPOKE TO SOME SERVICE REP BUT THEY KEEP FORWARDING YOU
       TO A DIFFERENT PHONE NUMBER AND YOU DONT GET YOUR CALL ANSWERED, THIS
       COMPANY JUST TRIES TO GET YOUR MONEY BEFORE YOU CAN CANCEL. TRIED CALLING
       ONE MORE TIME AND FINALLY GOT THOUGH TO SOMEONE BUT THEY MUST HAVE TOOK
       MY CALL NOT KNOWING. INSTEAD THEIR PHONE SPEAKER WAS ON AND I CAN HEAR THESE
       LADIES CONVERSATIONS AND ALL THEIR LAUGHING. SHE NEVER AKNOWLEDGED I WAS ON
       THIER CALL. AFTER OVER A COUPLE MINUTES OF TRYING TO GET ATTENTION I HUNG UP
       AND TRIED AGIAN. THIS TIME VOICE AUTOMATION SAYS "THE CUSTOMER SERVICE IS BUSY
       CALL BACK" . ANYWAY, I HAD STOPPED PAYMENT ON MY BACK ACCOUNT BEFORE THEY
       CAN TAKE ANY MONEY. THEY STILL SEND ME A BILL BY MAIL TRYING TO GET ME TO SEND
       THEM MONEY. THEY HAVE TO BE INVESTIGATED ON WHAT THEY ARE DOING, SO MANY
       COMPLAINTS ONLINE ABOUT THEM. I HOPE BBB CAN LOOK INTO THIS HORRIBLE SCAM.




       Mepco Response                                                                      08/26/2020

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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       Friday from 8A – 5P CST or by email at Requests@Mepco.com



                LANE P.
                                (1 star)
                                                                                              08/18/2020

       I see I am not alone: I obtained this 'warranty' by phone (big miistake). MY BANK WAS DEBITED
       +$176.OO AS INITIAL PAYMENT, and when I ﬁnally got a copy of the plan - INCLUDED WAS
       conditions not given previously, ON 7/14 I CANCELLED BY PHONE AND MAIL TO BOTH MEPCO
       AND CARCURE TODAY I SEE MY ACCT WAS AGAIN (7/28) CHARGED +$ 176.00. I CALLED CAR
       CURE - AGAIN WHO CLAIMS THEY HAD NO CANCELLATION NOR RECORD OF PHONE
       CANCELLATION TIL 7/28.. HAVE NOT REACHED MEPCO YET,. SO, MY TOUGH LUCK ??? WHAT
       NOW ARE MY OPTIONS??? I see I am not alone: I obtained this 'warranty' by phone (big miistake)
       and when I ﬁnally got a copy of the plan - which offered conditions not given previously, I
       CANCELLED BY PHONE AND LETTER TO BOTH COMPANIES. (MEPSO AND CAR CURE) ,ON
       7/14/2O, TODAY I SEE MY ACCT WAS AGAIN CHARGED +$ 176.00. ON 7/28 I CALLED CAR
       CURE - WHO CLAIMS THEY HAD NO CANCELLATION NOR RECORD OF PHONE
       CANCELLATION TIL 7/28.. HAVE NOT REACHED MEPCO YES,. WHAT ARE MY OPTIONS??
       RATING - NO STARS!!!




       Mepco Response                                                                      08/24/2020

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                Douglas L.
                                (1 star)
                                                                                               08/17/2020

       Terrible, veterans beware. They told me things were covered and then declined paying for
       everything without a two week waiting period for there inspector to verify if something was
       broke. Took two days to ﬁnd a person to even ﬁle the claim. Mepco Edurance are a scam




       Mepco Response                                                                       08/22/2020

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       CST or by email at Requests@Mepco.com



                JAMES M
                                (1 star)
                                                                                               08/11/2020

       THEY (MEPOCO)HAVE POOR ONLINE ACCOUNT SERVICE , YOU RECEIVE A WELCOME LETTER
       TO VEIW YOUR ACCOUNT INFO ONLINE AFTER MAKING YOUR VERY FIRST MONTHLY
       PAYMENT AND EITHER THER WEB SITE IS DOWN OR THE CONTACT NUMBER IS DOWN, AND
       IF YOU DO GET THE CALL TO GO TO THE PROMPTS ITS ALL ABOUT PROMPTS AND AT THE
       VERY END OF THE PROMPTS THEY REFER YOU BACK TO CARSHEILD, THEN CARSHEILD
       VERIFICATION IS YESS THER SITE AND BUSSINESS CONTACT NUMBER IS DOWN AND WAS
       TOLD TO TRY AGAIN LATER AND THAT THE WELCOME LETTER ARE TIME SENSITIVE , LOL I
       SET UP MY ACCOUNT THE DAY I RECEIVED MY LETTER SO WHAT TIME FRAME DO I HAVE,
       LOL BUT WAIT YOU CAN FAX THEM, LOL WHO STILL HAS A FAX MACHINE. LOL WHAT A
       JOKE, THIS IS GIVING CARSHEILD A BAD REP. carsheild customer service was ok , other then
       being on hold and prompts with (MEPCO) carsheild seem to at least try to help get a passwd
       word link so i can reset my passwd. but 34 mins later still waiting for my link.




       Mepco Response                                                                       08/20/2020

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                NGran
                                (1 star)
                                                                                              08/08/2020

       My elderly grandmother that has severe memory loss/dementia was taken advantage of and
       scammed by a company called "Auto Assure" that uses Mepco to "collect payments" for an
       imaginary "vehicle warranty" service. She has written in to Auto Assure to cancel this "warranty"
       and Mepco is STILL charging her account monthly even after being cancelled. Not only that but
       they claim she owes money when there was absolutely no service done nor did they do anything.
       Mepco are thieves. So are Auto ******. I'm under the impression they're the same company.
       There's no excuse for working with scammers and even if they aren't the same company, Mepco
       is just as guilty. I've sent emails and gotten no responses and the two I've gotten in the past
       claimed to have stopped the payments which was clearly a lie because they're still preying on my
       poor grandmother to this day. How do you live with yourself? Greed at it's ﬁnest.




       Mepco Response                                                                      08/20/2020

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       Friday from 8A – 5P CST or by email at Requests@Mepco.com



                Adib S.
                                (1 star)
                                                                                              08/08/2020

       Fraud. I Never Signed up bUt Received a Unauthorized transactions. I Want my Money Back .




       Mepco Response                                                                      08/20/2020

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       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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                 Jaime A
                                 (1 star)
                                                                                                08/06/2020

       Why is this company still allowed to do business? They're scamming people all the time with this
       auto repair warranty scam. They're charging almost $300 per month for warranty coverage and
       when you ask them to cancel the plan, they will not cancel and keep on billing you every month.
       Got my bank to stop payment to this fraudulent company. I will never do business with them
       again.




       Mepco Response                                                                          08/12/2020

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                 Tonia F
                                 (1 star)
                                                                                                 07/31/2020

       I really wish I could have given zero stars because this company and car shield are taking
       advantage of hard working customers. They sell you this dream of what they can do for you if you
       sign with them. And have no problem taking your monies. But when its time for them to spend
       some money they back out of the deal. stating you did something to void the warranty. I bought 3
       seperate plains for each of my cars with each plan they found a bogus reason not to ﬁx my cars.
       on one they refused to ﬁx the front trans axle in my 4x4 and gave my money back , one they
       refuse to ﬁx transmission ﬂat out after paying the contract off. Now they refuse to ﬁx my car or
       issue me a refund like the sells rep said when selling this useless warranty. So if your looking for
       extended warranty DO NOT USE ANY COMPANY THATS WITH MEPCO THEY JUST WANT
       YOUR MONEY.




       Mepco Response                                                                         08/07/2020

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       Friday from 8A – 5P CST or by email at Requests@Mepco.com



                 Rick C
                                 (1 star)
                                                                                                07/30/2020
                 Absolute joke of a company. When they sold me the policy the sales rep said anything
                 that allows your vehicle to run. Well they lied. I would NOT recommend this joke of a
                 company at all your wasting your money. They cover nothing.




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                 Fraud
                                 (1 star)
                                                                                                 07/27/2020

       This is a terrible company, they won’t take no for an answer you tell you don’t want their services
       and they will insist that you needed after I was almost force to take it their representative told me
       you can cancel it later, but before the thirty day you will get the money back, liers no one will
       answer for a long time and when they do they told me that I have to send a written letter, bla bla
       bla do not buy it, I had to cancel my debit card and the bank return my money I told the bank they
       run a fraudulent business, save your self some hassle look somewhere else. Roger




       Mepco Response                                                                          08/07/2020

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                 Deborah B
                                 (5 stars)
                                                                                                 07/22/2020

       I have never written a review before but this company deserves this. I signed up through
       Endurance Auto Warranty. This company is true to their word. I made a good decision when I
       decided to go with them. And they worked with me on payments while struggling ﬁnancially
       through the COVID pandemic. I would recommend this company to anyone and I do just that
       when asked about my warranty. I have had to use my beneﬁts twice and everything was exactly
       as it was promised and it was easy to use.




       Mepco Response                                                                          07/28/2020

       Thank you for your positive feedback regarding Mepco. We strive to provide exceptional
       customer service each day and appreciate your business. Contact our Customer Service
       department (800) 397-6767 Monday – Friday from 8A–5P CST or by email at
       Requests@Mepco.com




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                Martha N
                                (1 star)
                                                                                               07/14/2020

       I think this company is a scam company. Every time I call I get a answering service and have to
       leave a message. I tried to cancel and no one ever calls back. Then I call back and speak to the
       same person but the person gives me a different name each time to make me think I am
       speaking to another representative. Who does that. So them I tell them I need to check on my
       payment status and guess what I get a call back and then when I say I am trying to cancel the rep
       is so rude and hangs up on me. I don't recommend anyone doing business with this shady
       company. I was sent a letter to login online and the login info given to me in the letter doesn't
       even work. Again just a very shady business. This company does not deserve any star ratings but
       i have to select one in order for my customer review to be posted.




       Mepco Response                                                                       07/28/2020

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                Shelley C.
                                (1 star)
                                                                                              06/22/2020

       Signed up for auto warranty with Endurance. Advised that contract was with Mepco. I have tried
       numerous times by email and phone to cancel policy. I signed up by phone but can’t seem to
       cancel by phone or email. Seems that cancelling is far more diﬃcult than it needs to be.




       Mepco Response                                                                       06/27/2020

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                 Gloria C
                                 (1 star)
                                                                                                 06/19/2020

       Am paying for a contract that is non-existent. This company takes no responsibility for this fraud
       and can't stop my automatic payments. They have told me to contact Auto Protection Plus to
       have payments cancelled. I have been paying since April and did not know I had not contract
       until I took my car in for service. Do not trust this company nor Auto Protection Plus. I want Mepco
       to stop stealing my money.




       Mepco Response                                                                         06/26/2020

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                 Jennifer B
                                 (1 star)
                                                                                                 06/15/2020

       Scam!!! They tricked my elderly mother into coverage that she absolutely doesn't need. We've
       called to cancel 3 times, received conﬁrmation numbers, and they still debit her account.




       Mepco Response                                                                         06/24/2020

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                Ellie L
                                (1 star)
                                                                                               06/08/2020

       If we could give a negative star amount we would. This company is targeting elders and calling
       them to sign up for car warranties before the manufactures warranty is even up. They won’t let us
       cancel the warranty even though my grandfather is now deceased. They are going in circles to
       try to avoid cancelation including telling us that all managers and supervisors are “in a meeting”
       and apparently the system was under maintenance. How is this company still allowed to be in
       business??? This is elder ﬁnancial abuse!!! The BBB needs to do something about this company
       and it’s subsidiaries immediately!!!!




       Mepco Response                                                                        06/12/2020

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                Cynthia J
                                (1 star)
                                                                                                05/27/2020

       I also been scam. Class action suite? This Business is very slick and calculating. Have you noticed
       same rebuttal each time? I have notiﬁed BBB, three States. Only to get transferred one to another
       BBB. I have notiﬁed my bank just to get my money back. Mepco takes your money then washes
       their hands. Mepco is very deceiving sending a billing statement, on Mepco letter head. Another
       business, AUTOMOTIVE PROTECTION, takes over, at that juncture. AUTOMOTIVE PROTECTION
       is point of customer service, also handling cancellation of contract.Once I canceled,my refund
       has never been issued 5 months later. Any other numbers listed don’t work. No one answers.
       HOW LONG IS THIS GOING TO BE TOLERATED BEFORE BBB helps and stops accepting the
       answer from MEPCO. This company and associated business’s a Is a scam. BBB, DO YOUR
       JOB!!!




       Mepco Response                                                                        06/03/2020

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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       involvement in the development, marketing, sale, claims processing activities, or other
       administration of these vehicle service contracts. However, we would like the opportunity to
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       Mepco Response                                                                        06/03/2020

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                PAULA J
                                (1 star)
                                                                                              05/13/2020

       I am the queen of fraud, but this time they got me, I'm on the phone now trying to cancel this
       claim, I was informed I would be getting a new warranty on my BMW, well, the company refers
       you to the company the policy is supposed to be with, unbeknowest, the company phone
       number is disconnected, now how come Mepco doesn't know that. I'm canceling all this, and it's
       unfortunate companies are set up to scam you. Always do a review before comitment.




       Mepco Response                                                                      05/15/2020

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                Tamesha F
                                (1 star)
                                                                                              05/11/2020
                Over priced and does not cover a lot! Once you cancel they still deduct from your
                account!




                DB
                                (1 star)
                                                                                             05/09/2020

       Scammers want pay out claim. We sent pictures of the repair process now the say they didn't
       authorize repair really.




       Mepco Response                                                                      05/15/2020

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                Daryl H
                                (1 star)
                                                                                             05/07/2020

       We are struggling with this company because we have never signed an agreement with them.
       But they are constantly trying to rape us for money. These folks are frauds.




       Mepco Response                                                                       05/13/2020

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                MRS EM
                                (1 star)
                                                                                              04/17/2020

       SCAM! They tricked my 85 year old mother into a contract and keep withdrawing money under
       different names out of her account. She had to get a new credit card. You cannot get through to
       talk to a human. I've left messages they have not returned and mailed a letter to cancel as per
       instructions. There is no email to contact them as stated. SCAM! SCAM! SCAM!




       Mepco Response                                                                      04/22/2020

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                 J Llanos, MD
                                 (1 star)
                                                                                                 04/05/2020

       I don't remember signing a contract with this company. But they know my address and my car
       that I dont even use for work. The service insurance is not needed because the car is parked on
       my garage except on Sundays when I have to drive it around the neighborhood to maintain its
       engine and keep battery charged. I have to call the credit card company that ********* charged me
       from, explaining that this is a fraudulent charge because I NEVER authorized any consent to get
       the insurance offered by ********* and NEVER SIGNED a document to validate that I consented.
       NO owner will take another insurance when that car already has one since 2012 AND IS SITTING
       IN THE GARAGE because I use a new 2020 car that I drive for work EVERYDAY. The credit card
       company from which ********* charged me provided a new card mid February 2020 issued me a
       NEW CARD the following day by URGENT delivery. Much to my surprise I was again charged the
       same amount of 89.99 $ on my new CARD that ********* should not have known, unless they
       contacted Mastercard to query. This is a complaint and will be elevated-investigated again for the
       second time. The name Car Shield on my Feb 2020 statement had been changed to MEPCO on
       my March 2020. SOMETHING IS WRONG and will get into the bottom of this FRAUDULENT
       CHARGES




       Mepco Response                                                                           04/11/2020

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       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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       Friday from 8A – 5P CST or by email at Requests@Mepco.com



                 Carolyne A
                                 (1 star)
                                                                                                 04/03/2020

       I have been requesting they cancel my policy for months. They say it has been done and
       continue to send me bills stating I'm behind. I never signed their contract book to begin with. I
       was told it had been handled multiple times. PLEASE HELP!




       Mepco Response                                                                          04/07/2020

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                Cynthia D.
                                (1 star)
                                                                                              04/03/2020

       They told I can cancel and get a refund within 30 Days. I have tried to call them time and time
       again. I get put on hold for over 20 minutes. Either being hung on or the next person that picks
       up introduces them self with another company. One lady told me she was with Gerber. I can see
       the numbers I dial. It is the same correct number for MEPCO. One lady told me refunds or
       canceling the policy was not possible. I go online to use my login in information, that does not
       work. I would love to have my cancelled!! Some of my money back would be great! They don't
       deserve any stars! Cyndy Daniel




       Mepco Response                                                                       04/07/2020

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                LaShawn
                                (1 star)
                                                                                              03/27/2020

       This company calls elderly people whom they know don' t need this type of coverage on a
       vehicle and swindles them to purchase it. When I called they requested that an 88 year lady
       submit a letter to cancel the coverage. They did not submit a letter to implement the coverage!
       The lady at the main number is very rude and shows no sympathy for the situation at hand. This
       coverage will be cancelled!




       Mepco Response                                                                       03/31/2020

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                 KATHERINE W
                                 (1 star)
                                                                                                   03/11/2020

       I bought a plan with Mepco about a year ago. My transmission went out on my vehicle. My claim
       was Denied. This contract was done over the phone. Not 1 time was it mentioned what was not
       covered. The rep only stated the things that were covered, with transmission being one of these
       covered things. I took my vehicle to a Certiﬁed Mechanic and sent Mepco all requested
       information. I have had the truck for about 2 1/2 years. It is a Silverado 1500. I have serviced the
       truck religiously by a mechanic and myself from the time I bought the truck. Mepco requested
       information showing this. I had this sent to them. Mepco claims they needed more details of the
       service. This was sent to them. My claim was Denied. Not only do I think this a rip off using unfair
       practices, but i consider this a scam. I am requesting a refund of the funds paid or my
       transmission repaired / replaced. I have also contacted my lawyer to try to get some help with
       this.




       Mepco Response                                                                           03/31/2020

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                 Robin D
                                 (1 star)
                                                                                                 03/08/2020

       This company took advantage of my elderly dad with dementia. He gave them his debit card and
       they withdrew $250 for an extended warranty policy. We called to cancel and after talking circles
       around my father for 25 minutes he granted permission to talk to me, his POA, but they refused
       to talk to anyone other than the policy holder. He received a letter stating there would be
       recurring payments with no amount listed. When we contacted them we were told it would be for
       $172.62. Again asked to cancel but they would not. We were told to refer to the policy however
       to date we have not received any such policy. They would not even tell us what the policy
       covered. I believe this company to be unscrupulous preying on the elderly. I do not know how it
       has an A+ rating when 90% of the reviews I read are similar to mine at 1 star or less. We are
       sending a notarized letter to the billing company and the company who sold the policy for
       cancelation. In the mean time the card has been canceled and the account closed. I have also
       ﬁled a complaint with the AGO, executive oﬃce of elder affairs, oﬃce of consumer affairs, and
       will be ﬁling a complaint with the consumer division department with the state Attorney's oﬃce.
       Might I add this policy was sold over the phone and no contract was signed nor have we
       received any paperwork other than billing info. It was a verbal agreement, they need to honor a
       verbal cancelation.




       Mepco Response                                                                           03/31/2020

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                 Robin D
                                  (1 star)
                                                                                                    03/05/2020

       I believe this is scandalous. My elderly dad tried to cancel this policy for an extended warranty
       and the guy on the line argued with him, and us, for 25 minutes. He would not allow speaker
       phone so I, as the POA, could help my father process the info and cancel the policy. I will work as
       hard as I can to discredit this company and expose it and any other company associated with it,
       for what it is, as I feel they are disreputable and exploit the elderly. I also plan to reach out to the
       state rep, seek legal representation and ﬁle with the BBB against the companies involved. We
       may have lost the $250.00 battle but I plan to win the war and work to protect others from falling
       victim. RED




       Mepco Response                                                                              03/11/2020

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                 Patricia
                                 (1 star)
                                                                                                   02/24/2020

       Elder Financial Abuse!! They took advantage of my Elderly Mom who said NO to the salesman
       several times. She should have hung up, but was too polite and ended up giving them her credit
       card. She called me in tears knowing she had been taken advantage of. We put a freeze on her
       credit card, but the payment went through, past the freeze, because they call it a RECURRING
       PAYMENT. It's their loophole!! The credit card company heard us, they issued a new card and
       BLOCKED MEPCO for a year. I have a feeling they might use another LLC name to once again
       charge her $176.06. If you don't block them the recuuring payment will follow the credit card.
       MEPCO won't cancel the policy without a notarized letter, so we are wasting time getting a letter
       to them. I'm concerned they will lose the letter -This seems to be a recurring theme in other
       reviews. FYI-- All calls are recorded, so we asked them to listen to the call, we wanted to hear my
       Mom say NO. My mom said she told the salesman no several times but he kept pushing her. She
       ﬁnally gave in. The response from the Customer Service Agent, who has been helpful.
       "Customer’s policy number is LUSF110239. My manager did pull the call and she advised that
       customer agreed to the whole process and gave payment information. The only thing I can tell
       you is to try and get the letter in as soon as possible so we can take care of the cancellation. Per
       the administrator and her contract, she is passed her 30 days and we need a written letter with
       all information included to cancel her policy and that goes for everyone outside their 30 days. I
       hope this information helped." YES, we've established she gave them her information, but
       MEPCO "took advantage of her weaker state of mind and wrongfully obtained her money (credit
       card number) through undue inﬂuence, coercion and manipulation." This is the deﬁntion of Elder
       Finacial Abuse. MEPCO, when you respond to this review, do something more than your auto
       reply telling us to call you to work it out. I've given you the policy number, Cancel her policy, then
       call/email my Mom to inform her it's been cancelled. Nikki in Customer Service has her
       information. I also plan to push further and contact Consumer Division Department with State
       Attorney's oﬃce and ﬁle against AUTO SERVICES, MEPCO, AND VEHICLE SERVICE CENTER.




       Mepco Response                                                                            03/11/2020

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                 Donise B.
                                 (5 stars)
                                                                                                   02/10/2020

       Thank you, Mepco for your awesome service and business. I have no complaints.




       Mepco Response                                                                            03/11/2020

       Thank you for your positive feedback! Sincerely, Mepco Customer service




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                 CHER
                                 (1 star)
                                                                                                  02/07/2020

       BBB - please do right by the people whom have purchased from AUTO SERVICES using MEPCO
       as the service billing business. My (elderly) Mother purchased an auto warranty not realizing she
       still has a current valid warranty through dealership. The Underwriter and Administrator for
       warranty purposes is ******** from Leawood KS. AUTO SERVICES and MEPCO only manage the
       administration of billing and payment. Cancellations are directed to VEHICLE SERVICE CENTER. I
       have made several attempts in a matter of 5 days to reach out to, (billing department) as per the
       customer service, VEHICLE SERVICE CENTER at eight hundred, eight-eight one, zero eight zero
       four; and NEVER received a call back. I am not able to login to their website, to cancel the
       contract, which the USER NAME and PASSWORD provided are invalid. I called credit card
       company and said I would have reach out to cancel directly with MEPCO otherwise, to stop
       payment requires to cancel the credit card altogether. **UNSUSPECTING CITIZENS BEWARE! DO
       NOT SEEK THESE TYPE OF SERVICES unless initiated by your dealership or loan service vendor
       for your vehicle. This is not over regarding attempt to cancel as I plan to push further and contact
       Consumer Division Department with State Attorney's oﬃce and ﬁle against AUTO SERVICES,
       MEPCO, AND VEHICLE SERVICE CENTER.




       Mepco Response                                                                           02/10/2020

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                 Steve
                                 (1 star)
                                                                                                  02/04/2020

       As rotten as they come. Zero star for sure! Promises made to cancel policies only to have bills
       sent. No one to speak with when you call. When I ﬁnal got one of the rats on the line, they hung
       up on me when confronted with the facts. Run far and fast from MEPCO.




       Mepco Response                                                                           02/07/2020

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       Customer Response                                                                        02/07/2020

       I understand your role Vs Artisan. I spoke with both of you on December 18, conﬁrming contract
       cancelation which is allowed per the contract. I’m now still receiving bills. Furthermore, when I
       call, I can’t get a live human. I stand ﬁrm. Your organization lacks integrity and the controls needs
       to avoid situations like this. I gave you ample opportunity to ﬁx the situation and you did not. You
       and Artisan are cut outta the same bolt of cloth.



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                AngryAF
                                (1 star)
                                                                                                01/28/2020

       HORRIBLE! I signed up and then called to cancel service. After reading the ﬁne print, it says they
       need written cancellation or they will charge a fee. So I called back and asked point blank, can I
       cancel with you on the phone and not get charged anything extra? lady says yes, which is when I
       informed her of the contract writing, which has 3 sections about cancellations. Oh yeah there will
       be a fee she says. Ok so can I have the address to mail this to? No I cant give you that. WHAT
       THE ***** You cant give me the address?!!! So I put a stop payment on the account. This business
       can go F themselves. If you want to hate the world, then sign on with them. Minus 5 stars! Hey
       BBB, why the * do they have a 5 star rating????? Make yourself useful for society here.




       Mepco Response                                                                         01/31/2020

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                Elizabeth L
                                (1 star)
                                                                                                01/24/2020

       Wow not only are they thieves and scammers, they can't even respond to reviews. They just have
       an auto answer There are no zero star ratings allowed. They are not doing their job of canceling
       policies after a vehicle was totaled. You can't get through to talk to anyone and they are always
       at lunch or sending you to the other company.. and then you have to come back to them for
       billing.. It takes 2-4 hours to reach anyone on that phone line.. They should be shut down.




       Mepco Response                                                                         01/31/2020

       Hi Elizabeth - Thank you for offering your feedback, we really appreciate it. Unfortunately, when
       we do not receive adequate information to research your particular issue we are unable to offer
       much more than our contact info to speak directly with a representative here at Mepco. However,
       we will be following up with you via the email address provided and hope that we will be able to
       assist with providing a resolution. As mentioned, Mepco only offers billing services (payment
       plans) for providers of vehicle service contracts - so, to cancel your policy you must contact the
       company you purchased it from. Once we have more information from you we can help make
       that connection and get you in touch with the right company. Thanks again!




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                 Amit Gandhi
                                  (1 star)
                                                                                                     01/18/2020

       Worst service and full of excuses. NOT RECOMMENDED, stick to your gut. I am livid with this
       amount of garbage that comes out of these guys mouths, at the time of purchasing the extended
       warranty I was told I was being sold the best plan there was, and paying $250+ month for this
       Vehicle Service Contract. January 2020 was my ﬁrst attempt to ﬁle a claim using my auto shop I
       have gone to since the inception of my car and is highly reputable and also ﬁled the request for
       me, only to come back with the cringing sentence "your warranty company will not cover it...."
       leaving me feeling duped and scammed for thousands, this should be regulated and attacked
       immediately by the CFPB. So I did what anyone would do, went through my original package with
       my MEPCO card that was provided which is not worth the plastic its made on.... and read through
       my contract line by LINE over an over again then picked up the phone and called them. They
       took their sweet time and I kindly requested an explanation that I've paid 2-3x the cost of the
       amount requested on the claim ﬁled already and still paying... but why is this not coverd?" The
       person at MEPCO starts throwing jargon on the phone about engine functions and other crap. its
       like a game who can get to the phone the quickest and get out of a claim... just put the amount to
       the side into savings, instead of these crackheads, it's a guaranteed LOSS of security that you
       falsely feel and if it's burning a hole in your pocket, spend it elsewhere... these guys are a joke... I
       am still in SHOCK!... The *** terms of coverage and how it's covered is left to the interpreter to
       honestly if I had time I would've spent even more simply based on the principles of honest
       business to hit them with a class action lawsuit.... all the reviews are legit below and pretty
       accurately told. @MEPCO, should you decide to respond, don't copy and paste what you've
       already told another person from the 35 other consumers which you have scammed. until you
       have reviewed and validated your information and a qualiﬁed, educated, from your DALLAS TX
       location....has responded to this. I plan to return to my original *** provider. ZERO STARS is a
       reasonable rating, ti bad that's not an option, To the consumers out there --- don't take their ***
       service they offer, They lack speciﬁcity leaving it to them with the power to deﬁne coverage "if it's
       not listed then it's not covered..." should be their slogan. If MEPCO list and know every
       mechanical part of each vehicle covered--- they are in the wrong business, and secondly their
       contacts wouldn't be so vague and thin... SIMPLE DONT DO IT...As a Marketing professional, if
       you see 1-2 stars, great. that's about right... IF FOR ANY REASON I SEE OTHERWISE, I will
       investigate, and dispute the feedback and reviews for investigations for gaming and misleading
       consumers with a Consumer Protection Agency and make it known everywhere,




       Mepco Response                                                                              01/21/2020

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                Garner P.
                                (1 star)
                                                                                                  01/17/2020

       This account was closed by default. Then came in and took a payment so they could collect their
       $35.00 cancellation fee. They were ﬁshing our account until there was money there In our
       account the still after the account Closed, they zapped our account. I'd advise to always put a
       stop payment on your account, so this doesn't happen to you as well. Very dishonest company.
       Stay as far away from them as possible or hang up when their marketers come calling.




       Mepco Response                                                                           01/21/2020

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                Bit R
                                (5 stars)
                                                                                                 01/09/2020
                All, don't confuse Mepco with Endurance, or another warranty company. Mepco provides
                bill payment service for said companies. If you have issues with your warranty, Mepco
                isn't the company to get the issue resolved. You have to goto the company that is
                providing the warranty directly. I hope this clears things up for you all... On a side note, I
                have two Cadillac's which I insure thru Endurance. Both had to have their CUE systems
                replaced. Endurance collected my $100 deductible for each vehicle, and covered the rest.
                What more can you ask for? So, for me, the Mepco-Endurance team is working.




                lib l
                                (1 star)
                                                                                                 01/03/2020

       How does Mepco show an A+ rating with Better Business Bureau when they have all these One
       Star rating. They are a complete scam! we tried to use it and apparently it was not in the
       coverage so we had to Py out of pocket. We have tried to cancel and they said we are in some
       kind of contract and keep taking our money every month. Zero Stars From Us!!!




       Mepco Response                                                                          01/06/2020

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
       would like the opportunity to speak with you to provide you with the contact information for the
       direct marketer and/or administrator of the vehicle service contract purchased. These companies
       will be able to address any questions regarding discrepancies with product representation,
       service reimbursement, cancellations, reinstatements, refunds, or any vehicle service contract
       related issues. Please contact our Customer Service department (800) 397-6767 Monday –
       Friday from 8A – 5P CST or by email at Requests@Mepco.com




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                No
                                (1 star)
                                                                                                 12/10/2019

       This place completely sucks very rude and unprofessional I paid for a plan for my 2016 vehicle
       back in September 2019 and told the representative I wasn’t sure if I would keep it because I
       probably was buying a new car but will purchase just in case . Well a week later I bought a 2019
       and traded the other vehicle in I called to cancel the policy and they said I would probably
       receive some type of refund ﬁr the premium not the deposit and that’s ﬁne but I called mepco in
       late October still receiving a bill requesting payments and I’m in default. The representative was
       nasty stating my policy will eventually cancel for breach of contract for non payment this is bull
       how when I canceled the same month that I purchased. I now have another bill requesting a
       payment to reinstate are you kidding me I do not I repeat do not want you idiots reporting to any
       credit agency stating I don’t pay it takes forever to clear that crap up stop sending me bills and
       my effective cancellation by phone was in September I have my phone records and they are
       recorded son please leave me the hell alone ! Only gave one star to bin leave a review you all
       deserve nothing from me




       Mepco Response                                                                           12/11/2019

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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       Friday from 8A – 5P CST or by email at Requests@Mepco.com



                Tameca J
                                (1 star)
                                                                                                 12/05/2019

       Prey on inexperienced new car buyers. Y'all are some hoes. Toyota gives out information of new
       car buyers to you vultures and y'all try to dupe people into buying things they already have.
       Absolute scum. Y'all better refund my money and cancel my account. I wish you would to send
       TRY to send me a bill in the mail. It would go straight into my recycle bin.




       Mepco Response                                                                         12/09/2019

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       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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       Friday from 8A – 5P CST or by email at Requests@Mepco.com




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                lisa s
                                (1 star)
                                                                                                12/04/2019

       Highly deceitful business! We bought a new vehicle a month ago and received a warranty bill in
       the mail. We thought it was from buying our new Nissan and paid around $170 thinking it was
       associated with our car. It was not. This is an outside vendor that preys on people. Buyer beware!
       We've had to open a case with Nissan corporate after I tried speaking with MEPCO and the guy
       tried talking in circles and intimidating me. That's when I saw red ﬂags. I contacted the car
       dealership and they made it clear that MEPCO is NOT aﬃliated with Nissan and is an outside
       vendor. Do NOT trust this company or give them any money. Talk to your local car dealership
       ﬁrst!!




       Mepco Response                                                                         12/05/2019

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       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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       CST or by email at Requests@Mepco.com



                Kenneth C
                                (1 star)
                                                                                                12/03/2019

       Mepco claims they only provide ﬁnancing for the warranties so how come every company that
       goes through them is a crooked company.So many people being ripped off by them eventually
       going to be shutdown if everyone that has a problem complains to their ag in their state also cfpb
       and if you live in missouri wherever that hole in the ground is drop by and say hello!!!!! do they
       have a subsidiary in ohio let me know would like to visit for the holidays.Or better yet they have
       my address come visit me. Ripped off by 3 of them so not happy!!!!!




       Mepco Response                                                                         12/04/2019

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
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       direct marketer and/or administrator of the vehicle service contract purchased. These companies
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       service reimbursement, cancellations, reinstatement's, refunds, or any vehicle service contract
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                Sarah B
                                 (1 star)
                                                                                                 12/02/2019

       If i could give them a negative i would there a scam




       Mepco Response                                                                          12/04/2019

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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       would like the opportunity to speak with you to be able to address any questions or concerns.
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       CST or by email at Requests@Mepco.com



                A. W.
                                 (1 star)
                                                                                                  11/25/2019

       I very disappointed with the warranty coverage from this company. The last time I took my SUV
       for service at the deal they covered only $90/per for labor. The dealer charged $165 and other
       mechanics charge $120/hour. This is something that MEPCO did NOT disclose to me when I
       signed up for their service. Also, recently I took my 2015 explorer to have it service for engine
       light which stemmed from Catalytic converter MEPCO denied the coverage because this was
       NOT under their warranty plan. So much for the BUMP to BUMP warranty they promised when I
       signed up. I consider their coverage inadequate and not worth buying. Waste of money.




       Mepco Response                                                                          12/04/2019

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       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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       direct marketer and/or administrator of the vehicle service contract purchased. These companies
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       service reimbursement, cancellations, reinstatement's, refunds, or any vehicle service contract
       related issues. Please contact our Customer Service department (800) 397-6767 Monday –
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                Anna S.
                                (1 star)
                                                                                                 11/06/2019

       I tried to cancel within 3 days. I tried calling the number i was given several times, but it was
       never answered, and had no option to leave voicemail. Once getting paperwork in the mail a few
       days later, I tried calling the number there. That number had a voicemail option, but no one
       returned my call. I left several messages. I called my credit card company to block future charges,
       but the company switched merchant numbers when the charge was blocked. I cannot believe the
       dishonesty of how they choose to do business.




       Mepco Response                                                                           11/14/2019

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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       CST or by email at Requests@Mepco.com



                Beth A
                                (1 star)
                                                                                                 10/31/2019

       All you need to do is look at Mepco’s canned responses below to know this is a joint scam
       between Mepco and these rip-off auto service contracts. HARD TACK INC is who scammed me
       and Mepco keeps billing me. When I tried to reach the HARD TACK no one ever answers the
       phone. Messages left are never answered. This is the number given to me by MEPCO! A web
       search shows “BUSINESS CLOSED” in bold red letters. How can Mepco keep billing for a
       business that is closed?




       Mepco Response                                                                           11/14/2019

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       customer service and appreciate the opportunity to address this issue. Please understand Mepco
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       would like the opportunity to speak with you to be able to address any questions or concerns.
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       CST or by email at Requests@Mepco.com




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                 G P.
                                  (1 star)
                                                                                                    10/22/2019

       1 word rip off I advise anyone looking for warranty not to go with them. I got work done on my car
       and even sent receipt and they where trying to say fraud so they don’t have to pay to ﬁx my
       vehicle so now I’m stuck with a bill that they should’ve paid. After I paid them over $1000 they
       say I can’t even get a refund of my money so beware stay far away from Mepco if u don’t believe
       then try it and lose out of your money. I will never tell anyone to go with them smh terrible service




       Mepco Response                                                                             10/24/2019

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
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       Friday from 8A – 5P CST or by email at Requests@Mepco.com



                 Becky W
                                  (1 star)
                                                                                                     10/15/2019

       Total Scammers that prey on the elderly! My mom has been trying to cancel and they will not
       cancel. They tell her she needs this and will not listen to her. I called and they tried to tell me she
       needs this because who is going to pay the bills if her car breaks down. She drives at the most 10
       miles a week and her son is a mechanic! She has no need for this at all! The person I was talking
       to hung up on me and would not listen! I ﬁnally had to call her bank and stop payments because
       they would not cancel and won't refund her money after she has been calling and canceling for
       the last 3 months.They told her to send in a written letter which she did and had it notarized and
       still would not cancel or refund her money! The worst part about this is this company played off
       her original warranty she had on her vehicle. They called her and told her the other warranty
       company closed and they were the ones taking over. Well they took over all right and have
       completely stolen her money and they are not part of the Ford Warranty she originally had! Worst
       company and people I have ever dealt with. I don't know how these people sleep at night
       knowing they are stealing peoples money. I would give them 0 stars!




       Mepco Response                                                                              10/16/2019

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. In response to these
       speciﬁc allegations, please understand that Mepco services payment plans for providers of
       vehicle service contracts. Mepco has no involvement in the development, marketing, sale, claims
       processing activities, or other administration of these vehicle service contracts, and Mepco does
       not engage in any form of telemarketing. The Purchaser was contacted not by Mepco, but by a
       direct marketer to be provided a vehicle service contract. As well, the direct marketer would have
       arranged with the purchaser for making monthly payments and the terms of the contract. Mepco
       then receives the payment plan information and sets up an account for billing and collection
       based on that information. Mepco is only the servicer of the payment plan related to the vehicle
       service contract, sending bills and collecting payments, and is not the seller or administrator of
       the vehicle service contract. As a result, Mepco is unable to directly respond to the speciﬁc
       issues in this complaint. However, Mepco takes all customers’ concerns seriously. We would like
       the opportunity to speak with you to provide you with the contact information for the direct
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       issues. Please contact our Customer Service department (800) 397-6767 Monday – Friday from
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       8A–5P CST or by email at Requests@Mepco.com. We appreciate your business! Sincerely,
       Mepco Customer Service



                Ginger M
                                (1 star)
                                                                                               10/02/2019

       SCAMERS!!!!! Cancelled over a year ago and STILL getting charges on my credit card.




       Mepco Response                                                                         10/16/2019

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. Please understand Mepco
       is only the servicer of payment plans for providers of vehicle service contracts. However, we
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       CST or by email at Requests@Mepco.com



                Atron T
                                (1 star)
                                                                                               09/18/2019

       I cancel my service with www.protectmycar.com on May 10, 2019 and I notice MEPCO is still
       changing my credit card after 4 month which I inform protectmycar that my car was total and I
       didn't need the service no longer. Contractor Number is 241920 this is unacceptable and should
       not be happening I will like for my money be credit back to my credit card. I could say more but
       please read your contract before you make your purchase let your attorney read do not let the
       sales person tell you what is cover in the warrantry, know for yourself what you are buying.




       Mepco Response                                                                        09/20/2019

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                 Nancy B
                                 (1 star)
                                                                                                   08/27/2019

       Put in claim and claims adjuster never got back to the repair shop. It has been a week trying to
       get a hold of them. Claims adjuster not responding. Call number and disconnects. They should
       be sued.




       Mepco Response                                                                           09/06/2019

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       CST or by email at Requests@Mepco.com



                 Hong N
                                 (1 star)
                                                                                                  08/09/2019

       This company is partner with **** **** inc, auto insurance comp. I called **** **** to cancel the
       contract, the phone number of this comp. is no longer inservice. So I called Mepco and left
       message that I wanted to cancel the contract. Mepco did not respond, so I called and left the
       message again and want them to call me back. This time, Mepco called me and said that **** ****
       inc went out of business. I don't know how long they know about **** **** went out of business,
       but still collect my money. I want to report this scheme. I wish I can give them less than one star.




       Mepco Response                                                                           09/06/2019

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                 Amy H
                                 (1 star)
                                                                                                   07/18/2019

       They lied about milage didn't agree to the two year never sign any and done over phone took
       payment out 2 days early and u got to call the admistor to approve the warranty we do have
       letters from this company




       Mepco Response                                                                           09/06/2019

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                Mark G
                                (1 star)
                                                                                               06/27/2019

       This is the worst company to get mixed up with. They prey on your fear of breaking down and
       getting stranded. They coerced my wife into this shceme without my knowledge. I told her to call
       them up the next day and cancel the policy and a man named Tod disrespected her and would
       not cancel the policy. According to the FTC you have a right to change your mind without an
       explaination. This company does not honor that. Buyer Beware. I wanted to give a ZERO star
       rating and that was not allowed either.




       Mepco Response                                                                        07/02/2019

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       customer service and appreciate the opportunity to address this issue. In response to these
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       processing activities, or other administration of these vehicle service contracts, and Mepco does
       not engage in any form of telemarketing. The Purchaser was contacted not by Mepco, but by a
       direct marketer to be provided a vehicle service contract. As well, the direct marketer would have
       arranged with the purchaser for making monthly payments and the terms of the contract. Mepco
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       based on that information. Mepco is only the servicer of the payment plan related to the vehicle
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       issues in this complaint. However, Mepco takes all customers’ concerns seriously. We would like
       the opportunity to speak with you to provide you with the contact information for the direct
       marketer and/or administrator of the vehicle service contract purchased. These companies will
       be able to address any questions regarding discrepancies with product representation, service
       reimbursement, cancellations, reinstatements, refunds, or any vehicle service contract related
       issues. Please contact our Customer Service department ***** ******** Monday – Friday from 8A–
       5P CST or by email at ********@Mepco.com. We appreciate your business! Sincerely, Mepco
       Customer Service




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                 C. M.
                                 (1 star)
                                                                                                   06/12/2019

       I took out a policy with this company thru ********** **** **********. I spoke with a woman named
       Maureen. In our conversation she explained what monthly fees, grace period of 10 days and that I
       could cancel at anytime if not happy with services After several months with the above company I
       cancelled my policy with them in March of 2019 after being harassed by e-mails, voicemail and
       phone calls that my payment was late or overdue. I called and spoke to Valerie who says she is
       manager of Mepco prior to my cancellation and I informed her that if I receive another email, text
       or phone calls I will cancel. Several messages where left and ﬁnally Valerie got back and told me
       what I needed to do. I complied and never heard back. I called in April 2019 spoke to Valerie who
       said they received booklet and policy cards on March 28, 2019 although I sent back registered
       mail on March 6, 2019. Valerie also informed me that I was entitled to a refund and that once they
       ﬁgure out how much I would receive a check in mail. Never received spoke again with Valerie
       states now I have to ﬁll out a release form before I can get check, still not able to give amount.
       Never received form then I asked to speak to someone above her. First said there was no one,
       then said the person above her was out on maternity leave and I could leave my name and
       number but she couldn’t tell me when or how long. Ask if I call this person directly and she
       replied no. I still have no release form or refund check and it is now June. If you see this company
       or it is recommended RUN. I would never recommend this company to anyone. They are liars and
       I feel that they are just stringing me along hoping that I will get tire and give. Guess what I am not
       backing down!!!! CM




       Mepco Response                                                                           06/20/2019

       Thank you for submitting your concerns regarding Mepco. We strive to provide exceptional
       customer service and appreciate the opportunity to address this issue. In response to these
       speciﬁc allegations, please understand that Mepco services payment plans for providers of
       vehicle service contracts. Mepco has no involvement in the development, marketing, sale, claims
       processing activities, or other administration of these vehicle service contracts, and Mepco does
       not engage in any form of telemarketing. The Purchaser was contacted not by Mepco, but by a
       direct marketer to be provided a vehicle service contract. As well, the direct marketer would have
       arranged with the purchaser for making monthly payments and the terms of the contract. Mepco
       then receives the payment plan information and sets up an account for billing and collection
       based on that information. However, Mepco takes all customer concerns seriously and has
       therefore forwarded your complaint to the selling agent, ********** **** **********, ************ for
       resolution. Since Mepco only services the payment plan (collection of payments), you would need
       to contact their oﬃces directly for any information regarding discrepancies with product
       representation, service reimbursement, cancellations, reinstatements, refunds, or any vehicle
       service contract related issues.




       Customer Response                                                                         06/21/2019

       Thank you for following up with my complaint. I was not aware that Mepco was the payment
       center for payment. When Nationwide contacted me for possible enrollment with their company
       at a certain rate,I informed them that it was too much money for me at that time. Then I was told
       that there was another company under them Mepco that the payment terms might be better and I
       listen and got the policy. From what you have told me I know feel that Nationwide deceived me
       because Mepco was never a Auto Car Warranty company. I have been in touch with Nationwide
       and am waiting to hear back from them




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                 JS
                                 (1 star)
                                                                                                  06/03/2019

       I never received a warrenty in the mail from **** **** Inc (who supposedly handles the contract)
       stating my coverage. When I called to request that and said that this was a scam, the woman got
       very hostile with me. I have asked for proof of the coverage or I will dispute the charges. The
       woman was even hostile with my bank when asking for proof of coverage. If I do not receive a
       copy of the warrenty they were charging me for I will dispute or have my attourney dispute, their
       choice.




       Mepco Response                                                                          06/06/2019

       Thank you for contacting Mepco. We strive to provide exceptional customer service and
       appreciate the opportunity to address your concerns. In response to the speciﬁc allegations in
       the consumer’s complaint, please understand that Mepco services payment plans for providers of
       vehicle service contracts. Mepco has no involvement in the development, marketing, sale, claims
       processing activities, or other administration of these vehicle service contracts, and Mepco does
       not engage in any form of telemarketing. ******** ****** was contacted not by Mepco, but by **** ****
       *** to be provided a vehicle service contract. As well, **** **** *** arranged with Ms. Strang for
       making monthly payments and the terms of the contract. Mepco received the payment plan
       information from **** **** *** and set up an account for billing and collection based on that
       information. Mepco is only the servicer of the payment plan related to the vehicle service
       contract, sending bills and collecting payments, and is not the seller or administrator of the
       vehicle service contract. As a result, Mepco is unable to directly respond to the speciﬁc issues in
       the customer’s complaint. Since Mepco only services the payment plan (collection of payments),
       Ms. ****** would need to contact ****** ******* ********* ************ for any information regarding
       discrepancies with product representation, service reimbursement, cancellations, reinstatements,
       refunds, or any vehicle service contract related issues. **** **** *** oﬃce closed.



                 Joyce F
                                 (1 star)
                                                                                                  05/21/2019
                 This is the worst company for an extended warranties that I have ever dealt with. There
                 are so many exclusions which are listed but are vague. All services we needed were
                 denied due to a part being corroded, wear and tear on a part, etc. Trying to cancel this
                 contract is almost impossible other than to cancel your debit card at the bank. Please be
                 aware of these conditions before signing up.




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                 Joe P
                                 (1 star)
                                                                                                  05/10/2019

       Purchased a warranty last year..and canceled after 5 weeks..every time I call them they tell me
       that they will send me a check or sometimes call me..but it has not happened...I put my New
       Vehicle on a policy with them also...Sounds like they do not pay for car repair...Do I quit them and
       lose my money or pay them another year?




       Mepco Response                                                                           05/13/2019

       Thank you for contacting Mepco. We strive to provide exceptional customer service and
       appreciate the opportunity to address your concerns. In response to the speciﬁc allegations in
       the consumer’s complaint, please understand that Mepco services payment plans for providers of
       vehicle service contracts and product warranties. Mepco has no involvement in the development,
       marketing, sale, claims processing activities, or other administration of these vehicle service
       contracts or product warranties, and Mepco does not engage in any form of telemarketing. The
       Purchaser was contacted not by Mepco, but by NATIONWIDE AUTO PROTECTION to be
       provided a vehicle service contract or product warranty. As well, NATIONWIDE AUTO
       PROTECTION arranged with the purchaser for making monthly payments and the terms of the
       contract. Mepco received the payment plan information from NATIONWIDE AUTO PROTECTION
       and set up an account for billing and collection based on that information. Mepco is only the
       servicer of the payment plan related to the vehicle service contract or product warranty, sending
       bills and collecting payments, and is not the seller or administrator of the vehicle service contract
       or product warranty. As a result, Mepco is unable to directly respond to the speciﬁc issues in the
       customer’s complaint. Please contact NATIONWIDE AUTO PROTECTION ************ Thank you,
       Mepco



                 Ava L
                                 (1 star)
                                                                                                  04/22/2019
                 I'm cancelling my Warranty... I had service on my 2014 Mercedes Benz- spark plugs that
                 needed replaced in my engine. Although this was an electrical problem that I had to pay
                 over $800, this warranty did not cover any of the repairs. I have been giving my money
                 away for nothing! I'm done!!




                 Audrey P
                                 (1 star)
                                                                                                  04/12/2019
                 **** **** over the phone sold my Aunt who has Dementia and living in a Nursing Home a
                 warranty for a car that she cannot drive because her license was revoked. While trying to
                 get my Aunt's money back all we get from **** ****, MEPCO, and ****** is the runaround.




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                 Anthony P
                                  (1 star)
                                                                                                     03/17/2019

       Over a month ago I have cancelled the warranty over the phone. The last bill I paid to them was
       an additional payment of $176.56 (I have paid over 6 months of the same amount). When taking
       my car to the dealership for repair, the a/c compressor needed replacement. That was covered
       under the warranty I had according to MEPCO but the dealership told me the warranty didn’t
       cover that part when it was clearly in the manual. I thought that was akward and decided to
       cancel my warranty because I could no longer afford those large bills for it to not even work for
       me when in need. During the call I had made sure to ask if I would have a cancellation fee or
       anything and the man I was speaking to said no. I went through with the cancellation and no
       longer recieved any charges on my credit card following the cancellation. Then yesterday I get
       two separate bills in the mail from MEPCO of a missed payment in Februrary (which I obviously
       didn’t miss because it came out automatically from my funding source) and an additional bill for
       March even though my policy had been already cancelled. They can not say it wasn’t cancelled
       because obviously they stopped the automatic payments from going through my account after I
       cancelled the policy. They expect me now to pay $353 to them and saying it is past due, how is
       that even possible if they still took out $176,56 in February? I highly suggest never falling for this
       scam or working with this company, and I will make sure to spread this awareness to as many
       people and fellow military veterans as possible. Terrible




       Mepco Response                                                                             03/20/2019

       In response to the speciﬁc allegations in the consumer’s complaint, please understand that
       Mepco services payment plans for providers of vehicle service contracts and product warranties.
       Mepco has no involvement in the development, marketing, sale, claims processing activities, or
       other administration of these vehicle service contracts or product warranties, and Mepco does
       not engage in any form of telemarketing. Mr. PACCIA was contacted not by Mepco, but by
       AUTOMOTIVE SERVICES CENTER to be provided a vehicle service contract or product warranty.
       As well, AUTOMOTIVE SERVICES CENTER arranged with purchaser for making monthly
       payments and the terms of the contract. Mepco received the payment plan information from
       AUTOMOTIVE SERVICES CENTER and set up an account for billing and collection based on that
       information. Mepco is only the servicer of the payment plan related to the vehicle service
       contract or product warranty, sending bills and collecting payments, and is not the seller or
       administrator of the vehicle service contract or product warranty. As a result, Mepco is unable to
       directly respond to the speciﬁc issues in the customer’s complaint. Since Mepco only services the
       payment plan (collection of payments), The Purchaser would need to contact their oﬃces directly
       for any information regarding discrepancies with product representation, service reimbursement,
       cancellations, reinstatements, refunds, or any vehicle service contract and/or product warranty
       related issues. The contact information for these businesses is as follows: AUTOMOTIVE
       SERVICES CENTER :************ -EFG COMPANIES-************




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                KIMBERLY D
                                (1 star)
                                                                                              03/06/2019

       Stay away from this company, I purchased Gold Star level coverage. A little over a year later my
       **** need service for normal wear and tear on the vehicle, the coverage was denied because they
       said my contract speciﬁcally stated it does not cover wear and tear?!?!? I asked the gentleman on
       the phone why he thought I would have purchased the extended warranty if not to cover wear
       and tear, his response was it's in the contract and he would be more than happy to direct me to
       the page where that is stated. This brings me to another huge concern with this company, I had
       never received a contract book, only a 5 page welcome letter, with no information about
       coverage provided. I than logged onto the website thinking I could locate the contract there, and
       still nothing pertaining to my coverage on the website. Now I am out over $2,300 paid towards a
       warranty that is no good and still owe the dealership $2,000 to cover the cost to repair my
       automobile. Hard lesson learned, but I would never purchase a 3rd party warranty again, if you
       can not get one through the dealership, start your own savings account and rather than paying a
       shady company $193 a month, that will not honor your requests for coverage, pay yourself so you
       have money available when issues arise.




       Mepco Response                                                                        03/11/2019

       Thank you for contacting Mepco. We strive to provide exceptional customer service and
       appreciate the opportunity to address your concerns. In response to the speciﬁc allegations in
       the consumer’s complaint, please understand that Mepco services payment plans for providers of
       vehicle service contracts and product warranties. Mepco has no involvement in the development,
       marketing, sale, claims processing activities, or other administration of these vehicle service
       contracts or product warranties, and Mepco does not engage in any form of telemarketing. The
       Purchaser was contacted not by Mepco, but by Gold star to be provided a vehicle service
       contract or product warranty. As well, Gold Star arranged with the you for making monthly
       payments and the terms of the contract. Mepco received the payment plan information and set
       up an account for billing and collection based on that information. Mepco is only the servicer of
       the payment plan related to the vehicle service contract or product warranty, sending bills and
       collecting payments, and is not the seller or administrator of the vehicle service contract or
       product warranty. As a result, Mepco is unable to directly respond to the speciﬁc issues in the
       customer’s complaint.




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                  Glen B.
                                      (1 star)
                                                                                                                   01/20/2019

       MEPCO provides billing services for vehicle service contracts sold by **** ***** ***. MATRIX
       PAYMENT SOLUTIONS, is responsible for the marketing, sale, design, administration of claims or
       payment of claims a payment under various vehicle service contracts. The sellers of these service
       contracts provide vague and misleading information to inﬂuence the sale of these service
       contracts. Commitments were made to me that were not delivered in the contract. As such, I have
       notiﬁed MEPCO stop collecting payments and notifying **** **** *** of cancellation. These
       companies have numerous complaints with the BBB and negative reviews on the internet. I have
       no direct knowledge of their complaints, but I suspect they are valid based on the sales tactics
       used during my conversations with **** ***** ***. I was not informed that MEPCO would be
       processing the payments and my agreement was based on a $0,00 deductible. They were told
       to not issue any contract unless my issues were satisﬁed...............BUYER BEWARE Note that my
       one star on this review is more directed to **** ***** ***.. If my issue with MEPCO is handled
       professionally, I will leave an updated and positive review. --------------------------------------------------------
       ---------------------------------------------------------------------------- My transmittal to MEPCO follows; Feel free
       to use it if you want. January 20, 2019, To: MEPCO Customer Service and Accounts Receivable,
       Please be advised that this contract has not been authorized by me. **** ***** ***, the issuer of this
       contract, has not met the obligations discussed in our phone conversation and **** ***** *** HAS
       FALSELY REPRESENTED the product offering. Note that I HAVE INSTRUCTED THE CREDIT
       CARD COMPANY NOT TO HONOR ANY PAYMENT REQUEST FROM MEPCO; and that MEPCO
       DOES NOT HAVE AUTHORIZATION TO SUBMIT ELECTRONIC PAYMENT REQUEST FROM MY
       ACCOUNT. MEPCO IS INSTRUCTED TO REMOVE ALL ACCOUNT INFORMATION AND CREDIT
       CARD INFORMATION FROM ANY AND ALL MEPCO SYSTEMS AND FILES. ALL INFORMATION
       DELIVERED TO MEPCO FROM **** **** *** IS TO BE DESTROYED AND THE SHARING OF SAID
       DATA IN ANY FORM IS STRICTLY PROHIBITED. Please reply to with the actions taken by MEPCO
       to resolve this matter. I am notifying **** ***** ***, of this notice to MEPCO, at ***** ******** I will be
       contacting the Florida ******** ********** Agency, and the Better Business Bureau to report this
       matter as well. Note: a copy of this transmittal will be delivered to **** **** ***, and if required, the
       Credit Card Company, and The Florida ******** ********** Agency. Thank you in advance for taking
       care of this matter,




       Mepco Response                                                                                          02/07/2019

       Thank you for contacting Mepco. We strive to provide exceptional customer service and
       appreciate the opportunity to address your concerns. In response to the speciﬁc allegations in
       the consumer’s complaint, please understand that Mepco services payment plans for providers of
       vehicle service contracts and product warranties. Mepco has no involvement in the development,
       marketing, sale, claims processing activities, or other administration of these vehicle service
       contracts or product warranties, and Mepco does not engage in any form of telemarketing. The
       Purchaser was contacted not by Mepco, but by **** **** *** be provided a vehicle service contract
       or product warranty. As well, **** **** *** arranged with the purchaser for making monthly
       payments and the terms of the contract. Mepco received the payment plan information from ****
       **** *** and set up an account for billing and collection based on that information. Mepco is only
       the servicer of the payment plan related to the vehicle service contract or product warranty,
       sending bills and collecting payments, and is not the seller or administrator of the vehicle service
       contract or product warranty. As a result, Mepco is unable to directly respond to the speciﬁc
       issues in the customer’s complaint.




       Customer Response                                                                                        03/12/2019

       I am pleased to report that both MEPCO and the company selling the Vehicle Service Agreement
       cancelled the agreement and all advance payments have been resolved. Note that I cancelled
       within 30 days which dictated that all advance monies paid would be refunded. I have no issue
       with MEPCO regarding the handling of this matter. They acted professionally and everything they
       said would happen did happen as they indicated.




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                Hannah
                                 (1 star)
                                                                                                  01/16/2019

       I was told I had coverage for my car with a $100 deductible. I now need $1000 worth of work and
       apparently my plan doesn't cover the speciﬁc work I need done. I spoke to a representative and
       he was not only unapologetic but didn't even make an effort to help in any way. As was
       mentioned by other reviewers, this company takes no responsibility and makes no effort to assist
       the customer in any way. NO NOT USE THIS COMPANY!




       Mepco Response                                                                         02/07/2019

       In response to the speciﬁc allegations in the consumer’s complaint, please understand that
       Mepco services payment plans for providers of vehicle service contracts and product warranties.
       Mepco has no involvement in the development, marketing, sale, claims processing activities, or
       other administration of these vehicle service contracts or product warranties, and Mepco does
       not engage in any form of telemarketing. The Purchaser was contacted not by Mepco, but by
       NATIONAL AUTO PROTECTION CORP be provided a vehicle service contract or product
       warranty. As well, NATIONAL AUTO PROTECTION CORP arranged with the purchaser for making
       monthly payments and the terms of the contract. Mepco received the payment plan information
       from NATIONAL AUTO PROTECTION CORP and set up an account for billing and collection
       based on that information. Mepco is only the servicer of the payment plan related to the vehicle
       service contract or product warranty, sending bills and collecting payments, and is not the seller
       or administrator of the vehicle service contract or product warranty. As a result, Mepco is unable
       to directly respond to the speciﬁc issues in the customer’s complaint.



                YL
                                 (1 star)
                                                                                                 12/26/2018

       A month ago I recd a phone call to try to sell the extended warranty on my vehicle, and the
       gentleman did tell me I would have 30 days of cancellation. After a few weeks, I decided not to
       keep the policy. I called the company and tried to cancel it, but the customer service wouldn't let
       me do so unless I fax over the current warranty coverage I had. I wouldn't feel comfortable faxing
       something I didn't think it was needed so I refused. Then the guy's attitude just changed and
       went ugly with me, impatient, and kept saying this is company policy, and said the guy I spoke
       with a month ago only tried to set me up to sell me the policy. And he even laughed and said he
       didn't have time for me. The whole experience was just a totally nightmare. So I had to hang out
       to contact my credit card company to dispute the transaction. This is totally a SCAM.




       Mepco Response                                                                         02/07/2019

       In response to the speciﬁc allegations in the consumer’s complaint, please understand that
       Mepco services payment plans for providers of vehicle service contracts and product warranties.
       Mepco has no involvement in the development, marketing, sale, claims processing activities, or
       other administration of these vehicle service contracts or product warranties, and Mepco does
       not engage in any form of telemarketing. The Purchaser was contacted not by Mepco, but by
       DRIVE SMART be provided a vehicle service contract or product warranty. As well, DRIVE SMART
       arranged with the purchaser for making monthly payments and the terms of the contract. Mepco
       received the payment plan information from DRIVE SMART and set up an account for billing and
       collection based on that information. Mepco is only the servicer of the payment plan related to
       the vehicle service contract or product warranty, sending bills and collecting payments, and is not
       the seller or administrator of the vehicle service contract or product warranty. As a result, Mepco
       is unable to directly respond to the speciﬁc issues in the customer’s complaint.




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                Amanda P
                               (1 star)
                                                                                               12/05/2018
                I have received hundreds of calls from this “company” over the last year. I’ve asked them
                every time to quit calling me and I’m also on the federal no call list. I’ve blocked every
                number they’ve called me from but they always call from a new phone number. I’ve
                received over 10 calls in one day. Each time I’ve spoken to someone from this company,
                I’ve been verbally harassed and bullied into buying their extended warranty. I’ve asked to
                speak with managers and am either hung up on or in one instance been told “I’m the CEO
                of this company, you can’t get higher than me.” This is a form of harassment and I’ve ﬁled
                complaints with every agency possible. Luckily, I’m smart enough to not sign up for this
                scam. But I struggle with the idea that this company is preying on others. DO NOT DO
                BUSINESS WITH THIS COMPANY! What they are doing is illegal!




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                                                                                                                                                Share         Print


  Business Proﬁle                                                                                                    3100 McKinnon St STE 420

  Matrix Warranty Solutions, Inc                                                                                     Dallas, TX 75201-1044
                                                                                                                     http://www.MatrixWarrantySolutions.com

                                                                                                                     Email this Business

                                                                                                                     (214) 396-3496




      Contact Information                                        Customer Reviews                                  BBB Rating & Accreditation
         3100 McKinnon St STE 420                                                                   1.15/5
         Dallas, TX 75201-1044
         Get Directions                                          Average of 62 Customer Reviews                                             A+
         http://www.MatrixWarrantySolutions.com                       Read Reviews              Start a Review
          Email this BBB
                                                                                                                   Accredited Since: 4/2/2018
         (214) 396-3496                                                                                            Years in Business: 15

                                                                 Customer Complaints
              Want a quote from this                                                                               Customer Reviews are not used in the
                                                                 91 complaints closed in last 3 years
                                                                                                                   calculation of BBB Rating
                    business?                                    30 complaints closed in last 12 months

                      Get a Quote                                    Read Complaints            File a Complaint   Overview of BBB Rating




     Business Details
     Location of This Business
     3100 McKinnon St STE 420, Dallas, TX 75201-1044
         Email this Business
     BBB File Opened:            3/13/2018
     Years in Business:          15
     Business Started:           2/9/2006
     Business Started Locally:   6/16/2010
     Business Incorporated:      2/9/2006 in NV, USA
     Accredited Since:           4/2/2018
     Type of Entity:             Corporation
     Alternate Business Name
     Element Protection Plans


     Business Management

     Mr. Brandon San Antonio, Owner/Director
     Mr. Joel San Antonio, CEO/Director

     Additional Contact Information
     Phone Numbers

https://www.bbb.org/us/tx/dallas/profile/auto-warranty-plans/matrix-warranty-solutions-inc-0875-90910161#                                           Page 1 of 3
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     Phone Numbers

     (833) 228-1900      Other Phone

     Email Addresses

          Email this Business      Primary




     Customer Complaints
     91 Customer Complaints




     Customer Reviews
     62 Customer Reviews




     Business Categories
      Auto Warranty Plans         Warranty Plans




     Local BBB
     BBB Serving North Central Texas



                                                                                         More Info on Local BBB



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  When considering complaint information, please take into account the company's size and volume of transactions, and understand that the nature of complaints and a ﬁrm's responses to them are often
  more important than the number of complaints.
  BBB Business Proﬁles generally cover a three-year reporting period. BBB Business Proﬁles are subject to change at any time. If you choose to do business with this business, please let the business
  know that you contacted BBB for a BBB Business Proﬁle.
  As a matter of policy, BBB does not endorse any product, service or business.




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  When considering complaint information, please take into account the company's size and volume of transactions, and understand that the nature of complaints and a ﬁrm's responses to them are often
  more important than the number of complaints.


https://www.bbb.org/us/tx/dallas/profile/auto-warranty-plans/matrix-warranty-solutions-inc-0875-90910161#                                                                                 Page 2 of 3
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  BBB Business Proﬁles generally cover a three-year reporting period. BBB Business Proﬁles are subject to change at any time. If you choose to do business with this business, please let the business
  know that you contacted BBB for a BBB Business Proﬁle.
  As a matter of policy, BBB does not endorse any product, service or business.




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                  EXHIBIT 6
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                                                                                    I            THIS IS NOT A BILL
 .,�,ATRIX
                  PAYMENT SOLUTIONS                                                 CONFIRMATION OF
                               Poweredby �
                                                            MEPCC
                                                                                    PREAUTHORIZED ACH/CC
                                                  W                                 BILLING ACCOUNT NUMBER                 30201065177026
Providing Billing Services for Your Automotive Protection Plan
                                                                                    ACCOUNT AND CONTRACT INFORMATION
205 NORTH MICHIGAN AVE, SUITE 2200 CHICAGO, IL 60601

            7805 1 MB 0.439                  31          Return Service Requested
007805
                                                                                    Contact Mepco at:                      (800)397-6767
            Yakub Mulayev
                                                                                    Billing Account Number:              30201065177026
                                                                                    Access your account online at:     WWW.MEPCO.COM
                                                                                    User Name:                             30201065177026
 llhll11•11l 11111111111l1111 11111•1••1111ll1llll111111l l1111•1 '11
                                                                                    �tsrti@J_ffl_�lffifflfRi-WJital!ffilffiVlif:1eA
                                                                                    VAC                                       (888)215-2820
                                                                                    Contract Number:                            LTUSF80850

-Matrix PaymentSolutions is responsible for the                                     �F:R@J;:rti.WA�.BW�Ji."@tf@jmr&)l}i1 ,��U®it.Wt!'�&.i·'Rj�J
 marketing, sale, design, administration of claims, or                              MATRIX PAYMENT SOLUTIONS                  (833)228-1900
 payment of claims under this vehicle service contract.                             Contract Number:                           LTUSF80850



Dear Valued Customer,

IMPORTANT NOTICE:
This letter is to confirm that you have arranged to make recurring payments to Mepco under your vehicle service
contract. Pursuant to your Authorization Agreement for Recurring Direct Payments, Mepco will charge/debit your
designated credit card or debit card/bank account in the amount of the monthly payments and fees you owe under your
vehicle service contact and on or after the date indicated in your debit authorization, in each case subject to additional
terms and conditions of your Authorization Agreement for Recurring Direct Payments.

Payment Method Used: Credit Card
Truncated Account Number:

WHAT THI S MEANS:
Each month your payment will be processed automatically by Mepco using the above account information.

HOW TO UPDATE AUTOMATIC RECURRING PAYMENTS:
Your recurring debit authorization will remain in effect until revoked by you in accordance with the terms below:

You may update your automatic recurring payment at any time by submitting an email to request to update
recurring payments on our website at www.mepco.com, by mailing a written statement expressly revoking this
authorization to Mepco, 205 North Michigan Ave - Suite 2200 / Chicago, Illinois 60601, or by calling Mepco's
Customer Service department at (800) 397-6767.

*** Please note, Mepco will require a reasonable time, but in no event less than 10 calendar days following the receipt of
this authorization or any change to or revocation of this authorization, to act on the authorization, change or revocation.

If you have not requested this change to automatic recurring payments, please contact our
office immediately.

If you have any questions regarding this notice please contact our Customer Service department at (800) 397-6767
Monday through Friday from 8:00 am to 5:00 pm CST.

Sincerely,

Mepco
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                  EXHIBIT 7
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                  EXHIBIT 8
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     From customerservice@vehicleactivationcenter.org
     Date February 2, 2021 at 12 39 51 PST
     To dskazovski@yahoo.com
     Subject Vehicle Service Contract Receipt - Reference DLR016148



                                                                                                Contract Summary
     Dear DIANA/GENE SKAZOVSKI,                                                                 Vehicle
                                                                                                Make:                2018 MERCEDES-BENZ
     We would like to welcome you and your 2018 MERCEDES-BENZ GLE to the                        Model:                               GLE
     VEHICLE ACTIVATIONS CENTER family.                                                         Odometer:                          38,000
                                                                                                VIN:                   4JGDA6DB6JB049637
     We look forward to protecting you against the high cost of auto repairs through            Coverage Plan
     02/07/2026 or 139,000 miles on your odometer, whichever comes first.                       Plan:                 ELEMENTP+ PT PLUS
                                                                                                Term/Miles:                   60/100,000
     Your complete policy will be mailed out to you in the next 7-10 business days to the
                                                                                                Deductible:                         $100
     following address:
                                                                                                Plan Cost
     239 JANE ST.                                                                               Monthly Payment:                  $273.02
                                                                                                Payments:                               18
                                                                                                Down Payment:                     $258.65
     Please make sure all the information is correct on this confirmation email. Please         Total of Payments:               $5,173.00
     contact us right away in the event that we have made a mistake so we can correct it
     immediately.

     Also, a receipt is attached for your transaction today. Please keep for your records. In
     the event you do not receive your policy or, if you have any questions, please feel
     free to contact Customer Service at 888.215.2820 .

     Thank You,

     2091 BUSINESS CENTER DR STE 200
     IRVINE, CA 92612
     888.215.2820
     vehicleactivationcenter.org
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                  EXHIBIT 9
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                                                                            Billing and Payment Processing is provided by:
                                                                            SING For Service, LLC d/b/a MEPCO
   PAYMENT PLAN AGREEMENT                                                   10 S Lasalle St, Suite 2310
                                                                            Chicago, IL 60603
                                                                            Fax: 312-853-0535 Telephone: 800-397-6767


   Purchaser:                                                        Seller:                    CODE:

   NAME:      DIANA/GENE SKAZOVSKI                                   LEGAL NAME:         VEH CLE ACT VAT ONS CENTER

                                                                     DBA:
                                                                                      2091 BUS NESS CENTER DR STE 200
   ADDRESS:                                                          ADDRESS:

                                                                     CITY: IRVINE                 ST:   CA    ZIP:   92612
   CITY:                       ST:          ZIP:   07740             PHONE: (888) 215-2820 FAX:

   PHONE:                    -0733 FAX:                              E-MAIL:
                                                                                CUS OMERSERVICE@VEHICLEAC IVA IONCEN ER ORG



   E-MAIL:        DSKAZOVSKI@YAHOO.COM                               SALESPERSON: VEH CLE ACT VAT ONS CENTER


           Payment Plan Terms                       This Payment Plan Agreement (“Agreement”) is between Purchaser and
   All dollar amounts are in U.S. dollars.
                                                    SING For Service, LLC d/b/a Mepco (“MEPCO”), a Seabury Asset
                                                    Management Company. Purchaser has purchased a service contract
   Total Sales Price                                (“Contract”) from Seller that is issued by
           5,173 . 00                                          MATRIX                                       (“Administrator”).
   $                                                This Agreement is entered into to enable Purchaser to pay for the Contract
                                                    pursuant to an installment payment program.
   Down Payment
   (Minimum 5% of Total Sales Price)                Contract:                ELEMENTP+ PT PLUS
              258 . 65                              Contract Number:         TRTPP80506
   $
                                                    Administrator:           MATRIX
   Balance of Sales Price
           4,914 . 35                                    Vehicle          Contract and Payment
   $
                                                       Information        Plan Effective Date:          1/8/2021
   Number of Payments                               Make: MERCEDES-BENZ Year:         2018 Model: GLE
   (unless approved otherwised –
   cannot be more than 24 or less than 2)           Odometer:   38,000         VIN:   4JGDA6DB6JB049637
    18                                              Coverage Term:                     Coverage Mileage:
                                                    (in months)        60              (in miles)     100,000
   Amount of Each Payment
   (Balance of Sales Price divided by
   Number of Payments)                              Refer to the Contract for the terms and conditions regarding the Contract.
              273 . 02                              In consideration of Purchaser being afforded the opportunity to pay for the
   $
                                                    Contract under the installment payment program, the Purchaser and
                                                    MEPCO acknowledge and agree as follows:
   Payment Date (each month)
   (First due date no more than 30                  Purchaser has paid to Seller for its account in cash the down payment
   days from sale date)                             disclosed under “Payment Plan Terms” towards the Total Sales Price of the
                                                    Contract. The Balance of Sales Price shall be paid by Purchaser to
       2      /    19       / 2021                  MEPCO. Subject to the Cancellation provisions on Page 2 hereof,
                                                    Purchaser promises to pay MEPCO, the Balance of Sales Price in
   Final Payment Date                               accordance with the payment method selected by Purchaser from the
   (Date of last payment)                           options set forth below.
       7      /    19       / 2022
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    Payment Plan Agreement, Page 2      1 Filed 11/16/21 Page 188 of 215 Pag
   X Payment Option 1: Authorization for Credit Card Payment

   The Balance of Sales Price may be paid by Purchaser through, and Purchaser hereby authorizes MEPCO to
   make, the applicable number of consecutive monthly charges to Purchaser’s credit card account listed below, in
   the amounts and on the dates disclosed under the Payment Plan Terms, until such time as the Balance of Sales
   Price, together with the applicable charges described on page 2 hereof (the “Applicable Charges”), are fully paid,
   or until such time as MEPCO has received written notification of termination (“Credit Card Payment Termination
   Notice”) from Purchaser in time to allow reasonable opportunity to act on it.
            -          -          -                                     /
          Credit Card Number                              Expiration Date (MM/YY)                   Type of Card (MC, Visa, Amex, Discover)
   I authorize charges to my credit card account for payment of the Balance of Sales Price together with all Applicable
   Charges in accordance with this Agreement.

         Payment Option 2: Authorization for Bank Account Direct Debit
   The Balance of Sales Price may be paid by Purchaser through, and Purchaser hereby authorizes MEPCO to
   instruct Purchaser’s financial institution described below to make, the applicable number of consecutive monthly
   payments in the amounts and on the dates disclosed under Payment Plan Terms, from the account listed below,
   by electronic automatic debit of Purchaser’s checking or savings account. This authority will remain in effect until
   such time as the Balance of Sales Price, together with all applicable Charges, are fully paid, or until such time as
   MEPCO has received written notification of termination (“Bank Account Direct Debit Termination Notice”) from
   Purchaser in time to allow reasonable opportunity to act on it.

          Name of Financial Institution                   Routing Number (Must be 9 digits long)                    Account Number
            Checking                  Savings
   I authorize charges to my bank account for the payment of the Balance of Sales Price together with all Applicable
   Charges in accordance with this Agreement.

         Payment Option 3: Monthly Bill
   The Balance of Sales Price may be paid directly by Purchaser in accordance with the Payment Plan Terms listed
   above. Purchaser shall receive a monthly bill and shall make payment on or before the Payment Date of each
   consecutive month until the Balance of Sales Price, together with all Applicable Charges, are fully paid, or until
   such time as MEPCO has received written notification of termination (“Monthly Bill Termination Notice”) from
   Purchaser. Purchaser shall send such payments to MEPCO at such address as MEPCO provides to Purchaser.

   PURCHASER SHALL HAVE THE RIGHT, AT ANY TIME, TO CANCEL THE CONTRACT BY NOTICE TO MEPCO (“Termination Notice”)
   OR BY NONPAYMENT. PURCHASER SHALL HAVE NO OBLIGATION TO MAKE ANY NSTALLMENT PAYMENTS AFTER
   CANCELLATION. Subject to the Cancellation provisions on Page 2 hereof, unless MEPCO shall previously have received a Bill
   Termination Notice, (i) a late payment fee may be imposed in the amount of the lesser of 5% of the late payment or $5.00 in respect of any
   payment not received by MEPCO within five days of the scheduled Payment Date therefor (the “Late Charge”), and (ii) in the ev ent that
   any scheduled payment is not made on or before the scheduled Payment Date, as provided in the Payment Plan Terms above, MEPCO is
   authorized by Purchaser (without notice thereof to Purchaser) to direct Administrator or Seller to cancel Purchaser’s Contrac t and this
   Agreement at any time for nonpayment. Purchaser hereby assigns to MEPCO all of Purchaser’s right, title and interest in and to the
   Contract, including Purchaser’s rights to cancel the Contract, receive all unearned and refund amounts under the Co ntract and Purchaser’s
   right to make a direct claim for indemnity against the Insurance Company. Purchaser represents to MEPCO that Purchaser’s dec ision to
   purchase the Contract from Seller under the payment program did not result in Seller charging Purchaser a different Total Sales Price for
   the Contract than Purchaser would have paid if Purchaser had decided instead to pay the purchase price of the Contract in ful l at the time
   this Agreement was executed. The content and format of this Agreement have been adopted to provide Purchaser with important
   information in a clear and familiar form, and their use does not imply that any particular federal or state law relating to l ending or installment
   sales is applicable to this Agreement or the transaction it contemplates. IF YOU FAIL TO MAKE ANY PAYMENT WHEN DUE, YOUR
   CONTRACT WILL BE CANCELLED.
   By signing below, I agree I have had the opportunity to review, accept, and correct any errors contained in this Agreement.

   X Purchaser understands that the personal information regarding Purchaser that is provided by Purchaser in connection with this
   Agreement will not be used or shared with any other party other than for the purpose of providing the services required by this Agreement
   and the Contract and as required or permitted by applicable law.

   PURCHASER                                                         DATE
   By: VEHICLE ACTIVATIONS CENTER                                     1/8/2021
   Its

   X     This
                               to cancel.
                                                                                        See Page 3 for additional terms and conditions.
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   PROMISE TO PAY: In consideration of the sale of the Contract to Purchaser, Purchaser promises to
   pay to MEPCO, on behalf of Mepco, the Balance of Sales Price and all Applicable Charges shown
   under Payment Plan Terms, subject to the provisions of this Agreement. Purchaser shall not have
   any right to reduce any amount owed to MEPCO pursuant to this Agreement for any reason
   whatsoever.
   CANCELLATION: Purchaser has the right to cancel this Agreement at any time. Purchaser may
   cancel this Agreement at any time by (i) electing not to make the next payment due pursuant to this
   Agreement or (ii) sending MEPCO a Termination Notice. In the event that (a) Purchaser elects not
   to make the next payment due pursuant to this Agreement, (b) MEPCO receives a Termination
   Notice or (c) an Event of Default occurs hereunder, MEPCO may cancel the Contract and this
   Agreement. After the effective date of Cancellation, Purchaser shall have no further obligation to
   make installment payments under this Agreement. IMPORTANT: Cancelling this Agreement does
   not immediately cancel your Contract; It only cancels your payment plan. Coverage under
   your Contract will eventually be cancelled (in accordance with the terms of this Agreement)
   based on your nonpayment. However, you should contact the Seller or Administrator in order
   to immediately cancel your Contract. Purchaser hereby assigns to MEPCO all of Purchaser’s
   right, title and interest in and to the Contract, including Purchaser’s rights to receive all unearned
   and return amounts and to assert any rights to reinstate the Contract and all proceeds thereof, and
   Purchaser’s right to make a direct claim for indemnity against the Insurance Company. In the event
   that Purchaser has made total payments to MEPCO in excess of the portion of the Total Sales Price
   plus Applicable Changes earned through the date of cancellation, Administrator or Seller shall
   refund the amount of such excess to Purchaser.
   POWER OF ATTORNEY: Following any default hereunder, and subject to the Cancellation
   provisions above, Purchaser hereby irrevocably appoints MEPCO as its true and lawful attorney-in-
   fact, only for the limited purposes related to this Agreement set forth in the following sentence until all
   amounts payable hereunder are paid in full. MEPCO shall have full power under this power of
   attorney to (i) cancel the Contract, (ii) receive, demand, collect or sue any party for any amounts
   relating to the Contract, (iii) endorse or execute in Purchaser’s name all checks issued and all other
   documents or instruments relating to the Contract, and (iv) take such other actions as are reasonably
   necessary to further the purposes of this Agreement.
   APPLICABLE CHARGES: If any payment due hereunder is more than five days late, and except as
   prohibited by applicable law, Purchaser agrees to pay MEPCO the Late Charge. Nothing herein
   shall be considered to waive any default hereunder or to grant any grace period with respect to any
   default for failure to make any payment on the Payment Date. Notwithstanding anything herein to
   the contrary, in the event that any scheduled payment is not made on or before the Payment Date,
   MEPCO may, in its sole discretion, direct Administrator or Seller to cancel the Contract and this
   Agreement at any time for nonpayment. Except as prohibited by applicable law, Purchaser agrees to
   pay to MEPCO a fee of $25 for each check or each debit that is dishonored by Purchaser’s bank.
   Purchaser consents to the payment of all of the Applicable Charges in accordance with the Payment
   Option selected.
   DEFAULT PAYMENT OPTION: If Purchaser fails to select a Payment Option, Purchaser shall be
   deemed to have selected a Monthly Bill.
   PREPAYMENT: Purchaser shall have the right to prepay the entire unpaid Balance of Sales Price at
   any time, without penalty or discount.
   DEFAULT: If (i) Purchaser fails to make any payment due hereunder or comply with any other
   provision hereof, (ii) Purchaser becomes the subject of any voluntary or involuntary bankruptcy
   proceedings, (iii) Purchaser has a receiver or trustee appointed for it or its property, or (iv)
   Purchaser makes an assignment for the benefit of its creditors or admits in writing that it is unable to
   pay its debts as they become due, an “Event of Default” shall be deemed to have occurred. Upon
   the occurrence of an Event of Default, MEPCO shall have the right to take such actions as are
   available to MEPCO hereunder at law or in equity. MEPCO shall be entitled to reimbursement for
   reasonable attorneys’ fees and costs in enforcing MEPCO’s rights hereunder.
   RELEASE: Purchaser hereby releases and discharges MEPCO from any liability for damages with
   respect to any action taken following an Event of Default by Purchaser and shall indemnify and hold
   MEPCO harmless from any liabilities, claims, damages or causes of action in connection with any
   such action by MEPCO.
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   PAYMENT AFTER CANCELLATION: Any payment made by Purchaser after the effective date of
   cancellation (or after a notice of cancellation is mailed to Purchaser) will not result in a
   reinstatement of the Contract but will be applied to Purchaser’s outstanding obligations, if any, under
   this Agreement. Neither the acceptance nor the application of any such payments shall constitute an
   undertaking by MEPCO to take steps to attempt to reinstate such Contract or constitute a waiver of
   any Event of Default hereunder.
   ACCEPTANCE, RATIFICATION, ACCURACY: This Agreement shall be considered accepted by
   Purchaser and MEPCO upon the payment of the down payment and is effective as of Effective Date
   of Contract. Purchaser agrees that MEPCO shall have the authority to revise this Agreement to insert
   any provision omitted (including but not limited to the due date of the first installment) upon written
   notice to Purchaser. In addition, if the total payments due hereunder are increased due to
   underwriting considerations, MEPCO shall have the right, upon receipt of Purchaser’s written
   authorization, to revise dollar amounts on the face of this Agreement. Any change by Purchaser (by
   way of deletion, modification, supplementation or otherwise), to any portion of this Agreement shall
   render the Agreement voidable, at MEPCO’s option.
   ASSIGNMENT: MEPCO may, with or without notice to Purchaser, assign or pledge its rights, title and
   interest in, to and under this Agreement and the power of attorney herein described. Upon written notice
   from any such assignee, Purchaser shall make all payments to such assignee without defense, offset or
   counterclaim.
   AGENTS OF SING For Service, LLC d/b/a MEPCO; AUTHORITY: Pursuant to one or more powers
   of attorney, MEPCO will, from time to time, appoint one or more third parties as its agent to take
   certain actions on its behalf in connection with this Agreement. The Purchaser is entitled to rely upon
   actions taken and statements made by such agents on behalf of, and in the name of, MEPCO to the
   same extent as if MEPCO had taken such actions or made such statements in its own name.
   LIMITED RESOURCE COVENANT: The Purchaser understands and agrees that: (i) Mepco’s
   obligations are solely the obligations of Mepco and of no other Person, payable at any time only to
   the extent funds are available to Mepco, (ii) to the extent funds at any time are not available to Mepco
   to pay such obligations, any claims relating thereto shall not constitute a claim against Mepco but
   shall continue to accrue; (iii) the payment of any claim (as defined in Section 101 of Title 11 of the
   Bankruptcy Code) is expressly subordinated to the payment in full of all of Mepco’s outstanding
   obligations to its lenders and the administrative agent; and (iv) prior to the date that is one year and
   one day after the payment in full of all of Mepco’s outstanding obligations, the Purchaser will not
   institute against, or join with any other Person in instituting against, Mepco any bankruptcy,
   reorganization, insolvency or liquidation proceedings or similar proceeding under the laws of the
   United States or any state of the United States.
   WAIVERS, REMEDIES, ENTIRE AGREEMENT: MEPCO’s failure to require strict performance of any
   provision hereof or to exercise any of its rights hereunder, shall not be construed as a waiver or
   relinquishment of any future rights under such provision, but the provision shall continue and remain in full
   force and effect. The exercise of any rights or remedies by MEPCO under this Agreement is cumulative
   and shall not preclude MEPCO from exercising any other right or remedy it may have hereunder or at law.
   Each provision hereof shall be interpreted in such manner as to be effective and valid under applicable
   law. If any provision hereof is held to be unenforceable or invalid under applicable law, the
   unenforceability or invalidity of such provision shall not impair the validity or enforceability of the remaining
   provisions hereof. Time is of the essence in this Agreement.
   MANDATORY ARBITRATION: MEPCO and Purchaser mutually agree that (i) any one of them has
   the right to elect to resolve by binding arbitration:
   any claim, dispute or controversy (whether in contract, tort or otherwise, whether pre-existing, present
   or future, and including statutory, common law, intentional tort, and equitable claims) arising from or
   relating to this Agreement or the Contract; (ii) if arbitration is chosen, it will be conducted with the
   American Arbitration Association (the “AAA”) pursuant the AAA’s Commercial Arbitration Rules: (iii)
   THERE SHALL BE NO AUTHORITY FOR ANY CLAIMS TO BE ARBITRATED ON A CLASS
   ACTION BASIS; (iv) AN ARBITRATION CAN ONLY DECIDE MEPCO’S OR PURCHASER’S
   CLAIM(S) AND MAY NOT CONSOLIDATE OR JOIN THE CLAIMS OF OTHER PERSONS WHO
   MAY HAVE SIMILAR CLAIMS; (v) ANY SUCH ARBITRATION HEARING WILL TAKE PLACE IN
   THE BOROUGH OF MANHATTAN, CITY OF NEW YORK, NEW YORK; (vi) Purchaser hereby
   waives any objection which it may now or hereafter have based on venue and/or forum non
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   conveniens of any such arbitration; and (vii) this Agreement is made pursuant to a transaction
   involving interstate commerce, and shall be governed by the Federal Arbitration Act.
   GOVERNING LAW AND VENUE: This Agreement shall be governed by and construed in
   accordance with the laws of the State of New York without regard to applicable conflict of law
   principles. Purchaser hereby unconditionally and irrevocably waives any claim to assert that the law
   of any other jurisdiction governs this Agreement or the Contract. Any legal suit, action or proceeding
   against MEPCO arising out of or relating to the Agreement or the Contract may only be instituted in
   Federal or State Court in the State of New York, Borough of Manhattan, City of New York, New York.
   Purchaser hereby waives any objection which it may now or hereafter have based on venue and/or
   forum non conveniens of any such suit, action or proceeding and Purchaser hereby irrevocably
   submits to the jurisdiction of any such court in any such suit.
   WAIVER OF CLASS ACTION: PURCHASER HEREBY WAIVES ANY RIGHT TO BRING ANY
   LEGAL ACTION OR PROCEEDING WITH RESPECT TO THIS AGREEMENT, THE CONTRACT
   OR ANY MATTER ARISING IN CONNECTION THEREWITH ON A CLASS ACTION BASIS.
   WAIVER OF JURY DEMAND: PURCHASER HEREBY AGREES NOT TO ELECT A TRIAL BY
   JURY OF ANY ISSUE TRIABLE OF RIGHT BY JURY WITH REGARD TO THIS AGREEMENT,
   THE CONTRACT OR ANY OTHER ACTION ARISING IN CONNECTION HEREWITH OR
   THEREWITH. MEPCO IS HEREBY AUTHORIZED TO FILE A COPY OF THIS PARAGRAPH IN
   THE EVENT OF ANY SUCH PROCEEDING.
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      A. MAINTENANCE AND RECORDS 1 Filed 11/16/21 Page 192 of 215 Pag
             To obtain the benefits provided by this Service Contract, You are required to provide maintenance to
             Covered Components at a Licensed Repair Facil ty in accordance with what is recommended by the
             manufacturer of Your Vehicle. Proper documentation and verifiable receipts, from the original purchase
             date of your vehicle, for all maintenance and repairs may be required in the event of a claim. Receipts
             must reflect proper Vehicle documentation (i.e. year, make, and model), complete Vehicle Identification
             Number, and the current mileage of the Vehicle. Handwritten receipts will not be accepted. Failure to
             provide proof of required maintenance may result in denial of coverage. The minimum requirement on
             oil and filter changes is every six (6) months or 5,000 miles, whichever comes first if the manufacturer has
             an indicator-based schedule, and You must follow the maintenance schedules in accordance with Your
             Vehicle’s manufacturer recommendations. In addition, YOU must maintain all other covered
             components (transmission flushes, lubrication, software updates and reprogramming, timing belt/chain,
             filters, etc.) Severe maintenance schedule may need to be followed if conditions apply as outlined in the
             VEHICLE owner’s manual.

      B.     WHAT IS COVERED
             Only those items listed under the “Powertrain Plus” and “Tire Coverage” heading in this section are
             covered, subject to the terms and conditions of this Contract, and in accordance with the coverage,
             options, and surcharges indicated on the first page of this Contract.

             Powertrain Plus Coverage
             Covered Components are categorized by related vehicle systems. If a Covered Component Fails
             during the term of this Contract, the Administrator will pay for the repair or replacement of the
             Covered Component, subject to the terms and conditions herein.
             ENGINE COMPONENTS: Cylinder Block and Cylinder Heads (only if damaged by internally lubricated
             parts); all internal Lubricated Parts of the Engine; Harmonic Balancer; Timing Gear; Timing Chain;
             Timing Belt and Water Pump. All internally lubricated parts of the Original Equipment Manufacturer
             (OEM) parts of the turbo/twin turbo/supercharger. The turbo/twin turbo/supercharger case is not
             covered.
             TRANSMISSION COMPONENTS: Transmission Case (only if damaged by internally lubricated parts)
             and all internal Lubricated Parts of the Transmission; Torque Converter; Flywheel/Flex Plate and
             Vacuum Modulator.
             TRANSFER CASE COMPONENTS: Transfer Case (only if damaged by internally lubricated parts) and
             all internal Lubricated Parts of the Transfer Case.
             DRIVE AXLE COMPONENTS: Drive Axle Housing (only if damaged by internally lubricated parts) and
             all internal Lubricated Parts of the Drive Axle; Drive Shafts; Universal Joints; Constant Velocity Joints;
             Locking Hubs.
             AC/HEATING COMPONENTS (OEM or DEALER INSTALLED ONLY): Condenser; Compressor;
             Compressor Clutch; Evaporator.
             ELECTRICAL COMPONENTS: Alternator/Generator, A/C Blower Motor, Starter Motor; Starter
             Solenoid; Starter Drive.
             SEALS AND GASKETS: If you selected and paid the Seals and Gaskets surcharge as indicated on the
             first page of this Contract and Your Vehicle has less than 125,000 miles at the time this Contract is
             sold, leaking seals and gaskets on any Covered Components listed above will be covered, subject to
             the terms and conditions herein. Minor loss of fluid or seepage is considered normal and is not
             considered a Mechanical Breakdown.
             HYBRID COMPONENTS: Hybrid Transaxle, Electronic Transmission, Inverter, Generator(s), and

              AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                    BEFORE STARTING ANY TEARDOWN OR REPAIRS.
           PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
   PP-1219
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         Electronic Display Monitor.

             Tire Coverage
             Coverage afforded under this Service Contract applies ONLY to the D.O.T. approved and
             manufacturer-specified tires on Your Vehicle at the time of delivery. In the event of a Covered Tire
             Repair, any D.O.T. approved or manufacturer-specified replacement will also be covered for the
             remainder of Your term. In the event of a Covered Tire Repair, the following stipulations apply:
             1.    Tire Repairs: The Administrator will reimburse You up to $20 (per tire per single visit) of the Cost
                   to repair Your tire.
             2.    Tire Replacement: The Administrator will reimburse You up to one hundred dollars ($100.00)
                   toward the Cost for each tire replacement per single visit, up to a maximum aggregate per
                   Contract term of four hundred dollars ($400.00). You must have more than 3/32” tread depth
                   remaining to be eligible for reimbursement.

      C.     LIMITS OF LIABILITY
             Our limit of liability for tire replacements will not exceed an aggregate amount of $400.00 for the term of
             this Contract. For all other repairs or replacements, Our liability per repair visit, under any
             circumstances, will not exceed the NADA “clean trade-in” value of the Vehicle immediately prior to
             Breakdown. The total of all benefits paid or payable under this Contract will not exceed the price paid
             for the Vehicle (excluding tax, title and license fees) by the original purchaser of this Service Contract.
             A copy of the Vehicle Bill of Sale may be requested for verification. Our liability for incidental and
             consequential damages including, but not limited to personal injury, physical damage, property damage,
             loss of Vehicle use, loss of time, inconvenience and commercial loss resulting from the operation,
             repair, maintenance, or use of this Vehicle is expressly excluded.

      D.     WHAT IS NOT COVERED
             In accordance with the coverage indicated on the front page of this Service Contract, any part
             not specifically listed under the “WHAT IS COVERED” section is not covered. In addition, this
             Service Contract does not cover the items under the “Powertrain Plus” and “Tire” headings
             listed in this section
             Powertrain Plus
             1.    Any repair that has not received prior authorization from the Administrator. This exclusion
                   does not apply to Emergency Repairs.
             2.    The repair or replacement of any motor vehicle component that was not properly operating
                   in accordance with manufacturer’s specifications at the time this Service Contract was sold
                   (i.e. pre-existing conditions).
             3.    Any Vehicle w th a branded title (e.g. salvage, junk, rebuilt, total loss, flood, fire, or gray
                   market) or has been deemed a total loss by an insurance entity.
             4.    Any Vehicle that has been repurchased by or had ts price renegotiated with the
                   manufacturer. Any Vehicle that has had the manufacturer’s warranty revoked, voided, or
                   cancelled; or any Vehicle that never came with a manufacturer’s warranty.
             5.    The repair, modification, or replacement of any component that has not Failed, as defined by
                   this Contract.
             6.    The repair, retrofit, or replacement of any component required for compliance by any local,
                   state, or federal law or legislation.
             7.    The gradual reduction in component performance through normal or excessive usage. The
                   repair or replacement of engine valves, valve guides, valve seals, and/or piston rings is not
                   covered if the purpose of such repair(s) is simply to raise the compression of the engine,
                   increase performance, or to reach acceptable oil consumption/burning.
             8.   If any alterations have been made to Your Vehicle or You are using or have used Your
              AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                    BEFORE STARTING ANY TEARDOWN OR REPAIRS.
           PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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           Vehicle in a manner           1 Filed
                               not recommended by the11/16/21        Page but
                                                      manufacturer, including 194
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                                                                                   limited
                    the failure of any custom or add-on part, all frame or suspension modifications,
                    lift/lowering kits, the use of oversized tires or any tire that is not recommended by the
                    original manufacturer or it creates an odometer/speedometer variance of greater than 4%,
                    trailer h tches. Also not covered are any emissions and/or exhaust systems modifications,
                    engine modifications, transmission modifications, and/or drive axle modifications, which
                    includes any performance modifications.
              9.    Any Mechanical Breakdown covered by an insurance entity or any component w th a
                    warranty or “repairer’s guarantee” through a repair facility or when the responsibility for
                    the repair is covered by an insurance policy, manufacturer and/or dealer customer
                    assistance program, or any warranty from the manufacturer, such as extended drive train,
                    major component or full coverage warranties, or a repairer’s guarantee/warranty
                    (regardless of manufacturer’s or repairer’s ability to pay for such repairs). Further,
                    Coverage under this Contract is similarly limited in the event of a Breakdown if the
                    manufacturer has announced its responsibility through any means, including public recalls
                    and factory service bulletins. Add tionally, if an insurance ent ty, the manufacturer, or
                    Licensed Repair Facility notifies You that they will monetarily participate in a repair that has
                    been authorized and paid by Us, then We will exercise Our right to recover the respective
                    amount.
              10.    Any Vehicle with an odometer that has been tampered with, altered, disconnected, or not
                     maintained in working order. You may be required to provide an odometer statement at the
                     time of sale of this Service Contract.
              11.    Any Mechanical Breakdown or Failure caused by (a) normal or excessive wear and tear; (b)
                     Your failure to provide the proper maintenance to the failed part or parts; (c) overheating,
                     regardless of the cause of overheating; (d) incorrect, contaminated, or inadequate amounts of
                     coolant, lubricants, or fluids; (e) accidental loss or damage, impact, collision or upset, falling
                     missiles or objects, rust, corrosion, fire, theft, larceny, explosion, lightning, earthquake, wind
                     storm, hail, water, flood, freezing, malicious mischief, vandalism, riot, or civil commotion; or (f)
                     DRIVER NEGLIGENCE OR MISUSE, INCLUDING THE OPERATION OF AN IMPAIRED VEHICLE.
              12.    Cosmetic damage or cosmetic related repairs (e.g. scratches, nicks, dents, or tears).
              13.    Body components or repairs related to the body of the Vehicle (e.g. bumpers, lenses,
                     glass, paint, convertible or vinyl tops, sheet metal, outside ornamentation, frame or
                     structural body parts, air or water leaks, wind noise, weather strips, squeaks or rattles, trim,
                     upholstery, carpet, or mats).
              14.    Navigational systems, unless You selected and paid for the Luxury Electronics Package
                     option at the time this Service Contract was sold, in which case only the factory-installed
                     navigational system on Your Vehicle will be covered.
              15.    The following, unless required in conjunction w th a Covered Repair: upgrades, adjustments,
                     alignments, oil, fluids, greases, lubricants, or refrigerant.
              16.    Maintenance services and parts described in the manufacturer’s maintenance schedule for
                     Your Vehicle. NOTE: During the term of this Service Contract, it may become necessary to
                     (a) replace spark/glow plugs and wires, emission control valves, timing belts, drive belts,
                     distributor caps and rotors, and filters; (b) adjust belts, ignition, transmission bands, or
                     clutch system; (c) clean fuel and cooling systems, or remove sludge or carbon deposits;
                     and (d) maintain or replace items not specifically covered under this Service Contract.
                     These aforementioned services and replacements are required because of normal wear
                     and usage—they are Your responsibil ty. Costs for these services and parts are not
                     covered by this Service Contract. If You purchased the Emissions Package, tems listed
                     under the “Emissions Package” in the Optional Coverage section will be covered.
              17.    Any expenses associated with shop supplies, materials charges (i.e. miscellaneous items
                     not directly associated with a Covered Repair), hazardous waste charges, diagnosis time
                     (where a Covered Mechanical Breakdown has not occurred), freight charges, or storage
                     charges.

             AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                   BEFORE STARTING ANY TEARDOWN OR REPAIRS.
          PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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         18. Vehicles used for              1 Filed
                               commercial towing,       11/16/21
                                                  dump or                Page
                                                          refuse collection,       195
                                                                             hauling      of 215
                                                                                     or towing loads Pag
                       weighing in excess of vehicle manufacturer’s specifications, taxi, livery, shuttle, rental,
                       construction, racing or competitive driving, emergency services, or Vehicles equipped with
                       a snow plow.
               19.    Business Use Vehicles including UBER and LYFT, unless the Business Use surcharge is
                      selected and paid at the time this Contract is sold.
               20.     Vehicles operated by more than one person or vehicles using multiple drivers over a period
                       of time due to shift work.
               21.    The repair or replacement of the following: (a) batteries and battery cables, including batteries
                      and battery cables for Hybrid vehicles; (b) exhaust system components and catalytic
                      converters; (c) shock absorbers; (d) fasteners, nuts, bo ts, clips, screws; (e) fuses and bulbs;
                      (f) safety restraint systems (including air bags); (g) brake linings, rotors, and drums; (h) sealed
                      beams and LED or HID lamps; headlamp and tail lamp assemblies; (i) wiper blades, hoses,
                      molded rubber, and rubber-like items; (j) clutch disc and linings, clutch pressure plate, clutch
                      throw-out bearings, pilot bearings; (k) bent shift forks, stretched timing chains; and (l) cellular
                      phones.
               22.    Any losses resulting from delays, labor strikes, loss of time, inconvenience, or other causes
                      beyond the control of the Administrator or Licensed Repair Facility.
               23.    The repair or replacement of any Covered Component that has been damaged by a non-
                      Covered Component or from an improper repair.
               24.    The repair or replacement of any non-Covered Component damaged as a result of the Failure
                      of a Covered Component.
               25.    Vehicles registered or needing repairs or replacements outside of the contiguous United
                      States, Alaska, or Hawaii.
               26.    Convertible top assemblies; television/VCR/DVD players; game centers; cumulative repair
                      or replacement costs during the term of this Contract; audio/video equipment and
                      audio/video accessories; all touch screen and/or voice activated accessories, including
                      related display screens and heads up displays on windshields; electronic
                      transmitting/receiving devices; voice recognition systems; remote control consoles;
                      security systems; and radar detection devices. If You purchased the Luxury Electronics
                      Package, items listed under the “Luxury Electronics Package” in the Optional Coverage
                      section will be covered.
               27.    Any component or part of a component that enables a Vehicle to be propelled by any
                      source of power other than gasoline, diesel fuel, or E85 ethanol. In addition, components
                      belonging solely to any of the following (unless otherwise stated in this document): Hybrid
                      Vehicles, Plug-in Hybrid Vehicles, Electric Vehicles, Extended-Range Electric Vehicles, or
                      Hydrogen-Powered Vehicles. The Hybrid Battery is not covered in any instance.
               28.    All emission components.
               29. All Nissan CVT Transmissions regardless of model or year of manufacture.
        E.     Tire
               Stipulations noted under the “Exclusionary” heading in this section, “WHAT IS NOT COVERED,”
               also apply to Your Vehicle’s tires. In addition, the following tire- specific exclusions apply:
               1.     Destruction or damage to a tire due to off-road Vehicle use, construction site use, or an
                      impact with an engineered obstruction in the highway or roadway (including, but not
                      limited to curbs).
               2.     Any repair or replacement due to dry-rot, cracking, or peeling of tread.
               3.     Tires that prematurely fail because of overloading, improper loading, or improper inflation.
               4.     Used, retread, or remanufactured tires.
               5.     Tires that are not D.O.T. certified or that do not meet the specifications prescribed by the
                      manufacturer of the Vehicle listed in this Service Contract.
               6.     Any Tire Failure occurring when any portion of the tread depth on the failed tire is 3/32 of an
                AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                      BEFORE STARTING ANY TEARDOWN OR REPAIRS.
             PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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            inch or less. Document 1 Filed 11/16/21 Page 196 of 215 Pag
             7.   Tires transferred from another vehicle.

      F.     WHAT TO DO IF YOUR VEHICLE SUSTAINS A MECHANICAL BREAKDOWN OR A
             TIRE FAILURE
             1.   Take immediate action to prevent further damage to Your Vehicle. Any damage resulting from
                  continued operation of an impaired Vehicle will constitute failure to protect Your Vehicle and will
                  not be covered under this Service Contract.
             2.   You may deliver Your Vehicle to the Licensed Repair Facility of Your choice. However,
                  authorization must be obtained from the Administrator prior to any repair.
             3.   Present this Contract to the Licensed Repair Facility. The Administrator may also require You
                  to provide the Licensed Repair Facility with proof of all relevant maintenance as expressed under
                  “MAINTENANCE ANDRECORDS”.
             4.   Ensure that the Licensed Repair Facility contacts the Claims Department for instructions prior
                  to any repairs. The Claims Department can be reached at 1-833-228-1900 from 8:00 A.M. -
                  12:00 P.M. and 1:00 P.M. - 6:00 P.M. (CST) Monday - Friday. AUTHORIZATION MUST BE
                  OBTAINED FROM THE ADMINISTRATOR BEFORE STARTING ANY TEARDOWN OR
                  REPAIRS.
             5.   If Emergency Repairs are required, deliver Your Vehicle to a Licensed Repair Facility and
                  have the necessary repairs performed at a reasonable and customary charge. On the next
                  business day, report the repairs to the Administrator at 1-833-228-1900. The Administrator will
                  determine the reimbursement eligibility in accordance with the terms and conditions of this
                  Service Contract.
             6.   In all instances, if Your repair is a Covered Repair or Covered Tire Repair, then You are
                  required to pay the Licensed Repair Facility the deductible amount reflected on the first page of
                  this Contract. In addition, You are also required to pay for anything not authorized by the
                  Administrator.
             7.   The amount authorized by the Administrator is the maximum amount that will be paid for any
                  repairs covered under the terms of this Contract. Any additional amount must receive prior
                  approval from the Administrator. Should a claim arise before this Contract is paid in full, the
                  balance owed will be deducted from the claim payment.
      G. WHAT THE ADMINISTRATOR WILL DO WHEN A CLAIM IS REPORTED
             The Administrator will determine the extent of coverage, subject to the terms and conditions of this
             Contract. To that end, the Administrator will verify the Failure or Tire Failure with the Licensed
             Repair Facility, verify coverage, determine the Cost of the Covered Repair or Covered Tire Repair
             subject to the terms, conditions, and limitations of this Contract, and authorize the claim. The claim is
             not approved unless authorization numbers are given to the Licensed Repair Facility.
             NOTE: (1) At the sole discretion of the Administrator, Failed parts or Failed Tires may be replaced
                   with new parts or tires, remanufactured parts or tires, or used parts or tires of like kind and
                   quality.
                    (2) We reserve the right to inspect Your Vehicle to verify Failure(s) or Tire Failure(s). In
                    addition, if a dispute arises between the Licensed Repair Facility and Us, We reserve the right
                    to relocate Your Vehicle to a Licensed Repair Facility of Our choice. In the event the
                    Administrator determines that a repair in question is not a Covered Repair or a Covered Tire
                    Repair, then You are responsible for any cost incurred.

      H.     STATE SALES TAX
             The payment of sales tax on Covered Repairs or Covered Tire Repairs will be made in accordance
             with the regulations of the Taxing Authority in the state where Your Vehicle has been repaired.


              AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                    BEFORE STARTING ANY TEARDOWN OR REPAIRS.
           PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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      I. DEFINITIONS Document 1 Filed 11/16/21 Page 197 of 215 Pag
                ADMINISTRATOR: Matrix Warranty Solutions, Inc. 3100 McKinnon St., Suite 420, Dallas, TX 75201.1-
                 833-228-1900.
                BUSINESS USE: Vehicles used primarily for profit, such as repair work, route work, service work,
                 and delivery. Vehicles used for farm work or oil field work are included under this definition and
                 are eligible for coverage if their primary use is transportation and not off-road work. Other examples
                 include, but are not limited to floral delivery, cable TV repair, plumbing, vending machine services,
                 catering, medical supply delivery, home repairs, and realty services.
                COST: The customary and reasonable charges for the parts and labor necessary to repair or
                 replace Covered Components or Covered Tires. Cost will not exceed the manufacturer’s
                 suggested retail (list) price for parts and labor will be verified by the standard version of the
                 following nationally recognized labor guide: Alldata. The labor rate must be authorized by the
                 Vehicle manufacturer for franchised dealers and cannot exceed the average retail rate charged
                 by similar repair facilities in the same area. All charges are subject to the limits of liability, the terms
                 and conditions of this Service Contract, and the Administrator’s approval.
                COVERED BREAKDOWN or COVERED MECHANICAL BREAKDOWN: A Breakdown that is
                 covered by this Contract.
                COVERED PART(S) and COVERED COMPONENT(S): Any part of the Vehicle listed herein as a
                 Covered Part/Component and not excluded from coverage by this
                 Service Contract.
                COVERED REPAIR: A repair to a Covered Part/Component that is authorized bythe
                 Administrator.
                COVERED TIRE: A tire that that conforms to Vehicle manufacturer’s specifications and was
                 D.O.T. approved at the time of sale, or any equivalent replacement tire on the
                 Vehicle when it was delivered.
                COVERED TIRE REPAIR: A repair to a Covered Tire that is authorized by the Administrator as
                 defined under Tire Failure or Failed Tire(s).
                EMERGENCY REPAIRS: Repairs made outside of Administrator’s business hours, which, if not
                 performed, would impair the future operation of Your Vehicle, or render Your Vehicle inoperable
                 or unsafe to drive.
                FINANCE COMPANY: Any financial institution providing financing for the purchase of this Service
                 Contract.
                LICENSED REPAIR FACILITY: Any automotive repair facility that has been licensed to perform
                 automotive repairs by the state in which it operates.
                LUBRICATED PART: A part that requires lubrication to function correctly.
                MECHANICAL BREAKDOWN, BREAKDOWN, FAILURE, FAILS, or FAILED: The inability of
                 any Covered Component(s) that has received proper maintenance, as prescribed by this
                 Service Contract, to function in the manner for which it was designed. This inability must be the
                 result of defective material or faulty workmanship, not due to the gradual reduction in component
                 performance through normal or excessive usage. In addition, a Failed part must be outside the
                 allowable tolerances prescribed by the manufacturer to be deemed a Failure. This is distinguished
                 from Tire Failure, as defined in this section.
                ROAD HAZARD: Potholes or debris on the surface of a road (such as nails, glass, rocks, or tree
                 limbs) which may cause damage to your Covered Tire.
                SELLING COMPANY: The entity identified on the first page of this Contract from whom You
                 purchased this Service Contract.
                SERVICE CONTRACT or CONTRACT: This document in its entirety, which explains the coverage
                 and limitations afforded to You.
                TIRE FAILURE or FAILED TIRE(S): The inability of any tire to function in the manner for which it
                 was designed, either due to contact with a Road Hazard, a defect in materials, or faulty
                 workmanship. This inability to function is not due to misuse or abuse, and specifically excludes
                 normal and excessive wear and tear.
            AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                  BEFORE STARTING ANY TEARDOWN OR REPAIRS.
         PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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                         Document
            VEHICLE: The Vehicle identified on1the first
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                                                         page of this Contract. Page 198 of 215 Pag
                   WE, US, OUR: Matrix Financial Services LLC., 3100 McKinnon St., Suite 420, Dallas, TX
                    75201, 1-833-228-1900. .
                   YOU, YOUR, CONTRACT HOLDER, MY, and I: The person(s) whose name is listed as the
                    purchaser(s) of this Service Contract.

       J.     CANCELLATION AND RENEWAL
              We agree to pay on behalf of the Selling Company, the unearned refund based on
              consideration received from the Selling Company. The Selling Company agrees to
              pay the unearned portion of the commission originated from the sale of this Service Contract.
              Neither the Selling Company’s Administrator, claims service, nor the Selling Company’s insurer
              can be held liable for return of the Selling Company’s commission or any part thereof as paid
              under this Service Contract. In the event the Purchase Price of Your Service Contract is being
              paid through a Payment Plan (or its equivalent) which is terminated for non-payment, the Term
              Months and Term Miles Limit of this Service Contract will be modified to reflect the portion of
              the Service Contract that you have paid for. The modified Term Months and Term Miles Limit
              of the Service Contract will be calculated on a pro-rata basis by adding the time and mileage
              that you have paid for to the Service Contract Sale Date and Vehicle Odometer Mileage on the
              Service Contract Sale Date as listed on the Declarations Page. You may contact the
              Administrator toll free at 833-228-1900 to obtain the modified Term Months and Term Miles
              Limits
              CANCELLATION BY THE FINANCE COMPANY: You hereby authorize the Finance Company to
              cancel this Contract on Your behalf in the event: (1) Your Vehicle is repossessed, (2) Your Vehicle is
              declared a total loss, or (3) You default in Your obligations to the Finance Company. In addition, You
              authorize the Finance Company to be listed as a joint payee and to receive any refund in the event this
              Contract is cancelled.
              CANCELLATION BY THE ADMINISTRATOR: The Administrator may cancel this Contract for
              material misrepresentation or substantial breaches of contractual duties, conditions, or warranties, or for
              non-payment of the Service Contract price.
              CANCELLATION BY THE CONTRACT HOLDER: You may cancel this Service Contract at any
              time by notifying the Selling Company or Administrator in writing. This notification must include this
              Service Contract. A notarized statement indicating the actual mileage (odometer reading) of Your
              Vehicle on the date of the cancellation request may also be required unless the vehicle is lost, stolen or
              destroyed.
              CANCELLATION PROVISIONS: If this Contract is cancelled within the first thirty (30) days from the
              Contract sale date and no claims have been filed, then You will receive a full refund. If this Contract is
              cancelled after thirty (30) days past the Contract sale date or after a claim has been filed, then You will
              receive a pro rata refund less any claims paid under this Contract. Pro rata refunds are determined by
              multiplying the amount You paid for this Service Contract by the lesser of the following: (a) the number
              of covered days remaining on the Service Contract divided by the original number of covered days, or (b)
              the miles of remaining coverage under the Service Contract divided by the original number of covered
              miles. A cancellation fee of $75 will be charged for all pro rata cancellations made by the Contract
              Holder. In all instances, if there is no Finance Company, the refundable amount will be paid to You. If
              there is a Finance Company, the refundable amount will be paid to the Finance Company.
              NOTE: Transferred Service Contracts are not eligible for cancellation refunds. This Contract is non-
              renewable.

       K.     TRANSFER OF VEHICLE OWNERSHIP
              If You sell Your Vehicle or if there is any change in the ownership of Your Vehicle, You may request
               AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                     BEFORE STARTING ANY TEARDOWN OR REPAIRS.
            PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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        to transfer the remaining coverage of this1Contract
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                                                                   new owner. This request 199
                                                                                           must beofsubmitted
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               within fifteen (15) days of the change in Vehicle ownership. You must notify the Administrator of the
               transfer of ownership in writing and must include the following: a transfer fee of $50, the name and
               address of the new owner, and the mileage of the Vehicle at the time of transfer. The Administrator has
               the discretion to approve or reject your request to transfer coverage. Copies of all maintenance records
               showing oil changes and manufacturer’s required maintenance must be given to the new owner. The
               new owner must retain these records and the Vehicle will still be subject to the maintenance
               requirements as specified in this Contract and by the Vehicle manufacturer. No handwritten receipts
               will be accepted.
               This Contract may not be transferred more than once, may not be assigned to another vehicle, and
               may not be transferred to a new or used vehicle dealer or anyone other than an individual purchasing
               Your Vehicle for personal use. If You sell Your Vehicle, or if there is any change in the ownership of
               Your Vehicle without notifying the Administrator as outlined in this section, this Contract will terminate.




              AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                    BEFORE STARTING ANY TEARDOWN OR REPAIRS.
           PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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                    Document      1 FiledAND
                         STATE REQUIREMENTS 11/16/21   Page 200 of 215 Pag
                                              DISCLOSURES
                         THIS CONTRACT IS AMENDED TO COMPLY WITH THE FOLLOWING
                                  STATE REQUIREMENTS AND DISCLOSURES:
    ALABAMA
    Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
    “Cancellation by the Administrator”, “If We cancel this Contract, prior written notice of cancellation will be sent to
    Your last known address at least five (5) days prior to cancellation by Us. Prior notice shall state the effective
    cancellation date and the reason for cancellation. Prior notice is not required to be sent if the reason of
    cancellation is for: 1) nonpayment of the Service Contract price; or 2) material misrepresentation by You relating
    to the Vehicle or its use.”
    Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
    “Cancellation Provisions”, “If this Contract was mailed to You, You may cancel this Contract within the first twenty
    (20) days from the date of service and receive a full refund, including the activation fee, provided no claims have
    been filed. If this Contract is cancelled by You after the initial full refund period, or a claim has been filed, then
    You will receive a pro rata refund less an administrative fee of twenty-five dollars ($25.00) and less any claims
    paid. The refund due following the contract holder's cancellation during the initial free look period includes the
    activation fee and the monthly amount.
    Within the “CANCELLATION” section of this Contract, the following sentence(s) is added: “Cancellation
    Provisions”, “A ten percent (10%) penalty per month shall be added to the refund if it is not paid or credited within forty-
    five (45) days after the return of this Contract to Us.”
    ALASKA
    Within the “ADMINISTRATOR OBLIGOR” section of this Contract, the following sentence(s) is amended: “If a
    covered service is not paid within thirty (30) days after proof of loss has been filed, You may file a claim with
    Plateau Casualty Insurance Company at the address listed above.”
    Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
    “Cancellation by the Administrator”, “The Administrator may cancel this Contract for: 1) nonpayment of the
    Service Contract price; 2) Your conviction of a crime which involves an act that increases a hazard covered by
    this Contract; 3) discovery of fraud or material misrepresentation by You, or a representative of You, in obtaining
    this Contract or in pursuing a claim under this Contract; 4) discovery of a grossly negligent act or omission by
    You that substantially increases the hazards covered by this Contract; 5) physical changes in the Vehicle that
    result in the Vehicle becoming ineligible for coverage under this Contract; or 6) a substantial breach of
    contractual duties by You related to the covered Vehicle. If this Contract is cancelled by Us, written notice will be
    sent to Your last known address with at least five (5) days’ prior notice before cancellation stating the effective
    date and reason of cancellation. Prior notice is not required for: 1) nonpayment of the Service Contract price; 2)
    discovery of fraud or material misrepresentation by You, or a representative of You, in obtaining this Contract or
    in pursuing a claim under this Contract.”
    Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
    “Cancellation Provisions”, “If this Contract is cancelled by You after the initial full refund period, or a claim has been
    filed, You will receive a pro rata refund less an cancellation fee of seven and a half percent (7.5%) of the Service
    Contract price and less any claims paid.”
    Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
    “Cancellation Provisions”, “If this Contract is cancelled by Us at any time, any claims paid under this Contract
    will be deducted from any refund due to You.”, “If this Contract is cancelled, and Your refund is not paid or
    credited within forty-five (45) days after the cancellation of this Contract by Us, or within forty-five (45) days after
    You return of this Contract to Us, a ten percent (10%) penalty of the unearned Contract Price will be added to
    the refund for each month the refund remains unpaid.”
    ARIZONA
    All exclusions only apply to occurrences after the Contract sale date.

             AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                   BEFORE STARTING ANY TEARDOWN OR REPAIRS.
          PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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     Within the “WHAT IS NOT COVERED” section of1    Filed the
                                                this Contract, 11/16/21         Pageis deleted:
                                                                 following sentence(s) 201 of   “Any215
                                                                                                     Vehicle Pag
      that has been repurchased by or had its price renegotiated with the manufacturer, or that has had the
      manufacturer’s warranty revoked or voided.”; “You may be required to provide an odometer statement at the time
      of sale of this Service Contract.”; “Misrepresentation of the odometer reading either before or during the term of
      this Service Contract may void component coverage.”
      Within the “WHAT IS NOT COVERED” section of this Contract, the following sentence(s) is amended: “Any
      Vehicle with a branded title (e.g. salvage, junk, rebuilt, total loss, flood, or fire).”; “Any Vehicle with an odometer
      that has been tampered with, altered, disconnected, or not maintained in working order by the Contract Holder
      during the term of this Contract.”
      This contract does not exclude pre-existing conditions "if such conditions were known or should reasonably have
      been known by the service company or the person selling the service contract on the service company's behalf"
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
      “Cancellation by the Administrator”, “The Administrator may cancel this Contract for: 1) material misrepresentation
      by You; 2) substantial breaches of contractual duties, conditions, or warranties; or 3) for non-payment of the
      Service Contract price. The Administrator, insurer, or its representatives may not cancel or void this Contract for
      reasons which are within the knowledge and/or control of the Selling Dealer including, but not limited to: 1) pre-
      existing conditions; 2) prior use or the odometer has been tampered with prior to purchase; 3) misrepresentation
      by the Selling Dealer or its subcontractors; 4) ineligibility for the program, including gray market, high performance
      and GM diesel autos.”
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
      “Cancellation Provisions”, “If this Contract is cancelled at any time, You will receive a pro rata refund less a
      cancellation fee of $75.00. Any administrative fee for cancellation may be no more than 10% of the gross amount
      paid for the service contract. Under no circumstances will the cost of claims paid or services provided be
      deducted from any refund.”
      ARKANSAS
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
      “Cancellation Provisions”, “A cancellation fee of fifty dollars ($50.00) will be charged for all pro rata cancellations
      made by the Contract Holder.”
      CONNECTICUT
      If applicable, arbitration and Resolution of Disputes for Connecticut Residents: If there is a dispute regarding the
      terms of this Service Contract or the coverage of any claim filed with Us, We will make a reasonable effort to
      resolve the dispute with You. If We are unable to resolve the dispute, You may file a formal written complaint with
      the Consumer Affairs Division of the Connecticut Insurance Department. The complaint must contain a short and
      plain description of the dispute, including the efforts made to resolve the dispute and the results of those efforts,
      the purchase price or lease price of Your covered Vehicle, the cost of any disputed repairs, and a copy of this
      Service Contract document. The complaint should be mailed to: State of Connecticut, Insurance Department,
      P.O. Box 816, Hartford, CT 06142-0816, Attention: Consumer Affairs. Your complaint will be reviewed by an
      examiner, who will attempt to mediate the dispute. If the mediation efforts are unsuccessful, Your complaint will
      be referred to the Arbitration Unit of the Connecticut Insurance Department for further resolution through
      arbitration. Unless either party objects to binding arbitration of the dispute by filing a written objection with the
      examiner within ten (10) days after notice that the matter has been referred to arbitration, the decision of the
      arbitrator will be binding on both parties. A more detailed description of the arbitration procedure is set forth in
      Sections 42-260-1 through 42-260-5 of the Connecticut Administrative Code.
      You have a right to cancel this Service Contract if You return the Vehicle or if the Vehicle is sold, lost, stolen or
      destroyed.
      This Service Contract does not include in-home service.
      The costs of transporting the Vehicle will not be paid for by the Administrator.
      Within the “AGREEMENT PERIOD” section of this Contract, the following sentence is added: “If this Service

               AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                     BEFORE STARTING ANY TEARDOWN OR REPAIRS.
            PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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     Contract is for less than one Document
                                   year of coverage, 1     Filed will
                                                     this Contract 11/16/21
                                                                      be extended byPage
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                                                                                                          days the Pag
       Vehicle undergoes Covered Repairs at a Licensed Repair Facility. If this Contract expires while the Vehicle is
       undergoing a Covered Repair, this Contract will be extended until Covered Repairs are complete.”
       FLORIDA
       The rate charged for this service is not subject to regulation by the office.
       The CANCELLATION BY THE CONTRACT HOLDER section is deleted and replaced with the following: You
       may cancel this Contract by returning it to the Selling Company or directly to Us. An odometer statement
       indicating the odometer reading at the date of the request for cancellation will be required. If this Contract is
       canceled by You within the first sixty (60) days, We will refund the entire Contract purchase price, less any
       claims paid and less a cancellation fee equal to five percent (5%) of the Contract purchase price or fifty dollars
       ($50), whichever is less. If this Contract is canceled after the first sixty (60) days, We will refund the unearned
       Contract Purchase Price to You calculated on a pro rata basis, less any claims paid. The refund will be equal to
       the lesser amount produced using either the number of days the Contract was in force or the number of miles the
       Vehicle was driven prior to cancellation, less a cancellation fee equal to five percent (5%) of the Contract
       Purchase Price or fifty dollars ($50), whichever is less. In the event of cancellation, the Finance Company
       identified on the first page of this Contract, if any, will be named on a cancellation refund check as its interest may
       appear.
       The CANCELLATION BY THE ADMINISTRATOR section is deleted and replaced with the following: We may
       cancel this Contract based on one or more of the following reasons: (A) there has been a material
       misrepresentation or fraud at the time of sale of this Contract; (B) You have failed to maintain the Vehicle as
       prescribed by the manufacturer; (C) the odometer has been tampered with or disabled and You have failed to
       repair the odometer; or (D) for non-payment of the Contract purchase price by You, in which case We shall
       provide You with a notice of cancellation by certified mail. If this Contract is canceled by Us, We will refund the
       unearned Contract purchase price to You calculated on a pro rata basis. The refund will be equal to the lesser
       amount produced using either the number of days the Contract was in force or the number of miles the Vehicle
       was driven prior to cancellation. In the event of cancellation, the Finance Company identified on the first page of
       this Contract, if any, will be named on a cancellation refund check as its interest may appear.
       The TRANSFER OF VEHICLE OWNERSHIP section, is deleted and replaced with the following:
       A completed transfer application and a forty ($40) transfer fee must be submitted to the Administrator within
       thirty (30) days of a change in ownership, along with the following:
       1.          A notarized copy of the documentation showing change of title and odometer reading;
       2.          Proof of maintenance recommended by the manufacturer; and
       3.          If the manufacturer’s warranty requires a transfer, a copy of the completed transfer form.
       Note: The rate charged for this Agreement is not subject to regulation by the Florida Office of Insurance
       Regulation.
       GEORGIA
       Within the “WHAT IS NOT COVERED” section of this Contract, the following sentence(s) is amended: “Any
       Vehicle with an odometer that has been tampered with, altered, disconnected or not maintained in working order
       by the Contract Holder. Misrepresentation of the odometer reading by You either before or during the term of
       this Service Contract may void component coverage.”; “The repair or replacement of any Vehicle component
       which was not properly operating in accordance with the manufacturer’s specifications known to You at the time
       this Service Contract was sold (i.e. pre-existing conditions).”; “Damage due to alteration, modification, or use of
       Your Vehicle in a manner not recommended by the manufacturer by You or with Your knowledge, including the
       use of “non-stock” or modified parts.”
       Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
       “Cancellation by the Administrator”, “If We cancel this Contract, prior written notice of cancellation will be sent to
       Your last known address at least ten (10) days prior to cancellation by Us for nonpayment of the Administrator
       fee. Prior written notice of cancellation will be sent to Your last known address at least thirty (30) days prior to
                AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                      BEFORE STARTING ANY TEARDOWN OR REPAIRS.
             PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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     cancellation by Us for fraud orDocument         1 Filed
                                    material misrepresentation. Prior11/16/21
                                                                      notice shall state Page      203
                                                                                         the effective    of 215date Pag
                                                                                                       cancellation
       and the reason for cancellation. If We cancel this Contract, You will be refunded a pro-rated amount of the
       Contract price, without any deductions.”
       Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
       “Cancellation Provisions”, “If You cancel this Contract thirty (30) days after the Contract sale date or if a claim
       has been made, You will receive a one hundred percent (100%) pro rata refund with a fee of seventy five dollars
       ($75.00) or ten percent (10%) of the pro rata refund amount, whichever is less. Under no circumstances will the
       cost of claims paid or services provided be deducted from any refund.”
       Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
       “Cancellation by the Finance Company”, ”The Finance Company must hold a power of attorney in order to
       cancel this Contract due to Your default in Your obligations to such Finance Company.”
       HAWAII
       Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
       “Cancellation by the Administrator”, “If We cancel this Contract, prior written notice of cancellation will be sent to
       Your last known address at least five (5) days prior to cancellation by Us. Prior notice shall state the effective
       cancellation date and the reason for cancellation. Prior notice is not required to be sent if the reason of
       cancellation is for: (1) nonpayment of the Administrator fee; (2) material misrepresentation; or (3) a substantial
       breach of contractual duties by You related to the covered Vehicle or its use.”
       Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
       “Cancellation Provisions”, “A ten percent (10%) penalty per month shall be added to the refund if it is not paid or
       credited within forty-five (45) days after the return of this Contract to Us.”
       IDAHO
       Coverage afforded under this Service Contract is not guaranteed by the Idaho Insurance Guarantee Association.
       Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
       “Cancellation Provisions”, “A cancellation fee of fifty dollars ($50.00) will be charged for all cancellations made by
       the Contract Holder.”
       ILLINOIS
       Within the “WHAT IS NOT COVERED” section of this Contract, the following sentence(s) is added: “This
       Contract does not apply to any Mechanical Breakdown or Failures caused by normal and abnormal wear and
       tear.”
       Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
       “Cancellation Provisions”, “If this Contract is cancelled by You within the first thirty (30) days from the Contract
       sale date and no claims have been paid, then You will receive a full refund less a cancellation fee of fifty dollars
       ($50.00) or ten percent (10%) of the Contract price, whichever is less. If this Contract is cancelled by You after thirty
       (30) days past the Contract sale date or a claim has been paid, then You will receive a pro rata refund less a
       cancellation fee of fifty dollars ($50.00) or ten percent (10%) of the Contract price, whichever is less, and less any claims
       paid.”
       IOWA
       If You have any questions regarding this Contract, You may contact the Administrator by mail or by phone.
       Refer to the application for the Administrator’s address and toll-free number. Iowa residents only may also
       contact the Iowa Insurance Commissioner at the following address: Iowa Insurance Division, Two Ruan Center,
       601 Locust Street, 4th Floor, Des Moines, Iowa 50309-3738, 515-281-5705.
       Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
       “Cancellation Provisions”, “If this Contract was mailed to You, You may cancel this Contract within the first twenty
       (20) days from the date of service and receive a full refund, provided no claims have been filed. If this Contract is
       cancelled by You after the initial full refund period, or a claim has been filed, You will receive a pro rata refund less a
       cancellation fee of seventy five dollars ($75.00).”

                AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                      BEFORE STARTING ANY TEARDOWN OR REPAIRS.
             PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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     Within the “CANCELLATION Document
                              AND RENEWAL” 1    Filed
                                           section of this11/16/21         Pagesentence(s)
                                                           Contract, the following 204 of is215
                                                                                             added: Pag
      “Cancellation Provisions”, “If this Contract is cancelled by You, We will mail a written notice of termination to You
      with fifteen (15) days of the date of cancellation.”; “A ten percent (10%) penalty per month shall be added to the
      refund if it is not paid or credited within thirty (30) days after the return of this Contract to Us.”
      LOUISIANA
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
      “Cancellation Provisions”, “If this Contract is cancelled by You within the first thirty (30) days from the Contract
      sale date and no claims have has been filed, then You will receive a full refund less a cancellation fee of fifty
      dollars ($50.00). If this Contract is cancelled by You after thirty (30) days past the Contract sale date or a claim
      has been filed, then You will receive a pro rata refund less a cancellation fee of fifty dollars ($50.00). Under no
      circumstances will the cost of claims paid or services provided be deducted from any refund.”
      MAINE
      Within the "WHAT TO DO IF YOUR VEHICLE SUSTAINS A MECHANICAL BREAKDOWN OR A TIRE FAILURE"
      section of this Contract, the following sentence has been removed: Should a claim arise before this Contract is
      paid in full, the balance owed will be deducted from the claim payment.
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
      “Cancellation by the Administrator”, “If We cancel this Contract, prior written notice *of cancellation will be sent to
      Your last known address at least fifteen (15) days prior to cancellation by Us. Prior notice shall state the effective
      cancellation date and the reason for cancellation.”
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
      “Cancellation Provisions”, “If this Contract was mailed to You, You may cancel this Contract within the first
      twenty (20) days from the date of service and receive a full refund, provided no claims have been filed. If this
      Contract is canceled by You after the initial full refund period, a claim has been filed, or this Contract is canceled
      by Us for any reason other than for nonpayment of the Contract price, You will receive a one hundred percent
      (100%) pro rata refund of the unearned Contract price, less an administrative fee of ten percent (10%) of the
      Contract price and less any claims paid.”
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
      “Cancellation Provisions”, “A ten percent (10%) penalty of the outstanding amount of the Contract price shall be
      added to the refund per month if it is not paid or credited within forty-five (45) days after the return of this Contract
      to Us.”
      MARYLAND
      Within the “AGREEMENT PERIOD” section of this Contract, the following sentence(s) is added: “This Contract will
      be extended by the total number of days the Vehicle undergoes Covered Repairs at a Licensed Repair Facil ty. If
      this Contract expires while the Vehicle is undergoing a Covered Repair, this Contract will be extended until Covered
      Repairs are complete.”
      Within the “WHAT IS NOT COVERED” section of this Contract, the following sentence(s) is amended: “Any
      Mechanical Breakdown or Failure caused by (a) Your failure to provide the proper maintenance to the failed part
      or parts; (c) overheating, regardless of the cause of overheating; (d) incorrect, contaminated, or inadequate amounts of
      coolant, lubricants, or fluids; (e) accidental loss or damage, impact, collision or upset, falling missiles or objects, rust,
      corrosion, fire, theft, larceny, explosion, lightning, earthquake, wind storm, hail, water, flood, freezing, malicious mischief,
      vandalism, riot, or civil commotion; or (f) DRIVER NEGLIGENCE OR MISUSE, INCLUDING THE OPERATION OF
      AN IMPAIRED VEHICLE.”; “Any expenses associated with shop supplies, materials charges (i.e. miscellaneous
      items not directly associated with a covered repair), hazardous waste charges, diagnosis time, teardown (where a
      Covered Breakdown has not occurred), freight charges, or storage charges.”
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
      “Cancellation Provisions”, “If this Contract is canceled by You within the first twenty (20) days from the Contract
      sale date and no claims have been filed, then You will receive a full refund. If this Contract is canceled after
      twenty (20) days past the Contract sale date or after a claim has been filed, then You will receive a pro rata
      refund.”
               AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                     BEFORE STARTING ANY TEARDOWN OR REPAIRS.
            PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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     Within the “CANCELLATION Document
                              AND RENEWAL” 1    Filed
                                           section of this11/16/21         Pagesentence(s)
                                                           Contract, the following 205 of is215
                                                                                             added: Pag
      “Cancellation Provisions”, “A ten percent (10%) penalty per month shall be added to the refund if it is not paid or
      credited within forty-five (45) days after the return of this Contract to Us.”
      MASSACHUSETTS
      NOTICE TO CUSTOMER: PURCHASE OF THIS CONTRACT IS NOT REQUIRED IN ORDER TO REGISTER OR
      FINANCE YOUR VEHICLE. THE BENEFITS PROVIDED MAY DUPLICATE EXPRESS MANUFACTURER’S OR
      SELLER’S WARRANTIES THAT COME AUTOMATICALLY WITH EVERY SALE. THE SELLER OF THIS
      COVERAGE IS REQUIRED TO INFORM YOU OF ANY WARRANTIES AVAILABLE TO YOU WITHOUT THIS
      CONTRACT.
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
      “Cancellation by the Administrator”, “If We cancel this Contract, prior written notice of cancellation will be sent to
      Your last known address at least five (5) days prior to cancellation by Us. Prior notice shall state the effective
      cancellation date and the reason for cancellation. Prior notice is not required to be sent if the reason of
      cancellation is for: (1) nonpayment of the Administrator fee; (2) material misrepresentation; or (3) a substantial
      breach of contractual duties by You related to the covered Vehicle or its use.”
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
      “Cancellation Provisions”, “If this Contract was mailed to You, You may cancel this Contract within the first twenty
      (20) days from the date of service and receive a full refund, provided no claims have been filed. If this Contract is
      cancelled by You after the initial full refund period, or a claim has been filed, You will receive a pro rata refund less a
      cancellation fee of seventy five dollars ($75.00).”
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
      “Cancellation Provisions”, “A ten percent (10%) penalty per month shall be added to the refund if it is not paid or
      credited within forty-five (45) days after the return of this Contract to Us.”
      MINNESOTA
      Section 325F.662 of the Minnesota Statutes requires the Selling Dealer to provide You with an express warranty
      of a specified duration in connection with the sale of any used car. The terms of the express warranty are contained
      in the used car buyer’s guide or limited warranty document furnished to You by the Selling Dealer. Any loss
      covered under the Selling Dealer’s express warranty furnished pursuant to Section 325.F.662 is excluded from
      coverage under this Contract during the term of the express warranty unless the Selling Dealer becomes unable
      to meet its obligations, provided such loss is otherwise covered by this Contract. If You purchased a used
      Vehicle, upon request and payment of $10.00, the Administrator will provide a copy of the owner’s manual to
      You.
      Within the “WHAT IS NOT COVERED” section of this Contract, the following sentence(s) is amended: “Any
      Vehicle with an odometer that has been tampered with, altered, disconnected or not maintained in working order
      by the Contract Holder.”
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
      “Cancellation by the Administrator”, “If We cancel this Contract, prior written notice of cancellation will be sent to
      Your last known address at least fifteen (15) days prior to cancellation by Us. Prior notice will be sent to Your last
      known address at least five (5) days prior to cancellation by Us if the reason of cancellation is for: (1) nonpayment
      of the Administrator fee; (2) material misrepresentation by You; or (3) a substantial breach of duties by You
      related to the covered Vehicle or its use. Prior notice shall state the effective cancellation date and the reason for
      cancellation.”
      MISSOURI
      Within the “WHAT TO DO IF YOUR VEHICLE SUSTAINS A MECHANICAL BREAKDOWN” section of this
      Contract, the following sentence(s) is amended: “If Emergency Repairs covered by this Service Contract are
      required outside the Administrator’s business hours, You should deliver Your Vehicle to a Licensed Repair
      Facility and have the necessary repairs performed at a reasonable and customary charge. As soon as reasonably
      possible, You should report the repairs to the Administrator. Emergency repairs are only those repairs, which, if
      not performed, would impair the future operation of Your Vehicle, or render it inoperable or unsafe to drive.
               AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                     BEFORE STARTING ANY TEARDOWN OR REPAIRS.
            PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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-cv-08984-JAK-AFM                 Document
     Reimbursement for such repairs                   1 Filed
                                    will not be considered outside of11/16/21         Page
                                                                      the aforementioned       206
                                                                                         parameter      of 215 Pag
                                                                                                   or timeframe.”
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
      “Cancellation by the Administrator”, “If We cancel this Contract, prior written notice of cancellation will be sent to
      Your last known address at least forty-five (45) days prior to cancellation by Us.”
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
      “Cancellation Provisions”, “If this Contract is cancelled within the free look period (the first twenty (20) business
      days from the Contract sale date) and no claims have been filed, then You will receive a full refund. If this
      Contract is cancelled within the free look period (the first twenty (20) business days from the Contract sale date)
      and a claim has been filed, then You will receive a full refund less any claims paid under this Contract. If this
      Contract is cancelled after the free look period (the first twenty (20) business days from the Contract sale date),
      then You will receive a refund of one hundred percent (100%) of the unearned provider fee, less a cancellation fee
      of fifty dollars ($50) and less any claims paid under this Contract.”
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
      “Cancellation Provisions”, “A ten percent (10%) penalty of the outstanding amount of the Contract price shall be
      added to the refund per month if it is not paid or credited within forty-five (45) days after the return of this
      Contract to Us.”
      NEVADA
      Within the “WHAT IS NOT COVERED” section of this Contract, the following sentence(s) is amended: “Any
      Vehicle which has been repurchased by or had its price renegotiated with the manufacturer, or which has had the
      manufacturer’s warranty revoked or voided. However, if the vehicle manufacturer’s warranty becomes revoked or
      voided during the term of this Contract, this Contract will not deny all coverage. Rather, this Contract will
      exclude any coverage that would otherwise have been provided under the manufacturer’s warranty. This
      Contract will continue to provide any coverage that would not otherwise have been provided under the
      manufacturer’s warranty, unless such coverage is otherwise excluded by the terms of this Contract.”; “Any
      Mechanical Breakdown covered by an insurance entity, the manufacturer’s warranty/recall, or any component
      with a warranty or “repairer’s guarantee” through a repair facility, until the limits of said insurance, warranty/recall
      or “repairer’s guarantee” are reached or expired. However, any Mechanical Breakdown that is not covered
      under an insurance entity, warranty/recall or “repairer’s guarantee” will be eligible for coverage, subject to the
      terms and conditions of this Contract. Additionally, if an insurance entity, the manufacturer, or repair facility
      notifies You that they will monetarily participate in a repair that has been authorized and paid by Us, then We will
      exercise Our right to recover the respective amount.”
      Within the “WHAT IS NOT COVERED” section of this Contract, the following sentence(s) is amended: This
      Contract will not cover any unauthorized or non-manufacturer-recommended modifications to the Covered Product, or
      any damages arising from such unauthorized or non-manufacturer-recommended modifications. However, if the Covered
      Product is modified or repaired in an unauthorized or non-manufacturer-recommended manner, We will not automatically
      suspend all coverage. Rather, this Contract will continue to provide any applicable coverage that is not related to the
      unauthorized or non-manufacturer-recommended modification or any damages arising there from, unless such coverage is
      otherwise excluded by the terms of this Contract.
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
      “Cancellation Provisions”, “Under no circumstances will the cost of claims paid or services provided be deducted
      from any refund.”; “A ten percent (10%) penalty, based upon the Contract purchase price, per month shall be added
      to the refund if it is not paid or credited within forty-five (45) days after the return of this Contract to Us.”; “In the
      event this Contract is cancelled by Us, a cancellation fee will not be charged.”
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
      “Cancellation by the Administrator”, “No Service Contract that has been in effect for at least seventy (70) days
      may be canceled by the Administrator before the expiration of the agreed term or one (1) year after the effective
      date of the Service Contract, whichever occurs first, except on any of the following grounds: (a) Failure by the
      Contract Holder to pay an amount when due; (b) Conviction of the Contract Holder of a crime which results in
      an increase in the service required under the Service Contract; (c) Discovery of fraud or material

               AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                     BEFORE STARTING ANY TEARDOWN OR REPAIRS.
            PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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-cv-08984-JAK-AFM                 Document
     misrepresentation by the Contract              1 Filed
                                       Holder in obtaining          11/16/21
                                                           this Service Contract, or inPage     207
                                                                                        presenting      offor215
                                                                                                   a claim    service Pag
       thereunder; (d) Discovery of: (1) an act or omission by the Contract Holder; or (2) a violation by the Contract
       Holder of any condition of the Service Contract after the effective date of the Service Contract and which
       substantially and materially increases the service required under the Service Contract; (e) A material change in
       the nature or extent of the required service or repair which occurs after the effective date of the Service Contract
       and which causes the required service or repair to be substantially and materially increased beyond that
       contemplated at the time that the Service Contract was issued or sold. Cancellation of this Service Contract
       may not become effective until at least fifteen (15) days after a notice of cancellation is mailed to the Contract
       Holder.”
       Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
       “Cancellation Provisions”, “If this Contract was mailed to You, You may cancel this Contract within the first twenty
       (20) days from the date of service and receive a full refund, provided no claims have been filed. If this Contract is
       cancelled by You after the initial full refund period, or a claim has been filed, then You will receive a pro rata refund
       less an cancellation fee of twenty five dollars ($25.00).”
       Within the “TRANSFER OF VEHICLE OWNERSHIP” section of this Contract, the following sentence(s) is amended: If
       You sell Your Vehicle or if there is any change in the ownership of Your Vehicle, You may request to transfer the
       remaining coverage of this Contract to the new owner. This request must be submitted within fifteen (15) days of the
       change in Vehicle ownership. You must notify the Administrator of the transfer of ownership in writing and must include
       the following: a transfer fee of $25, the name and address of the new owner, and the mileage of the Vehicle at the time
       of transfer. The Administrator has the discretion to approve or reject your request to transfer coverage. Copies of all
       maintenance records showing oil changes and manufacturer’s required maintenance must be given to the new owner.
       The new owner must retain these records and the Vehicle will still be subject to the maintenance requirements as
       specified in this Contract and by the Vehicle manufacturer. No handwritten receipts will be accepted.
       This Contract shall not be voided by Us unless You have committed fraud or material misrepresentation in
       obtaining this Contract or in presenting a claim for service thereunder.
       In the event You do not receive satisfaction under this Contract, You may contact the Nevada Division of
       insurance department at the following toll free number: 888-872-3234.
       NEW HAMPSHIRE
       In the event You do not receive satisfaction under this Contract, You may contact the New Hampshire insurance
       department at the following address and toll free number: 21 Fruit Street, Suite 14, Concord, New Hampshire
       03301; 1-800-852-3416.
       NEW JERSEY
       Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
       “Cancellation by the Administrator”, “If We cancel this Contract, prior written notice of cancellation will be sent to
       Your last known address at least five (5) days prior to cancellation by Us. Prior notice shall state the effective
       cancellation date and the reason for cancellation. Prior notice is not required to be sent if the reason of
       cancellation is for: (1) nonpayment of the Administrator fee; (2) material misrepresentation or omission; or (3) a
       substantial breach of contractual obligations related to the covered Vehicle or its use.”
       Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
       “Cancellation Provisions”, “If this Contract was mailed to You, You may cancel this Contract within the first twenty
       (20) days from the date of service and receive a full refund, provided no claims have been filed. If this Contract is
       cancelled by You after the initial full refund period, or a claim has been filed, You will receive a pro rata refund less a
       cancellation fee of seventy five dollars ($75.00).”
       Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
       “Cancellation Provisions”, “A ten percent (10%) penalty, based upon the Contract purchase price, per month
       shall be added to the refund if it is not paid or credited within forty-five (45) days after the return of this Contract
       to Us.”


                AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                      BEFORE STARTING ANY TEARDOWN OR REPAIRS.
             PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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     NEW MEXICO   Document 1 Filed 11/16/21 Page 208 of 215 Pag
    Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
    “Cancellation Provisions”, “If this Contract was mailed to You, You may cancel this Contract within the first twenty
    (20) days from the date of service and receive a full refund, provided no claims have been filed. If this Contract is
    cancelled by You after the initial full refund period, or a claim has been filed, You will receive a pro rata refund less a
    cancellation fee of seventy five dollars ($75.00)”
    Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
    “Cancellation Provisions”, “A ten percent (10%) penalty, based upon the Contract purchase price, per month
    shall be added to the refund if it is not paid or credited within sixty (60) days after the return of this Contract to
    Us.”
    Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
    “Cancellation by the Administrator”, “No Service Contract that has been in effect for at least seventy (70) days
    may be canceled by the Administrator before the expiration of the agreed term or one (1) year after the effective
    date of the Service Contract, whichever occurs first, except on any of the following grounds: (a) Failure by the
    Contract Holder to pay an amount when due; (b) Conviction of the Contract Holder of a crime which results in
    an increase in the service required under the Service Contract; (c) Discovery of fraud or material
    misrepresentation by the Contract Holder in obtaining this Service Contract, or in presenting a claim for service
    thereunder; (d) Discovery of: (1) an act or omission by the Contract Holder; or (2) a violation by the Contract
    Holder of any condition of the Service Contract after the effective date of the Service Contract and which
    substantially and materially increases the service required under the Service Contract; (e) A material change in
    the nature or extent of the required service or repair which occurs after the effective date of the Service Contract
    and which causes the required service or repair to be substantially and materially increased beyond that
    contemplated at the time that the Service Contract was issued or sold. Cancellation of this Service Contract may
    not become effective until at least fifteen (15) days after a notice of cancellation is mailed to the Contract Holder.”
    This service contract is insured by Plateau Casualty Insurance Company. If the service contract provider fails to
    pay you or otherwise provide you with the covered service within 60 days of your submission of a valid claim, you
    may submit your claim to Plateau Casualty Insurance Company at - 800-398-3632 - 2701 N. Main St. Crossville,
    TN 38555. If you have any concerns regarding the handling of your claim, you may contact the Office of
    Superintendent of Insurance at 855-427-5674.
    NEW YORK
    Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
    “Cancellation Provisions”, “If this Contract was mailed to You, You may cancel this Contract within the first twenty
    (20) days from the date of service and receive a full refund, provided no claims have been filed. If this Contract is
    cancelled by You after the initial full refund period, or a claim has been filed, You will receive a pro rata refund less a
    cancellation fee of seventy five dollars ($75.00)”
    Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
    “Cancellation by the Administrator”, “If We cancel this Contract, prior written notice of cancellation will be sent to
    Your last known address at least fifteen (15) days prior to cancellation by Us. Prior notice shall state the effective
    cancellation date and the reason for cancellation. Prior notice is not required to be sent if the reason of
    cancellation is for: (1) nonpayment of the Administrator fee; (2) material misrepresentation; or (3) a substantial
    breach of duties related to the covered Vehicle or its use.”
    Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
    “Cancellation Provisions”, “A ten percent (10%) penalty per month shall be added to the refund if it is not paid or
    credited within thirty (30) days after the return of this Contract to Us.”
    NORTH CAROLINA
    Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is replaced:
    “Cancellation by the Administrator”, “The Administrator may cancel this Contract for nonpayment of premiums or
    for a direct violation of this Contract by You in which this Contract.”
    Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
             AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                   BEFORE STARTING ANY TEARDOWN OR REPAIRS.
          PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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     “Cancellation Provisions”, “If this                1 Filed
                                         Contract is canceled by You at11/16/21        Page
                                                                        any time, You will receive 209     ofrefund,
                                                                                                   a pro rata 215lessPag
       any claims paid and a cancellation fee of ten percent (10%) of the pro rata refund.” or $50.00 whichever is less.
       OHIO
       This Contract is not insurance and is not subject to the insurance laws of this state.
       OKLAHOMA
       Oklahoma Matrix Capital Services LLC, Oklahoma License Number: 507572166
       Plateau Insurance Company, Oklahoma License Number: 861197
       THIS CONTRACT IS NOT ISSUED BY THE MANUFACTURER OR WHOLESALE COMPANY MARKETING THE
       PRODUCT. THIS CONTRACT WILL NOT BE HONORED BY SUCH MANUFACTURER OR WHOLESALE COMPANY.
       Oklahoma service warranty Statutes do not apply to commercial use references in service warranty contracts. Coverage
       afforded under this Contract is not guaranteed by the Oklahoma Insurance Guaranty Association.
       Within the “CANCELLATION AND RENEWAL” section of this Contract, "In the event the contract is canceled by the
       warranty holder, return of the provider fee shall be based upon ninety percent (90%) of the unearned pro rata
       provider fee less the actual cost of any service provided under the service warranty contract." Concerning the
       amount of the refund for an agreement that has been in effect for 60 days or more, you must include the
       percentage of the prorated premium it is based on.
       Within the “TRANSFER OF VEHICLE OWNERSHIP” section of this Contract, the following sentence(s) is amended:
       “Transfer Conditions”, “This request must be submitted within thirty (30) days of the change in Vehicle ownership.”

       OREGON
       All coverage and benefits provided under this Contract are guaranteed by the Obligor, Matrix Financial
       Services, LLC.
       Within the “WHAT TO DO IF YOUR VEHICLE SUSTAINS A MECHANICAL BREAKDOWN” section of this
       Contract, the following sentence(s) is amended: “If emergency repairs covered by this Service Contract are
       required outside the Administrator’s business hours, You should deliver Your Vehicle to a Licensed Repair
       Facility and have the necessary repairs performed at a reasonable and customary charge. As soon as
       reasonably possible, You should report the repairs to the Administrator.”
       Within the “WHAT THE ADMINISTRATOR WILL DO WHEN A CLAIM IS REPORTED” section of this Contract,
       the following sentence(s) is deleted: “In addition, if a dispute arises between the repair facility and Us, We reserve
       the right to relocate Your Vehicle to a repair facility of Our choice.”
       SOUTH CAROLINA
       In the event of a dispute with the Administrator of this contract, You may contact the South Carolina Department
       of Insurance, Capitol Center, 1201 Main Street, Ste. 1000, Columbia, South Carolina 29201 or (800) 768-3467.
       Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
       “Cancellation Provisions”, “If this Contract was mailed to You, You may cancel this Contract within the first twenty
       (20) days from the date of service and receive a full refund, provided no claims have been filed. If this Contract is
       cancelled by You after the initial full refund period, or a claim has been filed, You will receive a pro rata refund less a
       cancellation fee of seventy five dollars ($75.00).”
       Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
       “Cancellation by the Administrator”, “If We cancel this Contract, prior written notice of cancellation will be sent to
       Your last known address at least fifteen (15) days prior to cancellation by Us. Prior notice shall state the effective
       cancellation date and the reason for cancellation. Prior notice is not required to be sent if the reason of
       cancellation is for: (1) nonpayment of the Administrator fee; (2) material misrepresentation; or (3) a substantial
       breach of duties related to the covered Vehicle or its use.”
       Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
       “Cancellation Provisions”, “A ten percent (10%) penalty per month shall be added to the refund if it is not paid or
       credited within forty-five (45) days after the return of this Contract to Us.”


                 AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                       BEFORE STARTING ANY TEARDOWN OR REPAIRS.
              PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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     TEXAS        Document 1 Filed 11/16/21 Page 210 of 215 Pag
    Should a Complaint arise regarding this Contract, you may send your Complaint in writing to the Administrator’s
    address listed within this Contract. Please identify the Contract Holder, Vehicle Identification Number (VIN) and
    Contract number listed at the top of this Contract within Your complaint. Complaints will be handled individually
    and without prejudice. All unresolved complaints concerning Us or questions concerning the regulation of service
    agreement administrators may be addressed to the Texas Department of Licensing and Regulation, P.O. Box
    12157, Austin, TX 78711, Tel. (800) 803-9202.
    Pursuant to Section 1304.158, You may request reimbursement directly from the insurer if a refund or credit is
    not paid before the forty-sixth (46th) day after the date on which the Contract is returned to the Administrator.
    Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
    “Cancellation by the Administrator”, “If We cancel this Contract, prior written notice of cancellation will be sent to
    Your last known address at least five (5) days prior to cancellation by Us. Prior notice shall state the effective
    cancellation date and the reason for cancellation. Prior notice is not required to be sent if the reason of
    cancellation is for: (1) nonpayment of the Administrator fee; (2) fraud or material misrepresentation by You; or
    (3) a substantial breach of duties by You related to the covered Vehicle or its use.”
    Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
    “Cancellation Provisions”, “If this Contract is cancelled before the thirty-first (31st) day from the Contract sale
    date, then You will receive a full refund less any claims paid under this Contract. If this Contract is cancelled on
    or after the thirty-first (31st) day from the Contract sale date, then You will receive a pro rata refund, less any
    claims paid under this Contract and a cancellation fee of fifty dollars ($50).”
    Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
    “Cancellation Provisions”, “A ten percent (10%) penalty of the outstanding amount will be added to Your refund
    for each month Your refund remains unpaid.”
    UTAH
    This Service Contract is subject to limited regulation by the Utah Insurance Department. To file a complaint,
    contact the Utah Insurance Department. Coverage afforded under this Contract is not guaranteed by the Utah
    Property and Casualty Guaranty Association.
    The Contract purchase price is payable, in full, at the time of purchase.
    Within the “ADMINISTRATOR OBLIGOR” section of this Contract, the following sentence(s) is amended:
    “Obligations of the Provider under this Service Contract are guaranteed under a Service Contract
    reimbursement insurance policy. Should the provider fail to pay or provide service on any claim within 60 days
    after proof of loss has been filed, the Contract Holder is entitled to make a claim directly against the Insurance
    Company.”
    Within the “WHAT TO DO IF YOUR VEHICLE SUSTAINS A MECHANICAL BREAKDOWN” section of this
    Contract, the following sentence(s) is amended: “If emergency repairs covered by this Service Contract are
    required outside the Administrator’s business hours, You should deliver Your Vehicle to a Licensed Repair
    Facility and have the necessary repairs performed at a reasonable and customary charge. As soon as
    reasonably possible, You should report the repairs to the Administrator. Failure to notify the Administrator
    within the time specified herein does not invalidate Your claim if You can demonstrate that it was not reasonably
    possible to give the notice or file the proof of loss within the prescribed time and that notice was given or proof of
    loss was filed as soon as reasonably possible. If You cannot demonstrate that it was not reasonably possible to
    give notice or file the proof of loss within the prescribed time, reimbursement for repairs outside of the
    aforementioned parameter or timeframe will not be considered.”
    Within the “DEFINITIONS” section of this Contract, the following sentence(s) is deleted: “EMERGENCY
    REPAIRS: Repairs made outside of Administrator’s business hours, which, if not performed, would impair the
    future operation of Your Vehicle, or render Your Vehicle inoperable or unsafe to drive.”
    Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:

             AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                   BEFORE STARTING ANY TEARDOWN OR REPAIRS.
          PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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-cv-08984-JAK-AFM                  Document
     “Cancellation by the Administrator”,            1 Filed
                                          “The Administrator         11/16/21
                                                             of this Service Contract Page    211
                                                                                      may cancel      of 215with Pag
                                                                                                 this Contract
       written notice to the Your last known address with at least thirty (30) days’ notice of such cancellation for the
       following reasons: (1) material misrepresentation related to the Vehicle; (2) substantial change in the risk
       assumed, unless the Administrator has reasonably foreseen the change or contemplated the risk when entering
       into this Service Contract; or (3) a substantial breach of contractual duties, conditions, or warranties by You
       relating to the Vehicle. A ten (10) day notice will be given for non- payment cancellations.”
      VERMONT
       Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
       “Cancellation Provisions”, “If this Contract is cancelled by You within the first twenty (20) days from the Contract
       sale date and no claims have been filed, then You will receive a full refund. If this Contract is cancelled by You
       after twenty (20) days past the Contract sale date or after a claim has been filed, then You will receive a pro rata
       refund.”
       VIRGINIA
       If any promise made in the contract has been denied or has not been honored within 60 days after your
       request, you may contact the Virginia Department of Agriculture and Consumer Services, Office of Charitable
       and Regulatory Programs at www.vdacs.virginia.gov/food-extended-service-contract-providers.shtml to file a
       complaint.
      WISCONSIN
       THIS CONTRACT IS SUBJECT TO LIMITED REGULATION BY THE OFFICE OF THE COMMISSIONER OF
       INSURANCE.
       Any reference to SUBROGATION is amended as follows: Any rights of subrogation by the Administrator will
       only apply after the Contract Holder has been made whole.
       Within the “WHAT TO DO IF YOUR VEHICLE SUSTAINS A MECHANICAL BREAKDOWN” section of this
       Contract, the following sentence(s) is amended: “If emergency repairs covered by this Contract are required
       outside the Administrator’s business hours, You should deliver Your Vehicle to a Licensed Repair Facility
       and have the necessary repairs performed at a reasonable and customary charge. As soon as reasonably
       possible, You should report the repairs to the Administrator. Emergency repairs are only those repairs, which, if
       not performed, would impair the future operation of Your Vehicle, or render it inoperable or unsafe to drive.
       Reimbursement for such repairs will not be considered outside of the aforementioned parameter or timeframe.
       Failure by the Contract Holder to give notice or proof within the time required by the Service Contract does not
       invalidate or reduce the claim unless We are prejudiced by the failure to givenotice.”
       Within the “WHAT TO DO IF YOUR VEHICLE SUSTAINS A MECHANICAL BREAKDOWN” section of this
       Contract, the following sentence(s) is added: “NOTE: In any instance, failure to obtain authorization prior to
       having repairs made will not invalidate or reduce a claim unless the Administrator is prejudiced by the Contract
       Holder’s failure to obtain authorization.”
       Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
       “Cancellation by the Administrator”, The Administrator may cancel this Contract for: (1) non-payment of the
       provider fee; (2) material misrepresentation by You to Us; or (3) substantial breach of duties by the You relating
       to the covered Vehicle or its use. If We cancel this Contract, prior written notice of cancellation will be sent to
       Your last known address at least five (5) days prior to cancellation by Us. Prior notice shall state the effective
       cancellation date and the reason for cancellation.”
       Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
       “Cancellation Provisions”, “If this Contract was mailed to You, You may cancel this Contract within the first
       twenty (20) days from the date of service and receive a full refund, provided no claims have been filed. If this
       Contract is cancelled by You after the initial full refund period, or a claim has been filed, You will receive a pro
       rata refund. A cancellation fee of seventy five dollars ($75.00) or ten percent (10%) of the Contract price,
       whichever is less, will apply to all pro rata cancellations made by the Contract Holder. Under no circumstances
       will the cost of claims paid or services provided be deducted from any refund.”

                AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                      BEFORE STARTING ANY TEARDOWN OR REPAIRS.
             PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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     Within the “CANCELLATION Document
                              AND RENEWAL” 1    Filed
                                           section of this11/16/21         Pagesentence(s)
                                                           Contract, the following 212 of is215
                                                                                             added: Pag
      “Cancellation Provisions”, “In the event of a total loss of property covered by a service contract that is not covered
      by a replacement of the property pursuant to the terms of the contract, a service contract holder shall be entitled to
      cancel the service contract and receive a pro rata refund of any unearned provider fee, less any claims paid. In this
      case, the refund should be calculated as written in (18) of the law."
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
      “Cancellation Provisions”, “If this Contract is cancelled by Us, You will receive a one hundred percent (100%)
      refund of the unearned Contract purchase price.”; “A ten percent (10%) penalty of the outstanding amount will be
      added to Your refund if it is not paid or credited within forty-five (45) days after the return of this Contract to Us.
      NOTE: You will not receive a refund if this Service Contract has expired.”
      WYOMING
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
      “Cancellation by the Finance Company”, “You hereby authorize the Finance Company to cancel this Contract on
      Your behalf in the event: (1) Your Vehicle is repossessed, or (2) Your Vehicle is declared a total loss. In addition,
      You authorize the Finance Company to be listed as a joint payee and to receive any refund in the event this
      Contract is cancelled.”
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is added:
      “Cancellation by the Administrator”, “If We cancel this Contract, prior written notice of cancellation will be sent to
      Your last known address at least ten (10) days prior to cancellation by Us. Prior notice shall state the effective
      cancellation date and the reason for cancellation. Prior notice is not required to be sent if the reason of
      cancellation is for: (1) nonpayment of the Administrator fee; (2) material misrepresentation by You to Us; or (3)
      a substantial breach of duties by You related to the covered Vehicle or its use.”
      Within the “CANCELLATION AND RENEWAL” section of this Contract, the following sentence(s) is amended:
      “Cancellation Provisions”, “If this Contract was mailed to You, You may cancel this Contract within the first
      twenty (20) days from the date of service and receive a full refund, provided no claims have been filed. If this
      Contract is cancelled by You after the initial full refund period, or a claim has been filed, You will receive a pro
      rata refund.”
       Within the “CANCELLATION” section of this Contract, the following sentence(s) is added: “Cancellation
       Provisions”, “A ten percent (10%) penalty per month shall be added to the refund if it is not paid or credited within
       forty-five (45) days after the return of this Contract to Us.”




               AUTHORIZATION MUST BE OBTAINED FROM THE ADMINISTRATOR
                     BEFORE STARTING ANY TEARDOWN OR REPAIRS.
            PLEASE CALL 1-833-228-1900 FOR AUTHORIZATION AND INSTRUCTIONS.
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                EXHIBIT 10
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